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   21-1370-cv
        United States Court of Appeals
                                      for the

                         Second Circuit

SYNTEL STERLING BEST SHORES MAURITIUS LIMITED, SYNTEL, INC.,
                                        Plaintiffs-Counter-Defendants-Appellants,
                                      – v. –
       THE TRIZETTO GROUP, INC., COGNIZANT TECHNOLOGY
                      SOLUTIONS CORP.,
                                       Defendants-Counter-Claimants-Appellees.
                     ––––––––––––––––––––––––––––––
         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK


                      DEFERRED APPENDIX
                           (REDACTED)
                  Volume 1 of 9 (Pages A-1 to A-210)

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                                                 U.S. District Court
                                    Southern District of New York (Foley Square)
                             CIVIL DOCKET FOR CASE #: 1:15-cv-00211-LGS-SDA



          Syntel Sterling Best Shores Mauritius Limited v. The Trizetto      Date Filed: 01/12/2015
          Group, Inc. et al                                                  Jury Demand: Defendant
          Assigned to: Judge Lorna G. Schofield                              Nature of Suit: 190 Contract: Other
          Referred to: Magistrate Judge Stewart D. Aaron                     Jurisdiction: Federal Question
          Cause: 28:1332 Diversity Action

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          V.
          Movant

          Brian Garrett                          represented by Brian Garrett
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          Movant

          Jeff Kern                              represented by Jeff Kern
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          Movant

          Rena Andoh                             represented by Rena Andoh
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          Movant




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          V.

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            Defendant




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            V.
            Counter Defendant




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                                                                   Nicholas Groombridge
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                                                                   Joshua D. Reich




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            V.

            Counter Defendant
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                                                                Yonaton Aronoff
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED




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                                                                   Louis M. Solomon
                                                                   (See above for address)
                                                                  ATTORNEY TO BE NOTICED

            Counter Claimant

            The Trizetto Group, Inc.               represented by Gianni L Cutri
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  James Ellis Brandt
                                                                   (See above for address)
                                                                   TERMINATED: 1212112015

                                                                  Jared Michael Barcenas
                                                                   (See above for address)
                                                                   TERMINATED: 1110812018

                                                                  Jeff G. Hammel
                                                                   (See above for address)
                                                                   TERMINATED: 1212112015

                                                                  Joshua Levicoff Simmons
                                                                   (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                   Michael W De Vries
                                                                   (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                   Paul Anthony Serritella
                                                                   (See above for address)
                                                                   TERMINATED: 1212112015

                                                                   Phillip Aaron Lee Hill
                                                                   (See above for address)
                                                                   TERMINATED: 04/20/2020

                                                                   Sarah Malke Lightdale
                                                                   (See above for address)
                                                                   TERMINATED: 1212112015

            Counter Claimant

            Cognizant Technology Solutions Corp.   represented by Gianni L Cutri
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  James Ellis Brandt
                                                                   (See above for address)
                                                                   TERMINATED: 1212112015




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                                                                   Jared Michael Barcenas
                                                                    (See above for address)
                                                                    TERNIINAIED: 1110812018

                                                                   Jeff G. Hammel
                                                                   (See above for address)
                                                                   TERNIINAIED: 1212112015

                                                                   Joshua Levicoff Simmons
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                   Michael W De Vries
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                    Phillip Aaron Lee Hill
                                                                    (See above for address)
                                                                    TERNIINAIED: 04/20/2020

                                                                    Sarah Malke Lightdale
                                                                    (See above for address)
                                                                    TERNIINAIED: 1212112015



            V.

            Counter Defendant

            Syntel Sterling Best Shores Mauritius   represented by Jaren Elizabeth Janghorbani
            Limited                                                (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   Jon Steven Baughman
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                    Louis M. Solomon
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   Nicholas Groombridge
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                    Peter Neil Wang
                                                                    (See above for address)



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                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Brian Bradford Garrett
                                                                      (See above for address)
                                                                      TERMINATED: 10/03/2016

                                                                      Harold S. Shaftel
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

                                                                      Jeff Kern
                                                                      (See above for address)
                                                                      TERMINATED: 02/28/2017

                                                                      Matthew George Mrkonic
                                                                      (See above for address)
                                                                      TERMINATED: 0912112016

                                                                      Norman C. Ankers
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

                                                                      Rena Andoh
                                                                      (See above for address)
                                                                      TERMINATED: 02/28/2017


                                                                      Robert Sanford Friedman
                                                                      (See above for address)
                                                                      TERMINATED: 02/28/2017

                                                                      Todd C. Norbitz
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

                                                                      Victor De Gyarfas
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

                                                                      William Robinson
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

                                                                      Yonaton Aronoff
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

            Counter Defendant
            Syntel, Inc.                              represented by Jaren Elizabeth Janghorbani
                                                                     (See above for address)




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                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Jon Steven Baughman
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Nicholas Groombridge
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Peter Neil Wang
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Andrew Wright Clark
                                                                (See above for address)
                                                                IERNIINAIED: 0912112016

                                                                Brian Bradford Garrett
                                                                (See above for address)
                                                                IERNIINAIED: 10/03/2016

                                                                Harold S. Shaftel
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Jeff Kern
                                                                (See above for address)
                                                                IERNIINAIED: 02/28/2017

                                                                Matthew J. Hrutkay
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Matthew George Mrkonic
                                                                (See above for address)
                                                                IERNIINAIED: 0912112016

                                                                Norman C. Ankers
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Rena Andoh
                                                                (See above for address)
                                                                IERNIINAIED: 02/28/2017




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                                                                             Robert Sanford Friedman
                                                                             (See above for address)
                                                                             TERMINATED: 02/28/2017

                                                                             Todd C. Norbitz
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Victor De Gyarfas
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             William Robinson
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Yonaton Aronoff
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Louis M. Solomon
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED



            Date Filed       #    Docket Text

            01/12/2015        1 COMPLAINT against Cognizant Technology Solutions Corp., The Trizetto Group,
                                Inc.. (Filing Fee $ 350.00, Receipt Number 465401114349)Document filed by Syntel
                                Sterling Best Shores Mauritius Limited.(moh) (Entered: 01/14/2015)

            01/12/2015            SUMMONS ISSUED as to Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (moh) (Entered: 01/14/2015)

            01/12/2015            Magistrate Judge James L. Cott is so designated. (moh) (Entered: 01/14/2015)

            01/12/2015            Case Designated ECE (moh) (Entered: 01/14/2015)

            01/12/2015        2 CIVIL COVER SHEET filed. (moh) (moh). (Entered: 01/14/2015)

            01/20/2015        3 ORDER: It is hereby ORDERED that counsel for all parties appear for an initial
                                pretrial conference with the Court at the time and place listed below. DATE AND
                                  PLACE OF CONFERENCE: March 3, 2015 at 11:00 a.m., in Courtroom 1106 of the
                                  United States District Court for the Southern District of New York,Thurgood
                                  Marshall U.S. Courthouse at 40 Foley Square, New York, New York. (Initial
                                  Conference set for 3/3/2015 at 11:00 AM in Courtroom 1106, Thurgood Marshal
                                  Courthouse, 40 Foley Square, New York, NY 10007 before Judge Lorna G.
                                  Schofield.) ( Signed by Judge Lorna G. Schofield on 1/20/2015) (ama) (Entered:
                                  01/20/2015)




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            01/21/2015        4 AFFIDAVIT OF SERVICE of Summons and Complaint. The Trizetto Group, Inc.
                                served on 1/15/2015, answer due 2/5/2015. Service was accepted by Cherie Nash,
                                  Process Specialist at the Corporation Company. Document filed by Syntel Sterling
                                  Best Shores Mauritius Limited. ( Solomon, Louis) (Entered: 01/21/2015)

            01/21/2015        5 AFFIDAVIT OF SERVICE of Summons and Complaint. Cognizant Technology
                                Solutions Corp. served on 1/15/2015, answer due 2/5/2015. Service was accepted by
                                Young Lee, Corporate Attorney. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited. ( Solomon, Louis) (Entered: 01/21/2015)

            01/27/2015        6 LETTER MOTION for Extension of Time to File Answer re: 1Complaint addressed
                                to Judge Lorna G. Schofield from Jeff G. Hammel dated January 27, 2015. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Hammel,
                                  Jeff) (Entered: 01/27/2015)

            01/28/2015        7 ORDER granting 6Letter Motion for Extension of Time to Answer: APPLICATION
                                GRANTED. Defendants' time to respond to the Complaint is hereby extended to
                                March 9, 2015. The initial pre-trial conference scheduled for March 3, 2015, at 11:00
                                a.m. is hereby adjourned to March 17, 2015, at 10:40 a.m. The parties are henceforth
                                directed to articulate specific reasons for requests for extensions. (HEREBY
                                ORDERED by Judge Lorna G. Schofield)(Text Only Order) ( Schofield, Lorna)
                                (Entered: 01/28/2015)

            01/28/2015            Set/Reset Hearings: Initial Conference set for 3/17/2015 at 10:40 AM in Courtroom
                                  1106, Thurgood Marshal Courthouse, 40 Foley Square, New York, NY 10007 before
                                  Judge Lorna G. Schofield. ( Schofield, Lorna) (Entered: 01/28/2015)

            01/30/2015        8 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent.
                                Document filed by Cognizant Technology Solutions Corp..(Hammel, Jeff) (Entered:
                                01/30/2015)

            01/30/2015        9 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate
                                Parent Cognizant Technology Solutions Corporation for The Trizetto Group, Inc..
                                Document filed by The Trizetto Group, Inc..(Hammel, Jeff) (Entered: 01/30/2015)

            02/04/2015       10   MOTION for Preliminary Injunction. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited. ( Solomon, Louis) (Entered: 02/04/2015)

            02/04/2015       11   MEMORANDUM OF LAW in Support re: 10 MOTION for Preliminary Injunction.
                                  .Document filed by Syntel Sterling Best Shores Mauritius Limited. (Solomon, Louis)
                                  (Entered: 02/04/2015)

            02/04/2015       12   DECLARATION of Manish Mehta in Support re: 10 MOTION for Preliminary
                                  Injunction.. Document filed by Syntel Sterling Best Shores Mauritius Limited.
                                  (Solomon, Louis) (Entered: 02/04/2015)

            02/06/2015       13   FILING ERROR -DEFICIENT DOCKET ENTRY -MOTION for Norman C.
                                  Ankers to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                                  0208-10575692. Motion and supporting papers to be reviewed by Clerk's Office
                                  staff. Document filed by Syntel Sterling Best Shores Mauritius Limited.
                                  (Attachments: # 1Text of Proposed Order)(Solomon, Louis) Modified on 2/6/2015
                                  (sdi). (Entered: 02/06/2015)

            02/06/2015       14   DECLARATION of Norman C. Ankers in Support re: 13 MOTION for Norman C.
                                  Ankers to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number




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                                  0208-10575692. Motion and supporting papers to be reviewed by Clerk's Office
                                  staff.. Document filed by Syntel Sterling Best Shores Mauritius Limited. ( Solomon,
                                  Louis) (Entered: 02/06/2015)

            02/06/2015            >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                  VICE. Notice regarding Document No. 13 MOTION for Norman C. Ankers to
                                  Appear Pro Hac Vice. Filing fee $ 200.00, receipt number 0208-10575692.
                                  Motion and supporting papers to be reviewed by Clerk's Office staff.. The filing
                                  is deficient for the following reason(s): Missing Certificate of Good Standing.
                                  Missing Certificate of Good Standing from the Supreme Court of Michigan with
                                  the Clerk of Court's signature. Re-file the document as aCorrected Motion to
                                  Appear Pro Hac Vice and attach avalid Certificate of Good Standing, issued
                                  within the past 30 days. (sdi) (Entered: 02/06/2015)

            02/06/2015       15   MOTION for Norman C. Ankers to Appear Pro Hac Vice /     Corrected Motion for
                                  Norman C. Ankers for Admission Pro Hac Vice. Motion and supporting papers to
                                  be reviewed by Clerk's Office staff. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited. (Attachments: # 1Affidavit Declaration of Norman C. Ankers in
                                  Support of Motion for Pro Hac Vice with Exhibit A (Certificate of Good Standing), #
                                  2Text of Proposed Order Proposed Order)(Solomon, Louis) (Entered: 02/06/2015)

            02/09/2015            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 15 MOTION for Norman C. Ankers to Appear Pro Hac Vice /Corrected
                                  Motion for Norman C. Ankers for Admission Pro Hae Vice. Motion and
                                  supporting papers to be reviewed by Clerk's Office staff.. The document has
                                  been reviewed and there are no deficiencies. (wb) (
                                                                                    Entered: 02/09/2015)

            02/09/2015       16   ORDER: It is hereby ORDERED that Defendants' opposition, if any, shall be filed by
                                  February 18, 2015, and Plaintiff sreply, if any, shall be filed by February 25, 2015. It
                                  is further ORDERED that Plaintiff, the last party to file, shall provide the Court with
                                  acourtesy copy of the fully briefed motion, in accordance with the Court's Individual
                                  Rules. Responses due by 2/18/2015 Replies due by 2/25/2015. ( Signed by Judge
                                  Lorna G. Schofield on 2/9/2015) (kgo) (Entered: 02/09/2015)

            02/10/2015       17   LETTER MOTION for Extension of Time to File Response/Reply as to 10 MOTION
                                  for Preliminary Injunction. addressed to Judge Lorna G. Schofield from Jeff G.
                                  Hammel dated February 10, 2015. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff) (Entered: 02/10/2015)

            02/10/2015       18   NOTICE OF APPEARANCE by James Ellis Brandt on behalf of Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Brandt, James) (Entered:
                                  02/10/2015)

            02/10/2015       19   ORDER granting 15 Motion for Norman C. Ankers to Appear Pro Hac Vice
                                  (HEREBY ORDERED by Judge Lorna G. Schofield)(Text Only Order) (Schofield,
                                  Lorna) (Entered: 02/10/2015)

            02/10/2015       20   ORDER granting 17 Letter Motion for Extension of Time to File Response/Reply re
                                  10 MOTION for Preliminary Injunction.: APPLICATION GRANTED. Defendants'
                                  opposition shall be filed by 2/23/15 and Plaintiffs reply shall be filed by 3/4/15.
                                  (Responses due by 2/23/2015 Replies due by 3/4/2015.) (HEREBY ORDERED by
                                  Judge Lorna G. Schofield)(Text Only Order) ( Schofield, Lorna) (Entered:
                                  02/10/2015)




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            02/23/2015       21   ANSWER to 1Complaint with JURY DEMAND., COUNTERCLAIM against
                                  Syntel Sterling Best Shores Mauritius Limited. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Brandt, James) (Entered:
                                  02/23/2015)

            02/23/2015       22   MOTION for Preliminary Injunction. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc..(Brandt, James) (Entered: 02/23/2015)

            02/23/2015       23   MEMORANDUM OF LAW in Support re: 22 MOTION for Preliminary Injunction.
                                  .Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                  (Brandt, James) (Entered: 02/23/2015)

            02/23/2015       24   DECLARATION of Chuck Sanders in Support re: 22 MOTION for Preliminary
                                  Injunction.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Attachments: # 1Exhibits A-B, # 2Exhibit C)(Brandt, James) (Entered:
                                  02/23/2015)

            02/23/2015       25   DECLARATION of Paul Weiler in Support re: 22 MOTION for Preliminary
                                  Injunction.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Brandt, James) (Entered: 02/23/2015)

            02/23/2015       26   DECLARATION of Ramkumar Balagopal in Support re: 22 MOTION for
                                  Preliminary Injunction.. Document filed by Cognizant Technology Solutions Corp.,
                                  The Trizetto Group, Inc.. (Brandt, James) (Entered: 02/23/2015)

            02/23/2015       27   DECLARATION of Ajinkya Nimbalkar in Support re: 22 MOTION for Preliminary
                                  Injunction.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Brandt, James) (Entered: 02/23/2015)

            02/23/2015       28   MEMORANDUM OF LAW in Opposition re: 10 MOTION for Preliminary
                                  Injunction .. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Brandt, James) (Entered: 02/23/2015)

            02/23/2015       29   DECLARATION of Chuck Sanders in Opposition re: 10 MOTION for Preliminary
                                  Injunction.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Attachments: # 1Exhibits A and B, # 2Exhibit C)(Brandt, James)
                                  (Entered: 02/23/2015)

            02/23/2015       30   DECLARATION of Paul Weiler in Opposition re: 10 MOTION for Preliminary
                                  Injunction.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Brandt, James) (Entered: 02/23/2015)

            02/23/2015       31   DECLARATION of Ramkumar Balagopal in Opposition re: 10 MOTION for
                                  Preliminary Injunction.. Document filed by Cognizant Technology Solutions Corp.,
                                  The Trizetto Group, Inc.. (Brandt, James) (Entered: 02/23/2015)

            02/23/2015       32   DECLARATION of Ajinkya Nimbalkar in Opposition re: 10 MOTION for
                                  Preliminary Injunction.. Document filed by Cognizant Technology Solutions Corp.,
                                  The Trizetto Group, Inc.. (Brandt, James) (Entered: 02/23/2015)

            02/24/2015       33   LETTER addressed to Judge Lorna G. Schofield from Jeff G. Hammel dated
                                  February 24, 2015 re: submission pursuant to Rule IILB.6. of the Individual Rules
                                  and Procedures for Civil Cases of the Honorable Lorna G. Schofield. Document filed
                                  by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff)
                                  (Entered: 02/24/2015)




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            03/03/2015       34   CONSENT LETTER MOTION to Adjourn Conference addressed to Judge Lorna G.
                                  Schofield from Jeff G. Hammel dated March 3, 2015. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff) (Entered:
                                  03/03/2015)

            03/03/2015       35   NOTICE OF APPEARANCE by Sarah Malke Lightdale on behalf of Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Lightdale, Sarah) (Entered:
                                  03/03/2015)

            03/04/2015       36   ORDER granting 34 Letter Motion to Adjourn Conference: APPLICATION
                                  GRANTED IN PART. Plaintiffs response to Defendants' motion for preliminary
                                  injunction at docket number 22, if any, shall be filed by March 12, 2015, and
                                  Defendants' reply, if any, shall be filed by March 20, 2015. The initial pre-trial
                                  conference scheduled for March 17, 2015, is hereby adjourned to March 24, 2015, at
                                  11:40 a.m. Pursuant to the Court's individual rules, the Court will determine whether
                                  oral argument will be heard and, if so, will advise counsel of the argument date.
                                  (Initial Conference set for 3/24/2015 at 11:40 AM in Courtroom 1106, Thurgood
                                  Marshal Courthouse, 40 Foley Square, New York, NY 10007 before Judge Lorna G.
                                  Schofield.) (HEREBY ORDERED by Judge Lorna G. Schofield)(Text 04 Order)
                                  (Schofield, Lorna) (Entered: 03/04/2015)

            03/04/2015       37   REPLY MEMORANDUM OF LAW in Support re: 10 MOTION for Preliminary
                                  Injunction .. Document filed by Syntel Sterling Best Shores Mauritius Limited.
                                  (Solomon, Louis) (Entered: 03/04/2015)

            03/04/2015       38   NOTICE of Index of Exhibits to Plaintiffs Reply in Support of Motion for
                                  Preliminary Injunction re: 37 Reply Memorandum of Law in Support of Motion.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited. (Solomon, Louis)
                                  (Entered: 03/04/2015)

            03/04/2015       39   AMENDED COMPLAINT amending 1Complaint against Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc..Document filed by Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc.. Related document: 1Complaint filed by
                                  Syntel Sterling Best Shores Mauritius Limited. ( Solomon, Louis) (Entered:
                                  03/04/2015)

            03/05/2015       40   FILING ERROR -CORPORATE PARENT/OTHER AFFILIATE NAME
                                  ENTERED INCORRECTLY -SUPPLEMENTAL RULE 7.1 CORPORATE
                                  DISCLOSURE STATEMENT. Identifying Other Affiliate Syntel Sterling Best
                                  Shores Mauritius Limited (now known as Syntel Holding Mauritius Limited) for
                                  Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. Document filed by
                                  Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..(Solomon, Louis)
                                  Modified on 3/6/2015 (lb). (Entered: 03/05/2015)

            03/06/2015            ** *NOTICE TO ATTORNEY TO RE-FILE DOCUMENT -DEFICIENT
                                  DOCKET ENTRY ERROR. Notice to Attorney Louis M. Solomon to RE-FILE
                                  Document 40 Rule 7.1 Corporate Disclosure Statement,. ERROR(S): Corporate
                                  Parents were added incorrectly. Please re-file this document and when
                                  prompted: Are there any corporate parents or other affiliates? select the YES
                                  radio button and enter the Corporate Parent(s) or Affiliate(s) one party name at
                                  atime. (lb) (
                                              Entered: 03/06/2015)




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            03/06/2015       41   SUPPLEMENTAL RULE 7.1 CORPORATE DISCLOSURE STATEMENT.
                                  Identifying Corporate Parent Syntel, Inc., Other Affiliate Syntel Sterling Best Shores
                                  Mauritius Limited (now known as Syntel Holding Mauritius Limited) for Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc.. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc..(Solomon, Louis) (Entered:
                                  03/06/2015)

            03/12/2015       42   MEMORANDUM OF LAW in Opposition re: 22 MOTION for Preliminary
                                  Injunction .. Document filed by Syntel Sterling Best Shores Mauritius Limited.
                                  (Solomon, Louis) (Entered: 03/12/2015)

            03/12/2015       43   DECLARATION in Opposition re: 22 MOTION for Preliminary Injunction..
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited. (Attachments: # 1
                                  Index and Exhibits to Declaration)(Solomon, Louis) (Entered: 03/12/2015)

            03/17/2015       44   JOINT LETTER addressed to Judge Lorna G. Schofield from Jeff G. Hammel dated
                                  March 17, 2015 re: joint submission pursuant to the Court's orders of January 20,
                                  2015 and March 4, 2015 in advance of initial pretrial conference scheduled for March
                                  24, 2015. Document filed by Cognizant Technology Solutions Corp., Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc., The Trizetto Group, Inc..(Hammel, Jeff)
                                  (Entered: 03/17/2015)

            03/18/2015       45   LETTER addressed to Judge Lorna G. Schofield from Hal S. Shaftel of Cadwalader,
                                  Wickersham & Taft LLP dated March 18, 2015 re: Allowing Co- Counsel Norman
                                  Ankers to Participate Telephonically for Conference Scheduled for March 24, 2015.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited.(Shaftel, Harold)
                                  (Entered: 03/18/2015)

            03/19/2015       46   MEMO ENDORSEMENT on re: 45 Letter, filed by Syntel Sterling Best Shores
                                  Mauritius Limited, re: Allowing Co- Counsel Norman Ankers to Participate
                                  Telephonically for Conference Scheduled for March 24, 2015. ENDORSEMENT:
                                  APPLICATION GRANTED. At the appointed time, Mr. Ankers shall call Chambers
                                  at 212-805-0288. Mr. Ankers is also directed to file an appearance on ECF and if
                                  necessary file apro hac vice motion. SO ORDERED. ( Signed by Judge Lorna G.
                                  Schofield on 3/19/2015) (ajs) (Entered: 03/19/2015)

            03/19/2015       47   ANSWER to 21 Counterclaim. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc..(Solomon, Louis) (Entered: 03/19/2015)

            03/20/2015       48   REPLY MEMORANDUM OF LAW in Support re: 22 MOTION for Preliminary
                                  Injunction .. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Brandt, James) (Entered: 03/20/2015)

            03/23/2015       49   NOTICE OF APPEARANCE by Norman C. Ankers on behalf of Syntel Sterling
                                  Best Shores Mauritius Limited. (Ankers, Norman) (Entered: 03/23/2015)

            03/23/2015       50   ANSWER to 39 Amended Complaint, with JURY DEMAND., COUNTERCLAIM
                                  against Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. Document filed
                                  by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Brandt, James)
                                  (Entered: 03/23/2015)

            03/24/2015       51   CIVIL CASE MANAGEMENT PLAN AND SCHEDULING ORDER: All parties
                                  do not consent to conducting all further proceedings before aUnited States
                                  Magistrate Judge, including motions and trial. No additional parties may be joined
                                  after March 24, 2015 without leave of Court. Amended pleadings may be filed



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                                  without leave of Court until March 24, 2015. This case is to be tried to ajury.
                                  Counsel for the parties have conferred and their present best estimate of the length of
                                  trial is 7-10 days. By April 14, 2015, the parties shall jointly file astatus letter about
                                  their mediation efforts. Deposition due by 7/15/2015. Fact Discovery due by
                                  7/15/2015. Expert Discovery due by 8/28/2015. Case Management Conference set for
                                  9/8/2015 at 10:30 AM before Judge Lorna G. Schofield. ( Signed by Judge Lorna G.
                                  Schofield on 3/24/2015) (lmb) (Entered: 03/25/2015)

            03/24/2015            Minute Entry for proceedings held before Judge Lorna G. Schofield: Initial Pretrial
                                  Conference held on 3/24/2015. Ocs) (Entered: 04/14/2015)

            03/25/2015       52   NOTICE OF APPEARANCE by Harold S. Shaftel on behalf of Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc.. (Shaftel, Harold) (Entered: 03/25/2015)

            04/02/2015       53   TRANSCRIPT of Proceedings re: conference held on 3/24/2015 before Judge Lorna
                                  G. Schofield. Court Reporter/Transcriber: Tara Jones, (212) 805-0300. Transcript
                                  may be viewed at the court public terminal or purchased through the Court
                                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                  that date it may be obtained through PACER. Redaction Request due 4/27/2015.
                                  Redacted Transcript Deadline set for 5/7/2015. Release of Transcript Restriction set
                                  for 7/6/2015. (McGuirk, Kelly) (Entered: 04/02/2015)

            04/02/2015       54   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aconfernce proceeding held on 3/24/15 has been filed by the
                                  court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                  calendar days to file with the court aNotice of Intent to Request Redaction of this
                                  transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days...
                                  (McGuirk, Kelly) (Entered: 04/02/2015)

            04/14/2015       55   LETTER addressed to Judge Lorna G. Schofield from James E. Brandt dated April
                                  14, 2015 re: Report on Mediation. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc..(Brandt, James) (Entered: 04/14/2015)

            04/16/2015       56   ANSWER to 50 Counterclaim. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc..(Solomon, Louis) (Entered: 04/16/2015)

            04/22/2015       57   ORDER: WHEREAS, the parties have cross-moved for apreliminary injunction
                                  asserting breach of the Master Services Agreement; it is hereby ORDERED that
                                  Plaintiffs shall file on ECF -- and deliver to Chambers in paper form (as described in
                                  the Court's Individual Rules -- acomplete copy of the Master Services Agreement
                                  and the 2010 Amendment to the Master Services Agreement no later than April 24,
                                  2015. ( Signed by Judge Lorna G. Schofield on 4/22/2015) (kgo) (Entered:
                                  04/22/2015)

            04/27/2015       58   ENDORSED LETTER addressed to Judge Lorna G. Schofield from Norman C.
                                  Ankers dated 4/24/2015 re: Parties request permission to redact certain portions of
                                  the Master Services Agreement. ENDORSEMENT: APPLICATION GRANTED.
                                  Plaintiff shall file the Agreements with the proposed redactions on ECF by May 1,
                                  2015. ( Signed by Judge Lorna G. Schofield on 4/27/2015) (kgo) (Entered:
                                  04/28/2015)

            05/01/2015       59   REDACTION to 58 Endorsed Letter, iMaster Services Agreement between The
                                  Trizetto Group Inc. and Syntel Sterling Best Shores Mauritius Limited June 30, 2010
                                  by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc. (Attachments: # 1



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                                  Exhibit Amendment No. 1to the Master Services Agreement)(Shaftel, Harold)
                                  (Entered: 05/01/2015)

            05/05/2015       60   ORDER: WHEREAS, the parties have cross-moved for preliminary injunction; it is
                                  hereby ORDERED that counsel for the parties shall appear for aconference
                                  regarding the cross-motions for preliminary injunction Wednesday, May 13, 2015, at
                                  12:00 p.m. Oral arguments will not be heard on the pending cross-motions and the
                                  Court will deliver an oral opinion. ( Status Conference set for 5/13/2015 at 12:00 PM
                                  before Judge Lorna G. Schofield.) ( Signed by Judge Lorna G. Schofield on 5/5/2015)
                                  (kl) (Entered: 05/05/2015)

            05/13/2015       61   NOTICE OF APPEARANCE by Paul Anthony Serritella on behalf of Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Serritella, Paul) (Entered:
                                  05/13/2015)

            05/13/2015            Minute Entry for proceedings held before Judge Lorna G. Schofield: Status
                                  Conference held on 5/13/2015. Ocs) (Entered: 06/02/2015)

            05/14/2015       62   ORDER denying 10 Motion for Preliminary Injunction; denying 22 Motion for
                                  Preliminary Injunction. WHEREAS, aconference was held on May 13, 2015. For the
                                  reasons stated at the conference, it is hereby ORDERED that the cross-motions for
                                  preliminary injunction are DENIED. The Clerk of Court is respectfully directed to
                                  close Dkt. Nos. 10 and 22. ( Signed by Judge Lorna G. Schofield on 5/14/2015) (kgo)
                                  (Entered: 05/14/2015)

            05/18/2015       63   MOTION for Matthew G. Mrkonic to Appear Pro Hac Vice. Filing fee $ 200.00,
                                  receipt number 0208-10932220. Motion and supporting papers to be reviewed by
                                  Clerk's Office staff. Document filed by Syntel Sterling Best Shores Mauritius
                                  Limited, Syntel, Inc.. (Attachments: # 1Affidavit Mrkonic Declaration (with attached
                                  certificates of good standing), # 2Text of Proposed Order Proposed Order)(Solomon,
                                  Louis) (Entered: 05/18/2015)

            05/18/2015            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 63 MOTION for Matthew G. Mrkonic to Appear Pro Hac Vice. Filing fee $
                                  200.00, receipt number 0208-10932220. Motion and supporting papers to be
                                  reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                  no deficiencies. (sdi) (
                                                         Entered: 05/18/2015)

            05/21/2015       64   ORDER granting 63 Motion for Matthew G. Mrkonic to Appear Pro Hac Vice
                                  (HEREBY ORDERED by Judge Lorna G. Schofield)(Text Only Order) (Schofield,
                                  Lorna) (Entered: 05/21/2015)

            05/21/2015       65   LETTER MOTION for Local Rule 37.2 Conference addressed to Judge Lorna G.
                                  Schofield from Jeff G. Hammel dated May 21, 2015. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff) (Entered:
                                  05/21/2015)

            05/22/2015       66   ORDER granting 65 Letter Motion for Local Rule 37.2 Conference: Application
                                  GRANTED. Plaintiffs shall file aresponse by May 28, 2015. The parties shall jointly
                                  call Chambers on June 2, 2015, at 4:45 p.m. (HEREBY ORDERED by Judge Lorna
                                  G. Schofield)(Text Only Order) ( Schofield, Lorna) (Entered: 05/22/2015)

            05/22/2015       67   JOINT LETTER addressed to Judge Lorna G. Schofield from Jeff G. Hammel and
                                  Norman C. Ankers dated May 22, 2015 re: Joint Discovery Status Letter. Document
                                  filed by Cognizant Technology Solutions Corp., Syntel Sterling Best Shores



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                                  Mauritius Limited, Syntel, Inc., The Trizetto Group, Inc..(Hammel, Jeff) (Entered:
                                  05/22/2015)

            05/26/2015       68   TRANSCRIPT of Proceedings re: CONFERENCE held on 5/13/2015 before Judge
                                  Lorna G. Schofield. Court Reporter/Transcriber: Eve Giniger, (212) 805-0300.
                                  Transcript may be viewed at the court public terminal or purchased through the Court
                                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                  that date it may be obtained through PACER. Redaction Request due 6/19/2015.
                                  Redacted Transcript Deadline set for 6/29/2015. Release of Transcript Restriction set
                                  for 8/27/2015. (Grant, Patricia) (Entered: 05/26/2015)

            05/26/2015       69   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aCONFERENCE proceeding held on 5/13/2015 has been filed
                                  by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days...
                                  (Grant, Patricia) (Entered: 05/26/2015)

            05/28/2015       70   LETTER addressed to Judge Lorna G. Schofield from Matthew Mrkonic of
                                  Honigman and Louis M. Solomon of Cadwalader dated May 28, 2015 re: Response
                                  to Defendants' Letter Motion of May 21, 2015. Document filed by Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc..(Solomon, Louis) (Entered: 05/28/2015)

            06/01/2015       71   ORDER OF REFERENCE TO A MAGISTRATE JUDGE: Order that case be
                                  referred to the Clerk of Court for assignment to aMagistrate Judge for General
                                  Pretrial (includes scheduling, discovery, non-dispositive pretrial motions, and
                                  settlement). Referred to Magistrate Judge James L. Cott. SO ORDERED. ( Signed by
                                  Judge Lorna G. Schofield on 6/01/2015) (ama) (Entered: 06/02/2015)

            06/05/2015       72   LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                                  James L. Cott from Jeff G. Hammel dated June 5, 2015. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff)
                                  (Entered: 06/05/2015)

            06/05/2015       73   LETTER MOTION for Conference submitted pursuant to Rule 11LA.1. addressed to
                                  Judge Lorna G. Schofield from Jeff G. Hammel dated June 5, 2015. Document filed
                                  by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff)
                                  (Entered: 06/05/2015)

            06/08/2015            NOTICE OF REDESIGNATION TO ANOTHER MAGISTRATE JUDGE. The
                                  above entitled action has been redesignated to Magistrate Judge Ronald L. Ellis.
                                  Please note that this is areassignment of the designation only. (pgu) (Entered:
                                  06/08/2015)

            06/08/2015            NOTICE OF REASSIGNMENT OF A REFERRAL TO ANOTHER MAGISTRATE
                                  JUDGE. The referral in the above entitled action has been reassigned to Magistrate
                                  Judge Ronald L. Ellis, for General Pretrial (includes scheduling, discovery, non-
                                  dispositive pretrial motions, and settlement). Magistrate Judge James L. Cott no
                                  longer referred to the case. Motions referred to Ronald L. Ellis. (pgu) (Entered:
                                  06/08/2015)

            06/08/2015       74   ORDER granting 73 Letter Motion for Conference: Application GRANTED. The
                                  parties shall appear for apre-motion conference on June 23, 2015, at 10:30 a.m. Any
                                  response shall be filed by June 15, 2015. (Pre-Motion Conference set for 6/23/2015 at



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                                  10:30 AM in Courtroom 1106, Thurgood Marshal Courthouse, 40 Foley Square, New
                                  York, NY 10007 before Judge Lorna G. Schofield.) (HEREBY ORDERED by Judge
                                  Lorna G. Schofield)(Text Only Order) ( Schofield, Lorna) (Entered: 06/08/2015)

            06/08/2015       75   LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                                  Ronald L. Ellis from Jeff G. Hammel dated June 8, 2015. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff)
                                  (Entered: 06/08/2015)

            06/08/2015       76   ORDER granting 75 Letter Motion for Local Rule 37.2 Conference. Status
                                  Conference set for 6/16/2015 at 02:30 PM in Courtroom 11 C, 500 Pearl Street, New
                                  York, NY 10007 before Magistrate Judge Ronald L. Ellis. No request for
                                  adjournment will be considered unless made at least THREE BUSINESS DAYS
                                  before the scheduled conference and only after the parties have consulted with each
                                  other. Direct inquiries to Rupa Shah, 212-805-0242. (HEREBY ORDERED by
                                  Magistrate Judge Ronald L. Ellis)(Text Only Order) (Ellis, Ronald) (Entered:
                                  06/08/2015)

            06/09/2015       77   LETTER MOTION for Extension of Time to Complete Discovery addressed to
                                  Magistrate Judge Ronald L. Ellis from Matthew Mrkonic dated June 9, 2015.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                  (Attachments: # 1Exhibit A)(Mrkonic, Matthew) (Entered: 06/09/2015)

            06/12/2015       78   LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge
                                  Ronald L. Ellis from Jeff G. Hammel dated June 12, 2015 re: 77 LETTER MOTION
                                  for Extension of Time to Complete Discovery addressed to Magistrate Judge Ronald
                                  L. Ellis from Matthew Mrkonic dated June 9, 2015.. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit
                                  A)(Hammel, Jeff) (Entered: 06/12/2015)

            06/15/2015       79   LETTER addressed to Judge Lorna G. Schofield from Matthew Mrkonic dated June
                                  15, 2015 re: Plaintiffs' Response to Defendants' June 5, 2015 Letter Request.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Mrkonic, Matthew) (Entered: 06/15/2015)

            06/16/2015            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis: Status
                                  Conference held on 6/16/2015 at 2:30 p.m. (rsh) (Entered: 06/16/2015)

            06/23/2015            Minute Entry for proceedings held before Judge Lorna G. Schofield: Pre-Motion
                                  Conference held on 6/23/2015. (Court Reporter Martha Drevis) Ocs) (Entered:
                                  07/10/2015)

            06/30/2015       80   LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew Mrkonic
                                  dated 6/30/15 re: Update the Court on the Status of Document Production. Document
                                  filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic,
                                  Matthew) (Entered: 06/30/2015)

            06/30/2015       81   LETTER addressed to Magistrate Judge Ronald L. Ellis from Paul A. Serritella dated
                                  June 30, 2015 re: Update Regarding the Status of Discovery. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Serritella, Paul)
                                  (Entered: 06/30/2015)

            07/01/2015            Telephone Conference set for 7/2/2015 at 12:30 PM before Magistrate Judge Ronald
                                  L. Ellis. On the day of the conference, the parties will jointly place atelephone call to
                                  the chambers of Judge Ronald L. Ellis, at 212-805-0563. (rsh) (Entered: 07/01/2015)



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            07/02/2015            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 7/2/2015 at 12:30 p.m. (rsh) (Entered: 07/02/2015)

            07/10/2015       82   MOTION to Compel Plaintiffs to Produce Documents. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Serritella, Paul) (Entered:
                                  07/10/2015)

            07/10/2015       83   MEMORANDUM OF LAW in Support re: 82 MOTION to Compel Plaintiffs to
                                  Produce Documents .. Document filed by Cognizant Technology Solutions Corp.,
                                  The Trizetto Group, Inc.. ( Serritella, Paul) (Entered: 07/10/2015)

            07/10/2015       84   DECLARATION of Paul A. Serritella in Support re: 82 MOTION to Compel
                                  Plaintiffs to Produce Documents .. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibits 1-3)(Serritella,
                                  Paul) (Entered: 07/10/2015)

            07/10/2015       85   LETTER addressed to Magistrate Judge Ronald L. Ellis from MATTHEW
                                  MRKONIC dated JULY 10, 2015 re: History of the Parties' Agreement Regarding
                                  Date Ranges for ESI Collection. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit A - MAY 26 LETTER, # 2
                                  Exhibit B - 6215 ESI LETTER, # 3Exhibit C - 611 15 LETTER TO J. HAMMEL,
                                  #4Exhibit D - LETTER 618 15)(Mrkonic, Matthew) (Entered: 07/10/2015)

            07/10/2015       86   LETTER addressed to Magistrate Judge Ronald L. Ellis from Jeff G. Hammel dated
                                  July 10, 2015 re: date ranges for ESI collection. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibits
                                  1-4, # 2Exhibits 5-9, # 3Exhibits 10-14)(Hammel, Jeff) (Entered: 07/10/2015)

            07/10/2015       87   LETTER addressed to Magistrate Judge Ronald L. Ellis from Jeff G. Hammel dated
                                  July 10, 2015 re: search terms for ESI review. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibits
                                  1-4)(Hammel, Jeff) (Entered: 07/10/2015)

            07/10/2015       88   LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew Mrkonic
                                  dated July 10, 2015 re: Search Terms for ESI Review. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic, Matthew) (Entered:
                                  07/10/2015)

            07/14/2015       89   MOTION for Andrew W. Clark to Appear Pro Hac Vice. Filing fee $ 200.00, receipt
                                  number 0208-11150607. Motion and supporting papers to be reviewed by Clerk's
                                  Office staff. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                  Syntel, Inc.. (Attachments: # 1Exhibit A - Declaration of Andrew W. Clark in
                                  Support of Motion for Pro Hac Vice Admission, # 2Text of Proposed Order B -
                                  Proposed Order)(Solomon, Louis) (Entered: 07/14/2015)

            07/14/2015            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 89 MOTION for Andrew W. Clark to Appear Pro Hac Vice. Filing fee $
                                  200.00, receipt number 0208-11150607. Motion and supporting papers to be
                                  reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                  no deficiencies. (wb) (
                                                        Entered: 07/14/2015)

            07/15/2015       90   ORDER granting 89 Motion for Andrew W. Clark to Appear Pro Hac Vice
                                  (HEREBY ORDERED by Judge Lorna G. Schofield)(Text Only Order) (Schofield,
                                  Lorna) (Entered: 07/15/2015)




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            07/17/2015       91   MEMORANDUM OF LAW in Opposition re: 82 MOTION to Compel Plaintiffs to
                                  Produce Documents .. Document filed by Syntel Sterling Best Shores Mauritius
                                  Limited, Syntel, Inc.. (Mrkonic, Matthew) (Entered: 07/17/2015)

            07/17/2015       92   DECLARATION of MATTHEW G. MRKONIC in Opposition re: 82 MOTION to
                                  Compel Plaintiffs to Produce Documents .. Document filed by Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit Exhibits A-E, # 2
                                  Exhibit Exhibits F-G)(Mrkonic, Matthew) (Entered: 07/17/2015)

            07/20/2015       93   REPLY MEMORANDUM OF LAW in Support re: 82 MOTION to Compel
                                  Plaintiffs to Produce Documents .. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc.. ( Serritella, Paul) (Entered: 07/20/2015)

            07/20/2015       94   DECLARATION of Paul A. Serritella in Support re: 82 MOTION to Compel
                                  Plaintiffs to Produce Documents .. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit
                                  2)(Serritella, Paul) (Entered: 07/20/2015)

            07/21/2015       95   NOTICE OF APPEARANCE by Andrew Wright Clark on behalf of Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc.. (Clark, Andrew) (Entered: 07/21/2015)

            07/22/2015       96   TRANSCRIPT of Proceedings re: Conference held on 6/23/2015 before Judge Lorna
                                  G. Schofield. Court Reporter/Transcriber: Martha Drevis, (212) 805-0300. Transcript
                                  may be viewed at the court public terminal or purchased through the Court
                                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                  that date it may be obtained through PACER. Redaction Request due 8/17/2015.
                                  Redacted Transcript Deadline set for 8/27/2015. Release of Transcript Restriction set
                                  for 10/23/2015. (Rodriguez, Somari) (Entered: 07/22/2015)

            07/22/2015       97   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aConference proceeding held on 06/23/2015 has been filed by
                                  the court reporter/transcriber in the above-captioned matter. The parties have seven
                                  (7) calendar days to file with the court aNotice of Intent to Request Redaction of this
                                  transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days...
                                  (Rodriguez, Somari) (Entered: 07/22/2015)

            07/24/2015       98   LETTER addressed to Magistrate Judge Ronald L. Ellis from Jeff G. Hammel dated
                                  July 24, 2015 re: information pertaining to confidentiality. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff)
                                  (Entered: 07/24/2015)

            07/27/2015       99   PROTECTIVE ORDER... regarding procedures to be followed that shall govern the
                                  handling of confidential material... (Signed by Magistrate Judge Ronald L. Ellis on
                                  7/27/2015) (kko) (Entered: 07/27/2015)

            07/28/2015      100   TRANSCRIPT of Proceedings re: Status Conference held on 6/16/2015 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 8/21/2015. Redacted Transcript Deadline set for 8/31/2015. Release of Transcript
                                  Restriction set for 10/29/2015.(ca) (Entered: 07/28/2015)




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            07/28/2015      101   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aStatus Conference proceeding held on 06/16/2015 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... (ca)
                                  (Entered: 07/28/2015)

            07/28/2015      102   LETTER addressed to Magistrate Judge Ronald L. Ellis from Jeff G. Hammel dated
                                  July 28, 2015 re: additional discovery refusal by Syntel. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff)
                                  (Entered: 07/28/2015)

            07/31/2015            Status Conference set for 8/5/2015 at 3:00 PM in Courtroom 11C, 500 Pearl Street,
                                  New York, NY 10007 before Magistrate Judge Ronald L. Ellis. No request for
                                  adjournment will be considered unless made at least THREE BUSINESS DAYS
                                  before the scheduled conference and only after the parties have consulted with each
                                  other. Direct inquiries to Rupa Shah, 212-805-0242. (rsh) (Entered: 07/31/2015)

            07/31/2015      103   ORDER: WHEREAS, the Case Management Plan ordered on March 24, 2015 (Dkt.
                                  No. 51) required the parties to submit ajoint status letter by July 29, 2015;
                                  WHEREAS, the parties failed to submit ajoint status letter; it is hereby ORDERED
                                  that, by August 7, 2015, the parties shall file ajoint status letter in accordance with
                                  Individual Rule IV.A.2. ( Signed by Judge Lorna G. Schofield on 7/31/2015) (kgo)
                                  (Entered: 07/31/2015)

            07/31/2015      104   LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew Mrkonic
                                  dated July 31, 2015 re: Response to Defendants' July 28, 2015 Letter. Document filed
                                  by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic, Matthew)
                                  (Entered: 07/31/2015)

            08/03/2015      105   TRANSCRIPT of Proceedings re: Telephone Conference held on 7/2/2015 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Carole Ludwig, (212)
                                  420-0771. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 8/27/2015. Redacted Transcript Deadline set for 9/8/2015. Release of Transcript
                                  Restriction set for 11/5/2015.(ca) (Entered: 08/03/2015)

            08/03/2015      106   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephone Conference proceeding held on 07/02/2015 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... (ca)
                                  (Entered: 08/03/2015)

            08/04/2015      107   MOTION to Enforce This Court's July 2, 2015 Discovery Order. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Serritella, Paul)
                                  (Entered: 08/04/2015)

            08/04/2015      108   MEMORANDUM OF LAW in Support re: 107 MOTION to Enforce This Court's
                                  July 2, 2015 Discovery Order .. Document filed by Cognizant Technology Solutions
                                  Corp., The Trizetto Group, Inc.. ( Serritella, Paul) (Entered: 08/04/2015)



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            08/04/2015      109   DECLARATION of Paul A. Serritella in Support re: 107 MOTION to Enforce This
                                  Court's July 2, 2015 Discovery Order.. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2,
                                  #3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6)(Serritella, Paul) (Entered:
                                  08/04/2015)

            08/05/2015            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis: Status
                                  Conference held on 8/5/2015 at 2:50 p.m. (rsh) (Entered: 08/05/2015)

            08/05/2015      110   ORDER denying 82 Motion to Compel. (HEREBY ORDERED by Magistrate Judge
                                  Ronald L. Ellis)(Text Only Order) (Ellis, Ronald) (Entered: 08/05/2015)

            08/07/2015      111   JOINT LETTER addressed to Judge Lorna G. Schofield from Jeff G. Hammel and
                                  Matthew G. Mrkonic dated August 7, 2015 re: Joint Discovery Status Letter.
                                  Document filed by Cognizant Technology Solutions Corp., Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc., The Trizetto Group, Inc..(Hammel, Jeff)
                                  (Entered: 08/07/2015)

            08/11/2015      112   TRANSCRIPT of Proceedings re: Status Conference held on 8/5/2015 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Mary Greco, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 9/4/2015. Redacted Transcript Deadline set for 9/14/2015. Release of Transcript
                                  Restriction set for 11/12/2015.(ca) (Entered: 08/11/2015)

            08/11/2015      113   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aStatus Conference proceeding held on 08/05/2015 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... (ca)
                                  (Entered: 08/11/2015)

            08/21/2015      114   MEMORANDUM OF LAW in Opposition re: 107 MOTION to Enforce This Court's
                                  July 2, 2015 Discovery Order .. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc.. (Mrkonic, Matthew) (Entered: 08/21/2015)

            08/21/2015      115   DECLARATION of Matthew G. Mrkonic in Opposition re: 107 MOTION to Enforce
                                  This Court's July 2, 2015 Discovery Order.. Document filed by Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit A, # 2Exhibit B, #
                                  3Exhibit C, # 4Exhibit D, # 5Exhibit E, # 6Exhibit F, # 7Exhibit G, # 8Exhibit
                                  H)(Mrkonic, Matthew) (Entered: 08/21/2015)

            08/28/2015      116   LETTER addressed to Magistrate Judge Ronald L. Ellis from Paul A. Serritella dated
                                  August 28, 2015 re: Withdrawal of Motion to Enforce This Court's July 2, 2015
                                  Discovery Order. Document filed by Cognizant Technology Solutions Corp., The
                                  Trizetto Group, Inc..(Serritella, Paul) (Entered: 08/28/2015)

            09/01/2015      117   JOINT LETTER addressed to Magistrate Judge Ronald L. Ellis from Jeff G. Hammel
                                  dated September 1, 2015 re: status of discovery. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Hammel, Jeff) (Entered:
                                  09/01/2015)




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            09/02/2015      118   JOINT LETTER MOTION to Adjourn Conference addressed to Judge Lorna G.
                                  Schofield from Paul A. Serritella dated September 2, 2015. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Serritella, Paul)
                                  (Entered: 09/02/2015)

            09/03/2015      119   ORDER granting 118 JOINT LETTER MOTION to Adjourn Conference addressed
                                  to Judge Lorna G. Schofield from Paul A. Serritella dated September 2, 2015.
                                  Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.
                                  The case management conference scheduled for September 8, 2015, is hereby
                                  adjourned sine die. Within three days of the close of discovery, the parties shall
                                  submit ajoint status letter proposing dates for acase management conference.
                                  (Signed by Judge Lorna G. Schofield on 9/3/2015) (rjm) (Entered: 09/03/2015)

            11/05/2015      120   LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew G. Mrkonic
                                  dated November 5, 2015 re: Document Production and Search Terms. Document
                                  filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic,
                                  Matthew) (Entered: 11/05/2015)

            11/12/2015      121   LETTER addressed to Magistrate Judge Ronald L. Ellis from Jeff G. Hammel dated
                                  November 12, 2015 re: Document Production and Search Terms. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                  Exhibit 1)(Hammel, Jeff) (Entered: 11/12/2015)

            11/20/2015      122   LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew Mrkonic
                                  dated November 20, 2015 re: Response to Defendants' November 12, 2015 Letter.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Mrkonic, Matthew) (Entered: 11/20/2015)

            11/24/2015      123   ORDER terminating 107 Motion To Enforce This Court's July 2, 2015 Order.
                                  (HEREBY ORDERED by Magistrate Judge Ronald L. Ellis)(Text Only Order) (Ellis,
                                  Ronald) (Entered: 11/24/2015)

            12/01/2015            Telephone Conference set for 12/4/2015 at 11:00 AM before Magistrate Judge
                                  Ronald L. Ellis. On the day of the conference, the parties will jointly place a
                                  telephone call to the chambers of Judge Ronald L. Ellis, at 212-805-0563. Upon
                                  receipt of this order, if you need further information, direct inquiries to Rupa Shah,
                                  212-805-0242. (rsh) (Entered: 12/01/2015)

            12/04/2015            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 12/4/2015 at 11:00 a.m. (rsh) (Entered: 12/04/2015)

            12/04/2015      124   ORDER: Syntel's request to modify its own and Defendants' search terms is
                                  DENIED. The deadline for document production is extended to December 31, 2015.
                                  (As further set forth in this Order.) ( Signed by Magistrate Judge Ronald L. Ellis on
                                  12/4/2015) (kko) (Entered: 12/04/2015)

            12/15/2015      125   NOTICE OF APPEARANCE by Jared Michael Barcenas on behalf of Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Barcenas, Jared) (Entered:
                                  12/15/2015)

            12/18/2015      126   NOTICE OF APPEARANCE by Joshua Levicoff Simmons on behalf of Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. ( Simmons, Joshua) (Entered:
                                  12/18/2015)




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            12/18/2015      127   MOTION for Michael Woodrow De Vries to Appear Pro Hac Vice. Filing fee $
                                  200.00, receipt number 0208-11754546. Motion and supporting papers to be
                                  reviewed by Clerk's Office staff. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc..(De Vries, Michael) (Entered: 12/18/2015)

            12/18/2015            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 127 MOTION for Michael Woodrow De Vries to Appear Pro Hac Vice.
                                  Filing fee $ 200.00, receipt number 0208- 11754546. Motion and supporting
                                  papers to be reviewed by Clerk's Office staff.. The document has been reviewed
                                  and there are no deficiencies. (wb) (Entered: 12/18/2015)

            12/18/2015      128   MOTION To Object To The Magistrate Judge's December 4, 2015 Recommendation
                                  re: 124 Order, . Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                  Syntel, Inc..(Mrkonic, Matthew) (Entered: 12/18/2015)

            12/18/2015      129   MEMORANDUM OF LAW in Support re: 128 MOTION To Object To The
                                  Magistrate Judge's December 4, 2015 Recommendation re: 124 Order, .. Document
                                  filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: #
                                  1Exhibit A)(Mrkonic, Matthew) (Entered: 12/18/2015)

            12/18/2015      130   LETTER MOTION to Stay re: 124 Order, addressed to Magistrate Judge Ronald L.
                                  Ellis from Matthew G. Mrkonic dated December 18, 2015. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic, Matthew) (Entered:
                                  12/18/2015)

            12/21/2015      131   ORDER granting 127 Motion for Michael Woodrow De Vries to Appear Pro Hac
                                  Vice (HEREBY ORDERED by Judge Lorna G. Schofield)(Text Only Order)
                                  (Schofield, Lorna) (Entered: 12/21/2015)

            12/21/2015      132   ORDER FOR ADMISSION PRO HAC VICE: The motion of Michael W. De Vries
                                  for admission to practice Pro Hae Vice in the above captioned action is granted. (As
                                  further set forth in this Order) ( Signed by Magistrate Judge Ronald L. Ellis on
                                  12/21/2015) (kl) (Entered: 12/21/2015)

            12/21/2015      133   ORDER: WHEREAS, on December 18, 2015, Plaintiffs filed aNotice of Motion to
                                  Object to the Magistrate Judge's December 4, 2015 Recommendation and a
                                  memorandum of law in support of that motion; it is hereby ORDERED that any
                                  response shall be filed by January 4, 2016. Any reply shall be filed by January 7,
                                  2016. On January 12, 2016, at 10:50 a.m., the parties shall jointly call Chambers at
                                  (212) 805-0288 to discuss this matter. Responses due by 1/4/2016 Replies due by
                                  1/7/2016. Telephone Conference set for 1/12/2016 at 10:50 AM before Judge Lorna
                                  G. Schofield. ( Signed by Judge Lorna G. Schofield on 12/21/2015) (kgo) (Entered:
                                  12/21/2015)

            12/21/2015      134   ORDER. IT IS HEREBY ORDERED that discovery of the documents pertaining to
                                  the contested search terms is stayed until January 12, 2016. The deadline for all other
                                  remaining document production remains December 31, 2015. Granting in part and
                                  denying in part 130 LETTER MOTION to Stay re: 124 Order, addressed to
                                  Magistrate Judge Ronald L. Ellis from Matthew G. Mrkonic dated December 18,
                                  2015. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.
                                  (Signed by Magistrate Judge Ronald L. Ellis on 12/21/2015) (rjm) (Entered:
                                  12/22/2015)




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            12/21/2015      135   STIPULATION AND ORDER SUBSTITUTING COUNSEL: IT IS HEREBY
                                  STIPULATED AND AGREED, by and between the undersigned that Michael De
                                  Vries, Gianni Cutri, Jared Barcenas, and Joshua Simmons of the law firm Kirkland &
                                  Ellis LLP be substituted as counsel for Defendants and Counterclaim Plaintiffs
                                  TriZetto Corporation (formerly known as The TriZetto Group, Inc.) and Cognizant
                                  Technology Solutions Corporation in the place of James E. Brandt, Jeff G. Hammel,
                                  Paul A. Serritella, and Sarah M. Lightdale of Latham & Watkins LLP. Attorney Sarah
                                  Malke Lightdale; Paul Anthony Serritella; James Ellis Brandt and Jeff G. Hammel
                                  terminated. The Clerk of Court is directed to file the attached declaration with this
                                  Order. ( Signed by Judge Lorna G. Schofield on 12/21/2015) (kgo) Modified on
                                  12/22/2015 (kgo). (Entered: 12/22/2015)

            12/23/2015      136   TRANSCRIPT of Proceedings re: TELEPHONE CONFERENCE held on 12/4/2015
                                  before Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer,
                                  (518) 581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 1/16/2016. Redacted Transcript Deadline set for 1/26/2016. Release of Transcript
                                  Restriction set for 3/25/2016.(ca) (Entered: 12/23/2015)

            12/23/2015      137   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTELEPHONE CONFERENCE proceeding held on 12/04/2015
                                  has been filed by the court reporter/transcriber in the above-captioned matter. The
                                  parties have seven (7) calendar days to file with the court aNotice of Intent to
                                  Request Redaction of this transcript. If no such Notice is filed, the transcript may be
                                  made remotely electronically available to the public without redaction after 90
                                  calendar days ... (ca) (Entered: 12/23/2015)

            12/30/2015      138   MOTION for Gianni Cutri to Appear Pro Hac Vice. Filing fee $ 200.00, receipt
                                  number 0208-11787411. Motion and supporting papers to be reviewed by Clerk's
                                  Office staff. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc..(Cutri, Gianni) (Entered: 12/30/2015)

            12/30/2015            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 138 MOTION for Gianni Cutri to Appear Pro Hac Vice. Filing fee $ 200.00,
                                  receipt number 0208-    11787411. Motion and supporting papers to be reviewed by
                                  Clerk's Office staff.. The document has been reviewed and there are no
                                  deficiencies. (sdi) (
                                                      Entered: 12/30/2015)

            01/04/2016      139   ORDER FOR ADMISSION PRO HAC VICE granting 138 Motion for Gianni Cutri
                                  to Appear Pro Hac Vice. ( Signed by Magistrate Judge Ronald L. Ellis on 1/4/2016)
                                  (kko) (Entered: 01/04/2016)

            01/04/2016      140   MEMORANDUM OF LAW in Opposition re: 128 MOTION To Object To The
                                  Magistrate Judge's December 4, 2015 Recommendation re: 124 Order, .. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                  (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit
                                  5)(Cutri, Gianni) (Entered: 01/04/2016)

            01/07/2016      141   REPLY MEMORANDUM OF LAW in Support re: 128 MOTION To Object To The
                                  Magistrate Judge's December 4, 2015 Recommendation re: 124 Order, .. Document
                                  filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Mrkonic,
                                  Matthew) (Entered: 01/07/2016)




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            01/12/2016      142   JOINT LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew
                                  Mrkonic dated January 12, 2016 re: Plaintiffs' December 18, 2015 Motion. Document
                                  filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic,
                                  Matthew) (Entered: 01/12/2016)

            01/12/2016      143   ORDER denying 128 Motion To Object To The Magistrate Judge's December 4,
                                  2015 Recommendation. WHEREAS, atelephone conference was held on January 12,
                                  2016; for the reasons stated at the conference, it is hereby ORDERED that Plaintiffs'
                                  motion at Dkt. No. 128 is DENIED and Judge Ellis' December 4, 2015 Order is
                                  AFFIRMED. The parties are directed to notify Judge Ellis of this ruling today, so he
                                  may set anew deadline for the completion of document discovery. The Clerk of
                                  Court is directed to close Dkt. No. 128. ( Signed by Judge Lorna G. Schofield on
                                  1/12/2016) (kgo) (Entered: 01/13/2016)

            01/12/2016            Minute Entry for proceedings held before Judge Lorna G. Schofield: Telephone
                                  Conference held on 1/12/2016. (Court Reporter Steve Greenblum) Ocs) (Entered:
                                  02/10/2016)

            01/13/2016            ENDORSED LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew
                                  Mrkonic dated 1/12/2016 re: deadline for Syntel's outstanding production.
                                  ENDORSEMENT: GRANTED. ( Signed by Magistrate Judge Ronald L. Ellis on
                                  1/13/2016) (Ellis, Ronald) (Entered: 01/13/2016)

            02/24/2016      144   ORDER: IT IS HEREBY ORDERED that by March 4, 2016, the Parties shall file a
                                  joint letter detailing the status of discovery in this case, what discovery remains, and
                                  aproposed timeline for its completion. If the Parties cannot agree on atimeline, the
                                  status report must include their respective positions. ( Signed by Magistrate Judge
                                  Ronald L. Ellis on 2/24/2016) (kko) (Entered: 02/24/2016)

            03/04/2016      145   JOINT LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew
                                  Mrkonic dated March 4, 2016 re: Discovery Status Report. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic, Matthew) (Entered:
                                  03/04/2016)

            03/09/2016            Status Conference set for 4/18/2016 at 11:00 AM in Courtroom 11C, 500 Pearl
                                  Street, New York, NY 10007 before Magistrate Judge Ronald L. Ellis. No request for
                                  adjournment will be considered unless made at least THREE BUSINESS DAYS
                                  before the scheduled conference and only after the parties have consulted with each
                                  other. Direct inquiries to Rupa Shah, 212-805-0242. (rsh) (Entered: 03/09/2016)

            04/18/2016            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis: Status
                                  Conference held on 4/18/2016 at 11:20 a.m. Joint Status report due by April 29,
                                  2016. (rsh) (Entered: 04/18/2016)

            04/21/2016      146   TRANSCRIPT of Proceedings re: Status Conference held on 4/18/2016 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Ruth Ann Hagar, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 5/16/2016. Redacted Transcript Deadline set for 5/26/2016. Release of Transcript
                                  Restriction set for 7/25/2016.(ca) (Main Document 146 replaced with REDACTED
                                  TRANSCRIPT on 5/27/2016) (ca). (Entered: 04/21/2016)




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            04/21/2016      147   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aStatus Conference proceeding held on 04/18/2016 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... (ca)
                                  (Entered: 04/21/2016)

            04/28/2016      148   NOTICE of Intent to Request Redaction by Matthew George Mrkonic re 146
                                  Transcript,,.(Mrkonic, Matthew) (Entered: 04/28/2016)

            04/28/2016      149   NOTICE of Intent to Request Redaction re: 146 Transcript,,. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Cutri, Gianni)
                                  (Entered: 04/28/2016)

            05/03/2016      150   ORDER: Having received the Parties' joint letter dated April 29, 2016, IT IS
                                  HEREBY ORDERED that the Parties shall submit ajoint letter stating their
                                  respective positions on disputed discovery issues by May 12, 2016. The Parties'
                                  request for afifteen-page enlargement to the page limit for letters to the Court is
                                  GRANTED. ( Signed by Magistrate Judge Ronald L. Ellis on 5/3/2016) (kko)
                                  (Entered: 05/03/2016)

            05/18/2016      151   ORDER: The Court has received the Parties' May 16, 2016 joint letter requesting
                                  permission to file the transcript of the Court's April 18, 2016 hearing (Doc. No. 146,
                                  "Hearing Transcript") on the public record with redactions. The Parties' motion is
                                  hereby GRANTED. The Court notes, however, that granting this motion does not
                                  indicate that the Court agrees that the information was appropriately marked as
                                  confidential. Some of the redactions do not appear to contain " sensitive business
                                  information" or other information that has the ability to cause harm to the business
                                  interests of the Parties. However, the alternative, having the Parties complete amore
                                  focused redaction, is outweighed by the efficient completion of discovery. ( Signed by
                                  Magistrate Judge Ronald L. Ellis on 5/18/2016) (kko) (Entered: 05/18/2016)

            06/01/2016      152   NOTICE OF CHANGE OF ADDRESS by Louis M. Solomon on behalf of Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc.. New Address: Greenberg
                                  Traurig LLP, 200 Park Avenue, New York, New York, USA 10166, 212-801-6500.
                                  (Solomon, Louis) (Entered: 06/01/2016)

            06/02/2016            NOTICE of Hearing: Status Conference set for 6/13/2016 at 2:30 PM in Courtroom
                                  IIC, 500 Pearl Street, New York, NY 10007 before Magistrate Judge Ronald L. Ellis.
                                  No request for adjournment will be considered unless made at least THREE
                                  BUSINESS DAYS before the scheduled conference and only after the parties have
                                  consulted with each other. Direct inquiries to Rupa Shah, 212-805-0242. (rsh)
                                  (Entered: 06/02/2016)

            06/07/2016      153   JOINT LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew G.
                                  Mrkonic dated June 7, 2016 re: Request To Adjourn Status Conference. Document
                                  filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic,
                                  Matthew) (Entered: 06/07/2016)

            06/08/2016            ENDORSED LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew
                                  Mrkonic and Gianni Cutri dated 6/7/2016 re: adjournment of status conference.
                                  ENDORSEMENT: GRANTED. ( Signed by Magistrate Judge Ronald L. Ellis on
                                  6/8/2016) (Ellis, Ronald) (Entered: 06/08/2016)



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            06/08/2016            Set/Reset Hearings: Status Conference set for 6/22/2016 at 11:00 AM in Courtroom
                                  IIC, 500 Pearl Street, New York, NY 10007 before Magistrate Judge Ronald L. Ellis.
                                  No request for adjournment will be considered unless made at least THREE
                                  BUSINESS DAYS before the scheduled conference and only after the parties have
                                  consulted with each other. Direct inquiries to Rupa Shah, 212-805-0242. (rsh)
                                  (Entered: 06/08/2016)

            06/08/2016            **** DUE TO A SCHEDULING CONFLICT, THE NEW DATE FOR THE
                                  STATUS CONFERENCE HAS BEEN UPDATED BELOW. Status Conference set
                                  for 6/21/2016 at 10:30 AM in Courtroom 11C, 500 Pearl Street, New York, NY
                                  10007 before Magistrate Judge Ronald L. Ellis. No request for adjournment will be
                                  considered unless made at least THREE BUSINESS DAYS before the scheduled
                                  conference and only after the parties have consulted with each other. Direct inquiries
                                  to Rupa Shah, 212-805-0242 (rsh) (Entered: 06/08/2016)

            06/08/2016      154   NOTICE OF APPEARANCE by Phillip Aaron Lee Hill on behalf of Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Hill, Phillip) (Entered:
                                  06/08/2016)

            06/16/2016      155   LETTER addressed to Judge Lorna G. Schofield from Matthew G. Mrkonic dated
                                  June 16, 2016 re: Defendants' June 13, 2016 Motion To Amend. Document filed by
                                  Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic, Matthew)
                                  (Entered: 06/16/2016)

            06/17/2016      156   LETTER addressed to Judge Lorna G. Schofield from Matthew G. Mrkonic dated
                                  June 17, 2016 re: Syntel's June 16, 2016 ECF Letter. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc..(Mrkonic, Matthew) (Entered:
                                  06/17/2016)

            06/21/2016            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis: Status
                                  Conference held on 6/21/2016 at 10:40 a.m. Plaintiffs opposition to defendant's
                                  motion to Amend is due by 6/27/2016. A telephone conference is scheduled for
                                  6/29/2016 at 12:00 p.m. (rsh) (Entered: 06/21/2016)

            06/21/2016            NOTICE of Hearing: Telephone Conference set for 6/29/2016 at 12:00 PM before
                                  Magistrate Judge Ronald L. Ellis. On the day of the conference, the parties will
                                  jointly place atelephone call to the chambers of Judge Ronald L. Ellis, at
                                  212-805-0563. (rsh) (Entered: 06/21/2016)

            06/22/2016      157   TRANSCRIPT of Proceedings re: Status Conference held on 6/21/2016 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 7/18/2016. Redacted Transcript Deadline set for 7/28/2016. Release of Transcript
                                  Restriction set for 9/23/2016.(ca) (Main Document 157 replaced on 8/10/2016 with
                                  REDACTED VERSION) (ca). Modified on 8/10/2016 (ca). (Entered: 06/22/2016)

            06/22/2016      158   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aStatus Conference proceeding held on 06/21/2016 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... (ca)



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                                  (Entered: 06/22/2016)

            06/29/2016      159   NOTICE of Intent to Request Redaction by Matthew George Mrkonic re 157
                                  Transcript,,.(Mrkonic, Matthew) (Entered: 06/29/2016)

            06/29/2016            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 6/29/2016 at 12:00 p.m. (rsh) (Entered: 06/30/2016)

            06/30/2016      160   NOTICE OF CHANGE OF ADDRESS by Harold S. Shaftel on behalf of Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc.. New Address: Greenberg
                                  Traurig, LLP, 200 Park Avenue, New York, New York, USA 10166, 212-801-2164.
                                  (Shaftel, Harold) (Entered: 06/30/2016)

            06/30/2016      161   LETTER MOTION for Extension of Time to File Response/Reply in Support cf
                                  Defendants' Motion to Amend addressed to Magistrate Judge Ronald L. Ellis from
                                  Gianni Cutri dated 6/30/2016. Document filed by Cognizant Technology Solutions
                                  Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 06/30/2016)

            07/01/2016      162   ORDER granting 161 Letter Motion for Extension of Time to File Response/Reply.
                                  (HEREBY ORDERED by Magistrate Judge Ronald L. Ellis)(Text Only Order) (Ellis,
                                  Ronald) (Entered: 07/01/2016)

            07/08/2016      163   ORDER. WHEREAS, on July 5, 2016, Plaintiffs emailed amotion to appeal the
                                  Magistrate Judge's June 21, 2016 order; WHEREAS, Plaintiffs' motion and
                                  supporting papers included information which has been designated confidential by
                                  Defendants or ordered to be publicly redacted; it is hereby ORDERED that
                                  Defendants shall file any opposition to the appeal by July 15, 2016. Plaintiffs shall
                                  not file any reply. It is further ORDERED that the parties shall appear for a
                                  telephonic conference on July 19, 2016, at 11:40 a.m., and shall call Chambers at
                                  212-805-0288 when all counsel are on the line. It is further ORDERED that Plaintiffs'
                                  redactions are permitted. Plaintiffs shall file their moving papers, submitted to the
                                  Court by email on July 5, 2016, in redacted form on ECF and in full, unredacted form
                                  under seal by July 15, 2016. (Responses due by 7/15/2016), (Telephone Conference
                                  set for 7/19/2016 at 11:40 AM before Judge Lorna G. Schofield.) ( Signed by Judge
                                  Lorna G. Schofield on 7/8/2016) (rjm) (Entered: 07/11/2016)

            07/08/2016            Set/Reset Deadlines: Motions due by 7/15/2016. (rjm) (Entered: 07/11/2016)

            07/12/2016      164   ORDER: IT IS HEREBY ORDERED that the parties are scheduled for a
                                  TELEPHONIC CONFERENCE with the Court on July 15, 2016, at 11:15 a.m. On
                                  the day of the conference, the parties will jointly place atelephone call to the
                                  chambers of Judge Ronald L. Ellis, at 212-805-0563. Upon receipt of this order, if
                                  you need further information, direct inquiries to Rupa Shah, 212-805-0242.
                                  (Telephone Conference set for 7/15/2016 at 11:15 AM before Magistrate Judge
                                  Ronald L. Ellis.) ( Signed by Magistrate Judge Ronald L. Ellis on 7/12/2016) (kko)
                                  (Entered: 07/12/2016)

            07/12/2016      165   JOINT LETTER MOTION to Adjourn Conference addressed to Magistrate Judge
                                  Ronald L. Ellis from Gianni Cutri dated July 12, 2016. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                  07/12/2016)

            07/13/2016      166   TRANSCRIPT of Proceedings re: TELEPHONE CONFERENCE held on 6/29/2016
                                  before Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer,
                                  (518) 581-8973. Transcript may be viewed at the court public terminal or purchased



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                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 8/8/2016. Redacted Transcript Deadline set for 8/18/2016. Release of Transcript
                                  Restriction set for 10/14/2016.(ca) (Entered: 07/13/2016)

            07/13/2016      167   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTELEPHONE CONFERENCE proceeding held on 06/29/2016
                                  has been filed by the court reporter/transcriber in the above-captioned matter. The
                                  parties have seven (7) calendar days to file with the court aNotice of Intent to
                                  Request Redaction of this transcript. If no such Notice is filed, the transcript may be
                                  made remotely electronically available to the public without redaction after 90
                                  calendar days ... (ca) (Entered: 07/13/2016)

            07/13/2016      168   NOTICE OF CHANGE OF ADDRESS by Norman C. Ankers on behalf of Syntel
                                  Sterling Best Shores Mauritius Limited. New Address: Foley & Lardner, 500
                                  Woodward Ave., Suite 2700, Detroit, Michigan, USA 48226, 313-234-7100. (Ankers,
                                  Norman) (Entered: 07/13/2016)

            07/14/2016      169   LETTER MOTION to Stay re: 166 Transcript„ ,
                                                                            Tune 29, 2016 Order addressed to
                                  Magistrate Judge Ronald L. Ellis from Matthew Mrkonic dated July 14, 2016.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Mrkonic, Matthew) (Entered: 07/14/2016)

            07/14/2016      170   ORDER granting 165 Letter Motion to Adjourn Conference. Telephone Conference
                                  set for 7/26/2016 at 10:00 AM before Magistrate Judge Ronald L. Ellis. On the day
                                  of the conference, the parties will jointly place atelephone call to the chambers of
                                  Judge Ronald L. Ellis, at 212-805-0563. Upon receipt of this order, if you need
                                  further information, direct inquiries to Rupa Shah, 212-805-0242. (HEREBY
                                  ORDERED by Magistrate Judge Ronald L. Ellis)(Text Only Order) (Ellis, Ronald)
                                  (Entered: 07/14/2016)

            07/15/2016      171   FILING ERROR -WRONG EVENT TYPE SELECTED FROM MENU -
                                  APPEAL OF MAGISTRATE JUDGE DECISION to District Court from 157
                                  Transcript,,. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                  Syntel, Inc.. Copies of Appeal of Magistrate Judge Decision to District Court served
                                  on Attorney(s) of Record: Gianni Cutri, Jared Barcenas, Phillip Hill, Michael de
                                  Vries, Joshua Simmons. (Attachments: # 1Declaration of Matthew Mrkonic, # 2
                                  Exhibits 1-15 (Redacted))(Mrkonic, Matthew) Modified on 7/18/2016 (ka). (Entered:
                                  07/15/2016)

            07/15/2016      175   SEALED DOCUMENT placed in vault.(mps) (Entered: 07/18/2016)

            07/18/2016            ** *NOTICE TO ATTORNEY TO RE-FILE DOCUMENT -EVENT TYPE
                                  ERROR. Notice to Attorney Matthew George Mrkonic to RE-FILE Document
                                  171 Appeal of Magistrate Judge Decision to District Court. Use the event type
                                  Motion miscellaneous relief found under the event list Motions. (ka) (
                                                                                                       Entered:
                                  07/18/2016)

            07/18/2016      172   MOTION To Appeal Magistrate Judge's June 21, 2016 Order re: 157 Transcript„ .
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Mrkonic, Matthew) (Entered: 07/18/2016)

            07/18/2016      173   MEMORANDUM OF LAW in Support re: 172 MOTION To Appeal Magistrate
                                  Judge's June 21, 2016 Order re: 157 Transcript„ .. Document filed by Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc.. (Mrkonic, Matthew) (Entered:



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                                  07/18/2016)

            07/18/2016      174   DECLARATION of Matthew Mrkonic in Support re: 172 MOTION To Appeal
                                  Magistrate Judge's June 21, 2016 Order re: 157 Transcript„ .. Document filed by
                                  Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                  Exhibits 1-15 (Redacted))(Mrkonic, Matthew) (Entered: 07/18/2016)

            07/19/2016      176   LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew Mrkonic
                                  dated July 19, 2016 re: Plaintiffs' Letter Motion To Stay the June 29, 2016 Order
                                  (Dkt. # 169). Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                  Syntel, Inc..(Mrkonic, Matthew) (Entered: 07/19/2016)

            07/19/2016      177   NOTICE OF APPEARANCE by Robert Sanford Friedman on behalf of Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Friedman, Robert) (Entered:
                                  07/19/2016)

            07/19/2016      178   NOTICE OF APPEARANCE by Jeffrey Thomas Kern on behalf of Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc.. (Kern, Jeffrey) (Entered: 07/19/2016)

            07/19/2016      179   NOTICE OF APPEARANCE by Rena Andoh on behalf of Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc.. (Andoh, Rena) (Entered: 07/19/2016)

            07/19/2016      180   NOTICE OF APPEARANCE by Brian Bradford Garrett on behalf of Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc.. (Garrett, Brian) (Entered: 07/19/2016)

            07/19/2016            Minute Entry for proceedings held before Judge Lorna G. Schofield: Telephone
                                  Conference held on 7/19/2016. (Court Reporter Vincent Bolgna) Ocs) (Entered:
                                  08/11/2016)

            07/20/2016      181   ORDER: ORDERED that Judge Ellis's June 21, 2016, ruling is AFFIRMED as it was
                                  not " clearly erroneous or contrary to law." 28 U.S.C. § 636(b)(1)(A); see also Fed. R.
                                  Civ. P. 72(a). It is further ORDERED that Defendants' opposition to Plaintiffs' motion
                                  appealing Judge Ellis's June 29, 2016, Order shall be due July 25, 2016. It is further
                                  ORDERED that the parties shall appear for atelephonic conference on July 28, 2016,
                                  at 11:00 a.m. The parties shall jointly call Chambers on one line at 212-805-0288 at
                                  the appointed time. ( Responses due by 7/25/2016, Telephone Conference set for
                                  7/28/2016 at 11:00 AM before Judge Lorna G. Schofield.) ( Signed by Judge Lorna G.
                                  Schofield on 7/20/2016) (ama) (Entered: 07/20/2016)

            07/21/2016      182   LETTER addressed to Magistrate Judge Ronald L. Ellis from Gianni Cutri dated
                                  7/21/2016 re: Stay Request. Document filed by Cognizant Technology Solutions
                                  Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 07/21/2016)

            07/25/2016      183   LETTER addressed to Magistrate Judge Ronald L. Ellis from Norman C. Ankers
                                  dated July 25, 2016 re: Syntel's Request To Stay the Court's June 29, 2016 Order.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Mrkonic, Matthew) (Entered: 07/25/2016)

            07/26/2016            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 7/26/2016 at 10:00 a.m. (rsh) (Entered: 07/26/2016)

            07/27/2016      184   BRIEF In Reply In Support cfPlaintsfs' Motion To Appeal The Magistrate ,fudge's
                                  June 29, 2016 Order. Document filed by Syntel Sterling Best Shores Mauritius
                                  Limited, Syntel, Inc..(Mrkonic, Matthew) (Entered: 07/27/2016)




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            07/28/2016            Minute Entry for proceedings held before Judge Lorna G. Schofield: Telephone
                                  Conference held on 7/28/2016. (Court Reporter Steve Greenblum) Ocs) (Entered:
                                  08/11/2016)

            07/29/2016      185   NOTICE of Withdrawal of Attorney on behalf of Plaintiffs. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Letter re
                                  withdrawal of attorney)(Solomon, Louis) (Entered: 07/29/2016)

            07/29/2016      186   NOTICE of Withdrawal of Attorney on behalf of Plaintiffs re: 52 Notice of
                                  Appearance. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                  Syntel, Inc.. (Attachments: # 1Letter re withdrawal of attorney)(Shaftel, Harold)
                                  (Entered: 07/29/2016)

            07/29/2016      187   ORDER terminating 172 Motion To Appeal Magistrate Judge's June 21, 2016 Order.
                                  It is hereby ORDERED that Judge Ellis's June 29, 2016, ruling is AFFIRMED as it
                                  was not " clearly erroneous or contrary to law." 28 U.S.C. § 636(b)(1)(A); see also
                                  Fed. R. Civ. P. 72(a). It is further ORDERED that the parties shall file their papers
                                  submitted in relation to this appeal in redacted form on ECF and in full, un-redacted
                                  form under seal, to the extent they have not already done so, by August 5, 2016. The
                                  Clerk of Court is respectfully requested to close Dkt. No. 172, for which aruling was
                                  previously rendered. See Dkt. No. 181. ( Signed by Judge Lorna G. Schofield on
                                  7/29/2016) (kgo) (Entered: 07/29/2016)

            07/29/2016      188   ORDER re: 157 Transcript. The Court has received the Parties' July 18, 2016 joint
                                  letter requesting permission to file the transcript of the Court's June 21, 2016 hearing
                                  (Doc. No. 157) on the public record with redactions. The Parties' motion is hereby
                                  GRANTED. ( Signed by Magistrate Judge Ronald L. Ellis on 7/29/2016) (kko)
                                  (Entered: 07/29/2016)

            08/01/2016      189   ENDORSED LETTER addressed to Judge Lorna G. Schofield from Matthew G.
                                  Mrkonic and Gianni Cutri dated 7/25/2016 re: Plaintiffs and Defendants respectfully
                                  request that the Court permit them to redact or file under seal confidential licensing
                                  terms with third parties, client names, and internal communications.
                                  ENDORSEMENT: Application GRANTED only with respect to Defendants'
                                  Memorandum of Law in Opposition to Plaintiffs' Motion to Appeal Judge Ellis's June
                                  21, 2016 Order and associated exhibits. Defendants shall file these papers in redacted
                                  for on ECF and in full, un-redacted form under seal by August 5, 2016. The other
                                  matters noted above are currently pending before Judge Ellis. (Signed by Judge
                                  Lorna G. Schofield on 8/1/2016) (kgo) (Entered: 08/01/2016)

            08/01/2016      190   ORDER: The Court has received the Parties' July 25, 2016 letter asking for leave to
                                  file several Briefs with redactions and certain accompanying exhibits under seal. IT
                                  IS HEREBY ORDERED that the following briefs and accompanying exhibits may be
                                  filed on the public docket with the proposed redactions, and that the full, unredacted
                                  briefs and exhibits shall be filed under seal and placed in the clerk's office: ( 1)
                                  Defendants' Memorandum of Law in Support of Defendants' Motion for Leave to
                                  Amend Counterclaims and accompanying exhibits (dated June 13, 2016); (2)
                                  Plaintiffs Memorandum of Law in Opposition to Defendants' Motion for Leave to
                                  Amend Counterclaims and accompanying exhibits (dated June 27, 2016); and (3)
                                  Defendants' Reply Memorandum of Law in Support of Defendants' Motion for Leave
                                  to Amend Counterclaims (dated July 6, 2016). They may not be unsealed unless
                                  ordered by the Court. ( Signed by Magistrate Judge Ronald L. Ellis on 8/1/2016)
                                  (kko) (Entered: 08/01/2016)



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            08/01/2016            Transmission to Sealed Records Clerk. Transmitted re: 190 Order to the Sealed
                                  Records Clerk for the sealing or unsealing of document or case. (kko) (Entered:
                                  08/01/2016)

            08/05/2016      191   MOTION to Amend/Correct 50 Answer to Amended Complaint, Counterclaim.
                                  Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                  Inc..(Cutri, Gianni) (Entered: 08/05/2016)

            08/05/2016      192   MEMORANDUM OF LAW in Support re: 191 MOTION to Amend/Correct 50
                                  Answer to Amended Complaint, Counterclaim. (   Redacted Version). Document filed
                                  by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Cutri, Gianni)
                                  (Entered: 08/05/2016)

            08/05/2016      193   DECLARATION of Gianni Cutri in Support re: 191 MOTION to Amend/Correct 50
                                  Answer to Amended Complaint, Counterclaim.. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Appendix, #
                                  2Exhibit A, # 3Exhibit 1, # 4Exhibit 2, # 5Exhibit 3, # 6Exhibit 4, # 7Exhibit 5, #
                                  8Exhibit 6, # 9Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9, # 12 Exhibit 10, # 13
                                  Exhibit 11, # 14 Exhibit 12)(Cutri, Gianni) (Entered: 08/05/2016)

            08/05/2016      194   REPLY MEMORANDUM OF LAW in Support re: 191 MOTION to Amend/Correct
                                  50 Answer to Amended Complaint, Counterclaim. (   Redacted Version). Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Cutri,
                                  Gianni) (Entered: 08/05/2016)

            08/05/2016      195   DECLARATION of Jared Barcenas in Support re: 191 MOTION to Amend/Correct
                                  50 Answer to Amended Complaint, Counterclaim.. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit
                                  13)(Barcenas, Jared) (Entered: 08/05/2016)

            08/05/2016      196   MEMORANDUM OF LAW in Opposition re: 191 MOTION to Amend/Correct 50
                                  Answer to Amended Complaint, Counterclaim .. Document filed by Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibits 1-6
                                  (Redacted))(Mrkonic, Matthew) (Entered: 08/05/2016)

            08/05/2016      197   MEMORANDUM OF LAW in Opposition re: 172 MOTION To Appeal Magistrate
                                  Judge's June 21, 2016 Order re: 157 Transcript„ . (
                                                                                    Redacted Version). Document filed
                                  by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Cutri, Gianni)
                                  (Entered: 08/05/2016)

            08/05/2016      198   DECLARATION of Phil Hill in Opposition re: 172 MOTION To Appeal Magistrate
                                  Judge's June 21, 2016 Order re: 157 Transcript„ .. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, #
                                  2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, #
                                  8Exhibit 8, # 9Exhibit 9, # 10 Exhibit 10)(Hill, Phillip) (Entered: 08/05/2016)

            08/05/2016      199   SEALED DOCUMENT placed in vault.(rz) (Entered: 08/05/2016)

            08/05/2016      200   SEALED DOCUMENT placed in vault.(rz) (Entered: 08/05/2016)

            08/05/2016      201   SEALED DOCUMENT placed in vault.(rz) (Entered: 08/05/2016)

            08/05/2016      202   SEALED DOCUMENT placed in vault.(rz) (Entered: 08/05/2016)

            08/10/2016      203   TRANSCRIPT of Proceedings re: DECISION held on 7/19/2016 before Judge Lorna
                                  G. Schofield. Court Reporter/Transcriber: Vincent Bologna, (212) 805-0300.



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                                  Transcript may be viewed at the court public terminal or purchased through the Court
                                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                  that date it may be obtained through PACER. Redaction Request due 9/5/2016.
                                  Redacted Transcript Deadline set for 9/15/2016. Release of Transcript Restriction set
                                  for 11/14/2016.(McGuirk, Kelly) (Entered: 08/10/2016)

            08/10/2016      204   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aDECISION proceeding held on 7/19/16 has been filed by the
                                  court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                  calendar days to file with the court aNotice of Intent to Request Redaction of this
                                  transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days...
                                  (McGuirk, Kelly) (Entered: 08/10/2016)

            08/10/2016      205   TRANSCRIPT of Proceedings re: CONFERENCE held on 1/12/2016 before Judge
                                  Lorna G. Schofield. Court Reporter/Transcriber: Steven Greenblum, (212) 805-0300.
                                  Transcript may be viewed at the court public terminal or purchased through the Court
                                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                  that date it may be obtained through PACER. Redaction Request due 9/5/2016.
                                  Redacted Transcript Deadline set for 9/15/2016. Release of Transcript Restriction set
                                  for 11/14/2016.(McGuirk, Kelly) (Entered: 08/10/2016)

            08/10/2016      206   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aCONFERENCE proceeding held on 1/12/16 has been filed by
                                  the court reporter/transcriber in the above-captioned matter. The parties have seven
                                  (7) calendar days to file with the court aNotice of Intent to Request Redaction of this
                                  transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days...
                                  (McGuirk, Kelly) (Entered: 08/10/2016)

            08/31/2016            NOTICE of Hearing: Telephone Conference set for 9/21/2016 at 11:30 AM before
                                  Magistrate Judge Ronald L. Ellis. On the day of the conference, the parties will
                                  jointly place atelephone call to the chambers of Judge Ronald L. Ellis, at
                                  212-805-0563. Upon receipt of this order, if you need further information, direct
                                  inquiries to Rupa Shah, 212-805-0242.(rsh) (Entered: 08/31/2016)

            09/09/2016      207   JOINT MOTION to Amend/Correct 99 Protective Order. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                  Supplement Addendum)(Cutri, Gianni) (Entered: 09/09/2016)

            09/13/2016      208   MOTION for Matthew Mrkonic and Andrew Clark to Withdraw as Attorney for
                                  Plaint,fs. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Mrkonic, Matthew) (Entered: 09/13/2016)

            09/13/2016      209   AFFIRMATION of Matthew Mrkonic in Support re: 208 MOTION for Matthew
                                  Mrkonic and Andrew Clark to Withdraw as Attorney for Plaint•fs.. Document filed
                                  by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Mrkonic, Matthew)
                                  (Entered: 09/13/2016)

            09/14/2016      210   NOTICE OF APPEARANCE by Peter Neil Wang on behalf of Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc.. (Wang, Peter) (Entered: 09/14/2016)

            09/14/2016      211   NOTICE OF APPEARANCE by Yonaton Aronoff on behalf of Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc.. (Aronoff, Yonaton) (Entered: 09/14/2016)




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            09/20/2016      212   LETTER addressed to Magistrate Judge Ronald L. Ellis from Matthew Mrkonic
                                  dated September 20, 2016 re: Defendants' September 19, 2016 Letter Regarding
                                  Honigman's Motion To Withdraw. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc..(Mrkonic, Matthew) (Entered: 09/20/2016)

            09/21/2016            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 9/21/2016 at 11:30 a.m. Next telephone conference
                                  11/29/16 at 10:30 a.m. (rsh) (Entered: 09/21/2016)

            09/21/2016            Telephone Conference set for 11/29/2016 at 10:30 AM before Magistrate Judge
                                  Ronald L. Ellis. On the day of the conference, the parties will jointly place a
                                  telephone call to the chambers of Judge Ronald L. Ellis, at 212-805-0563. Upon
                                  receipt of this order, if you need further information, direct inquiries to Rupa Shah,
                                  212-805-0242.(rsh) (Entered: 09/21/2016)

            09/21/2016      213   STIPULATED ADDENDUM TO PROTECTIVE ORDER REGARDING SOURCE
                                  CODE... regarding procedures to be followed that shall govern the handling of
                                  confidential material... Motions terminated: 207 JOINT MOTION to Amend/Correct
                                  99 Protective Order filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc. (Signed by Magistrate Judge Ronald L. Ellis on 9/21/2016) (kko)
                                  (Entered: 09/21/2016)

            09/21/2016            ORDER granting 208 Motion to Withdraw as Attorney. Attorney Andrew Wright
                                  Clark and Matthew George Mrkonic terminated. (HEREBY ORDERED by
                                  Magistrate Judge Ronald L. Ellis)(Text Only Order) (Ellis, Ronald) (Entered:
                                  09/21/2016)

            09/23/2016      214   OPINION AND ORDER # 106758 re: 191 MOTION to Amend/Correct 50 Answer to
                                  Amended Complaint, Counterclaim filed by Cognizant Technology Solutions Corp.,
                                  The Trizetto Group, Inc. For the reasons set forth above, Defendants' motion for
                                  leave to amend its counterclaims is GRANTED. Defendants shall file the Amended
                                  Answer and Counterclaims in its redacted form by September 30, 2016, and shall file
                                  the full, unredacted version under seal and placed in the clerk's office. IT IS
                                  FURTHER ORDERED THAT the Parties shall meet and confer regarding the
                                  outstanding discovery in this case, and by September 30, 2016, file ajoint status
                                  report explaining what fact and expert discovery remains and aproposed timeline for
                                  its completion. If the Parties disagree on the timeline, the report shall set forth their
                                  respective positions. (As further set forth in this Order.) Cognizant Technology
                                  Solutions Corp. amended answer due 9/30/2016; The Trizetto Group, Inc. amended
                                  answer due 9/30/2016. ( Signed by Magistrate Judge Ronald L. Ellis on 9/23/2016)
                                  (kko) Modified on 9/30/2016 (ca). (Entered: 09/23/2016)

            09/30/2016      215   AMENDED ANSWER to 39 Amended Complaint, with JURY DEMAND.,
                                  COUNTERCLAIM against Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc.. Document filed by The Trizetto Group, Inc., Cognizant Technology Solutions
                                  Corp.. (Cutri, Gianni) (Entered: 09/30/2016)

            09/30/2016      216   SEALED DOCUMENT placed in vault.(rz) (Entered: 09/30/2016)

            09/30/2016      217   JOINT LETTER MOTION for Extension of Time to File Joint Status Report
                                  addressed to Magistrate Judge Ronald L. Ellis from Gianni Cutri dated 9/30/2016.
                                  Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                  Inc..(Cutri, Gianni) (Entered: 09/30/2016)




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            09/30/2016      218   AO 121 FORM COPYRIGHT - NOTICE OF SUBMISSION BY ATTORNEY. AO
                                  121 Form Copyright for additional pleading submitted to court for review.(Cutri,
                                  Gianni) (Entered: 09/30/2016)

            09/30/2016      219   AO 121 FORM COPYRIGHT - NOTICE OF SUBMISSION BY ATTORNEY. AO
                                  121 Form Copyright for additional pleading submitted to court for review.(Cutri,
                                  Gianni) (Entered: 09/30/2016)

            09/30/2016      220   MOTION for Brian B. Garrett to Withdraw as Attorney. Document filed by Brian
                                  Garrett. (Attachments: # 1Text of Proposed Order)(Garrett, Brian) (Entered:
                                  09/30/2016)

            10/03/2016      221   ORDER granting 217 Letter Motion for Extension of Time. (HEREBY ORDERED
                                  by Magistrate Judge Ronald L. Ellis)(Text Only Order) (Ellis, Ronald) (Entered:
                                  10/03/2016)

            10/03/2016      222   ORDER GRANTING LEAVE TO WITHDRAW granting 220 Motion to Withdraw
                                  as Attorney. For good cause shown, the Court finds that the Motion of Brian B.
                                  Garrett for leave to withdraw should be granted. It is therefore Ordered that Brian B.
                                  Garrett is hereby withdrawn as counsel of record for Plaintiffs SYNTEL STERLING
                                  BEST SHORES MAURITIUS LIMITED, and SYNTEL, INC. in the above-
                                  referenced matter and that he be removed from electronic notification in this matter.
                                  Attorney Brian Bradford Garrett terminated. ( Signed by Magistrate Judge Ronald L.
                                  Ellis on 10/3/2016) (mro) (Entered: 10/03/2016)

            10/05/2016      223   JOINT LETTER addressed to Magistrate Judge Ronald L. Ellis from Yonaton
                                  Aronoff and Gianni Cutri dated October 5, 2016 re: Discovery Status Report.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited.(Aronoff, Yonaton)
                                  (Entered: 10/05/2016)

            10/14/2016      224   ANSWER to 215 Counterclaim. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc..(Aronoff, Yonaton) (Entered: 10/14/2016)

            10/17/2016      225   JOINT LETTER addressed to Magistrate Judge Ronald L. Ellis from Yonaton
                                  Aronoff & Gianni Cutri dated October 17, 2016 re: Explanation for the proposed date
                                  for the closing of fact discovery of April 28, 2017. Document filed by Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc..(Aronoff, Yonaton) (Entered:
                                  10/17/2016)

            11/02/2016      226   FILING ERROR -DEFICIENT DOCKET ENTRY -MOTION for William
                                  Joseph Robinson to Appear Pro Hac Vice. Filing fee $ 200.00, receipt number
                                  0208-12943365. Motion and supporting papers to be reviewed by Clerk's Office
                                  staff. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                  (Attachments: # 1Text of Proposed Order Proposed Order, # 2Certifcate of Good
                                  Standing)(Robinson, William) Modified on 11/2/2016 (bcu). (Entered: 11/02/2016)

            11/02/2016      227   FILING ERROR -DEFICIENT DOCKET ENTRY -MOTION for Victor Stanley
                                  de Gyarfas to Appear Pro Hac Vice. Motion and supporting papers to be reviewed
                                  by Clerk's Office staff. Document filed by Syntel Sterling Best Shores Mauritius
                                  Limited, Syntel, Inc.. (Attachments: # 1Text of Proposed Order Proposed Order, # 2
                                  Certificate of Good Standing)(De Gyarfas, Victor) Modified on 11/2/2016 (bcu).
                                  (Entered: 11/02/2016)




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            11/02/2016            >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                  VICE. Notice to RE-FILE Document No. 226 MOTION for William Joseph
                                  Robinson to Appear Pro Hac Vice. Filing fee $ 200.00, receipt number
                                  0208-  12943365. Motion and supporting papers to be reviewed by Clerk's Office
                                  staff., 227 MOTION for Victor Stanley de Gyarfas to Appear Pro Hac Vice.
                                  Motion and supporting papers to be reviewed by Clerk's Office staff... The filing
                                  is deficient for the following reason(s): missing Certificate of Good Standing
                                  from Supreme Court of California;. Re-file the motion as aCorrected Motion to
                                  Appear Pro Hac Vice -attach the correct signed PDF -select the correct named
                                  filer/filers - attach valid Certificates of Good Standing issued within the past 30
                                  days -attach Proposed Order.. (bcu) (     Entered: 11/02/2016)

            11/04/2016      228   MEMO ENDORSEMENT on re: 223 Letter re: Discovery Status Report, filed by
                                  Syntel Sterling Best Shores Mauritius Limited. ENDORSEMENT: Address to
                                  District Judge. SO ORDERED. (Deposition due by 4/28/2017., Expert Discovery due
                                  by 6/30/2017., Fact Discovery due by 4/28/2017., Telephone Conference set for
                                  12/16/2016 at 11:00 AM before Magistrate Judge Ronald L. Ellis., Telephone
                                  Conference set for 1/20/2017 at 11:00 AM before Magistrate Judge Ronald L. Ellis.,
                                  Telephone Conference set for 2/24/2017 at 11:00 AM before Magistrate Judge
                                  Ronald L. Ellis., Telephone Conference set for 3/24/2017 at 11:00 AM before
                                  Magistrate Judge Ronald L. Ellis.) ( Signed by Magistrate Judge Ronald L. Ellis on
                                  11/4/2016) (cla) Modified on 11/14/2016 (cla). (Entered: 11/04/2016)

            11/04/2016      229   MOTION for William Joseph Robinson to Appear Pro Hac Vice. Motion and
                                  supporting papers to be reviewed by Clerk's Office staff. Document filed by
                                  Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Text of
                                  Proposed Order, # 2Certificate of Good Standing)(Robinson, William) (Entered:
                                  11/04/2016)

            11/04/2016      230   MOTION for Victor Stanley de Gyarfas to Appear Pro Hac Vice. Motion and
                                  supporting papers to be reviewed by Clerk's Office staff. Document filed by
                                  Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Text of
                                  Proposed Order, # 2Certificate of Good Standing)(De Gyarfas, Victor) (Entered:
                                  11/04/2016)

            11/04/2016            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 229 MOTION for William Joseph Robinson to Appear Pro Hac Vice.
                                  Motion and supporting papers to be reviewed by Clerk's Office staff., 230
                                  MOTION for Victor Stanley de Gyarfas to Appear Pro Hac Vice. Motion and
                                  supporting papers to be reviewed by Clerk's Office staff.. The document has
                                  been reviewed and there are no deficiencies. (
                                                                               wb) (Entered: 11/04/2016)

            11/07/2016      231   ORDER granting 229 Motion for William Joseph Robinson to Appear Pro Hac Vice
                                  and granting 230 Motion for Victor Stanley de Gyarfas to Appear Pro Hac Vice
                                  (HEREBY ORDERED by Judge Lorna G. Schofield)(Text Only Order) ( Schofield,
                                  Lorna) (Entered: 11/07/2016)

            11/14/2016            Set/Reset Hearings: Telephone Conference set for 12/16/2016 at 11:00 AM before
                                  Magistrate Judge Ronald L. Ellis. Telephone Conference set for 1/20/2017 at 11:00
                                  AM before Magistrate Judge Ronald L. Ellis. Telephone Conference set for
                                  2/24/2017 at 11:00 AM before Magistrate Judge Ronald L. Ellis. Telephone
                                  Conference set for 3/24/2017 at 11:00 AM before Magistrate Judge Ronald L. Ellis.
                                  (cla) (Entered: 11/14/2016)



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            11/18/2016      232   TRANSCRIPT of Proceedings re: Telephone Conference held on 7/26/2016 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 12/12/2016. Redacted Transcript Deadline set for 12/22/2016. Release of
                                  Transcript Restriction set for 2/19/2017.(tn) (Entered: 11/18/2016)

            11/18/2016      233   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephone Conference proceeding held on 7/26/2016 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... (tn)
                                  (Entered: 11/18/2016)

            11/29/2016            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 11/29/2016 at 10:30 a.m. (rsh) (Entered: 11/29/2016)

            12/02/2016      234   TRANSCRIPT of Proceedings re: Telephone Conference held on 11/29/2016 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 12/23/2016. Redacted Transcript Deadline set for 1/2/2017. Release of Transcript
                                  Restriction set for 3/2/2017.(tn) (Entered: 12/02/2016)

            12/02/2016      235   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephone Conference proceeding held on 11/29/2016 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... (tn)
                                  (Entered: 12/02/2016)

            12/15/2016      236   LETTER addressed to Magistrate Judge Ronald L. Ellis from Gianni Cutri dated
                                  December 15, 2016 re: Redactions to October 17, 2016 joint letter. Document filed
                                  by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni)
                                  (Entered: 12/15/2016)

            12/16/2016            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 12/16/2016 at 11:00 a.m. (rsh) (Entered: 12/16/2016)

            12/21/2016      237   TRANSCRIPT of Proceedings re: Discovery held on 12/16/2016 before Magistrate
                                  Judge Ronald L. Ellis. Court Reporter/Transcriber: Carole Ludwig, (212) 420-0771.
                                  Transcript may be viewed at the court public terminal or purchased through the Court
                                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                  that date it may be obtained through PACER. Redaction Request due 1/11/2017.
                                  Redacted Transcript Deadline set for 1/23/2017. Release of Transcript Restriction set
                                  for 3/21/2017.owh) (Main Document 237 replaced on 10/19/2017) (rro). Modified on
                                  10/19/2017 (rro). (Entered: 12/21/2016)




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            12/21/2016      238   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aDiscovery proceeding held on 10/27/2016 has been filed by the
                                  court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                  calendar days to file with the court aNotice of Intent to Request Redaction of this
                                  transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... Owh)
                                  (Entered: 12/21/2016)

            01/20/2017            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 1/20/2017 at 11:00 a.m. (rsh) (Entered: 01/20/2017)

            01/23/2017      239   TRANSCRIPT of Proceedings re: Telephone Conference held on 1/20/2017 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 2/13/2017. Redacted Transcript Deadline set for 2/23/2017. Release of Transcript
                                  Restriction set for 4/24/2017.owh) (Entered: 01/23/2017)

            01/23/2017      240   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephone Conference proceeding held on 1/20/2017 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... Owh)
                                  (Entered: 01/23/2017)

            01/26/2017      241   FILING ERROR -WRONG EVENT TYPE SELECTED FROM MENU -
                                  JOINT MOTION to Approve Entry of Order for Forensic Examination of Plaintiffs'
                                  Digital Electronic Devices and Files . Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc. (Attachments: # 1Text of Proposed Order)
                                  (Cutri, Gianni) Modified on 1/27/2017 (db). (Entered: 01/26/2017)

            01/27/2017            ** *NOTICE TO ATTORNEY TO RE-FILE DOCUMENT -EVENT TYPE
                                  ERROR. Notice to Attorney Gianni L Cutri to RE-FILE Document 241 JOINT
                                  MOTION to Approve Entry of Order for Forensic Examination of Plaintiffs'
                                  Digital Electronic Devices and Files . Use the event type Miscellaneous Relief
                                  found under the event list Motion(s). (db) (Entered: 01/27/2017)

            01/27/2017      242   JOINT MOTION Entry of Order for Forensic Examination of Plaintiffs' Digital
                                  Electronic Devices and Files . Document filed by Cognizant Technology Solutions
                                  Corp., The Trizetto Group, Inc.. (Attachments: # 1Text of Proposed Order)(Cutri,
                                  Gianni) (Entered: 01/27/2017)

            01/30/2017      243   ORDER FOR FORENSIC EXAMINATION OF PLAINTIFFS' DIGITAL
                                  ELECTRONIC DEVICES AND FILES granting 242 Motion for Entry of Order for
                                  Forensic Examination of Plaintiffs' Digital Electronic Devices and Files. Having
                                  considered the parties' joint discovery letters dated November 22, 2016, and
                                  December 9, 2016, the evidence and arguments annexed thereto, and the arguments
                                  presented by both parties' counsel on November 29, 2016 and December 16, 2016,
                                  the Court hereby grants Defendants' request for aforensic examination of Plaintiffs'
                                  digital electronic devices and files and orders as further set out in the order. ( Signed
                                  by Magistrate Judge Ronald L. Ellis on 1/30/2017) (cla) (Entered: 01/31/2017)




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            02/22/2017      244   JOINT LETTER MOTION to Adjourn Conference addressed to Magistrate Judge
                                  Ronald L. Ellis from Gianni Cutri dated 2/22/2017. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                  02/22/2017)

            02/22/2017      245   ORDER granting 244 Letter Motion to Adjourn Conference. Telephone Conference
                                  set for 3/2/2017 at 11:30 AM before Magistrate Judge Ronald L. Ellis. On the day of
                                  the conference, the Parties will jointly place atelephone call to the chambers of Judge
                                  Ronald L. Ellis, at 212-805-0563. Upon receipt of this order, if you need further
                                  information, direct inquiries to Rupa Shah, 212-805-0242. (HEREBY ORDERED by
                                  Magistrate Judge Ronald L. Ellis)(Text Only Order) (Ellis, Ronald) (Entered:
                                  02/22/2017)

            02/22/2017      246   ORDER: It is hereby ORDERED that the parties shall direct all non-dispositive
                                  general pre-trial matters, including redaction requests, to Judge Ellis only. The Court
                                  will disregard any filings related to non-dispositive general pre-trial matters. ( Signed
                                  by Judge Lorna G. Schofield on 2/22/2017) (cla) (Entered: 02/22/2017)

            02/27/2017      247   MOTION for Jeff Kern, Rena Andoh and Robert S. Friedman to Withdraw as
                                  Attorney and to be Removedf   ^om ECF Notice List. Document filed by Jeff Kern,
                                  Rena Andoh, Robert S. Friedman. (Attachments: # 1Text of Proposed Order)(Kern,
                                  Jeffrey) (Entered: 02/27/2017)

            02/28/2017      248   ORDER GRANTING WITHDRAWAL OF APPEARANCES re: 247 Motion to
                                  Withdraw as Attorney. For good cause shown, the Court finds that the Motion of
                                  Robert S. Friedman, Jeff Kern and Rena Andoh of Sheppard, Mullin, Richter &
                                  Hampton LLP for leave to withdraw should be granted. It is therefore Ordered that
                                  Robert S. Friedman, Jeff Kern and Rena Andoh are hereby withdrawn as counsel of
                                  record for Plaintiffs SYNTEL STERLING BEST SHORES MAURITIUS LIMITED,
                                  and SYNTEL, INC. in the above-referenced matter and that they be removed from
                                  electronic notification in this matter. (Attorney Rena Andoh and Robert Sanford
                                  Friedman terminated). ( Signed by Magistrate Judge Ronald L. Ellis on 2/28/2017)
                                  (cla) Modified on 2/28/2017 (cla). (Entered: 02/28/2017)

            02/28/2017            Terminate Transcript Deadlines re: 232. (anc) (Entered: 02/28/2017)

            03/02/2017            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 3/2/2017 at 11:30 a.m. (rsh) (Entered: 03/02/2017)

            03/08/2017      249   TRANSCRIPT of Proceedings re: Telephone Conference held on 3/2/2017 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 3/29/2017. Redacted Transcript Deadline set for 4/10/2017. Release of Transcript
                                  Restriction set for 6/6/2017.(anc) (Entered: 03/08/2017)

            03/08/2017      250   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephone Conference proceeding held on 3/2/2017 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days ... (anc)
                                  (Entered: 03/08/2017)



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            03/22/2017            Terminate Transcript Deadlines re: 234. (anc) (Entered: 03/22/2017)

            03/22/2017      251   JOINT LETTER addressed to Magistrate Judge Ronald L. Ellis from Ryan C.
                                  Watkins and Gianni Cutri dated March 22, 2017 re: Adjournment of Status
                                  Conference Scheduled for March 24, 2017. Document filed by Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc..(Aronoff, Yonaton) (Entered: 03/22/2017)

            03/22/2017            Terminate Transcript Deadlines re: 237. (anc) (Entered: 03/22/2017)

            03/24/2017            ENDORSED LETTER addressed to Magistrate Judge Ronald L. Ellis from Ryan
                                  Watkins & Gianni Cutri dated 3/22/17 re: adjourn telephone conference.
                                  ENDORSEMENT: GRANTED. ( Signed by Magistrate Judge Ronald L. Ellis on
                                  3/24/17) (Ellis, Ronald) (Entered: 03/24/2017)

            03/24/2017            NOTICE of Hearing: Telephone Conference set for 4/5/2017 at 2:30 PM before
                                  Magistrate Judge Ronald L. Ellis. On the day of the conference, the Parties will
                                  jointly place atelephone call to the chambers of Judge Ronald L. Ellis, at
                                  212-805-0563. Upon receipt of this order, if you need further information, direct
                                  inquiries to Rupa Shah, 212-805-0242.(rsh) (Entered: 03/24/2017)

            03/31/2017      252   STIPULATION AND ORDER FOR EXTENSION OF TIME TO COMPLETE
                                  FORENSIC EXAMINATION OF PLAINTIFFS' DIGITAL ELECTRONIC
                                  DEVICES AND FILES: IT IS HEREBY STIPULATED AND AGREED, by and
                                  between the undersigned counsel for Plaintiffs-Counterdefendants Syntel Sterling
                                  Best Shores Mauritius Ltd. and Syntel, Inc. (collectively, Syntel) and Defendants-
                                  Counterplaintiffs TriZetto Corporation (formerly known as The TriZetto Group, Inc.)
                                  and Cognizant Technology Solutions Corporation that the deadline for Samuel Rubin
                                  of the firm Stroz Friedberg to complete the Examination called for by Judge Ellis's
                                  January 30, 2017 Order for Forensic Examination of Plaintiffs' Digital Electronic
                                  Devices and Files (" Forensic Examination Order") (Dkt. No. 243) be extended for 30
                                  days. On January 27, 2017, the parties jointly moved for entry of the Forensic
                                  Examination Order. Dkt. No. 242. On January 30, 2017, Judge Ellis granted that
                                  motion and entered the Forensic Examination Order, which requires Mr. Rubin to
                                  complete the Examination described therein "within sixty (60) days of the date of
                                  [the] Order," i.e., by March 31, 2017. Dkt. No. 243 at § 1. Since entry of the Forensic
                                  Examination Order, Mr. Rubin has been diligently working with the parties to
                                  perform the Examination. In order to comply with the Forensic Examination Order,
                                  Mr. Rubin has requested, and the parties agree, that Mr. Rubin be granted a30-day
                                  extension to complete the Examination, to and until May 1, 2017. Accordingly, the
                                  parties respectfully request that the Court enter this stipulated 30-day extension of
                                  time for Mr. Rubin to complete the Examination called for by the Forensic
                                  Examination Order. ( Signed by Magistrate Judge Ronald L. Ellis on 3/31/2017) (cla)
                                  (Entered: 03/31/2017)

            04/04/2017      253   LETTER addressed to Magistrate Judge Ronald L. Ellis from Norman Ankers dated
                                  April 4, 2017 re: Status Update on Documents Highlighted in March 17, 2017 Letter.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Aronoff, Yonaton) (Entered: 04/04/2017)

            04/05/2017            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 4/5/2017 at 2:30 p.m. (rsh) (Entered: 04/05/2017)




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            04/07/2017            NOTICE of Hearing: Telephone Conference set for 5/18/2017 at 11:00 AM before
                                  Magistrate Judge Ronald L. Ellis. On the day of the conference, the Parties will
                                  jointly place atelephone call to the chambers of Judge Ronald L. Ellis, at
                                  212-805-0563. Upon receipt of this order, if you need further information, direct
                                  inquiries to Rupa Shah, 212-805-0242.(rsh) (Entered: 04/07/2017)

            04/10/2017      254   TRANSCRIPT of Proceedings re: Telephone Conference held on 4/5/2017 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Carole Ludwig, (212)
                                  420-0771. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 5/1/2017. Redacted Transcript Deadline set for 5/11/2017. Release of Transcript
                                  Restriction set for 7/10/2017.ogo) (Entered: 04/10/2017)

            04/10/2017      255   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephone Conference proceeding held on 4/5/2017 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.Ogo)
                                  (Entered: 04/10/2017)

            04/19/2017      256   STIPULATION AND ORDER FOR EXTENSION OF DISCOVERY DEADLINES:
                                  The parties respectfully request that the Court extend the deadline to complete fact
                                  discovery by 90 days and modify the Schedule to Complete Remaining Discovery
                                  (Dkt. No. 228) as follows: All fact discovery shall be completed by no later than July
                                  30, 2017. Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by July
                                  30, 2017. All expert discovery shall be completed no later than September 29, 2017.
                                  Case Management Conference: Contact District Judge. ( Deposition due by
                                  7/30/2017., Expert Discovery due by 9/29/2017., Fact Discovery due by 7/30/2017.)
                                  (Signed by Magistrate Judge Ronald L. Ellis on 4/19/2017) (mro) (Entered:
                                  04/19/2017)

            05/03/2017      257   LETTER addressed to Magistrate Judge Ronald L. Ellis from Norman Ankers dated
                                  May 3, 2017 re: Defendants' Submitted Memorandum dated May 1, 2017. Document
                                  filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: #
                                  1Proposed Preclusion Order, # 2April 5, 2017 Hearing Transcript)(Ankers, Norman)
                                  (Entered: 05/03/2017)

            05/03/2017      258   STIPULATION AND ORDER FOR SECOND EXTENSION OF TIME TO
                                  COMPLETE FORENSIC EXAMINATION OF PLAINTIFFS' DIGITAL
                                  ELECTRONIC DEVICES AND FILES: IT IS HEREBY STIPULATED AND
                                  AGREED, by and between the undersigned counsel for Plaintiffs-Counterdefendants
                                  Syntel Sterling Best Shores Mauritius Ltd. (now known as Syntel Mauritius Holding
                                  Limited) and Syntel, Inc. (collectively, Syntel) and Defendants-Counterplaintiffs
                                  TriZetto Corporation (formerly known as The TriZetto Group, Inc.) and Cognizant
                                  Technology Solutions Corporation that the deadline for Samuel Rubin of the firm
                                  Stroz Friedberg to complete the Examination called for by Judge Ellis's January 30,
                                  2017 Order for Forensic Examination of Plaintiffs' Digital Electronic Devices and
                                  Files (" Forensic Examination Order") (Dkt. No. 243) as modified by the March 31,
                                  2017 Order for Extension of Time to Complete Forensic Examination of Plaintiffs'
                                  Digital Electronic Devices and Files (the " First Extension") (Dkt. No. 252) be
                                  extended until June 7, 2017. ( Signed by Magistrate Judge Ronald L. Ellis on



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                                  5/3/2017) (mro) (Entered: 05/03/2017)

            05/04/2017      259   LETTER addressed to Magistrate Judge Ronald L. Ellis from Gianni Cutri dated
                                  5/4/2017 re: Defendants' Requested Preclusion Order. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                  05/04/2017)

            05/16/2017            Terminate Transcript Deadlines re: 239. (anc) (Entered: 05/16/2017)

            05/16/2017      260   NOTICE OF APPEARANCE by Anne Berkowitz Sekel on behalf of Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc.. ( Sekel, Anne) (Entered: 05/16/2017)

            05/16/2017      261   NOTICE OF APPEARANCE by Todd C. Norbitz on behalf of Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 05/16/2017)

            05/22/2017            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 5/18/2017 at 11:00 a.m. Next Telephone Conference is
                                  scheduled 6/22/17 at 2:30 p.m. (rsh) (Entered: 05/22/2017)

            05/25/2017            NOTICE of Hearing: Telephone Conference set for 6/22/2017 at 2:30 PM before
                                  Magistrate Judge Ronald L. Ellis. On the day of the conference, the Parties will
                                  jointly place atelephone call to the chambers of Judge Ronald L. Ellis, at
                                  212-805-0563. Upon receipt of this order, if you need further information, direct
                                  inquiries to Rupa Shah, 212-805-0242.(rsh) (Entered: 05/25/2017)

            06/06/2017      262   TRANSCRIPT of Proceedings re: telephone conference held on 5/18/2017 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Carole Ludwig, (212)
                                  420-0771. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 6/27/2017. Redacted Transcript Deadline set for 7/7/2017. Release of Transcript
                                  Restriction set for 9/5/2017.(rro) (Entered: 06/06/2017)

            06/06/2017      263   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of atelephone conference proceeding held on 05/18/2017 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(rro)
                                  (Entered: 06/06/2017)

            06/12/2017      264   STIPULATION AND ORDER FOR THIRD EXTENSION OF TIME TO
                                  COMPLETE FORENSIC EXAMINATION OF PLAINTIFFS' DIGITAL
                                  ELECTRONIC DEVICES AND FILES: Since entry of the Second Extension, Mr.
                                  Rubin has been diligently working with the parties to perform the Examination and
                                  has recently completed the on- site work in Pune, India. Mr. Rubin has requested no
                                  fewer than 30 days after the date of his last on- site examination to complete the
                                  Examination. Accordingly, under the present circumstances, the parties agree that the
                                  deadline for Mr. Rubin to complete the Examination should be extended until July
                                  10, 2017. Accordingly, the parties respectfully request that the Court enter this
                                  stipulated extension of time for Mr. Rubin to complete the Examination called for by
                                  the Forensic Examination Order and the First Extension and Second Extension, and
                                  as further set forth in this order. ( Signed by Magistrate Judge Ronald L. Ellis on
                                  6/12/2017) (ap) (Entered: 06/12/2017)




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            06/19/2017      265   JOINT LETTER MOTION to Adjourn Conference addressed to Magistrate Judge
                                  Ronald L. Ellis from Gianni Cutri dated 6/19/2017. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                  06/19/2017)

            06/20/2017      266   ORDER granting 265 Letter Motion to Adjourn Conference. Telephone Conference
                                  set for 6/29/2017 at 2:30 PM before Magistrate Judge Ronald L. Ellis. On the day of
                                  the conference, the Parties will jointly place atelephone call to the chambers of Judge
                                  Ronald L. Ellis, at 212-805-0563. Upon receipt of this order, if you need further
                                  information, direct inquiries to Rupa Shah, 212-805-0242. (HEREBY ORDERED by
                                  Magistrate Judge Ronald L. Ellis)(Text Only Order) (Ellis, Ronald) (Entered:
                                  06/20/2017)

            06/22/2017            DUE TO A SCHEDULING CONFLICT, THE SCHEDULED TELEPHONE
                                  CONFERENCE FOR 6/29/17 AT 2:30 P.M. HAS BEEN RESCHEDULED FOR
                                  6/30/2017 at 3:00 PM before Magistrate Judge Ronald L. Ellis. On the day of the
                                  conference, the Parties will jointly place atelephone call to the chambers of Judge
                                  Ronald L. Ellis, at 212-805-0563. Upon receipt of this order, if you need further
                                  information, direct inquiries to Rupa Shah, 212-805-0242. (rsh) (Entered:
                                  06/22/2017)

            06/30/2017            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 6/30/2017 at 3:00 p.m. Next telephone conference is
                                  scheduled for August 11, 2017 at 10:00 a.m. (rsh) (Entered: 06/30/2017)

            06/30/2017            NOTICE of Hearing: Telephone Conference set for 8/11/2017 at 10:00 AM before
                                  Magistrate Judge Ronald L. Ellis. On the day of the conference, the Parties will
                                  jointly place atelephone call to the chambers of Judge Ronald L. Ellis, at
                                  212-805-0563. Upon receipt of this order, if you need further information, direct
                                  inquiries to Rupa Shah, 212-805-0242.(rsh) (Entered: 06/30/2017)

            07/07/2017      267   TRANSCRIPT of Proceedings re: Telephone Conference held on 9/21/2016 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Carole Ludwig, (212)
                                  420-0771. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 7/28/2017. Redacted Transcript Deadline set for 8/7/2017. Release of Transcript
                                  Restriction set for 10/5/2017.ogo) (Entered: 07/07/2017)

            07/07/2017      268   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephone Conference proceeding held on 9/21/2016 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.Ogo)
                                  (Entered: 07/07/2017)

            07/10/2017      269   STIPULATION AND ORDER FOR FOURTH EXTENSION OF TIME TO
                                  COMPLETE FORENSIC EXAMINATION OF PLAINTIFFS DIGITAL
                                  ELECTRONIC DEVICES AND FILES:Accordingly, under the present
                                  circumstances, the parties agree that the deadline for Mr. Rubin to complete the
                                  Examination should be extended until July 17, 2017. Accordingly, the parties
                                  respectfully request that the court enter this stipulated extension of time for Mr.
                                  Rubin to complete the Examination called for by the Forensic Examination Order, the



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                                  First Extension, the Second Extension, and the Third Extension. So Ordered. ( Signed
                                  by Magistrate Judge Ronald L. Ellis on 7/10/2017) Os) ( Entered: 07/10/2017)

            07/21/2017      270   TRANSCRIPT of Proceedings re: telephone conference held on 6/30/2017 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Carole Ludwig, (212)
                                  420-0771. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 8/11/2017. Redacted Transcript Deadline set for 8/21/2017. Release of Transcript
                                  Restriction set for 10/19/2017.(rro) (Entered: 07/21/2017)

            07/21/2017      271   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of atelephone conference proceeding held on 6/30/2017 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(rro)
                                  (Entered: 07/21/2017)

            07/21/2017      272   STIPULATION AND ORDER FOR FIFTH EXTENSION OF TIME TO
                                  COMPLETE FORENSIC EXAMINATION OF PLAINTIFFS' DIGITAL
                                  ELECTRONIC DEVICES AND FILES: IT IS HEREBY STIPULATED AND
                                  AGREED, by and between the undersigned counsel for Plaintiffs-Counterdefendants
                                  Syntel Sterling Best Shores Mauritius Ltd. (now known as Syntel Mauritius Holding
                                  Limited) and Syntel, Inc. (collectively, Syntel) and Defendants-Counterplaintiffs
                                  Cognizant TriZetto Software Group, Inc. (formerly known as The TriZetto Group,
                                  Inc.) and Cognizant Technology Solutions Corporation that the deadline for Samuel
                                  Rubin of the firm Stroz Friedberg to complete the Examination called for by Judge
                                  Ellis's January 30, 2017 Order for Forensic Examination of Plaintiffs' Digital
                                  Electronic Devices and Files (" Forensic Examination Order") (Dkt. No. 243) as
                                  modified by the March 31, 2017 Order for Extension of Time to Complete Forensic
                                  Examination of Plaintiffs' Digital Electronic Devices and Files (the " First Extension")
                                  (Dkt. No. 252), the May 3, 2017 Order for Second Extension of Time to Complete
                                  Forensic Examination of Plaintiffs' Digital Electronic Devices and Files (the " Second
                                  Extension") (Dkt. No. 25 8), the June 12, 2017 Order for Third Extension of Time to
                                  Complete Forensic Examination of Plaintiffs' Digital Electronic Devices and
                                  Files... Accordingly, the parties respectfully request that the Court enter this stipulated
                                  extension of time for Mr. Rubin to complete the Examination called for by the
                                  Forensic Examination Order, the First Extension, the Second Extension, the Third
                                  Extension, and the Fourth Extension, and as further set forth herein. ( Signed by
                                  Magistrate Judge Ronald L. Ellis on 7/21/2017) (ras) Modified on 7/21/2017 (ras).
                                  (Entered: 07/21/2017)

            07/28/2017      273   STIPULATION AND ORDER FOR SECOND EXTENSION OF DISCOVERY
                                  DEADLINES: Accordingly, the parties respectfully request that the Court extend the
                                  deadline to complete fact discovery by 120 days and modify the Stipulation and
                                  Order for Extension of Discovery Deadlines (Dkt. No. 256) as follows: All Fact
                                  Discovery due 12/1/2017. Deposition due by 12/1/2017., All Expert Discovery due
                                  by 2/2/2018. Case Management Conference (To be Scheduled with District Judge).
                                  And as set forth herein. IT IS SO ORDERED. ( Signed by Magistrate Judge Ronald
                                  L. Ellis on 7/28/2017) (ama) Modified on 7/28/2017 (ama). Modified on 7/28/2017
                                  (ama). (Entered: 07/28/2017)




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            08/04/2017      274   LETTER addressed to Magistrate Judge Ronald L. Ellis from Anne B. Sekel dated
                                  8-04-2017 re: Joint submit requesting adjournment. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited.(Sekel, Anne) (Entered: 08/04/2017)

            08/07/2017            ENDORSED LETTER addressed to Magistrate Judge Ronald L. Ellis from Anne
                                  Sekel and Gianni Cutri dated 8/4/17 re: Joint submit requesting adjournment.
                                  ENDORSEMENT: GRANTED. ( Signed by Magistrate Judge Ronald L. Ellis on
                                  8/7/17) (Ellis, Ronald) (Entered: 08/07/2017)

            08/07/2017            NOTICE of Hearing: Telephone Conference set for 8/25/2017 at 11:00 AM before
                                  Magistrate Judge Ronald L. Ellis. On the day of the conference, the Parties will
                                  jointly place atelephone call to the chambers of Judge Ronald L. Ellis, at
                                  212-805-0563. Upon receipt of this order, if you need further information, direct
                                  inquiries to Rupa Shah, 212-805-0242.(rsh) (Entered: 08/07/2017)

            08/24/2017      275   LETTER addressed to Magistrate Judge Ronald L. Ellis from Anne B. Sekel dated
                                  August 24, 2017 re: Response to Defendants' August 23, 2017 Letter Submission.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                  (Attachments: # 1Exhibit Proposed Order, # 2Exhibit)(Sekel, Anne) (Entered:
                                  08/24/2017)

            08/25/2017      276   PRECLUSION ORDER. The Court having heard and considered the parties'
                                  submissions and arguments concerning aproposed sanction against Plaintiffs Syntel,
                                  Inc. and Syntel Sterling Best Shores Mauritius Limited now known as Syntel
                                  Mauritius Holding Limited (collectively, " Syntel") in the above-captioned matter, the
                                  Court hereby orders that: 1. Syntel is precluded from offering or presenting any
                                  evidence that it did not misappropriate and unlawfully copy Defendants' FACETS
                                  test cases and automation scripts. 2. Syntel is precluded from offering or presenting
                                  any evidence that it independently developed any of the Platform Management Tools
                                  at issue in this case. ( Signed by Magistrate Judge Ronald L. Ellis on 8/25/2017) (rjm)
                                  (Entered: 08/25/2017)

            08/25/2017            Minute entry for proceedings held before Magistrate Judge Ronald L. Ellis:
                                  Telephone Conference held on 8/25/2017 at 11:00 a.m. (rsh) (Entered: 08/25/2017)

            08/31/2017      277   TRANSCRIPT of Proceedings re: telephone conference held on 8/25/2017 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 9/21/2017. Redacted Transcript Deadline set for 10/2/2017. Release of Transcript
                                  Restriction set for 11/29/2017.(rro) (Entered: 08/31/2017)

            08/31/2017      278   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of atelephone conference proceeding held on 8/25/2017 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(rro)
                                  (Entered: 08/31/2017)

            09/08/2017      279   NOTICE of Objections to Magistrate Judge's Order. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Norbitz, Todd) (Entered:
                                  09/08/2017)



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            09/08/2017      280   BRIEF re: 279 Notice (Other) in &_pport cf Oljections to Magistrate Judge's Order.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Norbitz, Todd) (Entered: 09/08/2017)

            09/08/2017      281   DECLARATION of Anne B. Sekel re: 280 Brief in &_pport cf Oljections to
                                  Magistrate Judge's Order. Document filed by Syntel Sterling Best Shores Mauritius
                                  Limited, Syntel, Inc.. (Attachments: # 1Exhibit, # 2Exhibit, # 3Exhibit, # 4Exhibit,
                                  #5Exhibit, # 6Exhibit, # 7Exhibit, # 8Exhibit, # 9Exhibit, # 10 Exhibit, # 11
                                  Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit, # 17
                                  Exhibit, # 18 Exhibit, # 19 Exhibit, # 20 Exhibit, # 21 Exhibit, # 22 Exhibit, # 23
                                  Exhibit, # 24 Exhibit, # 25 Exhibit, # 26 Exhibit, # 27 Exhibit, # 28 Exhibit, # 29
                                  Exhibit, # 30 Exhibit)(Norbitz, Todd) (Entered: 09/08/2017)

            09/11/2017      282   ORDER: ORDERED that, on or before October 9, 2017. Defendants The Trizetto
                                  Group, et al., file their Response, if any, to Plaintiffs' Objections., ( Responses due by
                                  10/9/2017) ( Signed by Judge Lorna G. Schofield on 9/11/2017) (ama) (Entered:
                                  09/11/2017)

            09/19/2017      283   LETTER addressed to Magistrate Judge Ronald L. Ellis from Gianni Cutri dated
                                  9/19/2017 re: Scheduling of Discovery Conference. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                  09/19/2017)

            09/21/2017            NOTICE of Hearing: Telephone Conference set for 10/19/2017 at 11:00 AM before
                                  Magistrate Judge Ronald L. Ellis. On the day of the conference, the Parties will
                                  jointly place atelephone call to the chambers of Judge Ronald L. Ellis, at
                                  212-805-0563. Upon receipt of this order, if you need further information, direct
                                  inquiries to Rupa Shah, 212-805-0242.(rsh) (Entered: 09/21/2017)

            09/21/2017      284   ORDER. IT IS HEREBY ORDERED that Plaintiffs may file redacted copies of
                                  exhibits 7, 13, 15, 16, 18, 19, 26, and 27 to the Declaration of Anne B. Sekel in
                                  support of their objections to the preclusion Order. So Ordered. ( Signed by
                                  Magistrate Judge Ronald L. Ellis on 9/21/17) (yv) (Entered: 09/21/2017)

            10/05/2017      285   LETTER MOTION for Extension of Time to File Response/Reply as to 282 Order,
                                  Set Deadlines/Hearings, 280 Brief addressed to Judge Lorna G. Schofield from
                                  Gianni Cutri dated 10/5/2017. Document filed by Cognizant Technology Solutions
                                  Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 10/05/2017)

            10/06/2017      286   ORDER granting 285 Letter Motion for Extension of Time to File Response/Reply.
                                  Application GRANTED. Defendants' deadline to file their response to Plaintiffs'
                                  Objections to Magistrate Judge's Preclusion Order is extended from October 9, 2017,
                                  to October 16, 2017. ( Signed by Judge Lorna G. Schofield on 10/6/2017) (kgo)
                                  (Entered: 10/06/2017)

            10/06/2017      287   JOINT LETTER MOTION to Adjourn Conference Scheduledfor October 19, 2017
                                  addressed to Magistrate Judge Ronald L. Ellis from Gianni Cutri dated 10/6/2017.
                                  Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                  Inc..(Cutri, Gianni) (Entered: 10/06/2017)

            10/10/2017      288   ORDER granting 287 Letter Motion to Adjourn Conference. Telephone Conference
                                  set for 10/30/2017 at 11:00 AM before Magistrate Judge Ronald L. Ellis. On the day
                                  of the conference, the Parties will jointly place atelephone call to the chambers of
                                  Judge Ronald L. Ellis, at 212-805-0563. (HEREBY ORDERED by Magistrate Judge




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                                  Ronald L. Ellis)(Text Only Order) (Ellis, Ronald) (Entered: 10/10/2017)

            10/30/2017      289   STIPULATION AND ORDER FOR THIRD EXTENSION OF DISCOVERY
                                  DEADLINES: Accordingly, the parties respectfully request that the Court extend the
                                  deadline to completefact discovery by 60 days and modify the Stipulation and Order
                                  for Second Extension of DiscoveryDeadlines (Dkt. 273) as follows: All fact
                                  discovery shall be completed by no later than February 1, 2018. Depositions pursuant
                                  to Fed. R. Civ. P. 30, 31 shall be completed by February 1,2018. All expert discovery
                                  shall be completed no later than April 2, 2018. Case Management Conference
                                  4/19/2018. ( Deposition due by 2/1/2018., Expert Discovery due by 4/2/2018., Fact
                                  Discovery due by 2/1/2018.) ( Signed by Magistrate Judge Ronald L. Ellis on
                                  10/30/2017) Os) (Entered: 10/30/2017)

            11/13/2017      290   TRANSCRIPT of Proceedings re: telephone conference held on 10/30/2017 before
                                  Magistrate Judge Ronald L. Ellis. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 12/4/2017. Redacted Transcript Deadline set for 12/14/2017. Release of
                                  Transcript Restriction set for 2/12/2018.(rro) (Entered: 11/13/2017)

            11/13/2017      291   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of atelephone conference proceeding held on 10/30/2017 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(rro)
                                  (Entered: 11/13/2017)

            11/20/2017      292   ORDER: It is hereby ORDERED that Plaintiffs shall re- file their motion papers, in
                                  accordance with Individual Rule IILB.3, on or before November 29, 2017. Plaintiffs
                                  shall re- submit acourtesy copy of these materials to the Court on or before
                                  November 29, 2017. It is further ORDERED that Defendants shall notify the Court
                                  by letter as soon as possible and no later than November 27, 2017, as to whether they
                                  intend to file aresponse to Plaintiffs' objections. If Defendants intend to file a
                                  response, the courtesy copy shall include all parties' motion papers, in accordance
                                  with Individual Rule IILB.5. Motions due by 11/29/2017. ( Signed by Judge Lorna G.
                                  Schofield on 11/20/2017) (kgo) (Entered: 11/21/2017)

            11/27/2017      293   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated November
                                  27, 2017 re: Response to Plaintiffs Objections to Preclusion Order. Document filed
                                  by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: #
                                  1Exhibit A)(Cutri, Gianni) (Entered: 11/27/2017)

            11/29/2017      294   AMENDED BRIEF re: 280 Brief Oljections to Magistrate Judge's Preclusion Order
                                  (Amended and re-filed per Dkt. 29•). Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc..(Norbitz, Todd) (Entered: 11/29/2017)

            11/29/2017      295   DECLARATION of Anne B. Sekel re: 281 Declaration„ Amended and re-filed per
                                  Dkt. 292. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5
                                  Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, # 10 Exhibit 10, #
                                  11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13)(Norbitz, Todd) (Entered:
                                  11/29/2017)



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            12/04/2017            NOTICE OF REDESIGNATION TO ANOTHER MAGISTRATE JUDGE. The
                                  above entitled action has been redesignated to Magistrate Judge Stewart D. Aaron.
                                  Please note that this is areassignment of the designation only. (ma) (Entered:
                                  12/04/2017)

            12/04/2017            NOTICE OF REASSIGNMENT OF A REFERRAL TO ANOTHER MAGISTRATE
                                  JUDGE. The referral in the above entitled action has been reassigned to Magistrate
                                  Judge Stewart D. Aaron, for General Pretrial (includes scheduling, discovery, non-
                                  dispositive pretrial motions, and settlement). Magistrate Judge Ronald L. Ellis no
                                  longer referred to the case. (ma) (Entered: 12/04/2017)

            12/06/2017      296   ORDER: ORDERED that, any party wishing to file Defendants' submissions under
                                  seal or with redactions, shall file amotion, including the relevant law, in accordance
                                  with the Court's Individual Rules, on or before December 13, 2017. If no party has
                                  made such amotion by the deadline, Defendants shall file their memorandum of law,
                                  accompanying declaration and exhibits on the public docket on December 14, 2017,
                                  and as further set forth in this order. (Motions due by 12/13/2017.) ( Signed by Judge
                                  Lorna G. Schofield on 12/6/2017) (ap) Modified on 12/7/2017 (ap). (Entered:
                                  12/06/2017)

            12/15/2017      297   ORDER: It is hereby ORDERED that Plaintiffs' motion is GRANTED. Defendants
                                  shall file aredacted version of Defendants' memorandum of law, accompanying
                                  declaration and exhibits on or before December 20, 2017. Defendants shall file an
                                  unredacted version of those documents under seal on or before December 20, 2017.
                                  (Signed by Judge Lorna G. Schofield on 12/15/2017) (kgo) (Entered: 12/15/2017)

            12/19/2017      298   ORDER: This action has been referred to Magistrate Judge Stewart D. Aaron for
                                  general pretrial management, including scheduling, discovery, non-dispositive
                                  pretrial motions and settlement, pursuant to 28 U.S.C. § 636(b)(1)(A). All pretrial
                                  motions and applications, including those related to scheduling and discovery, must
                                  be made to Judge Aaron and in compliance with this Court's Individual Practices,
                                  available at http://nysd.uscourts.gov/judge/Aaron. The discovery deadlines ordered
                                  by Magistrate Judge Ellis on October 30, 2017 (ECF No. 289) remain in effect. In
                                  addition, the parties are directed to submit ajoint letter to the Court regarding the
                                  status of discovery no later than January 2, 2018. SO ORDERED. ( Signed by
                                  Magistrate Judge Stewart D. Aaron on 12/19/2017) (ama) Modified on 12/19/2017
                                  (ama). (Entered: 12/19/2017)

            12/20/2017      299   OPPOSITION BRIEF re: 294 Brief DEfendants' Opposition to Syntel's Oljections to
                                  Judge Ellis' Preclusion Order (Redacted Version). Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                  12/20/2017)

            12/20/2017      300   DECLARATION of Gianni Cutri re: 299 Opposition Brief, in Support cfDtfendants'
                                  Memorandum cfLaw in Opposition to Syntel's Oljections to Magistrate Judge's
                                  Preclusion Order (Redacted Version). Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2
                                  (Redacted), # 3Exhibit 3, # 4Exhibit 4 (Redacted), # 5Exhibit 5, # 6Exhibit 6, # 7
                                  Exhibit 7, # 8Exhibit 8, # 9Exhibit 9 (Redacted), # 10 Exhibit 10 (Redacted), # 11
                                  Exhibit 11, # 12 Exhibit 12 (Redacted), # 13 Exhibit 13 (Redacted), # 14 Exhibit 14,
                                  #15 Exhibit 15 (Redacted))(Cutri, Gianni) (Entered: 12/20/2017)

            12/20/2017      301   SEALED DOCUMENT placed in vault.(rz) (Entered: 12/20/2017)




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            12/20/2017      302   LETTER addressed to Judge Lorna G. Schofield from Anne B. Sekel dated
                                  December 20, 2017 re: Request for Oral Argument. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc..(Sekel, Anne) (Entered:
                                  12/20/2017)

            01/02/2018      303   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  January 2, 2018 re: Status Update on Discovery. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit A, #
                                  2Exhibit B)(Cutri, Gianni) (Entered: 01/02/2018)

            01/03/2018      304   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  January 2, 2018 re: Discovery Status. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit A)(Sekel, Anne) (Entered:
                                  01/03/2018)

            01/03/2018      305   ORDER FOR TELEPHONE CONFERENCE: The parties are directed to appear via
                                  Telephone for aconference in the above-captioned matter on Friday, January 5, 2018,
                                  at 2:00 p.m. EST. During the conference, the parties should be prepared to discuss the
                                  status of discovery as set forth in the parties' letters to the Court dated January 2,
                                  2018. The parties shall call the court's conference line at 212-805-0110 once all
                                  parties are on the line. So Ordered. ( Telephone Conference set for 1/5/2018 at 02:00
                                  PM before Magistrate Judge Stewart D. Aaron.) ( Signed by Magistrate Judge Stewart
                                  D. Aaron on 1/3/2018)   Os) (Entered:   01/03/2018)

            01/05/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                  Telephone Conference held on 1/5/2018. (kl) (Entered: 01/05/2018)

            01/05/2018      306   STIPULATION AND ORDER FOR THE EXTENSION OF DISCOVERY
                                  DEADLINES: Accordingly, the parties respectfully request that the Court extend the
                                  deadline to complete fact discovery by 34 days and modify the Stipulation and Order
                                  for Third Extension of Discovery Deadlines (Dkt. 289) as follows: All fact discovery
                                  shall be completed by no later than March 7, 2018. Depositions pursuant to Fed. R.
                                  Civ. P. 30, 31 shall be completed by March 7, 2018. No further document requests or
                                  interrogatories will be issued without leave of Court. All expert discovery shall be
                                  completed no later than May 7, 2018. By February 12, 2018, the parties shall meet
                                  and confer on aschedule for expert disclosures, including reports, production of
                                  underlying documents and depositions, provided that (i) expert report(s) of the party
                                  with the burden of proof shall be due before those of the opposing party's expert(s);
                                  and (ii) all expert discovery shall be completed by the date set forth in paragraph 2(a).
                                  The parties shall submit ajoint letter to the Court regarding the status of discovery no
                                  later than February 9, 2018. IT IS SO ORDERED this 5th day of January, 2018.
                                  (Deposition due by 3/7/2018. Expert Discovery due by 5/7/2018. Fact Discovery due
                                  by 3/7/2018.) ( Signed by Magistrate Judge Stewart D. Aaron on 1/5/2018) (anc)
                                  (Entered: 01/05/2018)

            01/16/2018      307   LETTER MOTION for Discovery Conference addressed to Magistrate Judge Stewart
                                  D. Aaron from Anne B. Sekel dated January 16, 2018. Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2
                                  Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5)(Sekel, Anne) (Entered:
                                  01/16/2018)

            01/17/2018      308   ORDER: granting 307 Letter Motion for Discovery. Letter-Motion GRANTED. A
                                  telephone conference is scheduled for January 24, 2018 at 3:00 p.m. to discuss issues
                                  raised in ECF No. 307 and the confidential letter sent to Chambers by Defendants.



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                                  The parties shall call the Court's conference line at 212-805-0110 once all parties are
                                  on the line. Opposition to both letters to be filed no later than January 19, 2018.
                                  Replies to be filed no later than January 22, 2018. It is the Court's intention to decide
                                  the discovery disputes after the conference, based on the parties' letters and matters
                                  discussed during the conference, unless aparty shows by separate application good
                                  cause why more formal briefing should be required. SO ORDERED. ( Signed by
                                  Magistrate Judge Stewart D. Aaron on 1/17/2018) (ama) (Entered: 01/17/2018)

            01/17/2018            Set/Reset Hearings: Telephone Conference set for 1/24/2018 at 03:00 PM before
                                  Magistrate Judge Stewart D. Aaron. (ama) (Entered: 01/17/2018)

            01/17/2018            Set/Reset Deadlines: Responses due by 1/19/2018 Replies due by 1/22/2018. (ama)
                                  (Entered: 01/17/2018)

            01/22/2018      309   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                  Aaron from Anne B. Sekel dated January 22, 2018 re: 307 LETTER MOTION for
                                  Discovery Conference addressed to Magistrate Judge Stewart D. Aaron from Anne B.
                                  Sekel dated January 16, 2018.. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc.. (Sekel, Anne) (Entered: 01/22/2018)

            01/23/2018      310   ORDER: Pending before the Court are three discovery motions: ( 1) Defendants'
                                  motion compelling Plaintiff to provide aRule 30(b)(6) witness as to certain topics;
                                  (2) Plaintiffs' motion to compel electronic production concerning source code; and
                                  (3) Defendants' motion regarding Judge Ellis's Order of June 29, 2016. Oral argument
                                  concerning these motions shall be held on Wednesday, January 24, 2018, at 3:00 p.m.
                                  EST, as previously scheduled (ECF No. 308). The confidential letters referred to in
                                  the footnotes below (the " Confidential Letters") must be made part of the court
                                  record. Therefore, it is hereby ORDERED that, no later than 5p.m. on Thursday,
                                  January 25, 2018, the parties shall file redacted copies of the Confidential Letters,
                                  and also comply with the provisions of Section II.G. of Judge Aaron's Individual
                                  Practices (" Redactions and Filing Under Seal"), available at: http://nysd.uscourts.gov
                                  /cases/show.php?db=judge_info&id=1467 ( Oral Argument set for 1/24/2018 at
                                  03:00 PM before Magistrate Judge Stewart D. Aaron.) (Signed by Magistrate Judge
                                  Stewart D. Aaron on 1/23/2018) Os) (    Entered: 01/23/2018)

            01/23/2018      311   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  January 23, 2018 re: Opposition to Discovery Motion re Platform Management
                                  Tools. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Sekel, Anne) (Entered: 01/23/2018)

            01/23/2018      312   FILING ERROR -DEFICIENT DOCKET ENTRY -MOTION for Rajat Khanna
                                  to Appear Pro Hac Vice. Filing fee $ 200.00, receipt number 0208-14611901.
                                  Motion and supporting papers to be reviewed by Clerk's Office staff. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                  (Attachments: # 1Exhibit Certificate of Good Standing, # 2Text of Proposed Order)
                                  (Khanna, Rajat) Modified on 1/24/2018 (wb). (Entered: 01/23/2018)

            01/23/2018      313   FILING ERROR -DEFICIENT DOCKET ENTRY -MOTION for Kyle M.
                                  Kantarek to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                                  0208-14611929. Motion and supporting papers to be reviewed by Clerk's Office
                                  staff. Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                  Inc.. (Attachments: # 1Exhibit Certificate of Good Standing, # 2Text of Proposed
                                  Order)(Kantarek, Kyle) Modified on 1/24/2018 (wb). (Entered: 01/23/2018)




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            01/23/2018      314   FILING ERROR -DEFICIENT DOCKET ENTRY -MOTION for Adam M.
                                  Kaufmann to Appear Pro Hac Vice. Filing fee $ 200.00, receipt number
                                  0208-14611950. Motion and supporting papers to be reviewed by Clerk's Office
                                  staff. Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                  Inc.. (Attachments: # 1Exhibit Certificate of Good Standing, # 2Text of Proposed
                                  Order)(Kaufmann, Adam) Modified on 1/24/2018 (wb). (Entered: 01/23/2018)

            01/24/2018            >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                  VICE. Notice to RE-FILE Document No. 313 MOTION for Kyle M. Kantarek
                                  to Appear Pro Hac Vice. Filing fee $ 200.00, receipt number 0208-14611929.
                                  Motion and supporting papers to be reviewed by Clerk's Office staff., 314
                                  MOTION for Adam M. Kaufmann to Appear Pro Hac Vice. Filing fee $ 200.00,
                                  receipt number 0208-    14611950. Motion and supporting papers to be reviewed by
                                  Clerk's Office staff., 312 MOTION for Raj at Khanna to Appear Pro Hac Vice.
                                  Filing fee $ 200.00, receipt number 0208-14611901. Motion and supporting
                                  papers to be reviewed by Clerk's Office staff... The filing is deficient for the
                                  following reason(s): Pursuant to rule 1.3. please attach and affidavit or
                                  Declaration of the Attorney;. Re-file the motion as aMotion to Appear Pro Hac
                                  Vice -attach the correct signed PDF -select the correct named filer/filers -
                                  attach valid Certificates of Good Standing issued within the past 30 days - attach
                                  Proposed Order.. (wb) (   Entered: 01/24/2018)

            01/24/2018            NOTICE of Hearing: Oral Argument set for 1/26/2018 at 03:30 PM before
                                  Magistrate Judge Stewart D. Aaron. Telephone Conference set for 1/26/2018 at 03:30
                                  PM before Magistrate Judge Stewart D. Aaron. (kl) (Entered: 01/24/2018)

            01/24/2018      315   MOTION for Kyle M. Kantarek to Appear Pro Hac Vice for DEfendants and
                                  Counterclaim Plaint,,fs. Motion and supporting papers to be reviewed by Clerk's
                                  Office staff. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Attachments: # 1Affidavit of Kyle M. Kantarek with Certificate of
                                  Good Standing, # 2Text of Proposed Order)(Kantarek, Kyle) (Entered: 01/24/2018)

            01/25/2018            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 315 MOTION for Kyle M. Kantarek to Appear Pro Hac Vice for DEfendants
                                  and Counterclaim Plaintjjfs. Motion and supporting papers to be reviewed by
                                  Clerk's Office staff.. The document has been reviewed and there are no
                                  deficiencies. (wb) (
                                                     Entered: 01/25/2018)

            01/25/2018      316   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  1/19/2018 re: Resubmitted Redacted Letter per Dkt. No.: 310. Document filed by
                                  Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..(Norbitz, Todd) (Entered:
                                  01/25/2018)

            01/25/2018      317   LETTER MOTION for Local Rule 37.2 Conference (      Public Version) addressed to
                                  Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 1/16/2018. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                  (Attachments: # 1Exhibit A, # 2Exhibit B, # 3Exhibit C - Under Seal, # 4Exhibit D
                                  -Under Seal, # 5Exhibit E - Under Seal, # 6Exhibit F - Under Seal, # 7Exhibit G -
                                  Under Seal, # 8Exhibit H - Under Seal, # 9Exhibit I - Under Seal, # 10 Exhibit J -
                                  Under Seal, # 11 Exhibit K, # 12 Exhibit L - Under Seal, # 13 Exhibit M)(Cutri,
                                  Gianni) (Entered: 01/25/2018)




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            01/25/2018      318   FILING ERROR -WRONG EVENT TYPE SELECTED FROM MENU -
                                  LETTER MOTION for Local Rule 37.2 Conference (      Public Version) addressed to
                                  Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 1/18/2018. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                  (Attachments: # 1Exhibit A, # 2Exhibit B, # 3Exhibit C, # 4Exhibit D, # 5Exhibit
                                  E, # 6Exhibit F, # 7Exhibit G)(Cutri, Gianni) Modified on 3/26/2018 (ldi). (Entered:
                                  01/25/2018)

            01/25/2018      319   LETTER RESPONSE to Motion addressed to Magistrate Judge Stewart D. Aaron
                                  from Gianni Cutri dated 1/19/2018 re: 307 LETTER MOTION for Discovery
                                  Corference addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel
                                  dated January 16, 2018. (
                                                          Public Version). Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit A, # 2Exhibit
                                  B, # 3Exhibit C, # 4Exhibit D)(Cutri, Gianni) (Entered: 01/25/2018)

            01/25/2018      320   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                  Aaron from Gianni Cutri dated 1/22/2018 re: 317 LETTER MOTION for Local Rule
                                  37.2 Conference (Public Version) addressed to Magistrate Judge Stewart D. Aaron
                                  from Gianni Cutri dated 1/16/2018. (Public Version). Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit N, #
                                  2Exhibit O)(Cutri, Gianni) (Entered: 01/25/2018)

            01/26/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron: Oral
                                  Argument held on 1/26/2018 re: 307 LETTER MOTION for Discovery Corference
                                  addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated January
                                  16, 2018, filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc. (kl)
                                  (Entered: 01/26/2018)

            01/29/2018      321   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  1/29/2018 re: Reply to 1/18/2018 Letter Motion in Response to 1/26/2018
                                  Conference Request. Document filed by Cognizant Technology Solutions Corp., The
                                  Trizetto Group, Inc.. (Attachments: # 1Exhibit A, # 2Exhibit 1, # 3Exhibit 2)(Cutri,
                                  Gianni) (Entered: 01/29/2018)

            01/29/2018      322   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  January 29, 2018 re: Reply to 1/18/2018 Letter Motion in Response to 1/26/2018
                                  Conference Request. Document filed by Syntel Sterling Best Shores Mauritius
                                  Limited, Syntel, Inc..(Sekel, Anne) (Entered: 01/29/2018)

            01/29/2018      323   ORDER granting 315 Motion for Kyle M. Kantarek to Appear Pro Hac Vice
                                  (HEREBY ORDERED by Judge Lorna G. Schofield)(Text Only Order) ( Schofield,
                                  Lorna) (Entered: 01/29/2018)

            01/30/2018      324   OPINION AND ORDER: re: 317 LETTER MOTION for Local Rule 37.2
                                  Conference (Public Version) addressed to Magistrate Judge Stewart D. Aaron from
                                  Gianni Cutri dated 1/16/2018 filed by Cognizant Technology Solutions Corp., The
                                  Trizetto Group, Inc., 318 LETTER MOTION for Local Rule 37.2 Conference (Public
                                  Version) addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  1/18/2018 filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.
                                  For the foregoing reasons, it is hereby ORDERED that: Defendants' motion to
                                  compel Syntel to provide aRule 30(b)(6) witness or witnesses as to Topics 1to 5is
                                  GRANTED IN PART AND DENIED IN PART. Syntel shall provide awitness or
                                  witnesses to testify regarding Topics 1to 5, as modified on pages 4to 5of this
                                  Opinion and Order. Defendants also have leave to take testimony from Syntel's



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                                  witness or witnesses regarding the January 18 Questions. Syntel's Rule 30(b)(6)
                                  deposition shall be taken as soon as practicable, but no later than February 16, 2018.
                                  Syntel's motion to compel electronic production concerning damages information and
                                  information about confidential safeguards is GRANTED. Syntel's motion concerning
                                  source code-related information is DENIED WITHOUT PREJUDICE. If Syntel
                                  wishes to pursue further discovery regarding source code, it must inspect the source
                                  code-related information in TriZetto's office in Colorado within thirty (30) days from
                                  the date of this Order. At such inspection, Defendants are ORDERED to make a
                                  knowledgeable employee available to assist Syntel in understanding and querying
                                  any information from the TriZetto databases and to electronically produce any such
                                  information. In addition, Defendants shall identify for Syntel at such inspection the
                                  source code-related information that Defendants deem to be relevant. Defendants'
                                  motion to compel Syntel to produce adeclaration is DENIED. SO ORDERED.
                                  (Signed by Magistrate Judge Stewart D. Aaron on 1/30/2018) (ama) (Entered:
                                  01/30/2018)

            01/30/2018      325   SEALED DOCUMENT placed in vault.(mps) Modified on 1/31/2018 (mps).
                                  (Entered: 01/31/2018)

            02/01/2018      326   MOTION for Rajat Khanna to Appear Pro Hac Vice for DEfendants and
                                  Counterclaim Plaintfi. Motion and supporting papers to be reviewed by Clerk's
                                  Office staff. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Attachments: # 1Affidavit of Rajat Khanna with Certificate of Good
                                  Standing, # 2Text of Proposed Order)(Khanna, Rajat) (Entered: 02/01/2018)

            02/01/2018            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 326 MOTION for Rajat Khanna to Appear Pro Hac Vice for DEfendants and
                                  Counterclaim Plaintjjfs. Motion and supporting papers to be reviewed by Clerk's
                                  Office staff.. The document has been reviewed and there are no deficiencies.
                                  (bcu) (Entered: 02/01/2018)

            02/01/2018      327   MOTION for Adam M. Kaufmann to Appear Pro Hac Vice for DEfendants and
                                  Counterclaim Plaintfi. Motion and supporting papers to be reviewed by Clerk's
                                  Office staff. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc.. (Attachments: # 1Affidavit of Adam Kaufmann with Certificate of
                                  Good Standing, # 2Text of Proposed Order)(Kaufmann, Adam) (Entered:
                                  02/01/2018)

            02/01/2018            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 327 MOTION for Adam M. Kaufmann to Appear Pro Hac Vice for
                                  DEfendants and Counterclaim Plaintjjfs. Motion and supporting papers to be
                                  reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                  no deficiencies. Oc) (
                                                       Entered: 02/01/2018)

            02/05/2018      328   ORDER: On February 5, 2018, Defendants e-mailed aconfidential letter to the Court
                                  and all parties regarding three discovery disputes. Plaintiffs are directed to respond to
                                  Defendants' letter no later than 9:00 a.m. EST on Tuesday, February 6, 2018. The
                                  Court will hold abrief telephone conference on February 6, 2018, at 6:00 p.m. EST
                                  to discuss the issues raised in the parties' letters. The parties shall call the Court's
                                  conference line at 212-805-0110 once all parties are on the line. Prior to the
                                  conference, the parties shall file redacted copies of their confidential letters, and also
                                  comply with the provisions of Section ILG. of Judge Aarons Individual Practices
                                  ("Redactions and Filing Under Seal"), available at: http://nysd.uscourts.gov/judge
                                  /Aaron. ( Telephone Conference set for 2/6/2018 at 06:00 PM before Magistrate


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                                  Judge Stewart D. Aaron.) ( Signed by Magistrate Judge Stewart D. Aaron on
                                  2/5/2018) Os) (
                                                Entered: 02/05/2018)

            02/06/2018      329   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  February 6, 2018 re: Opposition to Defendants' February 5, 2018 Letter. Document
                                  filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: #
                                  1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3)(Sekel, Anne) (Entered: 02/06/2018)

            02/06/2018            ORDER: It is hereby ORDERED that counsel for Syntel shall refrain from making
                                  speaking objections when defending depositions. See Fed. R. Civ. P. 30(c)(2). All
                                  counsel are instructed to avoid argumentative or repetitive questions and any
                                  speaking objections during depositions. Objections as to the form of the question
                                  shall be made by opposing counsel, who shall simply state, " Objection." The
                                  objecting counsel shall not speak any additional words concerning the basis of the
                                  objection unless aclarification is requested. Any clarification as to the basis of the
                                  objection shall be stated as succinctly as possible, such as, "Argumentative," or
                                  "Ambiguous," or "Asked and Answered." Any violations of these guidelines may
                                  lead to the imposition of sanctions. The parties are directed to meet and confer to
                                  seek to resolve the other issues raised in Defendants' 2/5/18 letter, and Syntel's 2/6/18
                                  response, prior to the now- scheduled telephone conference with the Court at 6p.m.
                                  EST today. The parties shall notify the Court prior to 6p.m. EST if these issues have
                                  been resolved. (Text Only Order) ( Signed by Magistrate Judge Stewart D. Aaron on
                                  2/6/2018) (Entered: 02/06/2018)

            02/06/2018      330   LETTER MOTION for Local Rule 37.2 Conference re Discovery Issues (Redacted
                                  Version) addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  February 5, 2018. Document filed by Cognizant Technology Solutions Corp., The
                                  Trizetto Group, Inc.. (Attachments: # 1Exhibit A, # 2Exhibit B (Redacted), # 3
                                  Exhibit C (Redacted), # 4Exhibit D, # 5Exhibit E, # 6Exhibit F, # 7Exhibit G, # 8
                                  Exhibit H (Redacted), # 9Exhibit I)(Cutri, Gianni) (Entered: 02/06/2018)

            02/06/2018      331   ORDER: The telephone conference scheduled for today at 6:00 p.m. was adjourned
                                  sine die. ( Signed by Magistrate Judge Stewart D. Aaron on 2/6/2018) (Text Only
                                  Order) (Aaron, Stewart) (Entered: 02/06/2018)

            02/07/2018      332   ENDORSED LETTER: addressed to Magistrate Judge Stewart D. Aaron from Gianni
                                  Cutri dated 2/06/2018 re: Defendant Sealing Request. ENDORSEMENT: Request for
                                  sealing Granted. ( Signed by Magistrate Judge Stewart D. Aaron on 2/07/2018) (ama)
                                  (Entered: 02/07/2018)

            02/07/2018      333   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri
                                  and Anne Sekel dated February 7, 2018 re: Parties' Agreements re Depositions.
                                  Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                  Inc..(Cutri, Gianni) (Entered: 02/07/2018)

            02/07/2018      334   MEMO ENDORSEMENT on re: 333 Letter regarding Parties' Agreements re
                                  Depositions, filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                  Inc. ENDORSEMENT: Application GRANTED. The Clerk of Court shall terminate
                                  Letter- Motion at ECF No. 330 as moot. SO ORDERED. ( Signed by Magistrate
                                  Judge Stewart D. Aaron on 2/7/2018) (rj) (Entered: 02/08/2018)

            02/08/2018      335   ORDER granting 326 Motion for Rajat Khanna to Appear Pro Hac Vice (HEREBY
                                  ORDERED by Judge Lorna G. Schofield)(Text Only Order) ( Schofield, Lorna)
                                  (Entered: 02/08/2018)




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            02/08/2018      336   ORDER granting 327 Motion for Adam M. Kaufmann to Appear Pro Hac Vice
                                  (HEREBY ORDERED by Judge Lorna G. Schofield)(Text Only Order) ( Schofield,
                                  Lorna) (Entered: 02/08/2018)

            02/09/2018      337   SEALED DOCUMENT placed in vault.(mps) (Entered: 02/09/2018)

            02/09/2018      338   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri
                                  and Anne Sekel dated February 9, 2018 re: Status of Discovery. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni)
                                  (Entered: 02/09/2018)

            02/16/2018      339   FILING ERROR -DEFICIENT DOCKET ENTRY -MOTION for Ryan C.
                                  Watkins to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                                  0208-14709520. Motion and supporting papers to be reviewed by Clerk's Office
                                  staff. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                  (Attachments: # 1Certificate of Good Standing, # 2Affidavit of Ryan C. Watkins in
                                  Support of Motion, # 3Text of Proposed Order to Admit Counsel Pro Hac
                                  Vice)(Sekel, Anne) Modified on 2/16/2018 (bcu). (Entered: 02/16/2018)

            02/16/2018            >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                  VICE. Notice to RE-FILE Document No. 339 MOTION for Ryan C. Watkins to
                                  Appear Pro Hac Vice. Filing fee $ 200.00, receipt number 0208-14709520.
                                  Motion and supporting papers to be reviewed by Clerk's Office staff... The filing
                                  is deficient for the following reason(s): missing Certificate of Good Standing
                                  from Supreme Court of Michigan;. Re-file the motion as aCorrected Motion to
                                  Appear Pro Hac Vice -attach the correct signed PDF -select the correct named
                                  filer/filers -attach valid Certificates of Good Standing issued within the past 30
                                  days -attach Proposed Order.. (bcu) (    Entered: 02/16/2018)

            02/16/2018      340   MOTION for Ryan C. Watkins to Appear Pro Hac Vice. Motion and supporting
                                  papers to be reviewed by Clerk's Office staff. Document filed by Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Certificate of Good
                                  Standing, # 2Affidavit of Ryan C. Watkins in Support of Motion, # 3Text of
                                  Proposed Order to Admit Counsel Pro Hac Vice)(Sekel, Anne) (Entered: 02/16/2018)

            02/16/2018            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 340 MOTION for Ryan C. Watkins to Appear Pro Hac Vice. Motion and
                                  supporting papers to be reviewed by Clerk's Office staff.. The document has
                                  been reviewed and there are no deficiencies. Oc) (
                                                                                   Entered: 02/16/2018)

            02/20/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                  Telephone Conference held on 2/20/2018. (kl) (Entered: 02/20/2018)

            02/26/2018      341   ORDER granting 340 Motion for Ryan C. Watkins to Appear Pro Hac Vice
                                  (HEREBY ORDERED by Judge Lorna G. Schofield)(Text Only Order) ( Schofield,
                                  Lorna) (Entered: 02/26/2018)

            02/28/2018      342   ORDER: NOW, ACCORDINGLY, it appearing to the Court that counsel for
                                  Plaintiffs has violated the Court's 2/6/18 Order, IT IS HEREBY ORDERED that
                                  counsel for Plaintiffs shall show cause why they should not be sanctioned pursuant to
                                  Fed. R. Civ. P. 16(f), Fed. R. Civ. P. 37(b), 28 U.S.C. § 1927 and/or the inherent
                                  powers of the Court for this violation. Such showing shall be made by affidavit or
                                  declaration and amemorandum of law compliant with Local Civil Rule 7.1(a)(2)
                                  filed on or before Monday, March 5, 2018. SO ORDERED. ( Signed by Magistrate




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                                  Judge Stewart D. Aaron on 2/28/2018) (kl) (Entered: 02/28/2018)

            03/02/2018      343   MOTION for Jason Conti to Appear Pro Hac Vice. Motion and supporting papers
                                  to be reviewed by Clerk's Office staff. Document filed by Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Certificate of Good
                                  Standing, # 2Affidavit of Jason Conti in Support of Motion, # 3Text of Proposed
                                  Order to Admit Counsel Pro Hac Vice)(Sekel, Anne) (Entered: 03/02/2018)

            03/02/2018            Pro Hac Vice Fee Paid electronically via Pay.gov: for 343 MOTION for Jason Conti
                                  to Appear Pro Hac Vice. Motion and supporting papers to be reviewed by
                                  Clerk's Office staff.. Filing fee $ 200.00. Pay.gov receipt number 0208-14764908,
                                  paid on 3/2/2018. (wb) (Entered: 03/02/2018)

            03/02/2018            >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                  No. 343 MOTION for Jason Conti to Appear Pro Hac Vice. Motion and
                                  supporting papers to be reviewed by Clerk's Office staff.. The document has
                                  been reviewed and there are no deficiencies. (wb) (
                                                                                    Entered: 03/02/2018)

            03/02/2018      344   ORDER: granting 343 Motion for Jason Conti to Appear Pro Hac Vice. ( Signed by
                                  Magistrate Judge Stewart D. Aaron on 3/2/2018) (ap) (Entered: 03/02/2018)

            03/05/2018      345   ORDER: It is hereby ORDERED that aconference will be held on March 13, 2018,
                                  at 11:30 a.m. for an oral ruling on Plaintiffs/Counterclaim Defendants Syntel's
                                  objections to Magistrate Judge Ellis's August 25, 2017, Preclusion Order. Oral
                                  argument will not be held. ( Status Conference set for 3/13/2018 at 11:30 AM before
                                  Judge Lorna G. Schofield.) ( Signed by Judge Lorna G. Schofield on 3/5/2018) (ap)
                                  (Entered: 03/05/2018)

            03/05/2018      346   OPPOSITION BRIEF re: 342 Order„ . Document filed by Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc..(Sekel, Anne) (Entered: 03/05/2018)

            03/05/2018      347   DECLARATION of Anne B. Sekel re: 346 Opposition Brief. Document filed by
                                  Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                  Exhibit A, # 2Exhibit B, # 3Exhibit C, # 4Exhibit D, # 5Exhibit E)(Sekel, Anne)
                                  (Entered: 03/06/2018)

            03/06/2018      348   DECLARATION of Todd C. Norbitz re: 346 Opposition Brief. Document filed by
                                  Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. ( Sekel, Anne) (Entered:
                                  03/06/2018)

            03/06/2018      349   DECLARATION of Anne B. Sekel re: 346 Opposition Brief with Corrected Exhibit
                                  A (please disregard Exhibit Afiled as Dkt. No. 347-1). Document filed by Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit A, #
                                  2Exhibit B, # 3Exhibit C, # 4Exhibit D, # 5Exhibit E)(Sekel, Anne) (Entered:
                                  03/06/2018)

            03/06/2018      350   LETTER MOTION for Leave to File Reply re Order to Show Cause addressed to
                                  Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 3/6/2018. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri,
                                  Gianni) (Entered: 03/06/2018)

            03/06/2018      351   ORDER granting 350 Letter Motion for Leave to File Document. ENDORSEMENT:
                                  Application GRANTED. SO ORDERED. (Signed by Magistrate Judge Stewart D.
                                  Aaron on 3/6/2018) (kl) (Entered: 03/06/2018)




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            03/08/2018      352   ENDORSED LETTER: addressed to Magistrate Judge Stewart D. Aaron from Anne
                                  B. Sekel dated 3/06/2018 re: Accordingly, upon showing this showing of good cause,
                                  Syntel respectfully makes this request for an Order (i) authorizing Syntel's prior filing
                                  of the redacted Declaration of Anne B. Sekel, dated March 5, 2018, and Exhibits B,
                                  D, and E thereto and (ii) sealing the Protected Material. ENDORSEMENT:
                                  Application Granted. SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron
                                  on 3/08/2018) (ama) (Entered: 03/08/2018)

            03/08/2018            Transmission to Sealed Records Clerk. Transmitted re: 352 Endorsed Letter, Set
                                  Deadlines/Hearings,,,,, to the Sealed Records Clerk for the sealing or unsealing of
                                  document or case. (ama) (Entered: 03/08/2018)

            03/09/2018      353   ORDER: It is hereby Ordered that the parties appear for ahearing before Magistrate
                                  Judge Stewart Aaron regarding the issue of sanctions on Tuesday, March 13, 2018 at
                                  2:45 p.m. in Courtroom 11 C, United States Courthouse, 500 Pearl Street, New York,
                                  NY 10007. It is further Ordered that Mr. Norbitz shall be present on behalf of
                                  Plaintiffs. SO ORDERED., ( Status Conference set for 3/13/2018 at 02:45 PM in
                                  Courtroom 11 C, 500 Pearl Street, New York, NY 10007 before Magistrate Judge
                                  Stewart D. Aaron.) ( Signed by Magistrate Judge Stewart D. Aaron on 3/09/2018)
                                  (ama) (Entered: 03/09/2018)

            03/09/2018      354   TRANSCRIPT of Proceedings re: telephone conference held on 2/20/2018 before
                                  Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 3/30/2018. Redacted Transcript Deadline set for 4/9/2018. Release of Transcript
                                  Restriction set for 6/7/2018.(rro) (Entered: 03/09/2018)

            03/09/2018      355   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of atelephone conference proceeding held on 2/20/2018 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(rro)
                                  (Entered: 03/09/2018)

            03/09/2018      356   TRANSCRIPT of Proceedings re: telephone conference held on 1/5/2018 before
                                  Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 3/30/2018. Redacted Transcript Deadline set for 4/9/2018. Release of Transcript
                                  Restriction set for 6/7/2018.(rro) (Entered: 03/09/2018)

            03/09/2018      357   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of atelephone conference proceeding held on 1/5/2018 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(rro)
                                  (Entered: 03/09/2018)




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            03/09/2018      358   TRANSCRIPT of Proceedings re: Oral Argument held on 1/26/2018 before
                                  Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 3/30/2018. Redacted Transcript Deadline set for 4/9/2018. Release of Transcript
                                  Restriction set for 6/7/2018.(rro) (Entered: 03/09/2018)

            03/09/2018      359   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aOral Argument proceeding held on 1/26/2018 has been filed by
                                  the court reporter/transcriber in the above-captioned matter. The parties have seven
                                  (7) calendar days to file with the court aNotice of Intent to Request Redaction of this
                                  transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(rro)
                                  (Entered: 03/09/2018)

            03/13/2018            Minute Entry for proceedings held before Judge Lorna G. Schofield: Status
                                  Conference held on 3/13/2018. Ocs) (Entered: 03/13/2018)

            03/13/2018      360   ORDER: It is hereby ORDERED that Plaintiffs/Counterclaim Defendants Syntel
                                  Sterling Best Shores Mauritius Limited and Syntel, Inc.'s objections to Judge Ellis'
                                  August 25, 2017, Preclusion Order are OVERRULED. ( Signed by Judge Lorna G.
                                  Schofield on 3/13/2018) (kgo) (Entered: 03/13/2018)

            03/13/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron: Status
                                  Conference held on 3/13/2018. (kl) (Entered: 03/13/2018)

            03/14/2018      361   ORDER: A hearing having been held on March 13, 2018 regarding the parties' cross-
                                  motions for sanctions, it is hereby ORDERED, as follows: No later than March 16,
                                  2018, Defendants shall file on ECF redacted versions of Defendants' letter to the
                                  Court, dated February 27, 2018, and Defendants' Reply Concerning Syntel's
                                  Improper Speaking Objections and Disruption of Depositions, dated March 8, 2018,
                                  together with the exhibits thereto. Thereafter, no later than March 23, 2018,
                                  Defendants shall follow the provisions of Section ILG. of the Court's Individual
                                  Rules for filing the foregoing documents under seal. The provisions of the text-only
                                  Order that was entered by the Court on February 6, 2018 (the " 2/6/18 Order")
                                  (namely, " It is hereby ORDERED that counsel for [Plaintiff] Syntel shall refrain from
                                  making speaking objections when defending depositions. See Fed. R. Civ. P. 30(c)(2).
                                  All counsel are instructed to avoid argumentative or repetitive questions and any
                                  speaking objections during depositions. Objections as to the form of the question
                                  shall be made by opposing counsel, who shall simply state, " Objection." The parties
                                  shall meet and confer with respect to disputes regarding any requests to take
                                  additional deposition testimony subsequent to the now-past fact discovery deadline,
                                  and shall advise the Court no later than March 16, 2018 if the parties have agreed to a
                                  resolution. If the parties reach agreement, they shall so advise the Court and seek
                                  approval of their agreement. If the parties do not reach agreement, they shall provide
                                  the Court with abriefing schedule to resolve any disputes. The Court shall reserve
                                  decision on the pending cross-motions for sanctions until after the close of fact
                                  discovery. However, any violations of the 2/6/18 Order or of this Order in depositions
                                  held in future depositions in this case shall lead to the imposition of sanctions. And as
                                  set forth herein. SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on
                                  3/14/2018) (ama) Modified on 3/14/2018 (ama). (Entered: 03/14/2018)




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            03/14/2018      362   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  2/27/2018 re: Syntel's Violation of 2/6/18 Order (Public Version). Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                  Exhibit A, # 2Exhibit B, # 3Exhibit C, # 4Exhibit D)(Cutri, Gianni) (Entered:
                                  03/14/2018)

            03/14/2018      363   BRIEF re: 346 Opposition Brief Defendants' Reply Concerning Syntel's Irnpr6per
                                  Speaking Otjections and Disruption cfDepositions (Public Version). Document filed
                                  by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: #
                                  1Exhibit 1 (Redacted), # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5
                                  (Redacted), # 6Exhibit 6 (Redacted), # 7Exhibit 7 (Redacted), # 8Exhibit 8
                                  (Redacted))(Cutri, Gianni) (Entered: 03/14/2018)

            03/16/2018      364   LETTER MOTION for Extension of Time to File Discovery Status Report addressed
                                  to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 3/16/2018. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri,
                                  Gianni) (Entered: 03/16/2018)

            03/17/2018      365   ORDER granting 364 Letter Motion for Extension of Time to File Letter. ( Signed by
                                  Magistrate Judge Stewart D. Aaron on 3/17/2018) (Aaron, Stewart) (Entered:
                                  03/17/2018)

            03/19/2018      366   ENDORSED LETTER: addressed to Magistrate Judge Stewart D. Aaron from Gianni
                                  Cutri dated 3/14/2018 re: Counsel for defendants and counterclaim-plaintiffs in the
                                  above-referenced matter write Accordingly, upon this showing of good cause, Syntel
                                  respectfully make this request for an Order permitting Defendants to file Exhibit D
                                  under seal to prevent the disclosure of the commercially and competitively sensitive
                                  information. ENDORSEMENT: Request Granted. So Ordered. ( Signed by Magistrate
                                  Judge Stewart D. Aaron on 3/19/2018) Os) (    Entered: 03/19/2018)

            03/19/2018            Transmission to Sealed Records Clerk. Transmitted re: 366 Endorsed Letter,,, to the
                                  Sealed Records Clerk for the sealing or unsealing of document or case. Os) (
                                                                                                             Entered:
                                  03/19/2018)

            03/21/2018      367   SECOND LETTER MOTION for Extension of Time to File Discovery Status Report
                                  addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 3/21/2018.
                                  Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                  Inc..(Cutri, Gianni) (Entered: 03/21/2018)

            03/22/2018      368   ORDER granting 367 Letter Motion for Extension of Time to File Discovery Status
                                  Report. Application GRANTED. Further, the parties are directed to appear via
                                  telephone for astatus conference on Tuesday, March 27, 2018, at 4:00 p.m. EST. SO
                                  ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on 3/22/2018) (ama)
                                  (Entered: 03/22/2018)

            03/22/2018            Set/Reset Hearings: Status Conference set for 3/27/2018 at 04:00 PM before
                                  Magistrate Judge Stewart D. Aaron. Telephone Conference set for 3/27/2018 at 04:00
                                  PM before Magistrate Judge Stewart D. Aaron. (ama) (Entered: 03/22/2018)

            03/22/2018            Terminate Transcript Deadlines (ama) (Entered: 03/22/2018)

            03/23/2018      369   TRANSCRIPT of Proceedings re: DECISION held on 3/13/2018 before Judge Lorna
                                  G. Schofield. Court Reporter/Transcriber: Karen Gorlaski, (212) 805-0300.
                                  Transcript may be viewed at the court public terminal or purchased through the Court
                                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After



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                                  that date it may be obtained through PACER. Redaction Request due 4/13/2018.
                                  Redacted Transcript Deadline set for 4/23/2018. Release of Transcript Restriction set
                                  for 6/21/2018. (McGuirk, Kelly) (Entered: 03/23/2018)

            03/27/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                  Telephone Conference held on 3/27/2018. (kl) (Entered: 03/27/2018)

            03/27/2018      370   ORDER: Following atelephone conference with the parties on March 27, 2018, it is
                                  hereby ORDERED that: On March 30, 2018, each party shall file aLetter setting
                                  forth its position regarding the unresolved discovery disputes set forth in the parties'
                                  March 26, 2018 joint letter to the Court, as well as any remaining disputes regarding
                                  fact discovery. Each party's Letter may not exceed eight pages and should show good
                                  cause as to why the requested discovery was not completed prior to the March 7,
                                  2018 fact discovery deadline. On April 5, 2018, each party shall file its response to
                                  the opposing party's Letter. Each party's response may not exceed five pages. In their
                                  responses, the parties should indicate whether they seek oral argument regarding any
                                  issue or whether the Court should decide the remaining issues based on the parties'
                                  written submissions. Any issue regarding fact discovery that is not raised with the
                                  Court in either the March 30, 2018 Letters or April 5, 2018 responses shall be
                                  deemed waived. SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on
                                  3/27/2018) (ama) (Entered: 03/27/2018)

            03/28/2018      371   SEALED DOCUMENT placed in vault.(rz) (Entered: 03/28/2018)

            03/29/2018      372   TRANSCRIPT of Proceedings re: Status Conference held on 3/13/2018 before
                                  Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Mary Greco, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 4/19/2018. Redacted Transcript Deadline set for 4/30/2018. Release of Transcript
                                  Restriction set for 6/27/2018.(mhe) (Entered: 03/29/2018)

            03/29/2018      373   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aStatus Conference proceeding held on 03/13/2018 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(mhe)
                                  (Entered: 03/29/2018)

            04/02/2018      374   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri
                                  dated 3/26/2018 re: Discovery Issues (Public Version). Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit A
                                  (Redacted), # 2Exhibit B, # 3Exhibit 1, # 4Exhibit 2, # 5Exhibit 3)(Cutri, Gianni)
                                  (Entered: 04/02/2018)

            04/04/2018      375   ENDORSED LETTER: addressed to Magistrate Judge Stewart D. Aaron from Gianni
                                  Cutri dated 4/2/2018 re: Accordingly, upon this showing of good cause, Syntel
                                  respectfully makes this request for an Order permitting Defendants to file Exhibits I
                                  and 2to Exhibit A to the parties' March 26, 2018 letter under seal to prevent the
                                  disclosure of the commercially sensitive information.. ENDORSEMENT:
                                  Application Granted. So ordered. ( Signed by Magistrate Judge Stewart D. Aaron on
                                  4/4/2018) Os) ( Entered: 04/04/2018)




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            04/04/2018            Transmission to Sealed Records Clerk. Transmitted re: 375 Endorsed Letter„ to the
                                  Sealed Records Clerk for the sealing or unsealing of document or case. Os) (
                                                                                                             Entered:
                                  04/04/2018)

            04/06/2018            NOTICE of Hearing: Oral Argument via Telephone set for 4/10/2018 at 04:00 PM
                                  before Magistrate Judge Stewart D. Aaron. The parties shall call the Court's
                                  conference line at 212-805-0110 once all parties are on the line. (kl) (Entered:
                                  04/06/2018)

            04/10/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                  Telephonic Oral Argument held on 4/10/2018. (kl) (Entered: 04/11/2018)

            04/11/2018      376   LETTER MOTION for Discovery Issues (Redacted Version) addressed to Magistrate
                                  Judge Stewart D. Aaron from Gianni Cutri dated 3/30/2018. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                  Exhibit A (Redacted), # 2Exhibit B (Redacted), # 3Exhibit C (Redacted), # 4
                                  Exhibit D (Redacted), # 5Exhibit E (Redacted), # 6Exhibit F, # 7Exhibit G
                                  (Redacted), # 8Exhibit H (Redacted), # 9Exhibit I (Redacted), # 10 Exhibit J
                                  (Redacted), # 11 Exhibit K (Redacted), # 12 Exhibit L (Redacted), # 13 Exhibit M
                                  (Redacted), # 14 Exhibit N (Redacted), # 15 Exhibit O (Redacted), # 16 Exhibit P
                                  (Redacted), # 17 Exhibit Q (Redacted), # 18 Exhibit R (Redacted), # 19 Exhibit S
                                  (Redacted), # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V (Redacted), # 23 Exhibit
                                  W (Redacted), # 24 Exhibit X (Redacted), # 25 Exhibit Y)(Cutri, Gianni) (Entered:
                                  04/11/2018)

            04/11/2018      377   LETTER MOTION for Discovery Issues addressed to Magistrate Judge Stewart D.
                                  Aaron from Anne B. Sekel dated March 30, 2018. Document filed by Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit
                                  2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7 (TO BE
                                  SEALED), # 8Exhibit 8 (TO BE SEALED), # 9Exhibit 9 (TO BE SEALED), # 10
                                  Exhibit 10 (TO BE SEALED), # 11 Exhibit 11 (TO BE SEALED), # 12 Exhibit 12, #
                                  13 Exhibit 13 (TO BE SEALED), # 14 Exhibit 14 (TO BE SEALED), # 15 Exhibit
                                  15, # 16 Exhibit 16 (REDACTED), # 17 Exhibit 17 (TO BE SEALED), # 18 Exhibit
                                  18, # 19 Exhibit 19, # 20 Exhibit 20 (REDACTED), # 21 Exhibit 21)(Sekel, Anne)
                                  (Entered: 04/11/2018)

            04/11/2018      378   LETTER RESPONSE to Motion addressed to Magistrate Judge Stewart D. Aaron
                                  from Anne B. Sekel dated April 5, 2018 re: 376 LETTER MOTION for Discovery
                                  Issues (Redacted Version) addressed to Magistrate Judge Stewart D. Aaron from
                                  Gianni Cutri dated 3/30/2018.. Document filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit A, # 2Exhibit B
                                  (REDACTED), # 3Exhibit C (REDACTED), # 4Exhibit D, # 5Exhibit E
                                  (REDACTED), # 6Exhibit F (REDACTED), # 7Exhibit G (REDACTED), # 8
                                  Exhibit H (REDACTED), # 9Exhibit I, # 10 Exhibit J (REDACTED), # 11 Exhibit
                                  K)(Sekel, Anne) (Entered: 04/11/2018)

            04/11/2018      379   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  4/5/2018 re: Response to Syntel's 3/30/2018 Letter Motion (Redacted Version).
                                  Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                  (Attachments: # 1Exhibit 1 (Redacted), # 2Exhibit 2 (Redacted), # 3Exhibit 3, # 4
                                  Exhibit 4, # 5Exhibit 5 (Redacted), # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8
                                  (Redacted), # 9Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13
                                  Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15 (Redacted), # 16 Exhibit 16 (Redacted),



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                                  #17 Exhibit 17 (Redacted), # 18 Exhibit 18 (Redacted), # 19 Exhibit 19, # 20 Exhibit
                                  20 (Redacted), # 21 Exhibit 21 (Redacted), # 22 Exhibit 22 (Redacted), # 23 Exhibit
                                  23, # 24 Exhibit 24, # 25 Exhibit 25 (Redacted), # 26 Exhibit 26 (Redacted), # 27
                                  Exhibit 27 (Redacted))(Cutri, Gianni) (Entered: 04/11/2018)

            04/12/2018      380   ENDORSED LETTER: addressed to Magistrate Judge Stewart D. Aaron from Anne
                                  B. Sekel dated 4/11/2018 re: Accordingly, upon this showing of good cause,
                                  Defendants respectfully make this request for an Order permitting Syntel to file
                                  Exhibit B under seal to prevent the disclosure of commercially sensitive business
                                  information. Exhibit B will be filed with redactions. ENDORSEMENT: Request
                                  Granted. So Ordered. ( Signed by Magistrate Judge Stewart D. Aaron on 4/12/2018)
                                  Os) (Entered:   04/12/2018)

            04/12/2018            Transmission to Sealed Records Clerk. Transmitted re: 380 Endorsed Letter„ to the
                                  Sealed Records Clerk for the sealing or unsealing of document or case. Os) (
                                                                                                             Entered:
                                  04/12/2018)

            04/17/2018      381   ENDORSED LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni
                                  Cutri dated 3/14/2018 re: filing under seal. ENDORSEMENT: Request GRANTED.
                                  SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on 4/17/2018) (ras)
                                  (Entered: 04/17/2018)

            04/17/2018            Transmission to Sealed Records Clerk. Transmitted re: 381 Endorsed Letter to the
                                  Sealed Records Clerk for the sealing or unsealing of document or case. (ras)
                                  (Entered: 04/17/2018)

            04/17/2018      382   ENDORSED LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni
                                  Cutri dated 4/11/2018 re: request to file exhibits under seal. ENDORSEMENT:
                                  Request GRANTED. SO ORDERED. (Signed by Magistrate Judge Stewart D. Aaron
                                  on 4/17/2018) (ras) (Entered: 04/17/2018)

            04/17/2018            Transmission to Sealed Records Clerk. Transmitted re: 382 Endorsed Letter to the
                                  Sealed Records Clerk for the sealing or unsealing of document or case. (ras)
                                  (Entered: 04/17/2018)

            04/17/2018      383   ORDER terminating 376 Letter Motion for Discovery; terminating 377 Letter Motion
                                  for Discovery. It is hereby ORDERED that: The deadline for the close of expert
                                  discovery is Friday, August 31, 2018. The Clerk of Court is directed to terminate the
                                  Letter-Motions at ECF Nos. 376 and 377, and as further set forth herein. ( Signed by
                                  Magistrate Judge Stewart D. Aaron on 4/17/2018) (ras) (Entered: 04/17/2018)

            04/17/2018            Set/Reset Deadlines: Expert Discovery due by 8/31/2018. (ras) (Entered: 04/17/2018)

            04/18/2018      384   NOTICE OF APPEARANCE by Robert S. Weisbein on behalf of Syntel Sterling
                                  Best Shores Mauritius Limited, Syntel, Inc.. (Weisbein, Robert) (Entered:
                                  04/18/2018)

            04/19/2018      385   TRANSCRIPT of Proceedings re: Telephonic Oral Argument held on 4/10/2018
                                  before Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Shari Riemer,
                                  (518) 581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 5/10/2018. Redacted Transcript Deadline set for 5/21/2018. Release of Transcript
                                  Restriction set for 7/18/2018.(mhe) (Entered: 04/19/2018)




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            04/19/2018      386   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephonic Oral Argument proceeding held on 04/10/2018 has
                                  been filed by the court reporter/transcriber in the above-captioned matter. The parties
                                  have seven (7) calendar days to file with the court aNotice of Intent to Request
                                  Redaction of this transcript. If no such Notice is filed, the transcript may be made
                                  remotely electronically available to the public without redaction after 90 calendar
                                  days.(mhe) (Entered: 04/19/2018)

            05/11/2018      387   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  5/11/2018 re: Deposition Dates. Document filed by Cognizant Technology Solutions
                                  Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 05/11/2018)

            05/11/2018      388   MEMO ENDORSEMENT on re: 387 Letter filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: Requested date
                                  extensions APPROVED. SO ORDERED. ( Signed by Magistrate Judge Stewart D.
                                  Aaron on 5/11/2018) (rro) (Entered: 05/11/2018)

            05/11/2018            Set/Reset Deadlines: Deposition due by 5/25/2018. (rro) (Entered: 05/11/2018)

            05/16/2018      389   LETTER MOTION for Extension of Time to Respond to Court Ordered Questions
                                  addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 5/16/2018.
                                  Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                  Inc..(Cutri, Gianni) (Entered: 05/16/2018)

            05/16/2018      390   ORDER granting 389 Letter Motion for Extension of Time. Request Granted. So
                                  Ordered. ( Signed by Magistrate Judge Stewart D. Aaron on 5/16/2018) Os) (
                                                                                                           Entered:
                                  05/16/2018)

            05/23/2018      391   ORDER: Plaintiffs shall respond to Defendant's May 22, 2018 Letter to the Court
                                  (sent via e-mail in accordance with the Court's Individual Practice LB) no later than
                                  5:00 p.m. EDT on Thursday, May 24, 2018. The parties are directed to appear via
                                  Telephone for aconference regarding the issues raised in Defendant's Letter on
                                  Friday, May 25, 2018, at 11:00 a.m. EDT. The parties shall call the Court's
                                  conference line at 212-805-0110 once all parties are on the line. SO ORDERED.
                                  (Telephone Conference set for 5/25/2018 at 11:00 AM before Magistrate Judge
                                  Stewart D. Aaron.) ( Signed by Magistrate Judge Stewart D. Aaron on 5/23/2018) (kl)
                                  (Entered: 05/23/2018)

            05/25/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                  Telephone Conference held on 5/25/2018. (kl) (Entered: 05/25/2018)

            05/25/2018      392   ORDER: For the foregoing reasons, and for the reasons stated on the record, it is
                                  hereby ORDERED as follows: 1. Within ten days of the date of this Order, Syntel
                                  shall produce to Defendants the non-privileged documents from Mr. Chadha's devices
                                  that hit on the search term " TriZetto." These documents shall be designated
                                  CONFIDENTIAL FOR OUTSIDE COUNSEL ONLY, in accordance with the
                                  Protective Order (ECF No. 99). Any documents withheld as privileged shall be set
                                  forth in aprivilege log, which Syntel shall provide to Defendants within four days of
                                  the production. 2. Following Defendants' review of the production, if Defendants can
                                  make ashowing that asubstantial number of documents should have been produced
                                  during discovery, Defendants may make an application to the Court for further relief
                                  with respect to the remaining search terms. Any such application shall be made
                                  within seven days of the date that Defendants receive the production. SO ORDERED.
                                  (Signed by Magistrate Judge Stewart D. Aaron on 5/25/2018) (kl) (Entered:



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                                  05/25/2018)

            05/31/2018      393   LETTER MOTION for Discovery Production - Public Version addressed to
                                  Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 5/22/2018. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri,
                                  Gianni) (Entered: 05/31/2018)

            05/31/2018      394   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  May 24, 2018 re: Opposition to Defendants/Counterclaim Plaintiffs May 22, 2018
                                  Letter. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Sekel, Anne) (Entered: 05/31/2018)

            05/31/2018      395   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                  Aaron from Gianni Cutri dated 5/25/2018 re: 393 LETTER MOTION for Discovery
                                  Production - Public Version addressed to Magistrate Judge Stewart D. Aaron from
                                  Gianni Cutri dated 5/22/2018.. Document filed by Cognizant Technology Solutions
                                  Corp., The Trizetto Group, Inc.. (Cutri, Gianni) (Entered: 05/31/2018)

            06/01/2018      396   TRANSCRIPT of Proceedings re: telephone conference held on 5/25/2018 before
                                  Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Carole Ludwig,
                                  (212) 420-0771. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 6/22/2018. Redacted Transcript Deadline set for 7/2/2018. Release of Transcript
                                  Restriction set for 8/30/2018.(rro) (Entered: 06/01/2018)

            06/01/2018      397   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of atelephone conference proceeding held on 5/25/2018 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(rro)
                                  (Entered: 06/01/2018)

            06/07/2018      398   SEALED DOCUMENT placed in vault.(rz) (Entered: 06/07/2018)

            06/07/2018      399   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  June 7, 2018 Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                  Syntel, Inc.. (Attachments: # 1Attachment to letter)(Sekel, Anne) (Entered:
                                  06/07/2018)

            06/07/2018      400   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  May 24, 2018 re: Opposition to Defendants/Counterclaim Plaintiffs May 22, 2018
                                  Letter. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc.. (Attachments: # 1Exhibit A, # 2Exhibit B, # 3Exhibit C)(Sekel, Anne)
                                  (Entered: 06/07/2018)

            06/07/2018      401   LETTER MOTION for Discovery (
                                                              Redacted Version) addressed to Magistrate Judge
                                  Stewart D. Aaron from Gianni Cutri dated 5/22/2018. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, #
                                  2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, #
                                  8Exhibit 8, # 9Exhibit 9)(Cutri, Gianni) (Entered: 06/07/2018)

            06/07/2018      402   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                  Aaron from Gianni Cutri dated 5/25/2018 re: 401 LETTER MOTION for Discovery



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                                  (Redacted Version) addressed to Magistrate Judge Stewart D. Aaron from Gianni
                                  Cutri dated 5/22/2018.. Document filed by Cognizant Technology Solutions Corp.,
                                  The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2)(Cutri, Gianni)
                                  (Entered: 06/07/2018)

            06/12/2018      403   ORDER: The Court is in receipt of Defendants' confidential letter, dated June 11,
                                  2018, regarding the production of documents from the files of Ankur Chadha. It is
                                  hereby ORDERED that Plaintiff shall send its response to this letter to the Court and
                                  to Defendants' counsel no later than 6p.m. EST on Thursday, June 14, 2018, and that
                                  Defendants shall send any reply no later than 6p.m. EST on Friday, June 15, 2018.
                                  The parties are directed to appear via Telephone for aconference in the above-
                                  captioned matter on Monday, June 18, 2018, at 10:00 a.m. EST. During the
                                  conference, the parties should be prepared to discuss the correspondence set forth in
                                  the paragraph above, as well as the deadlines for expert reports, which deadlines are
                                  hereby extended sine die, pending the conference. The parties shall call the Court's
                                  conference line at 212-805-0110 once all parties are on the line. SO ORDERED.
                                  (Telephone Conference set for 6/18/2018 at 10:00 AM before Magistrate Judge
                                  Stewart D. Aaron.) ( Signed by Magistrate Judge Stewart D. Aaron on 6/12/2018) (kl)
                                  (Entered: 06/12/2018)

            06/14/2018      404   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  June 14, 2018 re: Response to Defendants' Letter Submitted June 11, 2018.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc..(Sekel, Anne) (Entered: 06/14/2018)

            06/18/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                  Telephone Conference held on 6/18/2018. (kl) (Entered: 06/18/2018)

            06/18/2018      405   ORDER: For the reasons stated on the record, it is hereby ORDERED as follows:
                                  Syntel shall produce all non-privileged documents from Mr. Chadha's devices that hit
                                  on any of the following search terms: " TriZetto," " TZ," " Facets," and " Customer
                                  Exchange." These documents shall be produced on arolling basis beginning on June
                                  26, 2018, with all documents produced no later than July 9, 2018. These documents
                                  shall be designated CONFIDENTIAL FOR OUTSIDE COUNSEL ONLY, in
                                  accordance with the Protective Order (ECF No. 99). Any documents withheld as
                                  privileged shall be set forth in aprivilege log, which Syntel shall provide to
                                  Defendants no later than July 19, 2018. Syntel shall run the same search terms
                                  identified in Paragraph 1against the " TriZetto Data" folder and produce all
                                  documents that hit on any of those search terms to Defendants no later than July 9,
                                  2018. These documents shall be designated CONFIDENTIAL FOR OUTSIDE
                                  COUNSEL ONLY, in accordance with the Protective Order (ECF No. 99). Syntel
                                  shall specifically identify the documents that are produced from the " TriZetto Data"
                                  folder. If, following Syntel's production, Defendants can make ashowing as to why
                                  additional documents from that folder should be produced, they may renew their
                                  application. Any such application shall be made prior to July 30, 2018. Syntel shall
                                  produce an unredacted version of SYNSUPP-0207148. The Court finds that the
                                  portions of that document that were redacted by Syntel (see SYNSUPP-0207213, at
                                  44) are not subject to the attorney-client privilege. The redacted language merely
                                  indicates that adocument was forwarded to an attorney for "review and closure."
                                  That language does not reflect any attorney-client communication. The parties shall
                                  meet and confer about Syntel's privilege log (Ex. 19 to 6/11/2018 Letter from Mr.
                                  Cutri) and, in conjunction therewith, Syntel shall provide Defendants with arevised
                                  privilege log as promptly as possible, but no later than July 2, 2018. Defendants'



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                                  motion for sanctions regarding Syntel's alleged discovery misconduct shall be filed
                                  no later than July 30, 2018. Syntel's opposition shall be filed no later than August 17,
                                  2018, and Defendants' reply shall be filed no later than August 24, 2018. An in-
                                  person hearing on Defendants' motion for sanctions shall be held on Tuesday, August
                                  28, 2018, at 10:00 a.m. in Courtroom 11 C, United States Courthouse, 500 Pearl
                                  Street, New York, NY 10007. All deadlines regarding expert discovery are adjourned
                                  sine die. SO ORDERED. (Motions due by 7/30/2018., Responses due by 8/17/2018,
                                  Replies due by 8/24/2018., Oral Argument set for 8/28/2018 at 10:00 AM in
                                  Courtroom 11 C, 500 Pearl Street, New York, NY 10007 before Magistrate Judge
                                  Stewart D. Aaron.) ( Signed by Magistrate Judge Stewart D. Aaron on 6/18/2018) (kl)
                                  (Entered: 06/18/2018)

            06/21/2018      406   LETTER MOTION for Discovery Production (Redacted Version) addressed to
                                  Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 6/11/2018. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri,
                                  Gianni) (Entered: 06/21/2018)

            06/21/2018      407   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                  Aaron from Gianni Cutri dated 6/15/2018 re: 406 LETTER MOTION for Discovery
                                  Production (Redacted Version) addressed to Magistrate Judge Stewart D. Aaron from
                                  Gianni Cutri dated 6/11/2018. (
                                                                Redacted Version). Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Cutri, Gianni) (Entered:
                                  06/21/2018)

            06/28/2018      408   LETTER MOTION for Discovery Production (Redacted Version) addressed to
                                  Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 6/11/2018. Document
                                  filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                  (Attachments: # 1Exhibit 1, # 2Exhibit 2 ( Sealed), # 3Exhibit 3 ( Sealed), # 4
                                  Exhibit 4 (Sealed), # 5Exhibit 5, # 6Exhibit 6 (Sealed), # 7Exhibit 7, # 8Exhibit 8,
                                  #9Exhibit 9 (Sealed), # 10 Exhibit 10, # 11 Exhibit 11 (Sealed), # 12 Exhibit 12
                                  (Sealed), # 13 Exhibit 13, # 14 Exhibit 14 (Sealed), # 15 Exhibit 15 (Sealed), # 16
                                  Exhibit 16 (Sealed), # 17 Exhibit 17 (Sealed), # 18 Exhibit 18 (Sealed), # 19 Exhibit
                                  19 (Sealed), # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22 (Sealed), # 23 Exhibit
                                  23 (Sealed), # 24 Exhibit 24 (Sealed), # 25 Exhibit 25 (Sealed))(Cutri, Gianni)
                                  (Entered: 06/28/2018)

            06/28/2018      409   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                  Aaron from Gianni Cutri dated 6/15/2018 re: 408 LETTER MOTION for Discovery
                                  Production (Redacted Version) addressed to Magistrate Judge Stewart D. Aaron from
                                  Gianni Cutri dated 6/11/2018. (
                                                                Redacted Version). Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 26
                                  (Sealed), # 2Exhibit 27 (Sealed), # 3Exhibit 28, # 4Exhibit 29, # 5Exhibit 30, # 6
                                  Exhibit 31, # 7Exhibit 32 (Sealed), # 8Exhibit 33, # 9Exhibit 34)(Cutri, Gianni)
                                  (Entered: 06/28/2018)

            06/28/2018      410   SEALED DOCUMENT placed in vault.(rz) (Entered: 06/29/2018)

            07/13/2018      411   ORDER: The Court is in receipt of the parties' July 13, 2018 confidential letter,
                                  submitted via e-mail in accordance with the Court's Individual Practices. On consent,
                                  Defendants' request to brief additional claims and for an expansion of the briefing
                                  page limits is GRANTED. ( Signed by Magistrate Judge Stewart D. Aaron on
                                  7/13/2018) (cf) (Entered: 07/13/2018)




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            07/26/2018      412   TRANSCRIPT of Proceedings re: telephone conference held on 6/18/2018 before
                                  Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 8/16/2018. Redacted Transcript Deadline set for 8/27/2018. Release of Transcript
                                  Restriction set for 10/24/2018.(rro) (Entered: 07/26/2018)

            07/26/2018      413   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of atelephone conference proceeding held on 6/18/2018 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(rro)
                                  (Entered: 07/26/2018)

            07/27/2018      414   LETTER MOTION for Leave to File Excess Pages addressed to Magistrate Judge
                                  Stewart D. Aaron from Gianni Cutri dated 7/27/2018. Document filed by Cognizant
                                  Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                  07/27/2018)

            07/27/2018      415   ORDER granting 414 Letter Motion for Leave to File Excess Pages.
                                  ENDORSEMENT: Request GRANTED. SO ORDERED. ( Signed by Magistrate
                                  Judge Stewart D. Aaron on 7/27/2018) (kl) (Entered: 07/27/2018)

            08/10/2018      416   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  August 10, 2018 re: Opposition to Defendants' August 7, 2018 Letter Motion.
                                  Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                  (Attachments: # 1Exhibit A)(Sekel, Anne) (Entered: 08/10/2018)

            08/14/2018      417   ORDER: The parties are directed to appear via Telephone for Oral Argument
                                  regarding the issues raised in Defendants' August 7, 2018 letter on Tuesday, August
                                  21, 2018 at 2:30 p.m. EDT. The parties shall call the Court's conference line at
                                  212-805-0110 once all parties are on the line. (As further set forth in this order)
                                  (Telephone Conference set for 8/21/2018 at 02:30 PM before Judge Stewart D.
                                  Aaron.) ( Signed by Magistrate Judge Stewart D. Aaron on 8/14/2018) (ne) Modified
                                  on 8/14/2018 (ne). (Entered: 08/14/2018)

            08/17/2018      418   FILING ERROR -WRONG EVENT TYPE SELECTED FROM MENU -
                                  LETTER MOTION for Discovery re privilege documents addressed to Magistrate
                                  Judge Stewart D. Aaron from Gianni Cutri dated 8/17/2018. Document filed by
                                  Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                  Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7
                                  Exhibit 7, # 8Exhibit 8)(Cutri, Gianni) Modified on 8/24/2018 (ldi). (Entered:
                                  08/17/2018)

            08/17/2018      419   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                  Aaron from Gianni Cutri dated 8/13/2018 re: 418 LETTER MOTION for Discovery
                                  re privilege documents addressed to Magistrate Judge Stewart D. Aaron from Gianni
                                  Cutri dated 8/17/2018.. Document filed by The Trizetto Group, Inc.. (Attachments: #
                                  1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5)(Cutri, Gianni)
                                  (Entered: 08/17/2018)




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            08/21/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                  Telephone Conference held on 8/21/2018. (kl) (Entered: 08/21/2018)

            08/22/2018      420   ORDER denying without prejudice 418 Letter Motion for Discovery. So Ordered.
                                  (Signed by Magistrate Judge Stewart D. Aaron on 8/22/2018) Os) (
                                                                                                 Entered:
                                  08/22/2018)

            08/23/2018      421   ORDER: It is hereby Ordered that, no later than 5p.m. EST on Monday, August 27,
                                  2018, the parties shall each provide to the Court by letter filed on ECF an estimated
                                  number of documents produced by Plaintiff pursuant to the Court's June 18, 2018
                                  Order (ECF No. 405) that in whole or in part contain information derived directly or
                                  indirectly from The TriZetto Group, and any additional communications relating to
                                  them. SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on 8/23/2018)
                                  (kl) (Entered: 08/23/2018)

            08/23/2018      422   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated
                                  August 23, 2018 re: Clarification of Dkt. 421. Document filed by Syntel Sterling Best
                                  Shores Mauritius Limited, Syntel, Inc..(Sekel, Anne) (Entered: 08/23/2018)

            08/24/2018      423   MEMO ENDORSEMENT on re: 422 Letter filed by Syntel Sterling Best Shores
                                  Mauritius Limited, Syntel, Inc. ENDORSEMENT: Request GRANTED. The Court
                                  shall hold abrief telephone conference with the parties today, Friday, August 24,
                                  2018, at 4:00 p.m. EDT. The parties shall call the Court's conference line at
                                  212-805-0110 once all parties are on the line. SO ORDERED. (Telephone
                                  Conference set for 8/24/2018 at 04:00 PM before Magistrate Judge Stewart D.
                                  Aaron.) ( Signed by Magistrate Judge Stewart D. Aaron on 8/24/2018) (kl) (Entered:
                                  08/24/2018)

            08/24/2018      424   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  8/24/2018 re: Telephone Conference. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1)(Cutri,
                                  Gianni) (Entered: 08/24/2018)

            08/24/2018      425   MEMO ENDORSEMENT on re: 424 Letter filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: Request GRANTED.
                                  The telephone conference shall be held today at 2:30 p.m. EDT. The parties shall call
                                  the Court's conference line at 212-805-0110 once all parties are on the line. SO
                                  ORDERED. (Telephone Conference set for 8/24/2018 at 02:30 PM before Magistrate
                                  Judge Stewart D. Aaron.) ( Signed by Magistrate Judge Stewart D. Aaron on
                                  8/24/2018) (kl) (Entered: 08/24/2018)

            08/24/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                  Telephone Conference held on 8/24/2018. (kl) (Entered: 08/24/2018)

            08/27/2018      426   LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel, Esq.
                                  dated August 27, 2018 re: Plaintiffs' Letter Responding to Court's August 23, 2018
                                  Order (ECF No. 421). Document filed by Syntel Sterling Best Shores Mauritius
                                  Limited, Syntel, Inc..(Sekel, Anne) (Entered: 08/27/2018)

            08/27/2018      427   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  8/27/2018 re: Response to 8/23/2018 Order re Produced Documents. Document filed
                                  by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni)
                                  (Entered: 08/27/2018)




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            08/28/2018            Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron: Oral
                                  Argument held on 8/28/2018. Court Reporter Rose Prater present. (kl) (Entered:
                                  08/28/2018)

            08/29/2018      428   ORDER: Following oral argument on Defendants' motion for sanctions, it is hereby
                                  Ordered that, no later than September 4, 2018: The parties shall provide the Court
                                  with hard copies of all documents derived directly or indirectly from TriZetto and
                                  which contain the words " confidential," "proprietary" or any similar confidentiality
                                  legend, or which are attached to other documents or communications referencing the
                                  confidential or proprietary nature of TriZetto's information. The parties shall confer
                                  regarding whether or not they agree as to the number of such documents and/or
                                  which such documents are duplicates. To the extent the parties disagree they should
                                  state which documents are in dispute. Plaintiffs shall provide to Defendants and the
                                  Court any documentary evidence regarding their contention in Footnote 31 of their
                                  Opposition Brief that the Forensic Examiner offered Defendants the option of trying
                                  to have twelve computers restored and Defendants declined the offer. Plaintiffs shall
                                  run the search terms " TriZetto," " TZ," " Customer Exchange" and " FACETS" against
                                  the Forensic Examiner's copy of the PCT drive for the date range January 1, 2013
                                  through the date the drive was collected, and provide the hit counts to Defendants and
                                  the Court. The parties shall confer and file ajoint letter regarding aproposed
                                  schedule for expert discovery. To the extent not already filed, the parties shall file
                                  redacted versions of their motion papers pertaining to Defendants' motion for
                                  sanctions on ECF, and file the complete motion papers under seal. SO ORDERED.
                                  (Signed by Magistrate Judge Stewart D. Aaron on 8/29/2018) (kl) (Entered:
                                  08/29/2018)

            08/31/2018      429   JOINT LETTER MOTION for Extension of Time to Complete Tasks in 8/29/2018
                                  Order addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  8/31/2018. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc..(Cutri, Gianni) (Entered: 08/31/2018)

            08/31/2018      430   ORDER granting 429 Letter Motion for Extension of Time. ( Signed by Magistrate
                                  Judge Stewart D. Aaron on 8/31/2018) (Aaron, Stewart) (Entered: 08/31/2018)

            09/06/2018      431   NOTICE OF APPEARANCE by Matthew Joseph Hrutkay on behalf of Syntel
                                  Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Hrutkay, Matthew) (Entered:
                                  09/06/2018)

            09/06/2018      432   NOTICE of Withdrawal of Appearance of Matthew J. Hrutkay re: 431 Notice of
                                  Appearance. Document filed by Syntel Sterling Best Shores Mauritius Limited.
                                  (Hrutkay, Matthew) (Entered: 09/06/2018)

            09/10/2018      433   TRANSCRIPT of Proceedings re: Telephone Conference held on 8/24/2018 before
                                  Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 10/1/2018. Redacted Transcript Deadline set for 10/11/2018. Release of
                                  Transcript Restriction set for 12/10/2018.(aea) (Entered: 09/10/2018)

            09/10/2018      434   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephone Conference proceeding held on 8/24/2018 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction


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                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(aea)
                                  (Entered: 09/10/2018)

            09/10/2018      435   TRANSCRIPT of Proceedings re: Telephone Conference held on 8/21/2018 before
                                  Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Shari Riemer, (518)
                                  581-8973. Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                  Restriction. After that date it may be obtained through PACER. Redaction Request
                                  due 10/1/2018. Redacted Transcript Deadline set for 10/11/2018. Release of
                                  Transcript Restriction set for 12/10/2018.(aea) (Entered: 09/10/2018)

            09/10/2018      436   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                  official transcript of aTelephone Conference proceeding held on 8/21/2018 has been
                                  filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                  seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                  of this transcript. If no such Notice is filed, the transcript may be made remotely
                                  electronically available to the public without redaction after 90 calendar days.(aea)
                                  (Entered: 09/10/2018)

            09/11/2018      437   JOINT LETTER MOTION for Extension of Time to Complete Tasks from 8/29
                                  Order addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  9/11/2018. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc..(Cutri, Gianni) (Entered: 09/11/2018)

            09/11/2018      438   ORDER granting 437 Letter Motion for Extension of Time. ENDORSEMENT:
                                  Request GRANTED. SO ORDERED. (Signed by Magistrate Judge Stewart D. Aaron
                                  on 9/11/2018) (kl) (Entered: 09/11/2018)

            09/12/2018      439   MOTION for Sanctions (   Public Version). Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2,
                                  #3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8,
                                  #9Exhibit     9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                                  Exhibit 14,   # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19
                                  Exhibit 19,   # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24
                                  Exhibit 24,   # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29
                                  Exhibit 29,   # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34
                                  Exhibit 34,   # 35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39
                                  Exhibit 39,   # 40 Exhibit 40, # 41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44
                                  Exhibit 44,   # 45 Exhibit 45, # 46 Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49
                                  Exhibit 49,   # 50 Exhibit 50, # 51 Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54
                                  Exhibit 54,   # 55 Exhibit 55, # 56 Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59
                                  Exhibit 59,   # 60 Exhibit 60, # 61 Exhibit 61)(Cutri, Gianni) (Entered: 09/12/2018)

            09/12/2018      440   REPLY MEMORANDUM OF LAW in Support re: 439 MOTION for Sanctions
                                  (Public Version). (Public Version). Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 63, # 2Exhibit
                                  64, # 3Exhibit 65, # 4Exhibit 66, # 5Exhibit 67, # 6Exhibit 68, # 7Exhibit 69, # 8
                                  Exhibit 70, # 9Exhibit 70a, # 10 Exhibit 70b, # 11 Exhibit 71, # 12 Exhibit 72, # 13
                                  Exhibit 73, # 14 Exhibit 74)(Cutri, Gianni) (Entered: 09/12/2018)

            09/12/2018      441   SECOND LETTER MOTION for Extension of Time to Complete Tasks from 8/29
                                  Order addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  9/12/2018. Document filed by Cognizant Technology Solutions Corp., The Trizetto



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                                  Group, Inc..(Cutri, Gianni) (Entered: 09/12/2018)

            09/13/2018      442   ORDER granting 441 Letter Motion for Extension of Time. ENDORSEMENT: Per
                                  email sent by Chambers yesterday evening, this request is GRANTED on consent
                                  nunc pro tunc. SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on
                                  9/13/2018) (kl) (Entered: 09/13/2018)

            09/13/2018      443   MEMORANDUM OF LAW in Opposition re: 439 MOTION for Sanctions (               Public
                                  Version).. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                  Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5
                                  Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, # 10 Exhibit 10, #
                                  11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, #
                                  16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, #
                                  21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, #
                                  26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, #
                                  31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, #
                                  36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, #
                                  41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, #
                                  46 Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, #
                                  51 Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55 Exhibit
                                  55)(Sekel, Anne) (Entered: 09/13/2018)

            09/13/2018      444   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  9/13/2018 re: Expert Discovery Schedule. Document filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 09/13/2018)

            09/13/2018      445   THIRD LETTER MOTION for Extension of Time to Complete Tasks from 8/29
                                  Order addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                  9/13/2018. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                  Group, Inc..(Cutri, Gianni) (Entered: 09/13/2018)

            09/13/2018      447   SEALED DOCUMENT placed in vault.(mhe) (Entered: 09/14/2018)

            09/13/2018      449   SEALED DOCUMENT placed in vault.(mhe) (Entered: 09/14/2018)

            09/14/2018      446   ORDER granting 445 Letter Motion for Extension of Time. ENDORSEMENT: Per
                                  email sent by Chambers yesterday evening, this request is GRANTED on consent
                                  nunc pro tunc. SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on
                                  9/14/2018) (kl) (Entered: 09/14/2018)

            09/14/2018      448   MEMO ENDORSEMENT on re: 444 Letter, filed by Cognizant Technology
                                  Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: Request GRANTED.
                                  SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on 9/14/2018) (kl)
                                  (Entered: 09/14/2018)

            09/14/2018            Set/Reset Deadlines: Expert Discovery due by 12/18/2018. (kl) (Entered:
                                  09/14/2018)

            09/18/2018      450   LETTER dated 7/13/2016 re: Motion To Appeal The Magistrate Judges June 29,
                                  2016 Order. Document filed by Syntel Sterling Best Shores Mauritius Limited. (Filed
                                  by Chambers)(kl) (Main Document 450 replaced on 10/22/2018) (kl). (Entered:
                                  09/18/2018)

            09/18/2018      451   TRANSCRIPT of Proceedings re: Appeal of Discovery Order held on 7/28/2016
                                  before Judge Lorna G. Schofield. Court Reporter/Transcriber: Steven Greenblum,
                                  (212) 805-0300. Transcript may be viewed at the court public terminal or purchased



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                                   through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                   Restriction. After that date it may be obtained through PACER. Redaction Request
                                   due 10/9/2018. Redacted Transcript Deadline set for 10/19/2018. Release of
                                   Transcript Restriction set for 12/17/2018.(kl) (Main Document 451 replaced on
                                   10/22/2018) (kl). (Entered: 09/18/2018)

            09/18/2018       452   LETTER addressed to Judge Lorna G. Schofield dated 7/25/2016 re: Opposition to
                                   Plaintiffs' Motion to Appeal the Magistrate Judges June 29, 2016 Order. Document
                                   filed by The Trizetto Group, Inc. (Filed by Chambers) (kl) (Main Document 452
                                   replaced on 10/22/2018) (kl). (Entered: 09/18/2018)

            09/18/2018       453   TRANSCRIPT of Proceedings re: Sanctions Hearing held on 8/28/2018 before
                                   Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Rose Prater, (212)
                                   805-0300. Transcript may be viewed at the court public terminal or purchased
                                   through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                   Restriction. After that date it may be obtained through PACER. Redaction Request
                                   due 10/9/2018. Redacted Transcript Deadline set for 10/19/2018. Release of
                                   Transcript Restriction set for 12/17/2018.(kl) (Main Document 453 replaced on
                                   10/22/2018) (kl). (Entered: 09/18/2018)

            09/18/2018       454   LETTER addressed to Magistrate Judge Stewart D. Aaron dated 9/14/2018 re:
                                   August 29, 2018 Order. Document filed by Syntel Sterling Best Shores Mauritius
                                   Limited, The Trizetto Group, Inc. (Filed By Chambers) (kl) (Main Document 454
                                   replaced on 10/22/2018) (kl). (Entered: 09/18/2018)

            09/18/2018       455   LETTER addressed to Magistrate Judge Stewart D. Aaron dated 9/13/2018 re:
                                   August 29, 2018 Order. Document filed by Syntel Sterling Best Shores Mauritius
                                   Limited. (Filed By Chambers) (kl) (Main Document 455 replaced on 10/22/2018)
                                   (kl). (Entered: 09/18/2018)

            09/19/2018       456   OPINION AND ORDER re: 439 MOTION for Sanctions (            Public Version), filed by
                                   Cognizant Technology Solutions Corp., The Trizetto Group, Inc. For the reasons set
                                   forth above, Defendants' Motion for Sanctions (ECF No. 439) is GRANTED IN
                                   PART and DENIED IN PART. The parties' earlier cross-motions for sanctions are
                                   DENIED. ( See ECF No. 361). It is hereby ORDERED, as follows: Within forty-five
                                   days of the date of this Opinion and Order, Syntel and/or its counsel shall reimburse
                                   Defendants for the reasonable attorneys' fees and expenses that they incurred in
                                   connection with (a) preparing their May 22, 2018 Letter-Motion and their June 11,
                                   2018 Letter-Motion, and only that portion of their July 30, 2018 Motion for Sanctions
                                   that related to the production of documents from Mr. Chadha; and (b) preparing for
                                   and participating in the court proceedings relating to these submissions. If Syntel and
                                   its counsel dispute the reasonableness of Defendants' fees and expenses with respect
                                   to Defendants' identified motions, then Defendants shall submit afee application to
                                   this Court for resolution. Defendants are granted leave to take aRule 30(b)(6)
                                   deposition of aSyntel witness, to be taken no later than November 9, 2018, within
                                   the parameters set forth above. Plaintiffs shall pay the attorneys' fees (up to a
                                   maximum of $ 15,000) and reasonable expenses of such deposition no later seven
                                   days following the conclusion of the deposition. Syntel shall produce to Defendants
                                   all non-privileged documents from the PCT drive that hit on any of the search terms
                                   set forth above. Syntel shall produce the documents on arolling basis beginning no
                                   later than seven days from the date of this Opinion and Order and concluding no later
                                   than twenty-one days thereafter. SO ORDERED. ( Signed by Magistrate Judge
                                   Stewart D. Aaron on 9/19/2018) (kl) (Entered: 09/19/2018)



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            10/12/2018       457   JOINT LETTER MOTION for Extension of Time to Submit Opening Expert Reports
                                   addressed to Magistrate Judge Stewart D. Aaron from Todd C. Norbitz dated October
                                   12, 2018. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                   Inc..(Norbitz, Todd) (Entered: 10/12/2018)

            10/12/2018       458   ORDER granting 457 Letter Motion for Extension of Time. Request GRANTED. SO
                                   ORDERED. (Signed by Magistrate Judge Stewart D. Aaron on 10/12/2018) (kl)
                                   (Entered: 10/12/2018)

            10/16/2018       459   FILING ERROR -WRONG EVENT TYPE SELECTED FROM MENU -
                                   LETTER MOTION for Local Rule 37.2 Conference re Discovery addressed to
                                   Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 10/16/2018. Document
                                   filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                   (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5,
                                   #6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8)(Cutri, Gianni) Modified on 10/17/2018
                                   (db). (Entered: 10/16/2018)

            10/17/2018             ** *NOTICE TO ATTORNEY TO RE-FILE DOCUMENT -EVENT TYPE
                                   ERROR. Notice to Attorney Gianni L Cutri to RE-FILE Document 459
                                   LETTER MOTION for Local Rule 37.2 Conference re Discovery addressed to
                                   Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 10/16/2018. Use
                                   the event type Compel found under the event list Motion (Letter). (db) (
                                                                                                          Entered:
                                   10/17/2018)

            10/17/2018       460   LETTER MOTION to Compel Syntel to produce Atos documents addressed to
                                   Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 10/16/2018. Document
                                   filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                   (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5,
                                   #6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8)(Cutri, Gianni) (Entered: 10/17/2018)

            10/17/2018       461   LETTER MOTION for Extension of Time to Respond to Dtfendants' Letter Motion
                                   (ECE No. 466) addressed to Magistrate Judge Stewart D. Aaron from Todd C.
                                   Norbitz dated October 17, 2018. Document filed by Syntel Sterling Best Shores
                                   Mauritius Limited, Syntel, Inc..(Norbitz, Todd) (Entered: 10/17/2018)

            10/18/2018       462   ORDER granting 461 Letter Motion for Extension of Time. Application GRANTED.
                                   SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on 10/18/2018) (kl)
                                   (Entered: 10/18/2018)

            10/18/2018             Set/Reset Deadlines: Responses due by 10/24/2018 (kl) (Entered: 10/18/2018)

            10/24/2018       463   LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge
                                   Stewart D. Aaron from Anne B. Sekel dated October 24, 2018 re: 460 LETTER
                                   MOTION to Compel Syntel to produce Atos documents addressed to Magistrate
                                   Judge Stewart D. Aaron from Gianni Cutri dated 10/16/2018.. Document filed by
                                   Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                   Exhibit 1, # 2Exhibit 2)(Sekel, Anne) (Entered: 10/24/2018)

            10/25/2018       464   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                   Aaron from Gianni Cutri dated 10/25/2018 re: 460 LETTER MOTION to Compel
                                   Syntel to produce Atos documents addressed to Magistrate Judge Stewart D. Aaron
                                   from Gianni Cutri dated 10/16/2018.. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit A)(Cutri,
                                   Gianni) (Entered: 10/25/2018)




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            10/26/2018       465   ORDER: The parties are directed to appear via Telephone for aconference in the
                                   above-captioned matter on Thursday, November 1, 2018, at 11:00 a.m. EST. During
                                   the conference, the parties should be prepared to discuss Defendants' Letter- Motion
                                   to compel (ECF No. 460). The parties shall call the Court's conference line at
                                   212-805-0110 once all parties are on the line. SO Ordered. ( Telephone Conference
                                   set for 11/1/2018 at 11:00 AM before Magistrate Judge Stewart D. Aaron.) ( Signed
                                   by Magistrate Judge Stewart D. Aaron on 10/26/2018) Os) Modified on 10/26/2018
                                   Os). (Entered: 10/26/2018)
            10/29/2018             NOTICE of Hearing RESCHEDULED: The Telephone Conference previously
                                   scheduled for November 1, 2018 at 11:00 a.m. is hereby rescheduled to 12:00 p.m.
                                   the same day. The parties shall call the Court's conference line at 212-805-0110 once
                                   all parties are on the line. (Telephone Conference set for 11/1/2018 at 12:00 PM
                                   before Magistrate Judge Stewart D. Aaron.) (kl) (Entered: 10/29/2018)

            10/30/2018       466   SEALED DOCUMENT placed in vault.(mhe) (Entered: 10/30/2018)

            10/30/2018       467   SEALED DOCUMENT placed in vault.(mhe) (Entered: 10/30/2018)

            10/30/2018       468   SEALED DOCUMENT placed in vault.(mhe) (Entered: 10/30/2018)

            10/30/2018       469   SEALED DOCUMENT placed in vault.(mhe) (Entered: 10/30/2018)

            10/30/2018       470   SEALED DOCUMENT placed in vault.(rz) (Entered: 10/31/2018)

            11/01/2018             Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                   Telephone Conference held on 11/1/2018. (kl) (Entered: 11/01/2018)

            11/02/2018       471   OPINION AND ORDER: re: 460 LETTER MOTION to Compel Syntel to produce
                                   Atos documents addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri
                                   dated 10/16/2018. filed by Cognizant Technology Solutions Corp., The Trizetto
                                   Group, Inc. For the foregoing reasons, Defendants Letter-Motion is DENIED. So
                                   Ordered ( Signed by Magistrate Judge Stewart D. Aaron on 11/1/2018) Os) (Entered:
                                   11/02/2018)

            11/02/2018       472   MOTION for Benjamin A. Herbert to Appear Pro Hac Vice. Filing fee $ 200.00,
                                   receipt number ANYSDC-15850971. Motion and supporting papers to be
                                   reviewed by Clerk's Office staff. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Affidavit of Benjamin
                                   A. Herbert in Support of Motion, # 2Text of Proposed Order to Admit Counsel Pro
                                   Hac Vice)(Herbert, Benjamin) (Entered: 11/02/2018)

            11/02/2018             >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                   No. 472 MOTION for Benjamin A. Herbert to Appear Pro Hac Vice. Filing fee
                                   $200.00, receipt number ANYSDC-15850971. Motion and supporting papers to
                                   be reviewed by Clerk's Office staff.. The document has been reviewed and there
                                   are no deficiencies. (ma) (
                                                             Entered: 11/02/2018)

            11/02/2018       473   ORDER FOR ADMISSION PRO HAC VICE granting 472 Motion for Benjamin A.
                                   Herbert to Appear Pro Hac Vice. (Signed by Magistrate Judge Stewart D. Aaron on
                                   11/2/2018) (rjm) (Entered: 11/02/2018)

            11/06/2018       474   MOTION for Jared Barcenas to Withdraw as Attorney for Defendants. Document
                                   filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                   (Attachments: # 1Text of Proposed Order)(Cutri, Gianni) (Entered: 11/06/2018)




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            11/08/2018       475   JOINT LETTER MOTION for Extension of Time to Complete Deposition addressed
                                   to Magistrate Judge Stewart D. Aaron from Todd C. Norbitz and Gianni Cutri dated
                                   November 8, 2018. Document filed by Syntel Sterling Best Shores Mauritius
                                   Limited, Syntel, Inc..(Sekel, Anne) (Entered: 11/08/2018)

            11/08/2018       476   ORDER granting 475 Letter Motion for Extension of Time. Request GRANTED. SO
                                   ORDERED. Deposition due by 11/15/2018. (Signed by Magistrate Judge Stewart D.
                                   Aaron on 11/8/2018) (kl) (Entered: 11/08/2018)

            11/08/2018       477   ORDER GRANTING WITHDRAWAL OF APPEARANCE granting 474 Motion to
                                   Withdraw as Attorney. Attorney Jared Michael Barcenas terminated. ( Signed by
                                   Judge Lorna G. Schofield on 11/8/2018) Oca) (Entered: 11/08/2018)

            11/12/2018       478   JOINT LETTER MOTION for Extension of Time for the parties to attempt to
                                   resolve reimbursement cf attorneys'fees pursuant to 456 without motion practice
                                   addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri and Robert S.
                                   Weisbein dated November 12, 2018. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 11/12/2018)

            11/13/2018       479   ORDER granting 478 Letter Motion for Extension of Time. Application Granted
                                   nunc pro tune. So Ordered. ( Signed by Magistrate Judge Stewart D. Aaron on
                                   11/13/2018) Os) (Entered: 11/13/2018)

            11/15/2018       480   JOINT LETTER MOTION for Extension of Time re Rebuttal expert reports
                                   addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri and Todd C.
                                   Norbitz dated November 15, 2018. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 11/15/2018)

            11/15/2018       481   ORDER granting 480 Letter Motion for Extension of Time. Request GRANTED. SO
                                   ORDERED. (Signed by Magistrate Judge Stewart D. Aaron on 11/15/2018) (kl)
                                   (Entered: 11/15/2018)

            12/07/2018       482   ORDER. It is hereby ORDERED that on January 15, 2019, at 10:30 a.m., apre-
                                   motion conference will be held for any anticipated dispositive motions, and as further
                                   specified and set forth in this Order. (Pre-Motion Conference set for 1/15/2019 at
                                   10:30 AM before Judge Lorna G. Schofield.) ( Signed by Judge Lorna G. Schofield
                                   on 12/7/2018) (rjm) (Entered: 12/07/2018)

            12/18/2018       483   JOINT LETTER MOTION for Extension of Time to Complete Expert Discovery
                                   addressed to Magistrate Judge Stewart D. Aaron from Todd C. Norbitz and Gianni
                                   Cutri dated December 18, 2018. Document filed by Syntel Sterling Best Shores
                                   Mauritius Limited, Syntel, Inc..(Norbitz, Todd) (Entered: 12/18/2018)

            12/18/2018       484   ORDER granting 483 Letter Motion for Extension of Time. Application GRANTED.
                                   No further extensions will be granted absent exigent circumstances. SO ORDERED.
                                   (Signed by Magistrate Judge Stewart D. Aaron on 12/18/2018) Os) (   Entered:
                                   12/18/2018)

            12/18/2018             Set/Reset Deadlines: Expert Discovery due by 1/31/2019.       Os) (Entered:   12/18/2018)

            12/19/2018       485   ORDER: ORDERED that the pre-motion conference for any anticipated dispositive
                                   motions scheduled for January 15, 2019, is adjourned to February 19, 2019, at 10:30
                                   a.m., provided that: party wishing to file asummary judgment or other dispositive
                                   motion shall file apre-motion letter at least two weeks before the conference and in
                                   the form provided in the Court's Individual Rule III.A.1. (As further set forth in this




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                                   Order.) (Pre-Motion Conference set for 2/19/2019 at 10:30 AM before Judge Lorna
                                   G. Schofield.) ( Signed by Judge Lorna G. Schofield on 12/19/2018) (cf) Modified on
                                   12/20/2018 (cf). (Entered: 12/19/2018)

            01/18/2019       486   NOTICE OF APPEARANCE by Leslie Marie Schmidt on behalf of Cognizant
                                   Technology Solutions Corp., The Trizetto Group, Inc.. ( Schmidt, Leslie) (Entered:
                                   01/18/2019)

            01/22/2019       487   FILING ERROR -WRONG EVENT TYPE SELECTED FROM MENU -
                                   LETTER MOTION for Discovery Corference Regarding Expert Depositions
                                   addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel dated January
                                   22, 2019. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                   Inc.. (Attachments: # 1Exhibit 1)(Sekel, Anne) Modified on 2/6/2019 (db). (Entered:
                                   01/22/2019)

            01/23/2019       488   ORDER re: 487 LETTER MOTION for Discovery Conference Regarding Expert
                                   Depositions addressed to Magistrate Judge Stewart D. Aaron from Anne B. Sekel
                                   dated January 22, 2019 filed by Syntel Sterling Best Shores Mauritius Limited,
                                   Syntel, Inc.: Defendants shall file on ECF their response to Plaintiffs' Letter Motion
                                   (ECF No. 487) no later than 9a.m. ET on 1/24/2019, and Plaintiffs shall file on ECF
                                   any reply no later than 10 p.m. ET on 1/24/2019. A telephone conference will be held
                                   at 12 noon ET on 1/25/2019, during which the Court will ask any questions of the
                                   parties and issue aruling (to be followed by awritten order). The parties shall call the
                                   Court's conference line at 212-805-0110 after both sides are on the line. ( Signed by
                                   Magistrate Judge Stewart D. Aaron on 1/23/19) (Aaron, Stewart) (Entered:
                                   01/23/2019)

            01/23/2019             Set/Reset Hearings: Telephone Conference set for 1/25/2019 at 12:00 PM before
                                   Magistrate Judge Stewart D. Aaron. (kl) (Entered: 01/23/2019)

            01/24/2019       489   LETTER RESPONSE to Motion addressed to Magistrate Judge Stewart D. Aaron
                                   from Gianni Cutri dated January 24, 2019 re: 487 LETTER MOTION for Discovery
                                   Corference Regarding Expert Depositions addressed to Magistrate Judge Stewart D.
                                   Aaron from Anne B. Sekel dated January 22, 2019.. Document filed by Cognizant
                                   Technology Solutions Corp., The Trizetto Group, Inc.. (Cutri, Gianni) (Entered:
                                   01/24/2019)

            01/24/2019       490   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                   Aaron from Anne B. Sekel dated January 24, 2019 re: 487 LETTER MOTION for
                                   Discovery Corference Regarding Expert Depositions addressed to Magistrate Judge
                                   Stewart D. Aaron from Anne B. Sekel dated January 22, 2019.. Document filed by
                                   Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. ( Sekel, Anne) (Entered:
                                   01/24/2019)

            01/25/2019       491   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                   Aaron from Anne B. Sekel dated January 24, 2019 re: 487 LETTER MOTION for
                                   Discovery Corference Regarding Expert Depositions addressed to Magistrate Judge
                                   Stewart D. Aaron from Anne B. Sekel dated January 22, 2019. Corrected letter reply
                                   to include Exhibit 1, which was inadvertently omittedPorn Dkt. 490.. Document filed
                                   by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. ( Sekel, Anne)
                                   (Entered: 01/25/2019)

            01/25/2019             Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                   Telephone Conference held on 1/25/2019. (kl) (Entered: 01/25/2019)




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            01/25/2019       492   ORDER granting in part and denying in part 487 Letter Motion for Discovery. For
                                   the reasons stated on the record during the telephone conference held today, the
                                   Plaintiffs' Letter-Motion (ECF No. 487) is GRANTED IN PART and DENIED IN
                                   PART. Defendants shall make their expert witness, Thomas Britven, available for 12
                                   hours of deposition time. SO ORDERED. ( Signed by Magistrate Judge Stewart D.
                                   Aaron on 1/25/2019) (kl) (Entered: 01/25/2019)

            01/30/2019       493   JOINT LETTER MOTION to Adjourn Conference Scheduledfor February 19, 2019
                                   at 10:30 a.m. 485 addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                   January 30, 2019. Document filed by Cognizant Technology Solutions Corp., The
                                   Trizetto Group, Inc..(Cutri, Gianni) (Entered: 01/30/2019)

            01/31/2019       494   ORDER granting in part 493 Letter Motion to Adjourn Conference. Application
                                   GRANTED. The February 19, 2019, conference is adjourned to February 21, 2019, at
                                   11:00 a.m. ( Signed by Judge Lorna G. Schofield on 1/31/2019) Pre-Motion
                                   Conference set for 2/21/2019 at 11:00 AM before Judge Lorna G. Schofield. (ks)
                                   (Entered: 01/31/2019)

            02/05/2019       495   LETTER MOTION for Conference Pursuant to Court's Individual Rule 11I.A.1
                                   addressed to Judge Lorna G. Schofield from Norman C. Ankers dated February 5,
                                   2019. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                   Inc..(Ankers, Norman) (Entered: 02/05/2019)

            02/06/2019       496   ENDORSED LETTER addressed to Judge Lorna G. Schofield from Norman C.
                                   Ankers dated February 5, 2019 re: letter notifying the Court and Defendants /
                                   Counterclaim Plaintiffs of its intention to file for Motion Summary Judgement.
                                   ENDORSEMENT: Defendants shall file their response letter in accordance with the
                                   Court's Individual Rule IILA.1 by February 12, 2019. SO ORDERED. ( Signed by
                                   Judge Lorna G. Schofield on 2/6/2019) (ks) (Entered: 02/06/2019)

            02/08/2019       497   ORDER: WHEREAS, Defendants submitted their pre-motion for summary judgment
                                   letter to the Chambers inbox under the Court's Individual Rule LC.3; it is hereby
                                   ORDERED that Plaintiffs shall file their response letter in accordance with the
                                   Court's Individual Rule IILA.1 by February 14, 2019. (Responses due by 2/14/2019)
                                   (Signed by Judge Lorna G. Schofield on 2/8/2019) (cf) (Entered: 02/08/2019)

            02/14/2019       498   LETTER addressed to Judge Lorna G. Schofield from Norman C. Ankers dated
                                   February 14, 2019 re: Plaintiffs' Response to Defendants' Pre-Motion Letter for
                                   Summary Judgment Pursuant to Court's Individual Rule IILA.1. Document filed by
                                   Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..(Ankers, Norman)
                                   (Entered: 02/14/2019)

            02/15/2019       499   ORDER: WHEREAS, both parties have filed pre-motion for summary judgment
                                   letters and responses; it is hereby ORDERED that the pre-motion conference
                                   scheduled for February 21, 2019, is cancelled. The parties' contemplated motions for
                                   summary judgment will be referred to Judge Aaron for areport and recommendation.
                                   A referral order will separately issue. (As further set forth in this Order.) ( Signed by
                                   Judge Lorna G. Schofield on 2/15/2019) (cf) (Entered: 02/15/2019)

            02/15/2019       500   AMENDED ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that
                                   case be referred to the Clerk of Court for assignment to aMagistrate Judge for
                                   Dispositive Motion (i.e., motion requiring aReport and Recommendation). Referred
                                   to Magistrate Judge Stewart D. Aaron. ( Signed by Judge Lorna G. Schofield on
                                   2/15/2019) (cf) (Entered: 02/15/2019)



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            02/15/2019       501   ORDER: No later than February 22, 2019, the parties shall file ajoint letter setting
                                   forth aproposed briefing schedule on their motions for summary judgment. SO
                                   ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on 2/15/2019) (ks)
                                   (Entered: 02/15/2019)

            02/19/2019       502   TRANSCRIPT of Proceedings re: Telephone Conference held on 1/25/2019 before
                                   Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Shari Riemer, (518)
                                   581-8973. Transcript may be viewed at the court public terminal or purchased
                                   through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                   Restriction. After that date it may be obtained through PACER. Redaction Request
                                   due 3/12/2019. Redacted Transcript Deadline set for 3/22/2019. Release of Transcript
                                   Restriction set for 5/20/2019.(aea) (Entered: 02/19/2019)

            02/19/2019       503   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                   official transcript of aTelephone Conference proceeding held on 1/25/2019 has been
                                   filed by the court reporter/transcriber in the above-captioned matter. The parties have
                                   seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                   of this transcript. If no such Notice is filed, the transcript may be made remotely
                                   electronically available to the public without redaction after 90 calendar days.(aea)
                                   (Entered: 02/19/2019)

            02/22/2019       504   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                   February 22, 2019 re: stay of the filing of the motions for summary judgment
                                   pending asettlement conference 499 . Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 02/22/2019)

            02/22/2019       505   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri
                                   dated February 22, 2019 re: proposed briefing schedule and page limits for the parties
                                   motions for summary judgment 501 . Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 02/22/2019)

            02/25/2019       506   MEMO ENDORSEMENT on re: 504 Letter, filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: The parties shall appear
                                   for atelephone conference by jointly calling Chambers at (212) 805-0288 from a
                                   landline on February 26, 2019, at 11:30 a.m. (Telephone Conference set for
                                   2/26/2019 at 11:30 AM before Judge Lorna G. Schofield.) ( Signed by Judge Lorna G.
                                   Schofield on 2/25/2019) (cf) (Entered: 02/25/2019)

            02/26/2019       507   ORDER: WHEREAS, aconference was held on February 26, 2019; it is hereby
                                   ORDERED that by March 19, 2019, the parties shall submit astatus letter identifying
                                   the parties' chosen mediator and jointly proposing how to deal with the proposed
                                   summary judgment motions. It is further ORDERED that the parties' proposed
                                   motion for summary judgment briefing schedule (Dkt. No. 505) is stayed pending the
                                   parties' March 19, 2019, letter. SO ORDERED. ( Signed by Judge Lorna G. Schofield
                                   on 2/26/2019) (kv) (Entered: 02/26/2019)

            03/19/2019       508   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                   March 19, 2019 re: selection of Mediator. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 03/19/2019)

            03/20/2019       509   MEMO ENDORSEMENT on re: 508 Letter filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: The parties' propose
                                   mediation is SO ORDERED. The parties shall submit their proposed motion for
                                   summary judgment briefing schedule to Judge Aaron. ( Signed by Judge Lorna G.



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                                   Schofield on 3/20/2019) Oca) (Entered: 03/20/2019)

            05/15/2019       510   ORDER: No later than Monday, May 20, 2019, the parties shall advise the Court
                                   regarding the status of mediation and any proposed motion for summary judgment
                                   briefing schedule. SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on
                                   5/15/2019) Os) ( Entered: 05/15/2019)

            05/20/2019       511   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri and Todd Norbitz
                                   dated 5/20/2019 re: In-Person Mediation Deadline. Document filed by Cognizant
                                   Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                   05/20/2019)

            05/20/2019       512   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri and
                                   Todd Norbitz dated 5/20/2019 re: Summary Judgment Briefing Schedule. Document
                                   filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                   (Attachments: # 1Exhibit A)(Cutri, Gianni) (Entered: 05/20/2019)

            05/21/2019       513   MEMO ENDORSEMENT on re: 512 Letter, filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: The briefing schedule is
                                   Approved. So Ordered. (Motions due by 6/26/2019. Responses due by 7/31/2019.
                                   Replies due by 8/21/2019.) ( Signed by Magistrate Judge Stewart D. Aaron on
                                   5/21/2019) Os) (Entered: 05/21/2019)

            05/21/2019       514   MEMO ENDORSEMENT on re: 511 Letter filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: Application
                                   GRANTED. The mediation deadline is extended to May 29, 2019. ( Signed by Judge
                                   Lorna G. Schofield on 5/21/2019) (ks) Transmission to Mediation Clerk for
                                   processing. (Entered: 05/21/2019)

            06/13/2019       515   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated June 13,
                                   2019 re: Status Regarding Mediation. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 06/13/2019)

            06/13/2019       516   LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated
                                   June 13, 2019 re: Status Regarding Mediation. Document filed by Cognizant
                                   Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                   06/13/2019)

            06/25/2019       517   JOINT LETTER MOTION for Extension of Time to File Redacted C6pies cf
                                   Summary Judgment Motions and Sealing Request addressed to Magistrate Judge
                                   Stewart D. Aaron from Gianni Cutri dated 6/25/2019. Document filed by Cognizant
                                   Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                   06/25/2019)

            06/25/2019       518   ORDER granting 517 Letter Motion for Extension of Time. Application GRANTED.
                                   However, the parties shall provide to the Court courtesy copies of their respective
                                   motions (either via hand delivery or overnight mail) in accordance with the June 26,
                                   2019 deadline. SO ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on
                                   6/25/2019) (kl) (Entered: 06/25/2019)

            07/09/2019       519   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri
                                   and Anne Sekel dated 7/9/2019 re: Parties' Joint Sealing Request for Summary
                                   Judgment Submissions. Document filed by Cognizant Technology Solutions Corp.,
                                   The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 07/09/2019)




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            07/09/2019       520   MOTION for Summary Judgment. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 07/09/2019)

            07/09/2019       521   MEMORANDUM OF LAW in Support re: 520 MOTION for Summary Judgment.
                                   (Redacted Version). Document filed by Cognizant Technology Solutions Corp., The
                                   Trizetto Group, Inc.. (Cutri, Gianni) (Entered: 07/09/2019)

            07/09/2019       522   REDACTION to 520 MOTION for Summary Judgment .Rule 56.1 Statement cf
                                   Undisputed Facts in Su_pport cfMotion by Cognizant Technology Solutions Corp.,
                                   The Trizetto Group, Ina.(Cutri, Gianni) (Entered: 07/09/2019)

            07/09/2019       523   DECLARATION of Thomas W. Britven in Support re: 520 MOTION for Summary
                                   Judgment.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                   Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2)(Cutri, Gianni) (Entered:
                                   07/09/2019)

            07/09/2019       524   DECLARATION of Bryan P. Bergeron (Redacted Version) in Support re: 520
                                   MOTION for Summary Judgment.. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit A)(Cutri,
                                   Gianni) (Entered: 07/09/2019)

            07/09/2019       525   DECLARATION of Vikramaditya Khanna (Redacted Version) in Support re: 520
                                   MOTION for Summary Judgment.. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit A)(Cutri,
                                   Gianni) (Entered: 07/09/2019)

            07/09/2019       526   DECLARATION of Chuck Sanders (Redacted Version) in Support re: 520 MOTION
                                   for Summary Judgment.. Document filed by Cognizant Technology Solutions Corp.,
                                   The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, #
                                   4Exhibit 4, # 5Exhibit 5)(Cutri, Gianni) (Entered: 07/09/2019)

            07/09/2019       527   DECLARATION of Leslie M. Schmidt (Redacted Version) in Support re: 520
                                   MOTION for Summary Judgment.. Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2,
                                   #3Exhibit     3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8,
                                   #9Exhibit     9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                                   Exhibit 14,   # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19
                                   Exhibit 19,   # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24
                                   Exhibit 24,   # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29
                                   Exhibit 29,   # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34
                                   Exhibit 34,   # 35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39
                                   Exhibit 39,   # 40 Exhibit 40, # 41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44
                                   Exhibit 44,   # 45 Exhibit 45, # 46 Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49
                                   Exhibit 49, # 50 Exhibit   50,   #   51   Exhibit   51,   #   52   Exhibit   52, # 53 Exhibit 53, # 54
                                   Exhibit 54, # 55 Exhibit   55,   #   56   Exhibit   56,   #   57   Exhibit   57, # 58 Exhibit 58, # 59
                                   Exhibit 59, # 60 Exhibit   60,   #   61   Exhibit   61,   #   62   Exhibit   62, # 63 Exhibit 63, # 64
                                   Exhibit 64, # 65 Exhibit   65,   #   66   Exhibit   66,   #   67   Exhibit   67)(Cutri, Gianni)
                                   (Entered: 07/09/2019)

            07/09/2019       528   MOTION for Summary Judgment (      Public Version). Document filed by Syntel
                                   Sterling Best Shores Mauritius Limited, Syntel, Inc..(Norbitz, Todd) (Entered:
                                   07/09/2019)




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            07/09/2019       529   MEMORANDUM OF LAW in Support re: 528 MOTION for Summary Judgment
                                   (Public Version). (Redactea). Document filed by Syntel Sterling Best Shores
                                   Mauritius Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 07/09/2019)

            07/09/2019       530   RULE 56.1 STATEMENT. Document filed by Syntel Sterling Best Shores Mauritius
                                   Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 07/09/2019)

            07/09/2019       531   DECLARATION of Todd C. Norbitz in Support re: 528 MOTION for Summary
                                   Judgment ( Public Version).. Document filed by Syntel Sterling Best Shores Mauritius
                                   Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4
                                   Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, #
                                   10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, #
                                   15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, #
                                   20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, #
                                   25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27)(Norbitz, Todd) (Entered:
                                   07/09/2019)

            07/24/2019       532   CONSENT LETTER MOTION for Extension of Time (           Requestfor Revised Bri(fing
                                   Schedule on Consem) addressed to Magistrate Judge Stewart D. Aaron from Todd C.
                                   Norbitz dated July 24, 2019. Document filed by Syntel Sterling Best Shores
                                   Mauritius Limited, Syntel, Inc..(Norbitz, Todd) (Entered: 07/25/2019)

            07/25/2019       533   ORDER granting 532 Letter Motion for Extension of Time. Request GRANTED. SO
                                   ORDERED ( Signed by Magistrate Judge Stewart D. Aaron on 7/25/2019) (kl)
                                   (Entered: 07/25/2019)

            08/06/2019       534   JOINT LETTER MOTION for Extension of Time to File Redacted Ccpies cf
                                   Summary Judgment Opposition Brhfs and Sealing Request addressed to Magistrate
                                   Judge Stewart D. Aaron from Gianni Cutri and Anne Sekel dated 8/6/2019.
                                   Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                   Inc..(Cutri, Gianni) (Entered: 08/06/2019)

            08/07/2019       535   ORDER granting 534 Letter Motion for Extension of Time. Application GRANTED.
                                   So Ordered. Brief due by 8/22/2019. ( Signed by Magistrate Judge Stewart D. Aaron
                                   on 8/7/2019) Os) (Entered: 08/07/2019)

            08/20/2019       536   LETTER MOTION for Local Rule 37.2 Conference re DOendants' Motion to Strike
                                   addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 8/20/2019.
                                   Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                   (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3)(Cutri, Gianni) (Entered:
                                   08/20/2019)

            08/22/2019       537   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri
                                   and Anne Sekel dated 8/22/2019 re: Parties' Joint Sealing Request re Summary
                                   Judgment Submissions. Document filed by Cognizant Technology Solutions Corp.,
                                   The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 08/22/2019)

            08/22/2019       538   MEMORANDUM OF LAW in Opposition re: 528 MOTION for Summary Judgment
                                   (Public Version). (Redacted Version). Document filed by Cognizant Technology
                                   Solutions Corp., The Trizetto Group, Inc.. (Cutri, Gianni) (Entered: 08/22/2019)

            08/22/2019       539   REDACTION to Dtfendants' Counterstatement to Plaint,fi' 56.1 Statement cf
                                   Undisputed Material Facts by Cognizant Technology Solutions Corp., The Trizetto
                                   Group, Ina.(Cutri, Gianni) (Entered: 08/22/2019)




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            08/22/2019       540   DECLARATION of Bryan P. Bergeron M.D. (Redacted Version) in Opposition re:
                                   528 MOTION for Summary Judgment (     Public Version).. Document filed by
                                   Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Cutri, Gianni)
                                   (Entered: 08/22/2019)

            08/22/2019       541   DECLARATION of Chuck Sanders (Redacted Version) in Opposition re: 528
                                   MOTION for Summary Judgment (     Public Version).. Document filed by Cognizant
                                   Technology Solutions Corp., The Trizetto Group, Inc.. (Cutri, Gianni) (Entered:
                                   08/22/2019)

            08/22/2019       542   DECLARATION of Benjamin A. Herbert (Redacted Version) in Opposition re: 528
                                   MOTION for Summary Judgment (
                                                               Public Version).. Document filed by Cognizant
                                   Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 68,
                                   #2Exhibit 69, # 3Exhibit 70, # 4Exhibit 71, # 5Exhibit 72, # 6Exhibit 73, # 7
                                   Exhibit 74, # 8Exhibit 75, # 9Exhibit 76, # 10 Exhibit 77, # 11 Exhibit 78, # 12
                                   Exhibit 79, # 13 Exhibit 80, # 14 Exhibit 81, # 15 Exhibit 82, # 16 Exhibit 83, # 17
                                   Exhibit 84, # 18 Exhibit 85, # 19 Exhibit 86)(Cutri, Gianni) (Entered: 08/22/2019)

            08/22/2019       543   MEMORANDUM OF LAW in Opposition re: 520 MOTION for Summary Judgment
                                   . (Public Version). Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                   Syntel, Inc.. (Norbitz, Todd) (Entered: 08/22/2019)

            08/22/2019       544   COUNTER STATEMENT TO Document filed by Syntel Sterling Best Shores
                                   Mauritius Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 08/22/2019)

            08/22/2019       545   DECLARATION of Todd C. Norbitz in Opposition re: 520 MOTION for Summary
                                   Judgment.. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                   Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, #
                                   5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, # 10 Exhibit 10,
                                   #11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, #
                                   16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, #
                                   21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, #
                                   26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, #
                                   31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, #
                                   36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, #
                                   41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, #
                                   46 Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, #
                                   51 Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55 Exhibit 55, #
                                   56 Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, # 60 Exhibit 60, #
                                   61 Exhibit 61a, # 62 Exhibit 61b)(Norbitz, Todd) (Entered: 08/22/2019)

            08/22/2019       546   DECLARATION of Manish Mehta (Public Version) in Opposition re: 520 MOTION
                                   for Summary Judgment.. Document filed by Syntel Sterling Best Shores Mauritius
                                   Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 08/22/2019)

            08/22/2019       547   DECLARATION of John G. Plumpe (Public Version) in Opposition re: 520
                                   MOTION for Summary Judgment.. Document filed by Syntel Sterling Best Shores
                                   Mauritius Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 08/22/2019)

            08/22/2019       548   DECLARATION of Daniel E. Roffman (Public Version) in Opposition re: 520
                                   MOTION for Summary Judgment.. Document filed by Syntel Sterling Best Shores
                                   Mauritius Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 08/22/2019)




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             08/22/2019       549   DECLARATION of Glenn C. Sheets (Public Version) in Opposition re: 520
                                    MOTION for Summary Judgment.. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 08/22/2019)

             08/23/2019       550   LETTER RESPONSE to Motion addressed to Magistrate Judge Stewart D. Aaron
                                    from Todd C. Norbitz dated August 23, 2019 re: 536 LETTER MOTION for Local
                                    Rule 37.2 Conference re DEfendants' Motion to Strike addressed to Magistrate Judge
                                    Stewart D. Aaron from Gianni Cutri dated 8/20/2019.. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit
                                    A)(Norbitz, Todd) (Entered: 08/23/2019)

             08/26/2019       551   JOINT LETTER MOTION for Extension of Time to File Redacted Reply Summary
                                    Judgment Submissions addressed to Magistrate Judge Stewart D. Aaron from Gianni
                                    Cutri and Anne Sekel dated 8/26/2019. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 08/26/2019)

             08/26/2019       552   ORDER granting 551 Letter Motion for Extension of Time. Request GRANTED. SO
                                    ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on 8/26/2019) (kl)
                                    (Entered: 08/26/2019)

             08/26/2019       553   LETTER REPLY to Response to Motion addressed to Magistrate Judge Stewart D.
                                    Aaron from Gianni Cutri dated 8/26/2019 re: 536 LETTER MOTION for Local Rule
                                    37.2 Conference re DEfendants' Motion to Strike addressed to Magistrate Judge
                                    Stewart D. Aaron from Gianni Cutri dated 8/20/2019.. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 4, #
                                    2Exhibit 5, # 3Exhibit 6, # 4Exhibit 7)(Cutri, Gianni) (Entered: 08/26/2019)

             08/27/2019       554   LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge
                                    Stewart D. Aaron from Todd C. Norbitz dated August 27, 2019 re: 536 LETTER
                                    MOTION for Local Rule 37.2 Conference re Defendants' Motion to Strike addressed
                                    to Magistrate Judge Stewart D. Aaron from Gianni Cutri dated 8/20/2019. Syntel
                                    Letter in Response to Dtfendants'August 26 Letter (ECF No. 553). Document filed
                                    by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                    Exhibit A, # 2Exhibit B)(Sekel, Anne) (Entered: 08/27/2019)

             08/27/2019       555   ORDER: The Court shall hold aTelephone conference on Thursday, September 5,
                                    2019 at 4:00 p.m. to address Defendants' 8/20/2019 Letter-Motion (ECF No. 536)
                                    and related filings. The parties shall call the Court's conference line at 212-805-0110
                                    once all parties are on the line. SO ORDERED. (Telephone Conference set for
                                    9/5/2019 at 04:00 PM before Magistrate Judge Stewart D. Aaron.) ( Signed by
                                    Magistrate Judge Stewart D. Aaron on 8/27/2019) (Text Only Order) (kl) (Entered:
                                    08/27/2019)

             09/01/2019       556   CONSENT LETTER MOTION to Continue Conference Scheduledfor September 5
                                    at 4pm to September 6at 10 am addressed to Magistrate Judge Stewart D. Aaron
                                    from Anne B. Sekel dated September 1, 2019. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc..(Sekel, Anne) (Entered: 09/01/2019)

             09/01/2019       557   ORDER granting 556 Letter Motion to Continue: Request GRANTED. Telephone
                                    Conference set for 9/6/2019 at 10:00 AM before Magistrate Judge Stewart D. Aaron.
                                    (Signed by Magistrate Judge Stewart D. Aaron on 9/1/2019) (Aaron, Stewart)
                                    (Entered: 09/01/2019)




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             09/06/2019             Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron:
                                    Telephone Conference held on 9/6/2019. (kl) (Entered: 09/06/2019)

             09/06/2019       558   ORDER: Following atelephone conference with the parties, it is hereby Ordered as
                                    follows: 1. No later than 5:00 p.m. on September 23, 2019, the parties shall submit
                                    any additional briefing, not to exceed ten pages, regarding the topics raised in
                                    Defendants' August 20,2019 Letter Motion (ECF No. 536). 2. No later than 5:00 p.m.
                                    on September 30, 2019, the parties shall file their replies, if any, not to exceed five
                                    pages. 3. The parties shall meet and confer regarding dates for oral argument on their
                                    motions for summary judgment, to occur in December 2019, and shall email their
                                    proposed dates to Chambers no later than 5:00 p.m. on September 23, 2019. 4. No
                                    later than 5:00 p.m. September 23, 2019, Plaintiffs shall email Chambers acopy of
                                    any email correspondence with Mr. Mehta showing the date and time that the Mehta
                                    Declaration was finalized (including acopy of the Declaration attached to the email).
                                    Alternatively, Plaintiffs may provide the final Word version of the Declaration and
                                    accompanying metadata and/or the version history from counsel's document
                                    management system. So Ordered. 9/6/2019 (Replies due by 9/30/2019.) ( Signed by
                                    Magistrate Judge Stewart D. Aaron on 9/6/2019) Os) (     Entered: 09/06/2019)

             09/19/2019       559   TRANSCRIPT of Proceedings re: TELEPHONE CONFERENCE held on 9/6/2019
                                    before Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Shari Riemer,
                                    (518) 581-8973. Transcript may be viewed at the court public terminal or purchased
                                    through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                    Restriction. After that date it may be obtained through PACER. Redaction Request
                                    due 10/10/2019. Redacted Transcript Deadline set for 10/21/2019. Release of
                                    Transcript Restriction set for 12/18/2019.(aea) Modified on 9/24/2019 (aea).
                                    (Entered: 09/19/2019)

             09/19/2019       560   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aTELEPHONE CONFERENCE proceeding held on 9/6/2019
                                    has been filed by the court reporter/transcriber in the above-captioned matter. The
                                    parties have seven (7) calendar days to file with the court aNotice of Intent to
                                    Request Redaction of this transcript. If no such Notice is filed, the transcript may be
                                    made remotely electronically available to the public without redaction after 90
                                    calendar days.(aea) (Entered: 09/19/2019)

             09/20/2019       561   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri
                                    and Anne Sekel dated 9/20/2019 re: Parties' Joint Sealing Request re Reply Summary
                                    Judgment Submissions. Document filed by Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 09/20/2019)

             09/20/2019       562   REPLY MEMORANDUM OF LAW in Support re: 520 MOTION for Summary
                                    Judgment. ( Public Version). Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc.. (Cutri, Gianni) (Entered: 09/20/2019)

             09/20/2019       563   DECLARATION of Leslie Schmidt in Support of Defendants' Reply in Support re:
                                    520 MOTION for Summary Judgment.. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 87, # 2Exhibit
                                    88, # 3Exhibit 89, # 4Exhibit 90, # 5Exhibit 91)(Cutri, Gianni) (Entered:
                                    09/20/2019)




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             09/20/2019       564   REPLY MEMORANDUM OF LAW in Support re: 528 MOTION for Summary
                                    Judgment ( Public Version).. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 09/20/2019)

             09/20/2019       565   DECLARATION of Todd C. Norbitz in Support re: 528 MOTION for Summary
                                    Judgment ( Public Version).. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4
                                    Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, #
                                    10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, #
                                    15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, #
                                    20 Exhibit 20)(Norbitz, Todd) (Entered: 09/20/2019)

             09/20/2019       566   DECLARATION of Daniel M. Moore in Support re: 528 MOTION for Summary
                                    Judgment ( Public Version).. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Norbitz, Todd) (Entered: 09/20/2019)

             09/20/2019       567   REDACTION Counterstatement to DEfendants' Statement cfAdditional Facts by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Ina.(Norbitz, Todd) (Entered:
                                    09/20/2019)

             09/20/2019       568   REDACTION Rebuttal to DEfendants' Counterstatement to Syntel's Statement cf
                                    Undisputed Facts by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Ina.(Norbitz, Todd) (Entered: 09/20/2019)

             09/23/2019       569   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Todd Norbitz
                                    and Gianni Cutri dated 9/23/2019 re: Proposed Oral Argument Date. Document filed
                                    by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni)
                                    (Entered: 09/23/2019)

             09/24/2019       570   MEMO ENDORSEMENT on re: 569 Letter filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: The Court will hold
                                    oral argument on the parties' motions for summary judgment on Friday, December
                                    13, 2019, at 2:00 p.m. in Courtroom 11 C. Each side shall be limited to 90 minutes.
                                    SO ORDERED. (Oral Argument set for 12/13/2019 at 02:00 PM in Courtroom IIC,
                                    500 Pearl Street, New York, NY 10007 before Magistrate Judge Stewart D. Aaron.)
                                    (Signed by Magistrate Judge Stewart D. Aaron on 9/24/2019) (ne) (Entered:
                                    09/24/2019)

             09/26/2019       571   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne Sekel
                                    and Gianni Cutri dated September 26, 2019 re: Parties' Joint Sealing Request re
                                    Syntel's Opposition to Defendants' Application to Strike. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc..(Sekel, Anne) (Entered:
                                    09/26/2019)

             09/26/2019       572   MEMORANDUM OF LAW in Opposition re: 536 LETTER MOTION for Local
                                    Rule 37.2 Conference re DEfendants' Motion to Strike addressed to Magistrate Judge
                                    Stewart D. Aaron from Gianni Cutri dated 8/20/2019.. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc.. ( Sekel, Anne) (Entered:
                                    09/26/2019)

             09/26/2019       573   DECLARATION of Todd C. Norbitz in Opposition re: 536 LETTER MOTION for
                                    Local Rule 37.2 Conference re DEfendants' Motion to Strike addressed to Magistrate
                                    Judge Stewart D. Aaron from Gianni Cutri dated 8/20/2019.. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1




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                                    Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7
                                    Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit
                                    12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit
                                    17)(Sekel, Anne) (Entered: 09/26/2019)

             09/26/2019       574   DECLARATION of Anne B. Sekel in Opposition re: 536 LETTER MOTION for
                                    Local Rule 37.2 Conference re DEfendants' Motion to Strike addressed to Magistrate
                                    Judge Stewart D. Aaron from Gianni Cutri dated 8/20/2019.. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                    Exhibit 1, # 2Exhibit 2)(Sekel, Anne) (Entered: 09/26/2019)

             10/03/2019       575   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Anne Sekel
                                    and Gianni Cutri dated October 3, 2019 re: Parties' Joint Sealing Request re
                                    Defendants' Reply in Support of their Motion to Strike. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered:
                                    10/03/2019)

             10/03/2019       576   REPLY MEMORANDUM OF LAW in Support re: 536 LETTER MOTION for
                                    Local Rule 37.2 Conference re DEfendants' Motion to Strike addressed to Magistrate
                                    Judge Stewart D. Aaron from Gianni Cutri dated 8/20/2019.. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Cutri, Gianni)
                                    (Entered: 10/03/2019)

             10/03/2019       577   DECLARATION of Adam Kaufmann (Redacted Version) in Support of Defendants'
                                    Reply Brief in Support re: 536 LETTER MOTION for Local Rule 37.2 Conference
                                    re DEfendants' Motion to Strike addressed to Magistrate Judge Stewart D. Aaron from
                                    Gianni Cutri dated 8/20/2019.. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 8, # 2Exhibit 9, # 3
                                    Exhibit 10, # 4Exhibit 11, # 5Exhibit 12, # 6Exhibit 13, # 7Exhibit 14, # 8Exhibit
                                    15, # 9Exhibit 16, # 10 Exhibit 17, # 11 Exhibit 18, # 12 Exhibit 19)(Cutri, Gianni)
                                    (Entered: 10/03/2019)

             12/13/2019             Minute Entry for proceedings held before Magistrate Judge Stewart D. Aaron: Oral
                                    Argument held on 12/13/2019. (Court Reporter Lisa Smith) (kl) (Entered:
                                    12/13/2019)

             12/16/2019       578   ORDER: It is hereby Ordered that, no later than December 27, 2019, the parties shall
                                    submit additional briefing regarding the substantive law to be applied to Plaintiffs
                                    claims for intentional interference with contractual relations (Counts II and III of the
                                    Amended Complaint). SO ORDERED. ( Signed by Magistrate Judge Stewart D.
                                    Aaron on 12/16/2019) (kl) (Entered: 12/16/2019)

             12/20/2019       579   JOINT LETTER MOTION for Extension of Time to File Additional Bri(fing from
                                    December 27, 2019 to January 17, 2020 addressed to Magistrate Judge Stewart D.
                                    Aaron from Gianni Cutri and Anne Sekel dated 12/20/2019. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri, Gianni)
                                    (Entered: 12/20/2019)

             12/20/2019       580   ORDER granting 579 Letter Motion for Extension of Time to File. Application
                                    Granted. So Ordered.. ( Signed by Magistrate Judge Stewart D. Aaron on 12/20/2019)
                                    Os)   (
                                          Entered: 12/20/2019)

             12/20/2019             Set/Reset Deadlines: Brief due by 1/17/2020.    Os)   (
                                                                                          Entered: 12/20/2019)




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             01/02/2020       581   TRANSCRIPT of Proceedings re: CONFERENCE held on 12/13/2019 before
                                    Magistrate Judge Stewart D. Aaron. Court Reporter/Transcriber: Lisa Smith, (212)
                                    805-0300. Transcript may be viewed at the court public terminal or purchased
                                    through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                    Restriction. After that date it may be obtained through PACER. Redaction Request
                                    due 1/23/2020. Redacted Transcript Deadline set for 2/3/2020. Release of Transcript
                                    Restriction set for 4/l/2020. (McGuirk, Kelly) (Entered: 01/02/2020)

             01/24/2020       582   DECLARATION OF NORMAN C. ANKERS IN SUPPORT OF PLAINTIFFS
                                    MEMORANDUM SUBMITTED PURSUANT TO THIS COURTS DECEMBER
                                    16, 2019 ORDER. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc. (Attachments: # 1Exhibit Ex. 1, # 2Exhibit Ex. 2, # 3Exhibit Ex. 3, # 4
                                    Exhibit Ex. 4, # 5Exhibit Ex. 5, # 6Exhibit Ex. 6, # 7Exhibit Ex. 7, # 8Exhibit Ex.
                                    8, # 9Exhibit Ex. 9, # 10 Exhibit Ex. 10, # 11 Exhibit Ex. 11, # 12 Exhibit Ex. 12)
                                    (Case Participant View Only) (kl) (Entered: 01/24/2020)

             01/24/2020       583   PLAINTIFFS' MEMORANDUM SUBMITTED PURSUANT TO THIS COURT'S
                                    DECEMBER 16, 2019 ORDER. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc. (Case Participants View Only) (kl) (Entered:
                                    01/24/2020)

             01/24/2020       584   DEFENDANTS' SUPPLEMENTAL BRIEF REGARDING THE SUBSTANTIVE
                                    LAW TO BE APPLIED TO PLAINTIFFS' CLAIMS FOR INTENTIONAL
                                    INTERFERENCE WITH CONTRACTUAL RELATIONS. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc. (Case Participant
                                    View Only) (kl) (Entered: 01/24/2020)

             01/24/2020       585   DECLARATION OF VIKRAMADITYA KHANNA. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc. (Case Participant View Only)
                                    (kl) (Entered: 01/24/2020)

             01/24/2020       586   DECLARATION OF ADAM KAUFMANN. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc. (Case Participant View Only)
                                    (kl) (Entered: 01/24/2020)

             01/27/2020       587   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Norman
                                    Ankers & Gianni Cutri dated January 27, 2020 re: Parties' Joint Sealing Request for
                                    Summary Judgment Supplemental Briefing. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc..(Ankers, Norman) (Entered: 01/27/2020)

             01/27/2020       588   REPORT AND RECOMMENDATION AND ORDER re: 520 MOTION for
                                    Summary Judgment filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc., 528 MOTION for Summary Judgment (
                                                                                 Public Version) filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc., 536 LETTER MOTION to
                                    Strike. For the foregoing reasons, Irespectfully recommend that Plaintiffs' partial
                                    motion for summary judgment be DENIED and that Defendants' partial motion for
                                    summary judgment be GRANTED IN PART and DENIED IN PART. In addition, I
                                    order that Defendants' motion to strike be DENIED. Objections to R&R due by
                                    2/10/2020 ( Signed by Magistrate Judge Stewart D. Aaron on 1/27/2020) (kl) (Main
                                    Document 588 replaced on 2/11/2020) (kl). (Entered: 01/27/2020)

             01/27/2020       589   BRIEF DEFENDANTS' SUPPLENIENIAL BRIEF REGARDING IHE
                                    SUBSIANTIVE LAW TO BE APPLIED TO PLAINTFFS' CLAIMS FOR
                                    INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS. Document



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                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..(Cutri,
                                    Gianni) (Entered: 01/27/2020)

             01/27/2020       590   DECLARATION of VIKRAMADITYA KHANNA in Support re: 589 Brief,.
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Exhibit 1)(Cutri, Gianni) (Entered: 01/27/2020)

             01/27/2020       591   DECLARATION of ADAM KAUFMANN in Support re: 589 Brief,. Document filed
                                    by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: #
                                    1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5)(Cutri, Gianni)
                                    (Entered: 01/27/2020)

             01/27/2020       597   ***Sealed*** REPORT AND RECOMMENDATION AND ORDER: For the
                                    foregoing reasons, Irespectfully recommend that Plaintiffs' partial motion for
                                    summary judgment be DENIED and that Defendants' partial motion for summary
                                    judgment be GRANTED IN PART and DENIED IN PART. In addition, Iorder that
                                    Defendants' motion to strike be DENIED. ( Signed by Magistrate Judge Stewart D.
                                    Aaron on 1/27/2020) (mro) (Entered: 02/11/2020)

             01/29/2020       592   ORDER re: 588 Report and Recommendations. It is hereby ORDERED that the
                                    parties are advised that no extensions will be granted for any objections or responses
                                    to objections. It is further ORDERED that any objections shall not exceed 10 double-
                                    spaced pages. Any responses shall not exceed 10 double-spaced pages. No exhibits
                                    will be permitted, and the parties shall cite, if needed, to the summary judgment
                                    record. The responding party to any objections shall send courtesy copies to
                                    Chambers. ( Signed by Judge Lorna G. Schofield on 1/29/2020) (kv) (Entered:
                                    01/29/2020)

             02/03/2020       593   JOINT LETTER addressed to Magistrate Judge Stewart D. Aaron from Gianni Cutri
                                    & Anne B. Sekel dated February 3, 2020 re: Parties' Joint Sealing Request for
                                    1/27/20 Court Order (ECF No. 588). Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc ... (Sekel, Anne) (Entered: 02/03/2020)

             02/04/2020       594   MEMO ENDORSEMENT on re: 593 Letter, filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc. ENDORSEMENT: Application GRANTED IN PART
                                    and DENIED IN PART. The parties' proposed redactions are approved, except for
                                    Defendants' proposed redactions to the explanations of test cases and automation
                                    scripts on p. 13 of the Report & Recommendation (R&R), as the Court finds that
                                    such information is publicly available. The parties shall, no later than Friday,
                                    February 7, 2020, email Chambers aPDF version of the R&R with the approved
                                    redactions, which the Court will enter on the docket at ECF No. 588. SO ORDERED.
                                    (Signed by Magistrate Judge Stewart D. Aaron on 2/4/2019) (kl) (Entered:
                                    02/04/2020)

             02/10/2020       595   FILING ERROR -WRONG EVENT TYPE SELECTED FROM MENU -
                                    APPEAL OF MAGISTRATE JUDGE DECISION to District Court from 588 Report
                                    and Recommendations. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc. Copies of Appeal of Magistrate Judge Decision to District Court
                                    served on Attorney(s) of Record: Defendants' Counsel (Kirkland & Ellis). (Norbitz,
                                    Todd) Modified on 2/11/2020 (tp). (Entered: 02/10/2020)

             02/10/2020             ** *NOTICE TO ATTORNEY TO RE-FILE DOCUMENT -EVENT TYPE
                                    ERROR. Notice to Attorney Norbitz, Todd to RE-FILE Document 595 Appeal of
                                    Magistrate Judge Decision to District Court. Use the event type Objection to




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                                    Report and Recommendations found under the event list Other Answers. (tp)
                                    (Entered: 02/11/2020)

             02/11/2020       596   ORDER: Having reviewed the parties' Joint Letters requesting permission to file
                                    under seal certain submissions in connection with the parties' cross-motions for
                                    partial summary judgment (see ECF Nos. 519, 537, 561, 571, 575 & 587), it is
                                    hereby Ordered that, the parties' applications are GRANTED. Because the parties'
                                    filings pre-date the change in the Court's practices regarding filing under seal, the
                                    parties shall, no later than February 25, 2020, file in the traditional manner (i.e. in
                                    paper form) the full, unredacted versions with the Clerk of Court. ( Signed by
                                    Magistrate Judge Stewart D. Aaron on 2/11/2020) (mro) (Entered: 02/11/2020)

             02/11/2020       598   OBJECTION to 588 Report and Recommendations (       Public Version) Document filed
                                    by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd)
                                    (Entered: 02/11/2020)

             02/24/2020       599   RESPONSE in Opposition to Defendants' Oljections to Report and Recommendation
                                    (Public Version). Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc ... (Norbitz, Todd) (Entered: 02/24/2020)

             02/24/2020       600   ***SELECTED PARTIES*** RESPONSE in Opposition to Defendants' Oljections
                                    to Report and Recommendation (Sealed Version (f Syntel Sterling Best Shores
                                    Mauritius Limited & Syntel, Inc.'s Responses to Defendants' Oljections). Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. Motion or Order to File Under
                                    Seal: 596 .(Norbitz, Todd) (Entered: 02/24/2020)

             02/24/2020       601   LETTER MOTION to Seal Dtfendants'Response to Syntel's Oljections to Report
                                    and Recommendation addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                    2/24/2020. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 02/24/2020)

             02/24/2020       602   ***SELECTED PARTIES*** RESPONSE re: 598 Objection to Report and
                                    Recommendations (   Sealed Version (fDefendants'Response to Syntel's Oljections).
                                    Document filed by The Trizetto Group, Inc., Cognizant Technology Solutions Corp.,
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. Motion or Order to File
                                    Under Seal: 601 .(Cutri, Gianni) (Entered: 02/24/2020)

             02/24/2020       603   RESPONSE re: 598 Objection to Report and Recommendations (         Public Version (f
                                    Dtfendants'Response to Syntel's Oljections). Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    02/24/2020)

             02/25/2020       604   SEALED DOCUMENT placed in vault.(mhe) (Entered: 02/25/2020)

             02/25/2020       605   SEALED DOCUMENT placed in vault.(mhe) (Entered: 02/25/2020)

             02/25/2020       606   SEALED DOCUMENT placed in vault.(mhe) (Entered: 02/25/2020)

             03/24/2020       607   ORDER adopting 588 Report and Recommendations, 520 Motion for Summary
                                    Judgment filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.,
                                    528 Motion for Summary Judgment filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc. WHEREAS, Judge Aaron issued aReport and Recommendation
                                    (the " Report") on the parties' cross-motions for partial summary judgment on January
                                    27, 2020. It is hereby ORDERED that, for reasons stated in the Opinion & Order,
                                    which will follow separately under seal, the Report is adopted in full. The parties'



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                                    objections either are overruled or deemed waived. It is further ORDERED that, if the
                                    parties seek any portion of the Opinion & Order to remain under seal, they shall file a
                                    letter request specifically justifying each category of information to be sealed, by
                                    March 27, 2020. The letter shall attach acopy of the Opinion & Order highlighting
                                    any portions the parties seek to be sealed. The parties may either file separate letters
                                    or, preferably, ajoint letter. If ajoint letter, each party's proposed sealing should be
                                    highlighted in adifferent color. The Court will not permit the entire Opinion & Order
                                    to be sealed, but at most only particular lines. If the parties make no letter request, the
                                    Opinion & Order will be unsealed by March 30, 2020. The Clerk of Court is
                                    respectfully directed to close Dkt. Nos. 520 and 528. ( Signed by Judge Lorna G.
                                    Schofield on 3/24/2020) (mro) (Entered: 03/24/2020)

             03/24/2020       608   ***SELECTED PARTIES*** OPINION & ORDER: For the reasons above, the
                                    Report is adopted in full.Defendants' motion for summary judgment is granted in part
                                    and denied in part. Specifically, summary judgment is granted to Defendants on: ( 1)
                                    the breach of contract claim based on the Non- Solicitation Provision and on (2) the
                                    tortious interference claims, except as to the five employment agreements. Summary
                                    judgment is denied to Defendant on ( 1) the confidential information claims and (2)
                                    Defendants' trade secrets counterclaim.Plaintiffs' motion for summary judgment is
                                    denied, specifically as to: ( 1) the breach of contract claim based on Transition
                                    Rebates and (2) Defendants' copyright infringement counterclaim. For clarity, the
                                    surviving claims and counterclaims are: Count L Breach of Contract, based on
                                    Sections 19.01 (Confidentiality) and 23.02 (Transition Rebates), as to Defendant
                                    TriZetto;Counts II and III: Tortious Interference, based on the five employment
                                    agreements only, as to both Defendants; Count IV: Misappropriation of Confidential
                                    Information, as to both Defendants; Counterclaim Counts Iand IL Breach of Contract
                                    and Breach of the Implied Covenant of Good Faith and Fair Dealing, as to Plaintiff
                                    Syntel Mauritius; Counterclaim Counts III and IV: Misappropriation of Trade
                                    Secrets, as to both Plaintiffs; Counterclaim Count V: Unfair Competition, as to both
                                    Plaintiffs; Counterclaim Count VI: Tortious Interference, as to both Plaintiffs;
                                    Counterclaim VIII: Copyright Infringement, as to both Plaintiffs.The Clerk of Court
                                    is respectfully directed to ( 1) close Dkt. Nos. 520 and 528 and to (2) docket this
                                    Order under seal and making it viewable only to counsel of record for Plaintiffs
                                    Syntel Sterling Best Shores Mauritius Limited and Syntel, Inc., and Defendants The
                                    TriZetto Group's and Cognizant Technology Solutions Corp. ( Signed by Judge Lorna
                                    G. Schofield on 3/24/2020) (rro) (Entered: 03/24/2020)

             03/26/2020       609   SCHEDULING ORDER: It is hereby ORDERED that this action will be placed in
                                    second place on the Court's August 2020 trial-ready calendar. Motions in limine due
                                    by 7/17/2020. Responses due by 7/24/2020. Final Pretrial Conference set for
                                    8/10/2020 at 11:30 AM before Judge Lorna G. Schofield. Pretrial Order due by
                                    7/31/2020. Ready for Trial by 8/17/2020. Jury Trial set for 8/17/2020 at 10:45 AM
                                    before Judge Lorna G. Schofield, and as further specified and set forth in this
                                    Scheduling Order.(Signed by Judge Lorna G. Schofield on 3/26/2020) (rjm).
                                    (Entered: 03/26/2020)

             03/27/2020       610   JOINT LETTER MOTION to Seal Portions cfDocketNo. 608 - Opinion and Order
                                    addressed to Judge Lorna G. Schofield from Gianni Cutri and Anne Sekel dated
                                    3/27/2020. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc.. (Attachments: # 1Appendix A - Filed Under Seal, # 2Appendix
                                    B).(Cutri, Gianni) (Entered: 03/27/2020)




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             03/27/2020       611   ***SELECTED PARTIES* " REDACTION to 610 JOINT LETTER MOTION to
                                    Seal Portions cfDocket No. 608 - Cpinion and Order addressed to Judge Lorna G.
                                    Schofield from Gianni Cutri and Anne Sekel dated 3/27/2020. Appendix A - Prcposed
                                    Redactions to Cpinion and Order by The Trizetto Group, Inc., Cognizant Technology
                                    Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel, Ina.Motion
                                    or Order to File Under Seal: 610 .(Cutri, Gianni) (Entered: 03/27/2020)

             03/30/2020       612   ORDER granting 610 Letter Motion to Seal. It is hereby ORDERED that both parties
                                    requests are GRANTED. The Clerk of Court is respectfully directed to close Dkt. No.
                                    610. (As further set forth in this Order.) ( Signed by Judge Lorna G. Schofield on
                                    3/30/2020) (cf) (Entered: 03/30/2020)

             03/30/2020       613   ***SELECTED PARTIES*** OPINON AND ORDER: For the reasons above, the
                                    Report is adopted in full. Defendants' motion for summary judgment is granted in
                                    part and denied in part. Specifically, summary judgment is granted to Defendants on:
                                    (1) the breach of contract claim based on the Non- Solicitation Provision and on (2)
                                    the tortious interference claims, except as to the five employment agreements.
                                    Summary judgment is denied to Defendant on ( 1) the confidential information claims
                                    and (2) Defendants trade secrets counterclaim. Plaintiffs' motion for summary
                                    judgment is denied, specifically as to: ( 1) the breach of contract claim based on
                                    Transition Rebates and (2) Defendants copyright infringement counterclaim. For
                                    clarity, the surviving claims and counterclaims are: Count L Breach of Contract,
                                    based on Sections 19.01 (Confidentiality) and 23.02 (Transition Rebates), as to
                                    Defendant TriZetto; Counts II and III: Tortious Interference, based on the five
                                    employment agreements only, as to both Defendants; Count IV: Misappropriation of
                                    Confidential Information, as to both Defendants; Counterclaim Counts Iand IL
                                    Breach of Contract and Breach of the ImpliedCovenant of Good Faith and Fair
                                    Dealing, as to Plaintiff Syntel Mauritius; Counterclaim Counts III and IV:
                                    Misappropriation of Trade Secrets, as to bothPlaintiffs; Counterclaim Count V:
                                    Unfair Competition, as to both Plaintiffs; Counterclaim Count VI: Tortious
                                    Interference, as to both Plaintiffs; Counterclaim VIII: Copyright Infringement, as to
                                    both Plaintiffs. The Clerk of Court is respectfully directed to ( 1) close Dkt. Nos. 520
                                    and 528 and to (2) docket this Order (As further set forth in this Order.) ( Signed by
                                    Judge Lorna G. Schofield on 3/24/2020) (cf) (Main Document 613 replaced on
                                    3/31/2020) (cf). Modified on 3/31/2020 (cf). (Entered: 03/30/2020)

             04/07/2020       614   ORDER granting 601 Letter Motion to Seal. It is hereby ORDERED that Defendants'
                                    request is GRANTED. (As further set forth in this Order.) ( Signed by Judge Lorna G.
                                    Schofield on 4/6/2020) (cf) (Entered: 04/07/2020)

             04/07/2020       615   MOTION to Correct Judgment re: 608 Memorandum & Opinion,,,,,,, . Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd)
                                    (Entered: 04/07/2020)

             04/07/2020       616   MEMORANDUM OF LAW in Support re: 615 MOTION to Correct Judgment re:
                                    608 Memorandum & Opinion,,,,,,, .. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 04/07/2020)

             04/08/2020       617   MEMO ENDORSED ORDER with respect to 615 Motion to Correct Judgment.
                                    ENDORSEMENT: Defendants shall respond to this motion by April 17, 2020. SO
                                    ORDERED. ( Signed by Judge Lorna G. Schofield on 4/8/2020) (mml) (Entered:
                                    04/09/2020)




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             04/08/2020             Set/Reset Deadlines: Responses due by 4/17/2020. (mml) (Entered: 04/09/2020)

             04/17/2020       618   MOTION for Phillip Hill to Withdraw as Attorney for Defendants- Counterclaimants
                                    The TriZetto Group, Inc., n/k/a Cognizant TriZetto Scftware Group, Inc. and
                                    Cognizant Technology Solutions Corp. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Text of Proposed
                                    Order).(Cutri, Gianni) (Entered: 04/17/2020)

             04/17/2020       619   RESPONSE to Motion re: 615 MOTION to Correct Judgment re: 608 Memorandum
                                    & Opinion,,,,,,, .. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 04/17/2020)

             04/20/2020       620   AMENDED OPINION & ORDER for 615 Motion to Correct Judgment filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., 588 Report and
                                    Recommendations. For the reasons above, the Report is adopted in full. Defendants'
                                    motion for summary judgment is granted in part and denied in part. Specifically,
                                    summary judgment is granted to Defendants on: ( 1) the breach of contract claim
                                    based on the Non- Solicitation Provision and on (2) the tortious interference claims,
                                    except as to the five employment agreements. Summary judgment is denied to
                                    Defendant on ( 1) the confidential information claims and (2) Defendants trade secrets
                                    counterclaim. Plaintiffs' motion for summary judgment is denied, specifically as to:
                                    (1) the breach of contract claim based on Transition Rebates and (2) Defendants'
                                    copyright infringement counterclaim. For clarity, the surviving claims and
                                    counterclaims are: Count L Breach of Contract, based on Sections 19.01
                                    (Confidentiality) and 23.02 (Transition Rebates), as to Defendant TriZetto; Count IL
                                    Tortious Interference, based on the five employment agreements only, as to
                                    Defendant TriZetto; Count III: Tortious Interference, based on the five employment
                                    agreements and Section 19.01 of the MSA, as to Defendant Cognizant; Count IV:
                                    Misappropriation of Confidential Information, as to both Defendants; Counterclaim
                                    Counts Iand IL Breach of Contract and Breach of the Implied Covenant of Good
                                    Faith and Fair Dealing, as to Plaintiff Syntel Mauritius; Counterclaim Counts III and
                                    IV: Misappropriation of Trade Secrets, as to both Plaintiffs; Counterclaim Count V:
                                    Unfair Competition, as to both Plaintiffs; Counterclaim Count VI: Tortious
                                    Interference, as to both Plaintiffs; Counterclaim VIII: Copyright Infringement, as to
                                    both Plaintiffs. (As further set forth in this Order.) ( Signed by Judge Lorna G.
                                    Schofield on 4/20/2020) (cf) (Entered: 04/20/2020)

             04/20/2020       621   ***SELECTED PARTIES*** AMENDED OPINION & ORDER for 588 Report and
                                    Recommendations. For the reasons above, the Report is adopted in full. Defendants'
                                    motion for summary judgment is granted in part and denied in part. Specifically,
                                    summary judgment is granted to Defendants on: ( 1) the breach of contract claim
                                    based on the Non- Solicitation Provision and on (2) the tortious interference claims,
                                    except as to the five employment agreements. Summary judgment is denied to
                                    Defendant on ( 1) the confidential information claims and (2) Defendants' trade
                                    secrets counterclaim. Plaintiffs' motion for summary judgment is denied, specifically
                                    as to: ( 1) the breach of contract claim based on Transition Rebates and (2)
                                    Defendants' copyright infringement counterclaim. For clarity, the surviving claims
                                    and counterclaims are: Count 1• Breach of Contract, based on Sections 19.01
                                    (Confidentiality) and 23.02 (Transition Rebates), as to Defendant TriZetto; Count IL
                                    Tortious Interference, based on the five employment agreements only,as to Defendant
                                    TriZetto; Count III: Tortious Interference, based on the five employment agreements
                                    and Section 19.01 of the MSA, as to Defendant Cognizant; Count IV:




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                                    Misappropriation of Confidential Information, as to both Defendants; Counterclaim
                                    Counts Iand IL Breach of Contract and Breach of the Implied Covenant of Good
                                    Faith and Fair Dealing, as to Plaintiff Syntel Mauritius; Counterclaim Counts III and
                                    IV: Misappropriation of Trade Secrets, as to both Plaintiffs; Counterclaim Count V:
                                    Unfair Competition, as to both Plaintiffs; Counterclaim Count VI: Tortious
                                    Interference, as to both Plaintiffs; Counterclaim VIII: Copyright Infringement, as to
                                    both Plaintiffs. The Clerk of Court is respectfully directed to docket this Order under
                                    seal, making it viewable only to counsel of record for Plaintiffs Syntel Sterling Best
                                    Shores Mauritius Limited and Syntel, Inc., and Defendants The TriZetto Group and
                                    Cognizant Technology Solutions Corp. (As further set forth in this Order.) ( Signed by
                                    Judge Lorna G. Schofield on 4/20/2020) (cf) (Entered: 04/20/2020)

             04/20/2020       622   ORDER re: 615 MOTION to Correct Judgment re: 608 Memorandum & Opinion,
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc. It is hereby
                                    ORDERED that Plaintiffs' unopposed motion is GRANTED. The inadvertently
                                    omitted references neither alter the original meaning of the Opinion & Order nor
                                    correct alegal or factual error. An Amended Opinion and Order will follow
                                    separately under seal. A redacted public version of the Amended Opinion and Order
                                    will also issue, consistent with the redactions granted by the Order at Dkt. No. 612.
                                    The Clerk of Court is respectfully directed to close Dkt. No. 615. ( Signed by Judge
                                    Lorna G. Schofield on 4/20/2020) (va) (Entered: 04/20/2020)

             04/20/2020       623   ORDER granting 618 Motion to Withdraw as Attorney. For good cause shown, the
                                    Court finds that Defendants' Motion for Leave to Withdraw the Appearance of Phillip
                                    Hill should be granted. It is therefore Ordered that Phillip Hill is hereby withdrawn as
                                    counsel of record for Defendants-Counterclaimants The TriZetto Group, Inc., n/k/a
                                    Cognizant TriZetto Software Group, Inc. and Cognizant Technology Solutions Corp.
                                    in the above- referenced matter and that he be removed from electronic notification in
                                    this matter. So Ordered. Attorney Phillip Aaron Lee Hill terminated ( Signed by
                                    Magistrate Judge Stewart D. Aaron on 4/20/2020) Os) (     Entered: 04/20/2020)

             06/19/2020       624   MOTION for Rajat Khanna to Withdraw as Attorney. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Text of
                                    Proposed Order).(Cutri, Gianni) (Entered: 06/19/2020)

             06/19/2020       625   MOTION for Andrew Morrill to Appear Pro Hac Vice. Filing fee $ 200.00, receipt
                                    number ANYSDC-20337937. Motion and supporting papers to be reviewed by
                                    Clerk's Office staff. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Affidavit, # 2Exhibit Certificate of Good
                                    Standing, # 3Text of Proposed Order). (Morrill, Andrew) (Entered: 06/19/2020)

             06/19/2020             >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                    No. 625 MOTION for Andrew Morrill to Appear Pro Hac Vice. Filing fee $
                                    200.00, receipt number ANYSDC-20337937. Motion and supporting papers to
                                    be reviewed by Clerk's Office staff.. The document has been reviewed and there
                                    are no deficiencies. (ad) (
                                                              Entered: 06/19/2020)

             06/19/2020       626   MOTION for Gavin W. Moler to Appear Pro Hac Vice. Filing fee $ 200.00, receipt
                                    number BNYSDC-20338828. Motion and supporting papers to be reviewed by
                                    Clerk's Office staff. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Affidavit, # 2Exhibit Certificate of Good
                                    Standing, # 3Text of Proposed Order).(Moler, Gavin) (Entered: 06/19/2020)




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             06/19/2020       627    MOTION for Justin Singh to Appear Pro Hac Vice. Filing fee $ 200.00, receipt
                                     number ANYSDC-20339197. Motion and supporting papers to be reviewed by
                                     Clerk's Office staff. Document filed by Cognizant Technology Solutions Corp., The
                                     Trizetto Group, Inc.. (Attachments: # 1Affidavit, # 2Exhibit Certificate of Good
                                     Standing, # 3Text of Proposed Order).(Singh, Justin) (Entered: 06/19/2020)

             06/19/2020              >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                     No. 627 MOTION for Justin Singh to Appear Pro Hac Vice. Filing fee $ 200.00,
                                     receipt number ANYSDC-20339197. Motion and supporting papers to be
                                     reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                     no deficiencies. (ad) (
                                                           Entered: 06/19/2020)

             06/19/2020              >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                     No. 626 MOTION for Gavin W. Moler to Appear Pro Hac Vice. Filing fee $
                                     200.00, receipt number BNYSDC-20338828. Motion and supporting papers to be
                                     reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                     no deficiencies. (ad) (
                                                           Entered: 06/19/2020)

             06/19/2020       628    ORDER granting 625 Motion for Andrew Morrill to Appear Pro Hac Vice. SO
                                     ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on 6/19/2020) (kl)
                                     (Entered: 06/19/2020)

             06/19/2020       629    ORDER GRANTING WITHDRAWAL OF APPEARANCE granting 624 Motion to
                                     Withdraw as Attorney. For good cause shown, the Court finds that Defendants
                                     Motion for Leave to Withdraw the Appearance of Rajat Khanna should be granted. It
                                     is therefore Ordered that Rajat Khanna is hereby withdrawn as counsel of record for
                                     Defendants- Counterclaimants The TriZetto Group, Inc., n/k/a Cognizant TriZetto
                                     Software Group, Inc. and Cognizant Technology Solutions Corp. in the above-
                                     referenced matter and that he be removed from electronic notification in this matter.
                                     Attorney Raj at Khanna terminated. ( Signed by Magistrate Judge Stewart D. Aaron on
                                     6/19/2020) (kl) (Entered: 06/19/2020)

             06/19/2020       630    ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE OF GAVIN
                                     W. MOLER 626 Motion for Gavin W. Moler to Appear Pro Hac Vice. SO
                                     ORDERED. ( Signed by Magistrate Judge Stewart D. Aaron on 6/19/2020) (kl)
                                     (Entered: 06/19/2020)

             06/19/2020       631    ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE OF JUSTIN
                                     SINGH 627 Motion for Justin Singh to Appear Pro Hac Vice. SO ORDERED.
                                     (Signed by Magistrate Judge Stewart D. Aaron on 6/19/2020) (kl) (Entered:
                                     06/19/2020)

             06/29/2020       632    LETTER MOTION to Continue (      Acyourn) Pre- Trial Deadlines addressed to Judge
                                     Lorna G. Schofield from Norman C. Ankers dated June 29, 2020. Document filed by
                                     Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Ankers, Norman)
                                     (Entered: 06/29/2020)

             07/01/2020       633    LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 7/1/2020
                                     re: Syntel's Request to Adjourn Pretrial Deadlines. Document filed by Cognizant
                                     Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                     07/01/2020)

             07/01/2020       634_   AMENDED SCHEDULING ORDER terminating 632 Letter Motion to Continue: It
                                     is hereby ORDERED that this action will be placed in third place on the Court's




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                                    October 2020 trial-ready calendar; the jury trial is adjourned to October 19, 2020, at
                                    9:45 a.m., or the Courts first available date thereafter. The parties shall be ready to
                                    proceed on 24 hours notice on or after October 19, 2020. Any motions in limine shall
                                    be filed by August 31, 2020. Responses to the motions shall be filed by September 7,
                                    2020. The final pretrial order shall be filed September 14, 2020. The final pretrial
                                    conference scheduled for August 10, 2020, at 11:30 a.m. is adjourned to October 7,
                                    2020, at 11:30 a.m. The Clerk of Court is respectfull directed to close Dkt. No. 632.
                                    (As further set forth in this Order.) ( Signed by Judge Lorna G. Schofield on
                                    6/30/2020) (cf) (Entered: 07/01/2020)

             07/01/2020             Set/Reset Deadlines: ( Motions due by 8/31/2020., Pretrial Order due by 9/14/2020.,
                                    Responses due by 9/7/2020, Ready for Trial by 10/19/2020.), Set/Reset Hearings:(
                                    Final Pretrial Conference set for 10/7/2020 at 11:30 AM before Judge Lorna G.
                                    Schofield.) (cf) (Entered: 07/01/2020)

             07/30/2020       635   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 7/30/2020
                                    re: pretrial exchange schedule. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc.. (Attachments: # 1Text of Proposed Order).(Cutri,
                                    Gianni) (Entered: 07/30/2020)

             07/31/2020       636   MEMO ENDORSEMENT on re: 635 Letter, filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: Plaintiffs/Counter-
                                    Defendants Syntel Sterling Best Shores Mauritius Limited and Syntel, Inc. shall file a
                                    response to this letter by August 3, 2020. ( Signed by Judge Lorna G. Schofield on
                                    7/31/2020) (cf) (Entered: 07/31/2020)

             08/03/2020       637   LETTER addressed to Judge Lorna G. Schofield from Anne B. Sekel dated August 3,
                                    2020 re: Response in Opposition to Defendants' Letter [ECF No. 635] pursuant to
                                    [ECF No. 636]. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc ... ( Sekel, Anne) (Entered: 08/03/2020)

             08/04/2020       638   SECOND AMENDED SCHEDULING ORDER: ORDERED that Defendants'
                                    application is GRANTED in part. Plaintiffs shall provide any proposed revisions or
                                    objections to the voir dire, jury instructions and verdict forms by August 11, 2020.
                                    Defendants shall provide any proposed revisions or objections by August 25, 2020.
                                    The parties shall engage in active negotiations thereafter to make the filing as
                                    required by August 31, 2020. Motions due by 9/21/2020. Responses due by
                                    9/28/2020. The Final Pretrial Conference set for 10/7/2020 at 11:30 AM before Judge
                                    Lorna G. Schofield. Final Pretrial Order due by 9/14/2020. ( Signed by Judge Lorna
                                    G. Schofield on 8/04/2020) (ama) (Entered: 08/04/2020)

             08/31/2020       639   LETTER MOTION to Seal Dtfendants'Pretrial Memorandum cfLaw and
                                    Su_pporting Exhibits addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                    8/31/2020. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 08/31/2020)

             08/31/2020       640   ***SELECTED PARTIES" * PRETRIAL MEMORANDUM. Document filed by
                                    The Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc..Motion or Order to File Under Seal: 639
                                    .(Cutri, Gianni) (Entered: 08/31/2020)

             08/31/2020       641   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    640 Pretrial Memorandum. Document filed by The Trizetto Group, Inc., Cognizant
                                    Technology Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel,




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                                    Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5
                                    Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, # 10 Exhibit 10, #
                                    11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                                    Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                                    Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                                    Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31
                                    Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                                    Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38)Motion or Order to File Under Seal: 639
                                    .(Cutri, Gianni) (Entered: 08/31/2020)

             08/31/2020       642   DECLARATION of Adam Kaufmann (Public Version) in Support re: 640 Pretrial
                                    Memorandum. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4
                                    Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, #
                                    10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, #
                                    15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, #
                                    20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, #
                                    25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, #
                                    30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, #
                                    35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38).(Cutri, Gianni)
                                    (Entered: 08/31/2020)

             08/31/2020       643   JOINT PRETRIAL STATEMENT OF 1HE CASE. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit A, #
                                    2Exhibit B).(Cutri, Gianni) (Entered: 08/31/2020)

             08/31/2020       644   LETTER MOTION to Seal Syntel's Pretrial Memorandum cfLaw addressed to Judge
                                    Lorna G. Schofield from Anne B. Sekel dated August 31, 2020. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... ( Sekel, Anne) (Entered:
                                    08/31/2020)

             08/31/2020       645   ***SELECTED PARTIES" * PRETRIAL MEMORANDUM. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc..Motion or Order to File Under Seal: 644
                                    .(Sekel, Anne) (Entered: 08/31/2020)

             09/01/2020       646   NOTICE of Joint Submission of the Parties' Proposed Verdict Forms. Document filed
                                    by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: #
                                    1Exhibit A, # 2Exhibit B).(Cutri, Gianni) (Entered: 09/01/2020)

             09/01/2020       647   PRETRIAL MEMORANDUM. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/01/2020)

             09/01/2020       648   PROPOSED VOIR DIRE QUESTIONS. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/01/2020)

             09/01/2020       649   JOINT LETTER MOTION for Extension of Time to File Joint Proposed Jury
                                    Instructions addressed to Judge Lorna G. Schofield from Anne B. Sekel dated August
                                    31, 2020. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc ... ( Sekel, Anne) (Entered: 09/01/2020)




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             09/01/2020       650   ORDER granting 649 Letter Motion for Extension of Time. This application is
                                    untimely but nevertheless GRANTED. The parties shall file their joint proposed jury
                                    instructions by 5:30 p.m. ET. ( Signed by Judge Lorna G. Schofield on 9/1/2020) (cf)
                                    (Entered: 09/01/2020)

             09/01/2020       651   ORDER: It is hereby ORDERED that by September 4, 2020, Syntel and Defendants
                                    shall file letters requesting any proposed redactions to Defendants' and Syntel's
                                    pretrial memoranda, respectively, with specific justifications for each category of
                                    information to be sealed. It is further ORDERED that any future requests to file
                                    redacted pre-trial submissions must be made jointly, with each party's proposed
                                    sealing highlighted in adifferent color. (As further set forth in this Order.) ( Signed by
                                    Judge Lorna G. Schofield on 9/1/2020) (cf) (Entered: 09/01/2020)

             09/01/2020       652   PROPOSED JURY INSTRUCTIONS. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/01/2020)

             09/04/2020       653   ORDER: ORDERED that the parties are advised that jury trials will resume, and the
                                    jury trial in this action is in line to proceed the week of October 19, 2020. The parties
                                    shall be ready to proceed on 24 hours' notice on or after October 19, 2020. The final
                                    pre-trial conference previously scheduled to take place on October 7, 2020, at 11:30
                                    a.m., will take place telephonically on the following conference call line:
                                    888-363-4749, access code: 558-3333. The time of the conference is approximate,
                                    but the parties shall be ready to proceed by that time., ( Telephone Conference set for
                                    10/7/2020 at 11:30 AM before Judge Lorna G. Schofield.) ( Signed by Judge Lorna G.
                                    Schofield on 9/04/2020) (ama) (Entered: 09/04/2020)

             09/04/2020       654   LETTER addressed to Judge Lorna G. Schofield from Anne B. Sekel dated
                                    September 4, 2020 re: 09/01/20 Order (ECF No. 65 1) - Syntel's Proposed Redactions
                                    to Defendants' Pretrial Memorandum of Law. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc ... ( Sekel, Anne) (Entered: 09/04/2020)

             09/04/2020       655   LETTER MOTION to Seal Portions cfPlaintfilCounterclaim DEfendants' Pretrial
                                    Memorandum addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                    9/4/2020. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 09/04/2020)

             09/04/2020       656   ***SELECTED PARTIES" * PRETRIAL MEMORANDUM. Document filed by
                                    The Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc..Motion or Order to File Under Seal: 655
                                    .(Cutri, Gianni) (Entered: 09/04/2020)

             09/08/2020       657   LETTER MOTION to Seal DEfendants/Counterclaim-Plaint,fs'Response to Syntel's
                                    Pretrial Memorandum addressed to Judge Lorna G. Schofield from Gianni Cutri
                                    dated 9/8/2020. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/08/2020)

             09/08/2020       658   LETTER MOTION to Seal Syntel's Response to DEfendants' Pretrial Memorandum
                                    addressed to Judge Lorna G. Schofield from Anne B. Sekel dated September 8, 2020.
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Sekel, Anne) (Entered: 09/08/2020)

             09/08/2020       659   ***SELECTED PARTIES*** OPPOSITION BRIEF DEfendants/Counterclaim-
                                    Plaintjfs' Response to Syntel's Pretrial Memorandum. Document filed by The
                                    Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best




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                                    Shores Mauritius Limited, Syntel, Inc..Motion or Order to File Under Seal: 657
                                    .(Cutri, Gianni) (Entered: 09/08/2020)

             09/08/2020       660   ***SELECTED PARTIES" * PRETRIAL MEMORANDUM. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc..Motion or Order to File Under Seal: 658
                                    .(Sekel, Anne) (Entered: 09/08/2020)

             09/08/2020       661   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    659 Opposition Brief,. Document filed by The Trizetto Group, Inc., Cognizant
                                    Technology Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5
                                    Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8)Motion or Order to File Under
                                    Seal: 657 .(Cutri, Gianni) (Entered: 09/08/2020)

             09/09/2020       662   ORDER granting in part 639 Letter Motion to Seal; granting in part 644 Letter
                                    Motion to Seal; granting in part 655 Letter Motion to Seal; granting 657 Letter
                                    Motion to Seal; granting 658 Letter Motion to Seal. It is hereby ORDERED the
                                    parties' redaction requests at Dkt. Nos. 639, 644, 654 and 655 are GRANTED in part.
                                    Although "[t]he common law right of public access to judicial documents is firmly
                                    rooted in our nations history," this right is not absolute, and courts " must balance
                                    competing considerations against" the presumption of access. Lugosch v. Pyramid
                                    Co. of Onondaga, 435 F.3d 110, 11920 (2d Cir. 2006) (internal quotation marks
                                    omitted); see also Nixon v. Warner Commc'ns., Inc., 435 U.S. 589, 599 ( 1978)
                                    (" [T]he decision as to access is one best left to the sound discretion of the trial court,
                                    adiscretion to be exercised in light of the relevant facts and circumstances of the
                                    particular case. "). The proposed redactions, except for the following, are narrowly
                                    tailored to prevent unauthorized dissemination of sensitive business information:
                                    Defendants' proposed redactions to damages figures in their pretrial memorandum of
                                    law at Dkt. No. 640 on pages 11, 13, 15, 17, 18, 19, 21, 24 and 25. It is further
                                    ORDERED that by September 11, 2020, Defendants shall re- file apublic redacted
                                    version of their pretrial memorandum of law that does not redact the damages figures
                                    on the pages provided above. It is further ORDERED that by September 11, 2020,
                                    Defendants shall file the public redacted version of Syntel's pretrial memorandum of
                                    law, including the redactions as proposed in Dkt. No. 656. The parties are reminded
                                    that per Individual Rule LD.3, requests for redactions must be accompanied by both
                                    the sealed document with the proposed redactions highlighted and apublicly- filed
                                    document with the proposed redactions. It is further ORDERED that the parties
                                    requests at Dkt. Nos. 657 and 658 to file their joint sealing requests to their respective
                                    responses to the pretrial memoranda of law are GRANTED. The parties shall file the
                                    requests by September 10, 2020. For future submissions, joint sealing requests, with
                                    the proposed public and sealed versions, must be made on the same date the filings
                                    are due. The Clerk of Court is respectfully directed to close Dkt. Nos. 639, 644, 655,
                                    657 and 658. ( Signed by Judge Lorna G. Schofield on 9/9/2020) Oca) (Entered:
                                    09/09/2020)

             09/10/2020       663   JOINT LETTER MOTION to Seal Responses to Pretrial Memoranda cfLaw
                                    addressed to Judge Lorna G. Schofield from Anne B. Sekel and Gianni Cutri dated
                                    September 10, 2020. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc ... ( Sekel, Anne) (Entered: 09/10/2020)

             09/10/2020       664   MOTION for Jake Rambeau to Appear Pro Hac Vice. Filing fee $ 200.00, receipt
                                    number ANYSDC-21596892. Motion and supporting papers to be reviewed by



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                                    Clerk's Office staff. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Affidavit of Jake Rambeau, # 2Exhibit
                                    Certificate of Good Standing, # 3Text of Proposed Order). (Rambeau, Jacob)
                                    (Entered: 09/10/2020)

             09/10/2020       665   ***SELECTED PARTIES" * PRETRIAL MEMORANDUM. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc..Motion or Order to File Under Seal: 663
                                    .(Sekel, Anne) (Entered: 09/10/2020)

             09/10/2020       666   ***SELECTED PARTIES*** OPPOSITION BRIEF DEfendants/Counterclaim-
                                    Plaintjfs' Response to Syntel's Pretrial Memorandum. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1to the
                                    Declaration of Adam Kaufmann, # 2Exhibit 4to the Declaration of Adam
                                    Kaufmann)Motion or Order to File Under Seal: 663 .(Sekel, Anne) (Entered:
                                    09/10/2020)

             09/10/2020             >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                    No. 664 MOTION for Jake Rambeau to Appear Pro Hac Vice. Filing fee $
                                    200.00, receipt number ANYSDC-21596892. Motion and supporting papers to
                                    be reviewed by Clerk's Office staff.. The document has been reviewed and there
                                    are no deficiencies. (ad) (Entered: 09/11/2020)

             09/11/2020       667   LETTER addressed to Judge Lorna G. Schofield from Anne B. Sekel dated
                                    September 11, 2020 re: Request for Clarification of Submission Procedure for
                                    9.14.2020 Pretrial Order Deposition Transcripts. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc ... ( Sekel, Anne) (Entered: 09/11/2020)

             09/11/2020       668   ORDER granting in part and denying in part 663 Letter Motion to Seal: It is hereby
                                    ORDERED that the parties' redaction requests at Dkt. No. 663 are GRANTED in
                                    part, as further set forth in this order. ORDERED that by September 14, 2020, the
                                    parties shall file public redacted versions of their responses to the pretrial memoranda
                                    of law with redactions as proposed, except for the redactions rejected above. The
                                    Clerk of Court is respectfully directed to close Dkt. No. 663. (Signed by Judge Lorna
                                    G. Schofield on 9/11/2020) Owh) (Entered: 09/11/2020)

             09/11/2020       669   BRIEF Plaint•fs / Counterclaim Dtfendants'Pretrial Memorandum cfLaw
                                    (Redacted Version). Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/11/2020)

             09/11/2020       670   PRETRIAL MEMORANDUM. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/11/2020)

             09/11/2020       671   MEMO ENDORSEMENT on re: 667 Letter. ENDORSEMENT: The deposition
                                    testimony may be submitted by e-mail to Chambers by Tuesday, September 15, 2020.
                                    The parties shall file one copy of the entire transcript of each witness, marked in
                                    accordance with Individual Rule IV.B.2.h. The parties shall confirm in each case that
                                    the deponent is unavailable to testify. ( Signed by Judge Lorna G. Schofield on
                                    9/11/2020) Owh) (Entered: 09/11/2020)

             09/14/2020       672   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 9/14/2020
                                    re: Parties' Damages Statements. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/14/2020)




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             09/14/2020       673   LETTER addressed to Judge Lorna G. Schofield from Robert S. Weisbein dated
                                    September 14, 2020 re: Response to Defendants' Letter re Damages Statements.
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Weisbein, Robert) (Entered: 09/14/2020)

             09/14/2020       674   JOINT LETTER MOTION for Extension of Time to File Joint Final Pretrial Order
                                    addressed to Judge Lorna G. Schofield from Robert S. Weisbein & Gianni Cutri
                                    dated September 14, 2020. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc ... (Weisbein, Robert) (Entered: 09/14/2020)

             09/14/2020       675   REDACTION Pursuant to ECF No. 668 (f Syntel's Response to DEfendants' Pretrial
                                    Memorandum (f Law (Previously Filed Under Seal as ECF No. 666) by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc..(Sekel, Anne) (Entered:
                                    09/14/2020)

             09/14/2020       676   REDACTION to 659 Opposition Brief, DEfendants/Counterclaim-Plaint,fs'
                                    Response to Syntel's Pretrial Memorandum by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc..(Cutri, Gianni) (Entered: 09/14/2020)

             09/14/2020       677   REDACTION to 661 Declaration in Support, cfDEfendants/Counterclaim-Plaintjfs'
                                    Response to Syntel's Pretrial Memorandum by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3
                                    Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit
                                    8).(Cutri, Gianni) (Entered: 09/14/2020)

             09/15/2020       678   ORDER granting 674 Letter Motion for Extension of Time. This application is
                                    untimely but nevertheless GRANTED. The parties' deadline to file the joint final
                                    pretrial order is extended to today, September 15, 2020, and the parties' deadline to
                                    e-mail the deposition transcripts is extended to September 16, 2020. Regarding the
                                    parties' letters at Dkt. Nos. 672 and 673, Plaintiffs/Counterclaim-Defendants are
                                    advised that their damages statement should include each element of damages that
                                    they intend to seek and the dollar amounts only and should not include any additional
                                    argument. Pretrial Order due by 9/15/2020. ( Signed by Judge Lorna G. Schofield on
                                    9/15/2020) (cf) (Entered: 09/15/2020)

             09/15/2020       679   PROPOSED PRE-TRIAL ORDER. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2,
                                    #3Exhibit 3, # 4Exhibit 4).(Cutri, Gianni) (Entered: 09/16/2020)

             09/16/2020       680   ORDER: It is hereby ORDERED that atelephonic status conference will be held on
                                    September 17, 2020, at 11:00 a.m. (EDT) on the following conference line: Dial-in
                                    888-363-4749, Access code 558-3333. The parties' respective jury consultants, if any,
                                    shall join the telephonic status conference. The time of the conference is
                                    approximate, but the parties shall be ready to proceed by that time. (Telephone
                                    Conference set for 9/17/2020 at 11:00 AM before Judge Lorna G. Schofield.) ( Signed
                                    by Judge Lorna G. Schofield on 9/16/2020) Oca) (Entered: 09/16/2020)

             09/17/2020       681   LETTER MOTION to Continue Trial addressed to Judge Lorna G. Schofield from
                                    Norman Ankers dated September 17, 2020. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc ... (Ankers, Norman) (Entered: 09/17/2020)

             09/17/2020       682   ORDER terminating 681 Letter Motion to Continue. It is hereby ORDERED that by
                                    September 24, 2020, the parties shall meet and confer regarding Plaintiffs Syntel Inc.
                                    and Syntel Sterling Best Shores Mauritius Ltd.'s (" Syntel") application to adjourn the




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                                    trial and file ajoint letter apprising the Court of whether the parties have agreed on
                                    any joint proposal. It is further ORDERED that by September 24, 2020, the parties
                                    shall meet and confer on amendments to the joint final pretrial order and its
                                    attachments and shall file any amended joint file pretrial order and attachments,
                                    including the following: as further set forth herein. It is further ORDERED that the
                                    parties shall meet and confer to obviate any motions in limine, and shall list the
                                    motions in Section L. The Clerk of Court is respectfully directed to close Dkt. No.
                                    681. SO ORDERED.. ( Signed by Judge Lorna G. Schofield on 9/17/2020) (kv)
                                    (Entered: 09/17/2020)

             09/18/2020       683   LETTER MOTION for Extension of Time to file Motions in Limine addressed to
                                    Judge Lorna G. Schofield from Todd C. Norbitz dated September 18, 2020.
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Norbitz, Todd) (Entered: 09/18/2020)

             09/18/2020       684   LETTER RESPONSE to Motion addressed to Judge Lorna G. Schofield from Gianni
                                    Cutri dated 9/18/2020 re: 683 LETTER MOTION for Extension of Time to file
                                    Motions in Limine addressed to Judge Lorna G. Schofield from Todd C. Norbitz
                                    dated September 18, 2020.. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/18/2020)

             09/18/2020       685   ORDER denying 683 Letter Motion for Extension of Time: Application DENIED to
                                    provide the Court sufficient time to adjudicate the motions. The motions in limine are
                                    due September 21, 2020, and any responses are due September 28, 2020. ( Signed by
                                    Judge Lorna G. Schofield on 9/18/2020) Owh) (Entered: 09/18/2020)

             09/21/2020       686   LETTER MOTION to Seal DEfendants' Motions in Limine addressed to Judge Lorna
                                    G. Schofield from Gianni Cutri dated 9/21/2020. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    09/21/2020)

             09/21/2020       687   MOTION in Limine No. 1 - DEfendants' Motion in Limine to Realign Parties and
                                    Order cfProcf to Promote Orderly and -•ficient Trial Process. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni)
                                    (Entered: 09/21/2020)

             09/21/2020       688   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 687
                                    MOTION in Limine No. 1 - DEfendants' Motion in Limine to Realign Parties and
                                    Order cfProcf to Promote Orderly and -•ficient Trial Process.. Document filed by
                                    The Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc.. Motion or Order to File Under Seal: 686
                                    .(Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       689   MOTION in Limine #3 - Syntel's Motion in Limine to Preclude Rtferences to
                                    Discovery Proceedings, Disputes, Orders, and Sanctions. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered:
                                    09/21/2020)

             09/21/2020       690   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    687 MOTION in Limine No. 1 - DEfendants' Motion in Limine to Realign Parties
                                    and Order cfProcf to Promote Orderly and -•ficient Trial Process.. Document filed
                                    by The Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit
                                    2, # 3Exhibit 3)Motion or Order to File Under Seal: 686 .(Cutri, Gianni) (Entered:




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             09/21/2020       691   MEMORANDUM OF LAW in Support re: 689 MOTION in Limine #3 - Syntel's
                                    Motion in Limine to Preclude Rtferences to Discovery Proceedings, Disputes,
                                    Orders, and Sanctions.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/21/2020)

             09/21/2020       692   MOTION in Limine No. 2 - DEfendants' Motion in Limine to Exclude Untimely
                                    Expert Opinions (f Syntel Expert Daniel R(,jman Contravening Court's Preclusion
                                    Order. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       693   MEMORANDUM OF LAW in Support re: 692 MOTION in Limine No. 2 -
                                    Dtfendants' Motion in Limine to Exclude Untimely Expert Opinions (f Syntel Expert
                                    Daniel R(,jman Contravening Court's Preclusion Order.. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni)
                                    (Entered: 09/21/2020)

             09/21/2020       694   MOTION in Limine #4 - Syntel's Motion in Limine to Preclude DEfendants From
                                    G.
                                     ;fering Evidence Regarding The Existence Or Content Gf The Preclusion Order
                                    And Related Materials. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/21/2020)

             09/21/2020       695   MEMORANDUM OF LAW in Support re: 694 MOTION in Limine #4 - Syntel's
                                    Motion in Limine to Preclude DEfendants From G.   ;fering Evidence Regarding The
                                    Existence Or Content Gf The Preclusion Order And Related Materials.. Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd)
                                    (Entered: 09/21/2020)

             09/21/2020       696   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    692 MOTION in Limine No. 2 - DEfendants' Motion in Limine to Exclude Untimely
                                    Expert Opinions (f Syntel Expert Daniel R(,jman Contravening Court's Preclusion
                                    Order.. Document filed by The Trizetto Group, Inc., Cognizant Technology Solutions
                                    Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                    Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5)Motion or Order
                                    to File Under Seal: 686 .(Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       697   MOTION in Limine No. 3-DEfendants' Motion in Limine for an Adverse Inference
                                    Instruction to Address Syntel's Failure to Produce Test Cases and Automation Scripts
                                    During Discovery. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       698   MOTION in Limine #9 - Syntel's Motion in Limine to Preclude The Presentation cf
                                    Discovery Procedures and Artfacts To the Jury. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/21/2020)

             09/21/2020       699   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 697
                                    MOTION in Limine No. 3-DEfendants' Motion in Limine for an Adverse Inference
                                    Instruction to Address Syntel's Failure to Produce Test Cases and Automation Scripts
                                    During Discovery.. Document filed by The Trizetto Group, Inc., Cognizant
                                    Technology Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc.. Motion or Order to File Under Seal: 686 .(Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       700   MEMORANDUM OF LAW in Support re: 698 MOTION in Limine #9 - Syntel's
                                    Motion in Limine to Preclude The Presentation cfDiscovery Procedures and



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                                    Artfacts To the Jury.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/21/2020)

             09/21/2020       701   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    697 MOTION in Limine No. 3 - Defendants' Motion in Limine for an Adverse
                                    Inference Instruction to Address Syntel's Failure to Produce Test Cases and
                                    Automation Scripts During Discovery.. Document filed by The Trizetto Group, Inc.,
                                    Cognizant Technology Solutions Corp., Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1)Motion or Order to File Under
                                    Seal: 686 .(Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       702   MOTION in Limine #10 - Syntel's Motion in Limine to Preclude Certain Evidence
                                    Relating To Transition Rebates. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/21/2020)

             09/21/2020       703   MOTION in Limine No. 4 - Defendants' Motion in Limine for an Adverse Inference
                                    regarding Syntel's Failure to Produce Relevant Evidence to the Forensic Examiner.
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc...
                                    (Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       704   MEMORANDUM OF LAW in Support re: 702 MOTION in Limine #10 - Syntel's
                                    Motion in Limine to Preclude Certain Evidence Relating To Transition Rebates. .
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Norbitz, Todd) (Entered: 09/21/2020)

             09/21/2020       705   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 703
                                    MOTION in Limine No. 4 - Defendants' Motion in Limine for an Adverse Inference
                                    regarding Syntel's Failure to Produce Relevant Evidence to the Forensic Examiner. .
                                    Document filed by The Trizetto Group, Inc., Cognizant Technology Solutions Corp.,
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. Motion or Order to File
                                    Under Seal: 686 .(Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       706   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    703 MOTION in Limine No. 4 - Defendants' Motion in Limine for an Adverse
                                    Inference regarding Syntel's Failure to Produce Relevant Evidence to the Forensic
                                    Examiner.. Document filed by The Trizetto Group, Inc., Cognizant Technology
                                    Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit
                                    5)Motion or Order to File Under Seal: 686 .(Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       707   MOTION in Limine No. 5 - Defendants' Motion in Limine to Preclude SyntelPorn
                                    Presenting Testimony on Matters Over which Syntel Claimed Privilege During the
                                    Deposition cf its Trial Witness Daniel Moore. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    09/21/2020)

             09/21/2020       708   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 707
                                    MOTION in Limine No. 5 - Defendants' Motion in Limine to Preclude SyntelPorn
                                    Presenting Testimony on Matters Over which Syntel Claimed Privilege During the
                                    Deposition cf its Trial Witness Daniel Moore.. Document filed by The Trizetto
                                    Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. Motion or Order to File Under Seal: 686 .(Cutri,
                                    Gianni) (Entered: 09/21/2020)




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             09/21/2020       709    ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    707 MOTION in Limine No. 5 - Defendants' Motion in Limine to Preclude Syntel
                                    from Presenting Testimony on Matters Over which Syntel Claimed Privilege During
                                    the Deposition of its Trial Witness Daniel Moore.. Document filed by The Trizetto
                                    Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3
                                    Exhibit 3, # 4Exhibit 4, # 5Exhibit 5)Motion or Order to File Under Seal: 686
                                    .(Cutri, Gianni) (Entered: 09/21/2020)

             09/21/2020       712   MOTION in Limine #12 - Syntel's Motion in Limine to Preclude Defendants From
                                    C.
                                     ;feringAny Evidence Regarding Certficates CfRegistration And Deposit Copies
                                    For Copyrighted Works, Other Than For Facets Version 5. 10, Best Practices In
                                    ICD-10 Corfiguration And Facets Roadmap Review. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered:
                                    09/22/2020)

             09/21/2020       713   MEMORANDUM OF LAW in Support re: 712 MOTION in Limine #12 - Syntel's
                                    Motion in Limine to Preclude Defendants From C.     ;fering Any Evidence Regarding
                                    Certficates CfRegistration And Deposit Copies For Copyrighted Works, Other Than
                                    For Facets Version 5. 10, Best Practices In IC. Documentfiled by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc... (Norbitz, Toda) (Entered: 09/22/2026)

             09/21/2020       714   MOTION in Limine #14 - Syntel's Motion in Limine to Preclude Testimony And
                                    Documentary Evidence Regarding Reasonable Royalty Damages That Accrued By
                                    Alleged Kf inging Conduct Prior To September 30, 2013. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered:
                                    09/22/2020)

             09/21/2020       716   MEMORANDUM OF LAW in Support re: 714 MOTION in Limine #14 - Syntel's
                                    Motion in Limine to Preclude Testimony And Documentary Evidence Regarding
                                    Reasonable Royalty Damages That Accrued By Alleged Kf inging Conduct Prior To
                                    September 30, 2013.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       710   MOTION in Limine No. 6 - Defendants' Motion in Limine to Preclude Syntel from
                                    Introducing its own Termination Letter as Purported Evidence of its Claims.
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc...
                                    (Cutri, Gianni) (Entered: 09/22/2020)

             09/22/2020       711   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 710
                                    MOTION in Limine No. 6 - Defendants' Motion in Limine to Preclude Syntel from
                                    Introducing its own Termination Letter as Purported Evidence of its Claims. .
                                    Document filed by The Trizetto Group, Inc., Cognizant Technology Solutions Corp.,
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. Motion or Order to File
                                    Under Seal: 686 .(Cutri, Gianni) (Entered: 09/22/2020)




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             09/22/2020       715    ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    710 MOTION in Limine No. 6 - DEfendants' Motion in Limine to Preclude Syntel
                                    from Introducing its own Termination Letter as Purported Evidence cf its Claims..
                                    Document filed by The Trizetto Group, Inc., Cognizant Technology Solutions Corp.,
                                     Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                    Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7
                                    Exhibit 7Part 1, # 8Exhibit 7Part 2, # 9Exhibit 8, # 10 Exhibit 9, # 11 Exhibit
                                     10)Motion or Order to File Under Seal: 686 .(Cutri, Gianni) (Entered: 09/22/2020)

             09/22/2020       717   MOTION in Limine No. 7 - DEfendants' Motion in Limine to Exclude Evidence and
                                    Argument Regarding the Non-Solicitation Provision cf the MSA. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni)
                                    (Entered: 09/22/2020)

             09/22/2020       718   MEMORANDUM OF LAW in Support re: 717 MOTION in Limine No. 7 -
                                    Dtfendants' Motion in Limine to Exclude Evidence and Argument Regarding the
                                    Non-Solicitation Provision cf the MSA.. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/22/2020)

             09/22/2020       719   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    717 MOTION in Limine No. 7 - DEfendants' Motion in Limine to Exclude Evidence
                                    and Argument Regarding the Non-Solicitation Provision cf the MSA.. Document filed
                                    by The Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit
                                    2, # 3Exhibit 3, # 4Exhibit 4)Motion or Order to File Under Seal: 686 .(Cutri,
                                    Gianni) (Entered: 09/22/2020)

             09/22/2020       720   MOTION in Limine No. 8 - DEfendants' Motion in Limine to Preclude Syntel from
                                    6,jering Irrelevant Evidence Regarding Prcject Koala Because it has Nothing to do
                                    with the Claims in this Case. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/22/2020)

             09/22/2020       721   MEMORANDUM OF LAW in Support re: 720 MOTION in Limine No. 8 -
                                    Dtfendants' Motion in Limine to Preclude Syntel from 6,jering Irrelevant Evidence
                                    Regarding Prcject Koala Because it has Nothing to do with the Claims in this Case. .
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc...
                                    (Cutri, Gianni) (Entered: 09/22/2020)

             09/22/2020       722    ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    720 MOTION in Limine No. 8 - DEfendants' Motion in Limine to Preclude Syntel
                                    from 6,jering Irrelevant Evidence Regarding Prcject Koala Because it has Nothing
                                    to do with the Claims in this Case.. Document filed by The Trizetto Group, Inc.,
                                    Cognizant Technology Solutions Corp., Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4
                                    Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, #
                                    10 Exhibit IO)Motion or Order to File Under Seal: 686 .(Cutri, Gianni) (Entered:
                                    09/22/2020)

             09/22/2020       723   MOTION in Limine No. 9 - DEfendants' Motion in Limine to Exclude Irrelevant
                                    Evidence Relating To The FCIA Investigation. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    09/22/2020)




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             09/22/2020       724   MEMORANDUM OF LAW in Support re: 723 MOTION in Limine No. 9 -
                                    Dtfendants' Motion in Limine to Exclude Irrelevant Evidence Relating To The FCIA
                                    Investigation.. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/22/2020)

             09/22/2020       725   DECLARATION of Adam Kaufmann in Support re: 723 MOTION in Limine No. 9 -
                                    Dtfendants' Motion in Limine to Exclude Irrelevant Evidence Relating To The FCIA
                                    Investigation.. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3).(Cutri,
                                    Gianni) (Entered: 09/22/2020)

             09/22/2020       726   LETTER MOTION to Seal Syntel's Motions in Limine addressed to Judge Lorna G.
                                    Schofield from Todd C. Norbitz dated September 21, 2020. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered:
                                    09/22/2020)

             09/22/2020       727   MOTION in Limine #1 - Syntel's Motion in Limine to Exclude Expert Testimony Cf
                                    Thomas Britven. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       728   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 727
                                    MOTION in Limine #1 - Syntel's Motion in Limine to Exclude Expert Testimony Cf
                                    Thomas Britven.. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    Motion or Order to File Under Seal: 726 .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       729   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Support re:
                                    727 MOTION in Limine #1 - Syntel's Motion in Limine to Exclude Expert Testimony
                                    Cf Thomas Britven.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto Group,
                                    Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4)Motion
                                    or Order to File Under Seal: 726 .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       730   MOTION in Limine #2 - Syntel's Motion in Limine to Exclude The Testimony Cf
                                    Bryan P. Bergeron. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       731   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 730
                                    MOTION in Limine #2 - Syntel's Motion in Limine to Exclude The Testimony Cf
                                    Bryan P. Bergeron.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto Group,
                                    Inc.. Motion or Order to File Under Seal: 726 .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       732   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Support re:
                                    730 MOTION in Limine #2 - Syntel's Motion in Limine to Exclude The Testimony Cf
                                    Bryan P. Bergeron.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto Group,
                                    Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3)Motion or Order to File
                                    Under Seal: 726 .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       733   MOTION in Limine #5 - Syntel's Motion in Limine to Preclude DEfendants From
                                    Introducing As Evidence, Or From Otherwise Making Any Reference To The Forensic
                                    Report CfSamuel S. Rubin And Related MaterialslItformation. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered:




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             09/22/2020       734   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 733
                                    MOTION in Limine #5 - Syntel's Motion in Limine to Preclude DEfendants From
                                    Introducing As Evidence, Or From Otherwise Making Any Reference To The Forensic
                                    Report CfSamuel S. Rubin And Related MaterialslItformation.. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. Motion or Order to File Under Seal: 726
                                    .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       735   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Support re:
                                    733 MOTION in Limine #5 - Syntel's Motion in Limine to Preclude Defendants From
                                    Introducing As Evidence, Or From Otherwise Making Any Reference To The Forensic
                                    Report CfSamuel S. Rubin And Related MaterialslKformation.. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2,
                                    #3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8,
                                    #9Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                                    Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16)Motion or Order to File Under Seal: 726
                                    .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       736   MOTION in Limine #6 - Syntel's Motion in Limine to Preclude DEfendants From
                                    Introducing At Trial Or From Otherwise Making Any Reference To The Non-Trizetto
                                    Material ldentfied In The Forensic Report. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       737   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 736
                                    MOTION in Limine #6 - Syntel's Motion in Limine to Preclude DEfendants From
                                    Introducing At Trial Or From Otherwise Making Any Reference To The Non-Trizetto
                                    Material ldentfied In The Forensic Report.. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. Motion or Order to File Under Seal: 726 .(Norbitz, Todd)
                                    (Entered: 09/22/2020)

             09/22/2020       738   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Support re:
                                    736 MOTION in Limine #6 - Syntel's Motion in Limine to Preclude Defendants From
                                    Introducing At Trial Or From Otherwise Making Any Reference To The Non-Trizetto
                                    Material ldentfied In The Forensic Report.. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4
                                    Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, #
                                    10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit
                                    14)Motion or Order to File Under Seal: 726 .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       739   MOTION in Limine #7 - Syntel's Motion in Limine to Preclude Samuel S. Rubin
                                    From Testfying At Trial. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       740   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 739
                                    MOTION in Limine #7 - Syntel's Motion in Limine to Preclude Samuel S. Rubin
                                    From Testfying At Trial.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto Group,
                                    Inc.. Motion or Order to File Under Seal: 726 .(Norbitz, Todd) (Entered: 09/22/2020)




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             09/22/2020       741   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Support re:
                                    739 MOTION in Limine #7 - Syntel's Motion in Limine to Preclude Samuel S. Rubin
                                    From Testfying At Trial.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto Group,
                                    Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3)Motion or Order to File
                                    Under Seal: 726 .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       742   MOTION in Limine #8 - Syntel's Motion in Limine to Exclude Improper Testimony,
                                    Argument And References To Defendants Purported Repository Gf Test Cases And
                                    Automation Scripts Not Produced In Discovery. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       743   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 742
                                    MOTION in Limine #8 - Syntel's Motion in Limine to Exclude Improper Testimony,
                                    Argument And References To Defendants Purported Repository Gf Test Cases And
                                    Automation Scripts Not Produced In Discovery.. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. Motion or Order to File Under Seal: 726 .(Norbitz, Todd)
                                    (Entered: 09/22/2020)

             09/22/2020       744   MOTION in Limine #11 - Syntel's Motion in Limine to Preclude The Facets
                                    Documentation Defendants Relied On In Opposition To Syntel's Summary Judgment
                                    Motion Regarding The Data Dictionary. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       745   LETTER MOTION for Leave to File Excess Pages in Defendants'Exhibits in
                                    Support of their Motions in Limine addressed to Judge Lorna G. Schofield from
                                    Gianni Cutri dated 9/22/2020. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/22/2020)

             09/22/2020       746   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 744
                                    MOTION in Limine #11 - Syntel's Motion in Limine to Preclude The Facets
                                    Documentation Defendants Relied On In Opposition To Syntel's Summary Judgment
                                    Motion Regarding The Data Dictionary.. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. Motion or Order to File Under Seal: 726 .(Norbitz, Todd)
                                    (Entered: 09/22/2020)

             09/22/2020       747   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Support re:
                                    744 MOTION in Limine #11 - Syntel's Motion in Limine to Preclude The Facets
                                    Documentation Defendants Relied On In Opposition To Syntel's Summary Judgment
                                    Motion Regarding The Data Dictionary.. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Exhibit 1)Motion or Order to File Under Seal:
                                    726 .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       748   MOTION in Limine #13 - Syntel's Motion in Limine to Preclude Chuck Sanders
                                    From Gjfering Testimony Relating To The Data Dictionary Generally And Whether
                                    The Data Dictionary Is Subsumed Within The Copyright Registration For The Facets
                                    5.10 Software. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)




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             09/22/2020       749   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 748
                                    MOTION in Limine #13 - Syntel's Motion in Limine to Preclude Chuck Sanders
                                    From Cjfering Testimony Relating To The Data Dictionary Generally And Whether
                                    The Data Dictionary Is Subsumed Within The Copyright Registration For The Facets
                                    5.. Documentfiled by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.,
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. Motion or Order to
                                    File Under Seal: 726. (Norbitz, Toda) (Entered: 09/22/2026)

             09/22/2020       750   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Support re:
                                    748 MOTION in Limine #13 - Syntel's Motion in Limine to Preclude Chuck Sanders
                                    From Cjfering Testimony Relating To The Data Dictionary Generally And Whether
                                    The Data Dictionary Is Subsumed Within The Copyright Registration For The Facets
                                    5.. Documentfiled by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.,
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                    Exhibit 1, # 2Exhibit )Motion or Order to File Under Seal: 726. (Norbitz, Toda)
                                    (Entered: 09%22%2026)

             09/22/2020       751   MOTION in Limine 915 - Syntel's Motion in Limine to Exclude Trial Testimony Cf
                                    Mike Noonan. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       752   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 751
                                    MOTION in Limine 915 - Syntel's Motion in Limine to Exclude Trial Testimony Cf
                                    Mike Noonan.. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    Motion or Order to File Under Seal: 726 .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       753   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Support re:
                                    751 MOTION in Limine 915 - Syntel's Motion in Limine to Exclude Trial Testimony
                                    CfMikeNoonan.. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Exhibit 1, # 2Exhibit 2)Motion or Order to File Under Seal: 726
                                    .(Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       754   MOTION in Limine N 6 - Syntel's Motion in Limine to Exclude Evidence That
                                    Facets Constitutes A Protectable Trade Secret. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 09/22/2020)

             09/22/2020       755   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 754
                                    MOTION in Limine N 6 - Syntel's Motion in Limine to Exclude Evidence That
                                    Facets Constitutes A Protectable Trade Secret.. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. Motion or Order to File Under Seal: 726 .(Norbitz, Todd)
                                    (Entered: 09/22/2020)

             09/22/2020       756   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Support re:
                                    754 MOTION in Limine N 6 - Syntel's Motion in Limine to Exclude Evidence That
                                    Facets Constitutes A Protectable Trade Secret.. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit
                                    3)Motion or Order to File Under Seal: 726 .(Norbitz, Todd) (Entered: 09/22/2020)




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             09/22/2020       757   LETTER MOTION for Leave to File Excess Pages For Certain Exhibits In Support
                                    cf Syntel's Motions In Limine addressed to Judge Lorna G. Schofield from Anne B.
                                    Sekel dated September 21, 2020. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc ... (Sekel, Anne) (Entered: 09/22/2020)

             09/22/2020       758   NOTICE OF APPEARANCE by Nicholas Groombridge on behalf of Syntel Sterling
                                    Best Shores Mauritius Limited..(Groombridge, Nicholas) (Entered: 09/22/2020)

             09/22/2020       759   NOTICE OF APPEARANCE by Jon Steven Baughman on behalf of Syntel Sterling
                                    Best Shores Mauritius Limited.. (Baughman, Jon) (Entered: 09/22/2020)

             09/22/2020       760   NOTICE OF APPEARANCE by Jaren Elizabeth Janghorbani on behalf of Syntel
                                    Sterling Best Shores Mauritius Limited..(Janghorbani, Jaren) (Entered: 09/22/2020)

             09/22/2020       761   NOTICE OF APPEARANCE by Crystal Lohmann Parker on behalf of Syntel
                                    Sterling Best Shores Mauritius Limited.. (Parker, Crystal) (Entered: 09/22/2020)

             09/22/2020       762   NOTICE OF APPEARANCE by Cecilia Copperman on behalf of Syntel Sterling
                                    Best Shores Mauritius Limited..(Copperman, Cecilia) (Entered: 09/22/2020)

             09/22/2020       763   MOTION for Melissa R. Alpert to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                                    number ANYSDC-21785143. Motion and supporting papers to be reviewed by
                                    Clerk's Office staff. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited. (Attachments: # 1Declaration of Melissa R. Alpert, # 2Certificate of Good
                                    Standing, # 3Text of Proposed Order).(Alpert, Melissa) (Entered: 09/22/2020)

             09/22/2020             >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                    No. 763 MOTION for Melissa R. Alpert to Appear Pro Hac Vice. Filing fee $
                                    200.00, receipt number ANYSDC-21785143. Motion and supporting papers to
                                    be reviewed by Clerk's Office staff.. The document has been reviewed and there
                                    are no deficiencies. (bcu) (
                                                               Entered: 09/22/2020)

             09/22/2020       764   ORDER granting in part and denying in part 757 Letter Motion for Leave to File
                                    Excess Pages. This application is untimely but is nevertheless GRANTED in part and
                                    DENIED in part. Plaintiffs need not re- file the exhibits to comply with Individual
                                    Rule Section IILB.3; however, in adjudicating the motions, the Court may decline to
                                    consider any pages or exhibits in excess of the limits. The parties are advised that all
                                    applications regarding filings must be made at least two business days prior to the
                                    filing deadline. ( Signed by Judge Lorna G. Schofield on 9/22/2020) (kv) (Entered:
                                    09/22/2020)

             09/23/2020       765   ORDER granting in part and denying in part 745 Letter Motion for Leave to File
                                    Excess Pages. This application is untimely but is nevertheless GRANTED in part and
                                    DENIED in part. Defendants need not re- file the exhibits to comply with Individual
                                    Rule Section IILB.3; however, in adjudicating the motions, the Court may decline to
                                    consider any pages or exhibits in excess of the limits. The parties are advised that all
                                    applications regarding filings must be made at least two business days prior to the
                                    filing deadline. ( Signed by Judge Lorna G. Schofield on 9/23/2020) (cf) (Entered:
                                    09/23/2020)

             09/23/2020       766   ORDER: It is hereby ORDERED that by September 25, 2020,
                                    Defendants/Counterclaim-Plaintiffs shall file atwo-column chart identifying in (i) the
                                    left column the testimony they seek to have precluded and (ii) the right column the
                                    question not answered on the ground of privilege, including citations to the
                                    deposition transcripts. Defendants/Counterclaim-Plaintiffs shall file as exhibits to the



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                                    chart the relevant transcript pages to the extent not provided as exhibits to the
                                    Declaration of Adam Kaufmann at Dkt. No. 709. The filing should be electronically
                                    related to Dkt. No. 707 on ECE ( Signed by Judge Lorna G. Schofield on 9/23/2020)
                                    (ama) (Entered: 09/23/2020)

             09/23/2020       767   NOTICE OF APPEARANCE by Patricia Ann Carson on behalf of Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Carson, Patricia) (Entered:
                                    09/23/2020)

             09/23/2020       768   NOTICE OF APPEARANCE by Ryan Patrick Kane on behalf of Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Kane, Ryan) (Entered:
                                    09/23/2020)

             09/24/2020       769   LETTER MOTION for Leave to File Excess Pages For Certain Exhibits In Support
                                    cf Syntel's Oppositions to Motions In Limine addressed to Judge Lorna G. Schofield
                                    from Anne B. Sekel dated September 24, 2020. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc ... ( Sekel, Anne) (Entered: 09/24/2020)

             09/24/2020       770   PROPOSED PRE-TRIAL ORDER. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2,
                                    #3Exhibit 3, # 4Exhibit 4).(Cutri, Gianni) (Entered: 09/25/2020)

             09/24/2020       771   JOINT LETTER addressed to Judge Lorna G. Schofield from Norman Ankers and
                                    Gianni Cutri dated September 24, 2020 re: Request for Adjournment. Document filed
                                    by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                    Exhibit Exhibit 1, # 2Exhibit Exhibit 2, # 3Exhibit Exhibit 3).(Ankers, Norman)
                                    (Entered: 09/25/2020)

             09/25/2020       772   MEMO ENDORSEMENT on re: 771 Letter, filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc. ENDORSEMENT: Application DENIED for
                                    substantially the same reasons as provided by Defendants in this letter. ( Signed by
                                    Judge Lorna G. Schofield on 9/25/2020) (ks) (Entered: 09/25/2020)

             09/25/2020       773   ORDER denying 769 Letter Motion for Leave to File Excess Pages. Application
                                    DENIED. The limitations on the number and pages of exhibits is not enlarged.
                                    However, regarding the first request, the Court is in receipt of the full deposition
                                    transcripts for Daniel Moore from March 6, 2018, and May 25, 2018. To the extent
                                    that Syntel seeks to submit exhibits with excerpts of this testimony, Syntel may do so
                                    and file excerpts from the " mini" versions of the transcripts, consolidating 4
                                    consecutive transcript pages on asingle "printed" exhibit page to conserve exhibit
                                    pages. Syntel may do the same with excerpts of other testimony and separately
                                    provide the full transcript. Such excerpts shall be included as exhibits. ( See also the
                                    Courts Individual Rules to this effect). The Clerk of Court is respectfully directed to
                                    close Dkt. No. 769. ( Signed by Judge Lorna G. Schofield on 9/25/2020) (kv)
                                    (Entered: 09/25/2020)

             09/25/2020       774   ORDER: WHEREAS, the parties filed an amended final pretrial order (FPTO) at
                                    Dkt. No. 770. The FPTO states that the parties are willing to work together to
                                    identify and describe recurring issues in asubsequent joint letter, including
                                    identifying and describing categories of exhibits and objections that may be
                                    addressed categorically at or before trial. It is hereby ORDERED that the parties shall
                                    file such joint letter as soon as possible and no later than noon on October 1, 2020.
                                    (Signed by Judge Lorna G. Schofield on 09/25/2020) Ocs) (Entered: 09/25/2020)




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             09/25/2020       775   FILING ERROR -DEFICIENT DOCKET ENTRY -MOTION for Adam Alper
                                    to Appear Pro Hac Vice. Filing fee $ 200.00, receipt number ANYSDC-21854063.
                                    Motion and supporting papers to be reviewed by Clerk's Office staff. Document
                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Affidavit of Adam Alper, # 2Text of Proposed Order).(Alper,
                                    Adam) Modified on 9/27/2020 (bcu). (Entered: 09/25/2020)

             09/25/2020       776   FILING ERROR -DEFICIENT DOCKET ENTRY -AFFIDAVIT of Adam
                                    Alper (Corrected) in Support re: 775 MOTION for Adam Alper to Appear Pro Hac
                                    Vice. Filing fee $ 200.00, receipt number ANYSDC-21854063. Motion and
                                    supporting papers to be reviewed by Clerk's Office staff.. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Alper, Adam)
                                    Modified on 9/27/2020 (bcu). (Entered: 09/25/2020)

             09/25/2020       777   ***SELECTED PARTIES* "NOTICE of Daniel Moore's Privilege Assertions in
                                    Support of TriZetto's Motion in Limine No. 5re: 707 MOTION in Limine No. 5 -
                                    Dtfendants' Motion in Limine to Preclude SyntelPorn Presenting Testimony on
                                    Matters Over which Syntel Claimed Privilege During the Deposition cf its Trial
                                    Witness Daniel Moore.. Document filed by The Trizetto Group, Inc., Cognizant
                                    Technology Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc.. (Attachments: # 1Exhibit A)Motion or Order to File Under Seal: 686 .(Cutri,
                                    Gianni) (Entered: 09/25/2020)

             09/27/2020             >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                    VICE. Notice to RE-FILE Document No. 775 MOTION for Adam Alper to
                                    Appear Pro Hac Vice. Filing fee $200.00, receipt number ANYSDC-21854063.
                                    Motion and supporting papers to be reviewed by Clerk's Office staff... The filing
                                    is deficient for the following reason(s): missing Certificate of Good Standing
                                    from Supreme Court of California. We do accept certificates from astate bar
                                    registar from this state;. Re-file the motion as aCorrected Motion to Appear Pro
                                    Hac Vice -attach the correct signed PDF -select the correct named filer/filers -
                                    attach valid Certificates of Good Standing issued within the past 30 days - attach
                                    Proposed Order.. (bcu) (   Entered: 09/27/2020)

             09/27/2020             >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                    VICE. Notice to RE-FILE Document No. 776 Affidavit in Support of Motion,..
                                    The filing is deficient for the following reason(s): Wrong event used, Missing
                                    Certificate of Good Standing from Supreme Court of California. We do accept
                                    certificates from astate bar registar from this state; Missing Proposed Order;.
                                    Re-file the motion as aCorrected Motion to Appear Pro Hac Vice - attach the
                                    correct signed PDF -select the correct named filer/filers -attach valid
                                    Certificates of Good Standing issued within the past 30 days - attach Proposed
                                    Order.. (bcu) Modified on 9/27/2020 (bcu). (Entered: 09/27/2020)

             09/28/2020       778   MOTION for Samuel Blake to Appear Pro Hac Vice. Filing fee $ 200.00, receipt
                                    number ANYSDC-21878026. Motion and supporting papers to be reviewed by
                                    Clerk's Office staff. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Affidavit of Samuel Blake, # 2Text of
                                    Proposed Order).(Blake, Samuel) (Entered: 09/28/2020)

             09/28/2020       779   MOTION for Adam Alper to Appear Pro Hac Vice (    Correctea). Motion and
                                    supporting papers to be reviewed by Clerk's Office staff. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1



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                                    Affidavit of Adam Alper, # 2Text of Proposed Order).(Alper, Adam) (Entered:
                                    09/28/2020)

             09/28/2020       780   LETTER MOTION to Seal DEfendants' Responses to Syntel's Motions in Limine
                                    addressed to Judge Lorna G. Schofield from Gianni Cutri dated 9/28/2020. Document
                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri,
                                    Gianni) (Entered: 09/28/2020)

             09/28/2020       781   MEMORANDUM OF LAW in Opposition re: 727 MOTION in Limine #1 - Syntel's
                                    Motion in Limine to Exclude Expert Testimony Cf Thomas Britven.. Document filed
                                    by Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni)
                                    (Entered: 09/28/2020)

             09/28/2020       782   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 727 MOTION in Limine #1 - Syntel's Motion in Limine to Exclude Expert
                                    Testimony 6f Thomas Britven.. Document filed by The Trizetto Group, Inc.,
                                    Cognizant Technology Solutions Corp., Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2)Motion or Order to
                                    File Under Seal: 780 .(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       783   MEMORANDUM OF LAW in Opposition re: 730 MOTION in Limine #2 - Syntel's
                                    Motion in Limine to Exclude The Testimony CfBryan P. Bergeron.. Document filed
                                    by Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni)
                                    (Entered: 09/28/2020)

             09/28/2020       784   MEMORANDUM OF LAW in Opposition re: 689 MOTION in Limine #3 - Syntel's
                                    Motion in Limine to Preclude REferences to Discovery Proceedings, Disputes,
                                    Orders, and Sanctions.. Document filed by Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       785   ***SELECTED PARTIES* " DECLARATION of Ryan Kane in Opposition re: 689
                                    MOTION in Limine #3 - Syntel's Motion in Limine to Preclude REferences to
                                    Discovery Proceedings, Disputes, Orders, and Sanctions.. Document filed by The
                                    Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1)Motion or Order
                                    to File Under Seal: 780 .(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       786   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 742
                                    MOTION in Limine #8 - Syntel's Motion in Limine to Exclude Impr6per Testimony,
                                    Argument And REferences To Defendants Purported Repository Cf Test Cases And
                                    Automation Scripts Not Produced In Discovery.. Document filed by The Trizetto
                                    Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. Motion or Order to File Under Seal: 780 .(Cutri,
                                    Gianni) (Entered: 09/28/2020)

             09/28/2020       787   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 742 MOTION in Limine #8 - Syntel's Motion in Limine to Exclude Impr6per
                                    Testimony, Argument And REferences To Defendants Purported Repository Cf Test
                                    Cases And Automation Scripts Not Produced In Discovery.. Document filed by The
                                    Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, #
                                    3Exhibit 3, # 4Exhibit 4)Motion or Order to File Under Seal: 780 .(Cutri, Gianni)
                                    (Entered: 09/28/2020)




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             09/28/2020       788   MEMORANDUM OF LAW in Opposition re: 702 MOTION in Limine #10 - Syntel's
                                    Motion in Limine to Preclude Certain Evidence Relating To Transition Rebates. .
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc...
                                    (Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       789   DECLARATION of Adam Kaufmann in Opposition re: 702 MOTION in Limine #10
                                    -Syntel's Motion in Limine to Preclude Certain Evidence Relating To Transition
                                    Rebates.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc.. (Attachments: # 1Exhibit 1).(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       790   MEMORANDUM OF LAW in Opposition re: 744 MOTION in Limine #11 - Syntel's
                                    Motion in Limine to Preclude The Facets Documentation DEfendants Relied On In
                                    Opposition To Syntel's Summary Judgment Motion Regarding The Data Dictionary. .
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc...
                                    (Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       791   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 744 MOTION in Limine #11 - Syntel's Motion in Limine to Preclude The Facets
                                    Documentation DEfendants Relied On In Opposition To Syntel's Summary Judgment
                                    Motion Regarding The Data Dictionary.. Document filed by The Trizetto Group,
                                    Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2)Motion or Order to
                                    File Under Seal: 780 .(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       792   MEMORANDUM OF LAW in Opposition re: 712 MOTION in Limine #12 - Syntel's
                                    Motion in Limine to Preclude Defendants From C.   ;fering Any Evidence Regarding
                                    Certficates CfRegistration And Deposit Copies For Copyrighted Works, Other Than
                                    For Facets Version 5. 10, Best Practices In IC. Documentfiled by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc... (Cutri, Gianm) (Entered:
                                    09/28/2026)

             09/28/2020       793   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 712 MOTION in Limine #12 - Syntel's Motion in Limine to Preclude Defendants
                                    From Cjfering Any Evidence Regarding Certficates CfRegistration And Deposit
                                    Copies For Copyrighted Works, Other Than For Facets Version 5. 10, Best Practices
                                    In IC. Documentfiled by The Trizetto Group, Inc., Cognizant Technology Solutions
                                    Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                    Exhibit 1, # 2Exhibit )Motion or Order to File Under Seal: 780. (Cutri, Gianm)
                                    (Entered: 09%28%2026)

             09/28/2020       794   MEMORANDUM OF LAW in Opposition re: 748 MOTION in Limine #13 - Syntel's
                                    Motion in Limine to Preclude Chuck Sanders From C.   ;fering Testimony Relating To
                                    The Data Dictionary Generally And Whether The Data Dictionary Is Subsumed
                                    Within The Copyright Registration For The Facets 5.. Documentfiled by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc... (Cutri, Gianm) (Entered:
                                    09/28/2026)

             09/28/2020       795   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 748 MOTION in Limine #13 - Syntel's Motion in Limine to Preclude Chuck
                                    Sanders From C. ;fering Testimony Relating To The Data Dictionary Generally And
                                    Whether The Data Dictionary Is Subsumed Within The Copyright Registration For
                                    The Facets 5.. Documentfiled by The Trizetto Group, Inc., Cognizant Technology
                                    Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    (Attachments: # 1Exhibit 1, # 2Exhibit )Motion or Order to File Under Seal: 780


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                                    .(Cutri, Giann) (Entered: 09/28/2026)

             09/28/2020       796   MEMORANDUM OF LAW in Opposition re: 714 MOTION in Limine #14 - Syntel's
                                    Motion in Limine to Preclude Testimony And Documentary Evidence Regarding
                                    Reasonable Royalty Damages That Accrued By Alleged Irfinging Conduct Prior To
                                    September 30, 2013.. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       797   DECLARATION of Adam Kaufmann in Opposition re: 714 MOTION in Limine #14
                                    -Syntel's Motion in Limine to Preclude Testimony And Documentary Evidence
                                    Regarding Reasonable Royalty Damages That Accrued By Alleged Irfinging
                                    Conduct Prior To September 30, 2013.. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1).(Cutri,
                                    Gianni) (Entered: 09/28/2020)

             09/28/2020       798   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 751
                                    MOTION in Limine 915 - Syntel's Motion in Limine to Exclude Trial Testimony 6f
                                    Mike Noonan.. Document filed by The Trizetto Group, Inc., Cognizant Technology
                                    Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. Motion
                                    or Order to File Under Seal: 780 .(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       799   ***SELECTED PARTIES" * DECLARATION of Gianni Cutri in Opposition re: 751
                                    MOTION in Limine 915 - Syntel's Motion in Limine to Exclude Trial Testimony 6f
                                    Mike Noonan.. Document filed by The Trizetto Group, Inc., Cognizant Technology
                                    Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5,
                                    #6Exhibit 6)Motion or Order to File Under Seal: 780 .(Cutri, Gianni) (Entered:
                                    09/28/2020)

             09/28/2020       800   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 754
                                    MOTION in Limine N 6 - Syntel's Motion in Limine to Exclude Evidence That
                                    Facets Constitutes A Protectable Trade Secret.. Document filed by The Trizetto
                                    Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. Motion or Order to File Under Seal: 780 .(Cutri,
                                    Gianni) (Entered: 09/28/2020)

             09/28/2020       801   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 694
                                    MOTION in Limine #4 - Syntel's Motion in Limine to Preclude Defendants From
                                    6.
                                     ;fering Evidence Regarding The Existence Or Content 6f The Preclusion Order
                                    And Related Materials.. Document filed by The Trizetto Group, Inc., Cognizant
                                    Technology Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc.. Motion or Order to File Under Seal: 780 .(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       802   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 694 MOTION in Limine #4 - Syntel's Motion in Limine to Preclude Defendants
                                    From 6jfering Evidence Regarding The Existence Or Content 6f The Preclusion
                                    Order And Related Materials.. Document filed by The Trizetto Group, Inc.,
                                    Cognizant Technology Solutions Corp., Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4
                                    Exhibit 4, # 5Exhibit 5, # 6Exhibit 6)Motion or Order to File Under Seal: 780
                                    .(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       803   JOINT LETTER addressed to Judge Lorna G. Schofield from Todd C. Norbitz and
                                    Gianni Cutri dated September 28, 2020 re: Syntel's Motion in Limine No. 9 (ECF




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                                    Nos. 698, 700). Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc ... (Norbitz, Todd) (Entered: 09/28/2020)

             09/28/2020       804   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 733
                                    MOTION in Limine #5 - Syntel's Motion in Limine to Preclude DEfendants From
                                    Introducing As Evidence, Or From Otherwise Making Any Reference To The Forensic
                                    Report CfSamuel S. Rubin And Related MaterialslItformation.. Document filed by
                                    The Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc.. Motion or Order to File Under Seal: 780
                                    .(Cutri,Gianni) (Entered: 09/28/2020)

             09/28/2020       805   LETTER MOTION to Seal Syntel's Responses to DEfendants' Motions in Limine
                                    addressed to Judge Lorna G. Schofield from Todd C. Norbitz dated September 28,
                                    2020. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Norbitz, Todd) (Entered: 09/28/2020)

             09/28/2020       806   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 733 MOTION in Limine #5 - Syntel's Motion in Limine to Preclude Defendants
                                    From Introducing As Evidence, Or From Otherwise Making Any REference To The
                                    Forensic Report Cf Samuel S. Rubin And Related Materialsilrformation.. Document
                                    filed by The Trizetto Group, Inc., Cognizant Technology Solutions Corp., Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2
                                    Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5Exhibit 5)Motion or Order to File Under
                                    Seal: 780 .(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       807   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 736
                                    MOTION in Limine #6 - Syntel's Motion in Limine to Preclude DEfendants From
                                    Introducing At Trial Or From Otherwise Making Any Reference To The Non-Trizetto
                                    Material ldentfied In The Forensic Report.. Document filed by The Trizetto Group,
                                    Inc., Cognizant Technology Solutions Corp. ,Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. Motion or Order to File Under Seal: 780 .(Cutri, Gianni)
                                    (Entered: 09/28/2020)

             09/28/2020       808   ***SELECTED PARTIES*** RESPONSE to Motion re: 687 MOTION in Limine
                                    No. 1 - Defendants'Motion in Limine to Realign Parties and Order cfProcf to
                                    Promote Orderly and I•ficient Trial Process.. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. Motion or Order to File Under Seal: 805 .(Norbitz, Todd)
                                    (Entered: 09/28/2020)

             09/28/2020       809   ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 692
                                    MOTION in Limine No. 2 - DEfendants' Motion in Limine to Exclude Untimely
                                    Expert Opinions (f Syntel Expert Daniel R(,jman Contravening Court's Preclusion
                                    Order.. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc., Cognizant Technology Solutions Corp., The Trizetto Group ,Inc.. Motion or
                                    Order to File Under Seal: 805 .(Norbitz, Todd) (Entered: 09/28/2020)

             09/28/2020       810   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 736 MOTION in Limine #6 - Syntel's Motion in Limine to Preclude Defendants
                                    From Introducing At Trial Or From Otherwise Making Any REference To The Non-
                                    Trizetto Material ldentfied In The Forensic Report.. Document filed by The Trizetto
                                    Group ,Inc., Cognizant Technology Solutions Corp. ,Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3
                                    Exhibit 3, # 4Exhibit 4)Motion or Order to File Under Seal: 780 .(Cutri, Gianni)



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                                    (Entered: 09/28/2020)

             09/28/2020       811   ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 739
                                    MOTION in Limine #7 - Syntel's Motion in Limine to Preclude Samuel S. Rubin
                                    From Testfying At Trial.. Document filed by The Trizetto Group, Inc., Cognizant
                                    Technology Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc.. Motion or Order to File Under Seal: 780 .(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       812   ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 697
                                    MOTION in Limine No. 3 - DEfendants' Motion in Limine for an Adverse Inference
                                    Instruction to Address Syntel's Failure to Produce Test Cases and Automation Scripts
                                    During Discovery.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto Group,
                                    Inc.. Motion or Order to File Under Seal: 805 .(Norbitz, Todd) (Entered: 09/28/2020)

             09/28/2020       813   ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 703
                                    MOTION in Limine No. 4 - DEfendants' Motion in Limine for an Adverse Inference
                                    regarding Syntel's Failure to Produce Relevant Evidence to the Forensic Examiner. .
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.,
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. Motion or Order to
                                    File Under Seal: 805 .(Norbitz, Todd) (Entered: 09/28/2020)

             09/28/2020       814   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 739 MOTION in Limine #7 - Syntel's Motion in Limine to Preclude Samuel S.
                                    Rubin From TestEying At Trial.. Document filed by The Trizetto Group, Inc.,
                                    Cognizant Technology Solutions Corp., Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit
                                    3)Motion or Order to File Under Seal: 780 .(Cutri, Gianni) (Entered: 09/28/2020)

             09/28/2020       815   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Opposition re:
                                    703 MOTION in Limine No. 4 - Defendants' Motion in Limine for an Adverse
                                    Inference regarding Syntel's Failure to Produce Relevant Evidence to the Forensic
                                    Examiner.. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc., Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments:
                                    #1Exhibit 1, # 2Exhibit 2)Motion or Order to File Under Seal: 805 .(Norbitz, Todd)
                                    (Entered: 09/28/2020)

             09/28/2020       816   ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 707
                                    MOTION in Limine No. 5 - DEfendants' Motion in Limine to Preclude Syntel from
                                    Presenting Testimony on Matters Over which Syntel Claimed Privilege During the
                                    Deposition cf its Trial Witness Daniel Moore.. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. Motion or Order to File Under Seal: 805 .(Norbitz, Todd)
                                    (Entered: 09/28/2020)

             09/28/2020       817    ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Opposition re:
                                    707 MOTION in Limine No. 5 - Defendants' Motion in Limine to Preclude Syntel
                                    from Presenting Testimony on Matters Over which Syntel Claimed Privilege During
                                    the Deposition cf its Trial Witness Daniel Moore.. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit
                                    3)Motion or Order to File Under Seal: 805 .(Norbitz, Todd) (Entered: 09/28/2020)




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             09/28/2020       818   ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 710
                                    MOTION in Limine No. 6 - DEfendants' Motion in Limine to Preclude SyntelPorn
                                    Introducing its own Termination Letter as Purported Evidence cf its Claims. .
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.,
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. Motion or Order to
                                    File Under Seal: 805 .(Norbitz, Todd) (Entered: 09/28/2020)

             09/28/2020       819   ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 717
                                    MOTION in Limine No. 7 - DEfendants' Motion in Limine to Exclude Evidence and
                                    Argument Regarding the Non-Solicitation Provision cf the MSA.. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. Motion or Order to File Under Seal: 805
                                    .(Norbitz, Todd) (Entered: 09/28/2020)

             09/28/2020       820   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 9/28/2020
                                    re: Withdrawal of TriZetto's Motion in Limine No. 9. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    09/28/2020)

             09/28/2020       821   ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Opposition re:
                                    717 MOTION in Limine No. 7 - DEfendants' Motion in Limine to Exclude Evidence
                                    and Argument Regarding the Non-Solicitation Provision cf the MSA.. Document filed
                                    by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit
                                    1)Motion or Order to File Under Seal: 805 .(Norbitz, Todd) (Entered: 09/28/2020)

             09/28/2020       822   ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 720
                                    MOTION in Limine No. 8 - DEfendants' Motion in Limine to Preclude SyntelPorn
                                    6,jering Irrelevant Evidence Regarding Prcject Koala Because it has Nothing to do
                                    with the Claims in this Case.. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc.. Motion or Order to File Under Seal: 805 .(Norbitz, Todd) (Entered:
                                    09/28/2020)

             09/29/2020       823    ***SELECTED PARTIES" * DECLARATION of Todd C. Norbitz in Opposition re:
                                    720 MOTION in Limine No. 8 - DEfendants' Motion in Limine to Preclude Syntel
                                    from 6,jering Irrelevant Evidence Regarding Prcject Koala Because it has Nothing
                                    to do with the Claims in this Case.. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, #
                                    5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, # 10 Exhibit
                                     10)Motion or Order to File Under Seal: 805 .(Norbitz, Todd) (Entered: 09/29/2020)

             09/29/2020             >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                    No. 778 MOTION for Samuel Blake to Appear Pro Hac Vice. Filing fee $
                                    200.00, receipt number ANYSDC-21878026. Motion and supporting papers to
                                    be reviewed by Clerk's Office staff., 779 MOTION for Adam Alper to Appear
                                    Pro Hac Vice (  Correctea). Motion and supporting papers to be reviewed by
                                    Clerk's Office staff.. The document has been reviewed and there are no
                                    deficiencies. (
                                                  wb) (Entered: 09/29/2020)

             09/30/2020       824   ORDER: (Plaintiffs' MIL 3 & 4) granting in part and denying in part 689 Motion in
                                    Limine; granting in part and denying in part 694 Motion in Limine. For these
                                    reasons, it is ORDERED that Syntel's motions in limine Nos. 3and 4are GRANTED



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                                    in part and DENIED in part. The parties shall not reference at trial discovery disputes
                                    or the Court's discovery orders; however evidence of the events underlying the
                                    disputes and orders are not precluded. The Clerk of Court is respectfully directed to
                                    close the motions at Docket Nos. 689 and 694.. ( Signed by Judge Lorna G. Schofield
                                    on 9/30/2020) (ks) (Entered: 09/30/2020)

             09/30/2020       825   ORDER (Plaintiffs' MIL, 5, 6 & 7) denying 733 Motion in Limine; denying 736
                                    Motion in Limine; denying 739 Motion in Limine: For these reasons, it is
                                    ORDERED that Syntel's motions in limine Nos 5, 6and 7relating to the Forensic
                                    Examination are DENIED, except that the issue of the admissibility of the written
                                    Forensic Report is RESERVED. The Clerk of Court is respectfully directed to close
                                    the motions at Docket Nos. 733, 736, 739. ( Signed by Judge Lorna G. Schofield on
                                    9/30/2020) Owh) (Entered: 09/30/2020)

             09/30/2020       826   ORDER: (Plaintiffs' MIL 8) denying 742 Motion in Limine. For these reasons, it is
                                    ORDERED that Syntel's motion in limine No. 8is DENIED. Defendants may proffer
                                    evidence and argument about TriZetto's purported repository of test cases and
                                    automation scripts. The Clerk of Court is respectfully directed to close the motion at
                                    Docket No. 742.. ( Signed by Judge Lorna G. Schofield on 9/30/2020) (ks) (Entered:
                                    09/30/2020)

             09/30/2020       827   ORDER (Plaintiffs' MIL, 10) denying 702 Motion in Limine: For these reasons, it is
                                    ORDERED that Syntel's motion in limine No. 10 is DENIED. Defendants may
                                    introduce evidence and argument disputing TriZetto's liability to reimburse Syntel
                                    Mauritius for certain Transition Rebates pursuant to the MSA. The Clerk of Court is
                                    respectfully directed to close the motion at Docket No. 702. ( Signed by Judge Lorna
                                    G. Schofield on 9/30/2020) Owh) (Entered: 09/30/2020)

             09/30/2020       828   ORDER (Plaintiffs' MIL, 13) denying 748 Motion in Limine: For these reasons, it is
                                    ORDERED that Syntel's motion to exclude the testimony of Mr. Sanders is DENIED.
                                    Mr. Sanders may testify as to (i) whether the Data Dictionary tool is subsumed within
                                    Facets 5. 10, (ii) whether the Data Dictionary tool is aderivative work based on
                                    Facets 5.10 and shares protectable elements therein, and (iii) the functionality of the
                                    Data Dictionary tool and whether or not Syntel's D-2 Data Dictionary is substantially
                                    similar thereto. The Clerk of Court is respectfully directed to close Docket No. 748.
                                    (Signed by Judge Lorna G. Schofield on 9/30/2020) Owh) (Entered: 09/30/2020)

             09/30/2020       829   ORDER: (Plaintiffs' MIL, 12) denying 712 Motion in Limine. For these reasons, it is
                                    ORDERED that Syntel's motion in limine No. 12 is DENIED. Defendants may elicit
                                    testimony regarding copyrights in prior versions of the Facet software to provide
                                    background about the copyrighted works at issue here. The Clerk of Court is
                                    respectfully directed to close the motion at Docket No. 712.. ( Signed by Judge Lorna
                                    G. Schofield on 9/30/2020) (ks) (Entered: 09/30/2020)




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             09/30/2020       830   ORDER (Plaintiffs' MIL, 15) denying 751 Motion in Limine. Based on the parties'
                                    recitation of facts in their memoranda of law, it is ORDERED that Syntel's motion in
                                    limine No. 15 is DENIED, and Mr. Noonan may testify at trial. By October 2, 2020,
                                    Defendants shall disclose whether they will call Mr. Noonan at trial as he is currently
                                    on their " may call list" (and in doing so shall consider the trial time limits the Court
                                    has yet to impose). It is further ORDERED that Syntel may take adeposition of Mr.
                                    Noonan, not to exceed seven hours, at amutually agreeable time in advance of his
                                    trial testimony. The Clerk of Court is respectfully directed to close the motion at
                                    Docket No. 75 L. ( Signed by Judge Lorna G. Schofield on 9/30/2020) (ks) (Entered:
                                    09/30/2020)

             09/30/2020       831   ORDER (Plaintiffs' MIL, 14) denying 714 Motion in Limine: It is hereby ORDERED
                                    that the motion to exclude the testimony of Thomas Britven and the offering of any
                                    documentary evidence regarding TriZetto's alleged reasonable royalty damages that
                                    arose from Syntel's infringing acts that occurred prior to September 30, 2013, is
                                    DENIED. Mr. Britven may testify, and Defendants may offer documentary evidence
                                    as to TriZetto's alleged reasonable royalty damages that arose on or after February 23,
                                    2012, as further set forth in this order. The Clerk of Court is directed to close the
                                    motion at Dkt. No. 714.. ( Signed by Judge Lorna G. Schofield on 9/30/2020) Owh)
                                    (Entered: 09/30/2020)

             09/30/2020       832   ORDER (Plaintiffs' MIL, 16) denying 754 Motion in Limine. For these reasons, it is
                                    ORDERED that Syntel's motion in limine No. 16 is DENIED. Defendants may
                                    introduce evidence relating to whether Facets constitutes aprotectable trade secret.
                                    The Clerk of Court is respectfully directed to close the motion at Docket No. 754.
                                    (Signed by Judge Lorna G. Schofield on 9/30/2020) (ks) (Entered: 09/30/2020)

             09/30/2020       833   ORDER (Plaintiffs' MIL,11) with respect to 744 MOTION in Limine # 11 - Syntel's
                                    Motion in Limine to Preclude The Facets Documentation Defendants Relied On In
                                    Opposition To Syntel's Summary Judgment Motion Regarding The Data Dictionary.
                                    For these reasons, it is ORDERED that Syntel's motion in limine No. 11 as to the
                                    admissibility of the "Facets Data Dictionary Guide" and the " Facets 5.01 Physical
                                    Package Document" is RESERVED. (And as further set forth herein.) ( Signed by
                                    Judge Lorna G. Schofield on 9/30/2020) Oca) (Entered: 09/30/2020)

             09/30/2020       834   ORDER (Defendants' MIL 1) granting 687 Motion in Limine. For these reasons, it is
                                    ORDERED that TriZetto's motion in limine No. 1is GRANTED. The Clerk of Court
                                    is respectfully directed to close the motion at Docket No. 687. ( Signed by Judge
                                    Lorna G. Schofield on 9/30/2020) (ks) (Entered: 09/30/2020)

             09/30/2020       835   ORDER (Defendants' MIL 2) granting 692 Motion in Limine. For these reasons, it is
                                    ORDERED that TriZetto's motion in limine No. 2is GRANTED. Syntel is precluded
                                    from introducing opinions offered by Mr. Roffman concerning test cases and
                                    automation scripts as set forth in the Roffman Declaration. The Clerk of Court is
                                    respectfully directed to close the motion at Docket No. 692.. ( Signed by Judge Lorna
                                    G. Schofield on 9/30/2020) (ks) (Entered: 09/30/2020)

             09/30/2020       836   ORDER (Defendants' MIL 3) denying without prejudice to renewal 697 MOTION in
                                    Limine No. 3 - Defendants' Motion in Limine for an Adverse Inference Instruction to
                                    Address Syntel's Failure to Produce Test Cases and Automation Scripts During
                                    Discovery. For these reasons, it is ORDERED that Defendants' motion in limine No.
                                    3for an adverse inference instruction is DENIED without prejudice to renewal under
                                    the circumstances set forth above. The Clerk of Court is respectfully directed to close



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                                    the motion at Docket No. 697. ( Signed by Judge Lorna G. Schofield on 9/30/2020)
                                    Oca) (Entered: 09/30/2020)

             09/30/2020       837   ORDER: (Defendants' MIL, 4) denying 703 Motion in Limine. For these reasons, it is
                                    ORDERED that Defendants' motion in limine No. 4is DENIED. The jury will not be
                                    instructed to draw any inferences adverse to Syntel regarding its failure to produce
                                    certain computers to the forensic examiner. The Clerk of Court is respectfully
                                    directed to close the motion at Docket No. 703.. ( Signed by Judge Lorna G. Schofield
                                    on 9/30/2020) (ks) (Entered: 09/30/2020)

             09/30/2020       838   ORDER (Defendants' MIL 6) with respect to 710 MOTION in Limine No. 6 -
                                    Defendants' Motion in Limine to Preclude Syntel from Introducing its own
                                    Termination Letter as Purported Evidence of its Claims. For these reasons, it is
                                    ORDERED that Defendants' motion in limine No. 6is RESERVED. No later than
                                    October 6, 2020, Syntel may (but need not) file acertification pursuant to Rule
                                    803(6)(D) to provide the foundation for the admissibility of any document(s)
                                    showing the amount of transition rebates TriZetto received, consistent with the
                                    analysis set forth above. ( Signed by Judge Lorna G. Schofield on 9/30/2020) Oca)
                                    (Entered: 09/30/2020)

             09/30/2020       839   ORDER (Defendants' MIL 7) granting in part and denying in part 717 Motion in
                                    Limine. For these reasons, it is ORDERED that Defendants' motion in limine No. 7is
                                    GRANTED in part and DENIED in part. Syntel is precluded from introducing
                                    evidence, testimony, or argument about the meaning or terms of the Non- Solicitation
                                    Provision, or introducing evidence or argument that TriZetto breached, or that
                                    Cognizant induced TriZetto to breach, the Non- Solicitation Provision. Syntel is not
                                    otherwise precluded from introducing evidence concerning the Non- Solicitation
                                    Provision. The Clerk of Court is respectfully directed to close the motion at Docket
                                    No. 717.. ( Signed by Judge Lorna G. Schofield on 9/30/2020) (ks) (Entered:
                                    09/30/2020)

             09/30/2020       840   ORDER (Defendants' MIL 8) denying 720 MOTION in Limine No. 8 - Defendants'
                                    Motion in Limine to Preclude Syntel from Offering Irrelevant Evidence Regarding
                                    Project Koala Because it has Nothing to do with the Claims in this Case. For these
                                    reasons, it is ORDERED that Defendants' motion in limine No. 8is DENIED. Syntel
                                    may introduce evidence relating to Project Koala. The Clerk of Court is respectfully
                                    directed to close the motion at Docket No. 720. ( Signed by Judge Lorna G. Schofield
                                    on 9/30/2020) Oca) (Entered: 09/30/2020)

             09/30/2020       841   ORDER (Plaintiffs' MIL 2) granting in part and denying in part 730 Motion in
                                    Limine. For these reasons, it is ORDERED that Syntel's motion GRANTED in part.
                                    In sum, Dr. Bergeron may provide testimony on: 1. whether TriZetto's confidential
                                    and proprietary information constitutes trade secrets; 2. whether Syntel used
                                    TriZetto's confidential and proprietary information; and 3. whether Syntel's source
                                    code is similar to the Data Dictionary. The Clerk of Court is respectfully directed to
                                    close the motion at Dkt. No. 730. ( Signed by Judge Lorna G. Schofield on 9/30/2020)
                                    (ks) (Entered: 09/30/2020)

             09/30/2020       842   ORDER: Defendants shall file aReply, not to exceed five pages, to Syntel's
                                    Opposition (Dkt. Nos. 816 and 817) by October 5, 2020. ( Signed by Judge Lorna G.
                                    Schofield on 9/30/2020) ( Replies due by 10/5/2020.) (ks) (Entered: 09/30/2020)




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             09/30/2020       843   ORDER: (Plaintiffs' MIL 1) granting in part and denying in part 727 Motion in
                                    Limine. For these reasons, it is ORDERED that Syntel's motion in limine No. 1is
                                    GRANTED in part and DENIED in part. Mr. Britven's expert testimony is excluded
                                    only with respect to the asserted costs incurred for breach of contract. The Clerk of
                                    Court is respectfully directed to close the motion at Docket No. 727. ( Signed by
                                    Judge Lorna G. Schofield on 9/30/2020) (ks) (Entered: 09/30/2020)

             10/01/2020       844   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri and Todd Norbitz
                                    dated 10/1/2020 re: Trial. Document filed by Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 10/01/2020)

             10/01/2020       845   ORDER denying as moot 698 Motion in Limine; denying as moot 723 Motion in
                                    Limine. It is hereby ORDERED that the motions in limine at Dkt. Nos. 698 and 723
                                    are DENIED as moot. The Clerk of Court is respectfully directed to close Dkt. Nos.
                                    698 and 723. ( Signed by Judge Lorna G. Schofield on 10/1/2020) (rro) (Entered:
                                    10/01/2020)

             10/02/2020       846   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/2/2020
                                    re: trial witness Mike Noonan. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 10/02/2020)

             10/05/2020       847   ORDER: It is ORDERED that the final pretrial conference scheduled for October 7,
                                    2020, will be held by videoconference using the Court's Skype for Business
                                    technology. The parties will receive an e-mail including alink to join the
                                    videoconference in advance of the conference. The public may dial in to the
                                    conference using the following conference call line: 888-363-4749, access code:
                                    558-3333. (Telephone Conference set for 10/7/2020 at 11:30 AM before Judge Lorna
                                    G. Schofield.) ( Signed by Judge Lorna G. Schofield on 10/5/2020) (rro) (Entered:
                                    10/05/2020)

             10/05/2020       848   LETTER MOTION to Seal TriZetto's Reply to its Motion in Limine No. 5addressed
                                    to Judge Lorna G. Schofield from Gianni Cutri dated 10/5/2020. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni)
                                    (Entered: 10/05/2020)

             10/05/2020       849    ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                                    707 MOTION in Limine No. 5 - Defendants' Motion in Limine to Preclude Syntel
                                    from Presenting Testimony on Matters Over which Syntel Claimed Privilege During
                                    the Deposition cf its Trial Witness Daniel Moore.. Document filed by The Trizetto
                                    Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. Motion or Order to File Under Seal: 848 .(Cutri,
                                    Gianni) (Entered: 10/05/2020)

             10/05/2020       850    ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Support re:
                                    707 MOTION in Limine No. 5 - Defendants' Motion in Limine to Preclude Syntel
                                    from Presenting Testimony on Matters Over which Syntel Claimed Privilege During
                                    the Deposition cf its Trial Witness Daniel Moore.. Document filed by The Trizetto
                                    Group, Inc., Cognizant Technology Solutions Corp., Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3
                                    Exhibit 3, # 4Exhibit 4, # 5Exhibit 5)Motion or Order to File Under Seal: 848
                                     .(Cutri, Gianni) (Entered: 10/05/2020)




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             10/06/2020       851   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 6, 2020 re: Syntel's Response to Defendant's reply in support of motion in
                                    limine no. 5. Document filed by Syntel Sterling Best Shores Mauritius Limited..
                                    (Janghorbani, Jaren) (Entered: 10/06/2020)

             10/06/2020       852   NOTICE OF APPEARANCE by Kripa Anand Raman on behalf of Syntel Sterling
                                    Best Shores Mauritius Limited.. (Raman, Kripa) (Entered: 10/06/2020)

             10/06/2020       853   NOTICE OF APPEARANCE by Joshua D. Reich on behalf of Syntel Sterling Best
                                    Shores Mauritius Limited.. (Reich, Joshua) (Entered: 10/06/2020)

             10/06/2020       854   JOINT LETTER MOTION to Seal addressed to Judge Lorna G. Schofield from J.
                                    Steven Baughman dated October 6, 2020. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Appendix). (Baughman,
                                    Jon) (Entered: 10/06/2020)

             10/06/2020       855   LETTER addressed to Judge Lorna G. Schofield from J. Steven Baughman dated
                                    October 6, 2020 re: Submissions pursuant to Fed. R. Evid. 803(6)(D). Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Baughman, Jon)
                                    (Entered: 10/06/2020)

             10/06/2020       856   ***SELECTED PARTIES* " DECLARATION of Daniel M. Moore. Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1 -
                                    Letter, # 2Exhibit 2 - Email, # 3Exhibit 3 - Email)Motion or Order to File Under
                                    Seal: 854 .(Baughman, Jon) (Entered: 10/06/2020)

             10/06/2020       857   ***SELECTED PARTIES* " DECLARATION of Anil Agrawal . Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1 - Letter, # 2
                                    Exhibit 2 - Email, # 3Exhibit 3 - Email, # 4Exhibit 4 - Email, # 5Exhibit 5 -
                                    Website, # 6Exhibit 6 - Memorandum of Agreement, # 7Exhibit 7 - Letter, # 8
                                    Exhibit 8 - Spreadsheet, # 9Exhibit 9 - Email, # 10 Exhibit 10 - Email)Motion or
                                    Order to File Under Seal: 854 .(Baughman, Jon) (Entered: 10/06/2020)

             10/06/2020       858   DECLARATION of Anil Agrawal [       Filed Under Setnj. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1 -
                                    Letter [Filed Under Seal], # 2Exhibit 2 - Email [Filed Under Seal], # 3Exhibit 3 -
                                    Email [Filed Under Seal], # 4Exhibit 4 - Email [Filed Under Seal], # 5Exhibit 5 -
                                    Website, # 6Exhibit 6 - Memorandum of Agreement [Filed Under Seal], # 7Exhibit
                                    7 - Letter [Filed Under Seal], # 8Exhibit 8 - Spreadsheet [Filed Under Seal], # 9
                                    Exhibit 9 - Email [Filed Under Seal], # 10 Exhibit 10 - Email [Filed Under Seal]).
                                    (Baughman, Jon) (Entered: 10/06/2020)

             10/06/2020       859   DECLARATION of Charles Sanders in Opposition re: 744 MOTION in Limine #11 -
                                    Syntel's Motion in Limine to Preclude The Facets Documentation DEfendants Relied
                                    On In Opposition To Syntel's Summary Judgment Motion Regarding The Data
                                    Dictionary.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 10/06/2020)

             10/07/2020       860   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 7, 2020 re: Revised Deposition Designations and Jury Charge. Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: #
                                    1Exhibit 1 - TriZetto Designations, # 2Exhibit 2 - Syntel Designations, # 3Exhibit 3




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                                    -Syntel jury charge edits clean, # 4Exhibit 4 - Syntel jury charge edits redline, # 5
                                    Exhibit 5 - Syntel voir dire edits clean, # 6Exhibit 6 - Syntel voir dire edits redline, #
                                    7Exhibit 7 - Syntel powerpoint edits clean, # 8Exhibit 8 - Syntel powerpoint edits
                                    redline).(Janghorbani, Jaren) (Entered: 10/07/2020)

             10/07/2020             Minute Entry for proceedings held before Judge Lorna G. Schofield: Final Pretrial
                                    Conference held on 10/7/2020. (Court Reporter Present) Ocs) (Entered: 10/07/2020)

             10/07/2020       861   ORDER: It is hereby ORDERED that by October 8, 2020, at 5:00 p.m.,
                                    Defendants/Counterclaim- Plaintiffs The TriZetto Group, Inc. and Cognizant
                                    Technology Solutions Corp., and Plaintiffs/Counterclaim-Defendants Syntel Sterling
                                    Best Shores Mauritius Limited and Syntel, Inc. shall provide proposed jury
                                    instructions regarding their affirmative defenses, suitable for the preliminary charge.
                                    It is further ORDERED that, if there are any remaining objections regarding the
                                    parties' trial exhibits, the parties shall provide by October 12, 2020, at 5:00 p.m., a
                                    revised exhibit list, in the form set forth in the Court's Trial Procedures During Covid
                                    19 Pandemic, and shall file aletter identifying remaining evidentiary objections and
                                    the parties respective positions. It is further ORDERED that the parties shall continue
                                    to meet and confer on deposition designations and, when the parties have reached an
                                    impasse, they shall re- submit the relevant deposition transcripts, marked in
                                    accordance with Individual Rule IV.B.2(h). ( Signed by Judge Lorna G. Schofield on
                                    10/7/2020) (rro) (Entered: 10/07/2020)

             10/07/2020       862   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 7, 2020 re: remote witness instruction. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit A - Proposed
                                    Instruction).(Janghorbani, Jaren) (Entered: 10/07/2020)

             10/08/2020       863   ORDER (Defendants' MIL No. 5) granting 707 Motion in Limine. It is hereby
                                    ORDERED that Defendants' motion in limine No. 5is GRANTED. Syntel may not
                                    provide testimony concerning matters about which Syntels Rule 30(b)(6) witness
                                    Daniel Moore refused to testify based on claims of privilege at his deposition in his
                                    Rule 30(b)(6) capacity and at his depositions in his personal capacity, but trial
                                    counsel may argue regarding the meaning and interpretation of the MSA. The Clerk
                                    of Court is respectfully directed to close the motion at Docket No. 707. (As further
                                    set forth in this Order.) ( Signed by Judge Lorna G. Schofield on 10/8/2020) (cf)
                                    (Entered: 10/08/2020)

             10/08/2020       864   ORDER (Defendants' MIL 6) regarding 710 Motion in Limine. It is hereby
                                    ORDERED that since the foundational witness Mr. Agrawal has never previously
                                    been deposed, Defendants may (but need not) take Mr. Agrawal's deposition -- not to
                                    exceed three hours -- prior to October 16, 2020, and shall file any objections to
                                    admissibility by October 16, 2020, at noon. (As further set forth in this Order.)
                                    (Signed by Judge Lorna G. Schofield on 10/8/2020) (cf) Modified on 10/16/2020
                                    Owh). Modified on 10/16/2020 (ama). (Entered: 10/08/2020)

             10/08/2020       866   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/8/2020
                                    re: preliminary instructions. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 10/08/2020)

             10/08/2020             ** *DELETED DOCUMENT. Deleted document number 865 Order. The
                                    document was incorrectly filed in this case. (jcs) (
                                                                                       Entered: 10/08/2020)




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             10/08/2020       867   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 8, 2020 re: Jury Charge. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1 - Syntel's Proposed
                                    Revision to the Excerpt of Preliminary Jury Charge, # 2Exhibit 2 - Syntel's Proposed
                                    Revision to the Preliminary Jury Charge Powerpoint).(Janghorbani, Jaren) (Entered:
                                    10/08/2020)

             10/08/2020       868   ORDER denying 744 Motion in Limine: It is hereby ORDERED that Syntel's motion
                                    in limine No. 11 as to the admissibility of the " Facets Data Dictionary Guide" and the
                                    "Facets 5.01 Physical Package Document" is DENIED. The supplemental declaration
                                    adequately provides the business record foundation for the admissibility of the two
                                    documents pursuant to Rule 803(6)(D). The Clerk of Court is respectfully directed to
                                    close Dkt. No. 744. ( Signed by Judge Lorna G. Schofield on 10/8/2020) Owh)
                                    (Entered: 10/08/2020)

             10/09/2020       869   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 9, 2020 re: Defendants' October 8, 2020 Letter Dkt. 866. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Janghorbani, Jaren)
                                    (Entered: 10/09/2020)

             10/09/2020       870   ORDER: It is hereby ORDERED that Defendants' request for abench trial on the
                                    equitable defenses is DENIED for substantially the reasons stated in Syntel's October
                                    9, 2020, letter. It is further ORDERED that by October 13, 2020, Syntel and
                                    Defendants shall file respective letters, not to exceed three (3) pages, stating their
                                    positions on whether damages for avoided costs are available in equity for the New
                                    York trade secret misappropriation claim, and if not, what if any impact such aruling
                                    would have on the evidence to be presented at trial. (As further set forth in this
                                    Order.) ( Responses due by 10/13/2020) ( Signed by Judge Lorna G. Schofield on
                                    10/9/2020) (cf) (Entered: 10/09/2020)

             10/09/2020       871   TRANSCRIPT of Proceedings re: CONFERENCE held on 10/7/2020 before Judge
                                    Lorna G. Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300.
                                    Transcript may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 10/30/2020.
                                    Redacted Transcript Deadline set for 11/9/2020. Release of Transcript Restriction set
                                    for 1/7/202 L. (McGuirk, Kelly) (Entered: 10/09/2020)

             10/09/2020       872   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aCONFERENCE proceeding held on 10/7/20 has been filed by
                                    the court reporter/transcriber in the above-captioned matter. The parties have seven
                                    (7) calendar days to file with the court aNotice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 10/09/2020)

             10/11/2020       873   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri and Jaren
                                    Janghorbani dated 10/11/2020 re: Disclosure Procedures for Trial. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                    Exhibit A).(Cutri, Gianni) (Entered: 10/11/2020)

             10/11/2020       874   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri and Jaren
                                    Janghorbani dated 10/11/2020 re: Agreed Proposed Jury Instruction. Document filed
                                    by Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: #



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                                    1Exhibit 1 - Joint Proposed Instruction). (Cutri, Gianni) (Entered: 10/11/2020)

             10/12/2020       875   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri and Jaren
                                    Janghorbani dated 10/12/2020 re: the Parties' remaining evidentiary objections.
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Exhibit 1 - TriZetto's Exhibit List, # 2Exhibit 2 - Syntel's Exhibit
                                    List).(Cutri, Gianni) (Entered: 10/12/2020)

             10/13/2020       876   TRIAL PROCEDURE STIPULATION: Plaintiffs/Counterclaim-Defendants Syntel
                                    Sterling Best Shores Mauritius Limited and Syntel, Inc. ("Plaintiffs") and
                                    Defendants/Counterclaim-Plaintiffs The TriZetto Group, Inc. and Cognizant
                                    Technology Solutions Corp. (" Defendants") (collectively, the Parties), by their
                                    undersigned counsel, hereby agree that the following procedures shall apply during
                                    the jury trial in the above-captioned matter. (As further set forth in this Order.) The
                                    Parties shall be available to meet and confer at 10:00 p.m. Eastern Time daily to
                                    resolve any outstanding issues. ( Signed by Judge Lorna G. Schofield on 10/13/2020)
                                    (cf) (Entered: 10/13/2020)

             10/13/2020       877   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri and Jaren
                                    Janghorbani dated 10/13/2020 re: TriZetto's affirmative defenses. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni)
                                    (Entered: 10/13/2020)

             10/13/2020       878   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/13/2020
                                    re: damages for avoided costs. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 10/13/2020)

             10/13/2020       879   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 13, 2020 re: Court's Oct. 9, 2020 Order, Dkt. 870. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Janghorbani, Jaren) (Entered:
                                    10/13/2020)

             10/14/2020       880   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/14/2020
                                    re: deposit of maximum possible judgment. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    10/14/2020)

             10/14/2020       881   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/14/2020
                                    re: breach of contract claims. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 10/14/2020)

             10/15/2020       882   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 15, 2020 re: Response to Defendants' 10/14/2020 Letter, Dkt. No. 880.
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    (Attachments: # 1Exhibit 1 - Correspondence). (Janghorbani, Jaren) (Entered:
                                    10/15/2020)

             10/15/2020       883   MEMO ENDORSEMENT on re: 880 Letter filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: TriZetto shall file a
                                    reply to Syntel's response letter at Dkt. No. 881 as soon as possible, and in any event
                                    no later than 9:00 a.m., October 16, 2020. ( Signed by Judge Lorna G. Schofield on
                                    10/15/2020) (cf) (Entered: 10/15/2020)

             10/15/2020       884   ORDER: It is hereby ORDERED that the Order dated September 30, 2020, granting
                                    in part and denying in part Syntel's motion in limine seeking to preclude Mr.



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                                    Britven's expert testimony is supplemented and modified as follows. It is further
                                    ORDERED that regarding the draft final jury charge referred to in the joint letter at
                                    Dkt. No. 877, the parties shall provide any revised jointly proposed damages
                                    instructions by October 16, 2020. As to any remaining instructions, the parties shall
                                    use the substantive excerpt of the preliminary charge as the base document, add any
                                    instructions that the parties believe will be necessary in light of the evidence in
                                    redline and submit those instructions by October 19, 2020. By October 19, 2020, the
                                    parties shall also provide any revised jointly proposed verdict form. The parties are
                                    reminded that these submissions should be "joint" and shall attempt to resolve all
                                    objections. (And as further set forth herein.) ( Signed by Judge Lorna G. Schofield on
                                    10/15/2020) Oca) (Entered: 10/15/2020)

             10/15/2020       885   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/15/2020
                                    re: reply in support of proposal to resolve the transition rebates claim. Document
                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri,
                                    Gianni) (Entered: 10/15/2020)

             10/16/2020       886   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 16, 2020 re: Letter requesting time to reply or abrief call re: Defendants'
                                    10/15/2020 Letter, D.I. 885. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc ... (Janghorbani, Jaren) (Entered: 10/16/2020)

             10/16/2020       887   MEMO ENDORSEMENT on re: 886 Letter, filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc. ENDORSEMENT: A status conference to discuss the
                                    parties' letters (Dkt. Nos. 880, 882, 885) will be held today at 2:00 p.m. EDT on the
                                    following conference line: 888-363-4749, access code 558-3333. The timing of the
                                    conference is approximate but the parties shall be prepared to begin at that time. So
                                    Ordered. (Telephone Conference set for 10/16/2020 at 02:00 PM before Judge Lorna
                                    G. Schofield.) ( Signed by Judge Lorna G. Schofield on 10/16/2020) (cf) (Entered:
                                    10/16/2020)

             10/16/2020       888   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/16/2020
                                    re: preliminary jury charge. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit A).(Cutri, Gianni)
                                    (Entered: 10/16/2020)

             10/16/2020       889   LETTER MOTION to Seal TriZetto's Letter Maintaining Otjections to Transition
                                    Rebates Evidence addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                    10/16/2020. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 10/16/2020)

             10/16/2020       890   ***SELECTED PARTIES*** LETTER addressed to Judge Lorna G. Schofield from
                                    Gianni Cutri dated 10/16/2020 re: Syntel's transition rebates evidence. Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, The Trizetto Group, Inc.,
                                    Syntel, Inc., Cognizant Technology Solutions Corp.. (Attachments: # 1Exhibit
                                    1)Motion or Order to File Under Seal: 889 .(Cutri, Gianni) (Entered: 10/16/2020)

             10/16/2020       891   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 16, 2020 re: Proposed Revisions to Preliminary Charge and Presentation.
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Janghorbani, Jaren) (Entered: 10/16/2020)

             10/16/2020       892   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 16, 2020 re: Response to Defendants' 10/16/2020 Letter, Dkt. No. 888.




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                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Janghorbani, Jaren) (Entered: 10/16/2020)

             10/16/2020             Minute Entry for proceedings held before Judge Lorna G. Schofield: Telephone
                                    Conference held on 10/16/2020. (Court Reporter Present) Ocs) (Entered: 10/16/2020)

             10/16/2020       893   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 16, 2020 re: proposal at 10/16/2020 hearing. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Janghorbani, Jaren) (Entered:
                                    10/16/2020)

             10/16/2020       894   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/16/2020
                                    re: TriZetto's position on Court's proposal re transition rebates. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni)
                                    (Entered: 10/16/2020)

             10/16/2020       895   ORDER (Defendants' MIL 6) re: 890 Letter, 864 Order on Motion in Limine, 710
                                    MOTION in Limine: It is ORDERED that for the reasons stated at today's telephonic
                                    status conference, the motion in limine No. 6filed by Defendants/Counterclaim-
                                    Plaintiffs The TriZetto Group, Inc. and Cognizant Technology Solutions Corp.
                                    (together, " Defendants") (Dkt. No. 710), and Defendants' application maintaining
                                    their objections to the transition rebates evidence (Dkt. No. 890) are DENIED. The
                                    Clerk of Court is respectfully directed to correct the docket entry at Dkt. No. 864,
                                    which incorrectly states that the motion in limine at Dkt. No. 710 was granted.
                                    Instead, the docket entry should read " ORDER (Defendants' MIL 6) regarding 710
                                    Motion in Limine." ( Signed by Judge Lorna G. Schofield on 10/16/2020) Owh)
                                    Modified on 10/26/2020 Owh). (Entered: 10/16/2020)

             10/16/2020       896   ORDER: It is ORDERED that Plaintiffs/Counterclaim-Defendants Syntel Sterling
                                    Best Shores Mauritius Limited and Syntel, Inc.'s (together, " Syntel") evidentiary
                                    objections to the following trial exhibits of Defendants/Counterclaim-Plaintiffs The
                                    TriZetto Group, Inc. and Cognizant Technology Solutions Corp. (together,
                                    "TriZetto") are overruled for substantially the reasons stated by TriZetto:
                                    DTX-0256.002; DTX-0258.0009 to.0028; DTX-0275; DTX-0277. It is further
                                    ORDERED that Syntel's evidentiary objections to the following TriZetto trial
                                    exhibits are sustained for substantially the reasons stated by Syntel: DTX-0485;
                                    DTX-0490; DTX-0491. It is further ORDERED that for the reasons stated at today's
                                    telephonic status conference, the following Syntel trial exhibits are admitted:
                                    PTX-199-200; PTX 205; PTX 206; PTX 685. Accordingly, TriZetto's motion in
                                    limine No. 6 (Dkt. No. 710) and application maintaining the objections to the
                                    transition rebates evidence (Dkt. No. 890) are DENIED. It is further ORDERED that
                                    by end of today, the parties shall meet and confer on the stipulation to moot Syntel's
                                    breach of contract claim regarding transition rebates and shall file ajointly proposed
                                    stipulation of facts. The stipulation may reference the date TriZetto agreed to pay and
                                    the date of payment. Assuming TriZetto still wants to proceed, the parties shall
                                    submit today the proposed stipulation and any disputes about its precise wording, and
                                    the Court will rule on them. If TriZetto does not wish to proceed on these terms, it
                                    shall file aletter with the Court immediately so stating. The Clerk of Court is
                                    respectfully directed to correct the docket entry at Dkt. No. 864, which incorrectly
                                    states that the motion in limine at Dkt. No. 710 was granted. Instead, the docket entry
                                    should read " ORDER (Defendants' MIL 6) regarding 710 Motion in Limine." ( Signed
                                    by Judge Lorna G. Schofield on 10/16/2020) (ama) (Entered: 10/16/2020)




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             10/16/2020       902   ORDER: It is ORDERED that the following deposition designations are permitted.
                                    Chadha, Ankur 2018-02-20 (As further sets forth in this Order.) ( Signed by Judge
                                    Lorna G. Schofield on 10/16/2020) (cf) (Entered: 10/19/2020)

             10/17/2020       897   PROPOSED JURY INSTRUCTIONS. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 10/17/2020)

             10/17/2020       898   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 16, 2020 re: Court's Order, Dkt. 896, attaching Joint Stipulation. Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: #
                                    1Exhibit A - Joint Stipulation).(Janghorbani, Jaren) (Entered: 10/17/2020)

             10/17/2020       899   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                    10/17/2020 re: Cross Examination Materials. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    10/17/2020)

             10/17/2020       900   MOTION for Jason Wilcox to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                                    number ANYSDC-22185055. Motion and supporting papers to be reviewed by
                                    Clerk's Office staff. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Affidavit of Jason Wilcox, # 2Attachment -
                                    Certificates of Good Standing, # 3Text of Proposed Order).(Cutri, Gianni) (Entered:
                                    10/17/2020)

             10/19/2020       901   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 19, 2020 re: Stipulation of Uncontested Facts. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit A -
                                    Stipulation of Uncontested Facts).(Janghorbani, Jaren) (Entered: 10/19/2020)

             10/19/2020             NOTICE REGARDING trial beginning on October 19, 2020 CONFERENCE: The
                                    parties, members of the press, and public may dial into these trial proceedings using
                                    Conference Call In Number: (888) 363-4749; and Access Code: 558-3333. Ocs)
                                    (Entered: 10/19/2020)

             10/19/2020             Minute Entry for proceedings held before Judge Lorna G. Schofield: Jury Selection
                                    held on 10/19/2020. Ocs) (Entered: 10/19/2020)

             10/19/2020             Minute Entry for proceedings held before Judge Lorna G. Schofield: Jury Trial begun
                                    on 10/19/2020. TriZetto's opening statements held. Syntel's opening statements held.
                                    TriZetto's First Witness: Michael Noonan. (Court Reporter Present) Ocs) (Entered:
                                    10/19/2020)

             10/20/2020       903   PROPOSED JURY INSTRUCTIONS. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit A - Preliminary
                                    Jury Charge Redline, # 2Proposed Verdict Forms, # 3Exhibit 1 - Proposed Verdict
                                    Form (Syntel), # 4Exhibit 2 - Proposed Verdict Form (TriZetto)).(Groombridge,
                                    Nicholas) (Entered: 10/20/2020)

             10/20/2020       904   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/20/2020
                                    re: trial materials. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 10/20/2020)

             10/20/2020       905   MEMO ENDORSEMENT on re: 904 Letter filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: So Ordered. (Signed by
                                    Judge Lorna G. Schofield on 10/20/2020) (cf) (Entered: 10/20/2020)



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             10/20/2020       906   ORDER: It is hereby ORDERED that Syntel's breach of contract claim regarding
                                    transition rebates is DISMISSED with prejudice. (As further set forth in this Order.)
                                    (Signed by Judge Lorna G. Schofield on 10/19/2020) (cf) (Entered: 10/20/2020)

             10/20/2020             Minute Entry for proceedings held before Judge Lorna G. Schofield: Jury Trial held
                                    on 10/20/2020. TriZetto's First Witness: Michael Noonan (continued). TriZetto's
                                    Second Witness: Sandeep Sinha. TriZetto's Third Witness: Ankur Chadha. TriZetto's
                                    Fourth Witness: Vipul Dekhtawala. TriZetto's Fifth Witness: Chuck Sanders. (Court
                                    Reporter Present) Ocs) (Entered: 10/21/2020)

             10/21/2020       907   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/21/2020
                                    re: Curative Instruction on Preclusion Order. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    10/21/2020)

             10/21/2020             Minute Entry for proceedings held before Judge Lorna G. Schofield: Jury Trial held
                                    on 10/21/2020. TriZetto's Sixth Witness: Bryan Bergeron. TriZetto's Seventh
                                    Witness: Thomas Britven. (Court Reporter Present) Ocs) (Entered: 10/26/2020)

             10/22/2020       908   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/22/2020
                                    re: Laches Instruction. Document filed by Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 10/22/2020)

             10/22/2020       909   ORDER granting 664 Motion for Jake Rambeau to Appear Pro Hac Vice (HEREBY
                                    ORDERED by Judge Lorna G. Schofield)(Text Only Order) Ocs) (Entered:
                                    10/22/2020)

             10/22/2020       910   ORDER granting 763 Motion for Melissa R. Alpert to Appear Pro Hac Vice
                                    (HEREBY ORDERED by Judge Lorna G. Schofield)(Text Only Order) Ocs)
                                    (Entered: 10/22/2020)

             10/22/2020       911   ORDER granting 778 Motion for Samuel Blake to Appear Pro Hac Vice (HEREBY
                                    ORDERED by Judge Lorna G. Schofield)(Text Only Order) Ocs) (Entered:
                                    10/22/2020)

             10/22/2020       912   ORDER granting 779 Motion for Adam Alper to Appear Pro Hac Vice (HEREBY
                                    ORDERED by Judge Lorna G. Schofield)(Text Only Order) Ocs) (Entered:
                                    10/22/2020)

             10/22/2020             >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                    No. 900 MOTION for Jason Wilcox to Appear Pro Hac Vice. Filing fee $ 200.00,
                                    receipt number ANYSDC-22185055. Motion and supporting papers to be
                                    reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                    no deficiencies. (wb) (
                                                          Entered: 10/22/2020)

             10/22/2020       913   ORDER granting 900 Motion for Jason Wilcox to Appear Pro Hac Vice (HEREBY
                                    ORDERED by Judge Lorna G. Schofield)(Text Only Order) Ocs) (Entered:
                                    10/22/2020)

             10/22/2020       914   JOINT STIPULATION: Plaintiffs/Counterclaim-Defendants Syntel Sterling Best
                                    Shores Mauritius Limited and Syntel, Inc. (" Syntel") and Defendants/Counterclaim-
                                    Plaintiffs The TriZetto Group, Inc. and Cognizant Technology Solutions Corp.
                                    ("TriZetto") (collectively, the 'Parties"), by their undersigned counsel, hereby
                                    stipulate to the following facts: The Master Services Agreement between TriZetto
                                    and Syntel (" MSA") provided for the payment of certain transition rebates; As of




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                                    October 16, 2020, TriZetto agreed to pay $ 5,183,241, reflecting the amount due for
                                    the rebates; as further set forth in this Order. ( Signed by Judge Lorna G. Schofield on
                                    10/17/2020) (cf) (Entered: 10/22/2020)

             10/22/2020       915   MEMO ENDORSEMENT on re: 899 Letter filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: The parties shall also
                                    provide the Court abinder and digital copy at the same time. ( Signed by Judge Lorna
                                    G. Schofield on 10/17/2020) (cf) (Entered: 10/22/2020)

             10/22/2020       916   ORDER: It is ORDERED that the final charging conference will be held on October
                                    23, 2020, at 1:00 p.m., on the following conference line: 888-363-4749, access code
                                    558-3333. The time of the conference is approximate, but the parties shall be ready to
                                    proceed at that time. Telephone Conference set for 10/23/2020 at 01:00 PM before
                                    Judge Lorna G. Schofield. ( Signed by Judge Lorna G. Schofield on 10/22/2020) (kv)
                                    (Entered: 10/22/2020)

             10/22/2020             Minute Entry for proceedings held before Judge Lorna G. Schofield: Jury Trial held
                                    on 10/22/2020. TriZetto's Seventh Witness: Thomas Britven (continued). TriZetto
                                    rests. Syntel's First Witness: Murlidhar Reddy. Syntel's Second Witness: Manish
                                    Mehta. Syntel's Third Witness: Daniel Moore. (Court Reporter Present) Ocs)
                                    (Entered: 10/26/2020)

             10/24/2020       917   LETTER MOTION to Seal Oct. 24, 2020 Letter and accompanying exhibits
                                    addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated October 24,
                                    2020. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    (Attachments: # 1Appendix A).(Janghorbani, Jaren) (Entered: 10/24/2020)

             10/24/2020       918   ***SELECTED PARTIES*** LETTER addressed to Judge Lorna G. Schofield from
                                    Jaren Janghorbani dated October 24, 2020 re: Bergeron Cross Exhibits. Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, The Trizetto Group, Inc.,
                                    Syntel, Inc., Cognizant Technology Solutions Corp.. (Attachments: # 1Exhibit 1 -
                                    Part 1 (Declaration of Jesse Stevenson), # 2Exhibit 1 - Part 2 (Exhibit A to
                                    Declaration), # 3Exhibit 1 - Part 3 (Exhibit B to Declaration), # 4Exhibit 1 - Part 4
                                    (Exhibit C to Declaration), # 5Exhibit 2 - Email)Motion or Order to File Under Seal:
                                    917 .(Janghorbani, Jaren) (Entered: 10/24/2020)

             10/24/2020       919   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 24, 2020 re: Bergeron Cross Exhibits [Redacted]. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1 -
                                    Part 1 (Declaration of Jesse Stevenson) [Redacted], # 2Exhibit 1 - Part 2 (Exhibit A
                                    to Declaration) [Filed Under Seal], # 3Exhibit 1 - Part 3 (Exhibit B to Declaration)
                                    [Filed Under Seal], # 4Exhibit 1 - Part 4 (Exhibit C to Declaration) [Filed Under
                                    Seal], # 5Exhibit 2 - Email). (Janghorbani, Jaren) (Entered: 10/24/2020)

             10/24/2020       920   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/24/2020
                                    re: Bergeron Cross Documents. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit Google Search, # 2
                                    Exhibit vinaynul8 Profile).(Cutri, Gianni) (Entered: 10/24/2020)

             10/26/2020       921   MOTION for Judgment as aMatter of Law. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc ... (Janghorbani, Jaren) (Entered: 10/26/2020)




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             10/26/2020       922   MEMORANDUM OF LAW in Support re: 921 MOTION for Judgment as aMatter
                                    of Law .. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc ... (Janghorbani, Jaren) (Entered: 10/26/2020)

             10/26/2020       923   ORDER: It is ORDERED that for reasons that will be explained at aconvenient time
                                    at trial: 1. Plaintiffs/Counterclaim-Defendants Syntel Sterling Best Shores Mauritius
                                    Limited and Syntel, Inc.'s application to admit PTX 1530 - 1533, 1535, 1537 - 3539,
                                    into evidence or as demonstrative aids (Dkt. No. 918) is DENIED. 2.
                                    Defendants/Counterclaim-Plaintiffs The TriZetto Group, Inc. and Cognizant
                                    Technology Solutions Corp.'s application to admit into evidence documents to show
                                    that these exhibits and the documents shown at trial were pirated (Dkt. No. 920) is
                                    also DENIED. Counsel are cautioned that the statements of counsel not adopted by
                                    the witness (in this instance Mr. Bergeron during his cross-examination about the
                                    Google search) are not evidence and should not be referred to in closing argument.
                                    (Signed by Judge Lorna G. Schofield on 10/24/2020) (ama) (Entered: 10/26/2020)

             10/26/2020       924   TRANSCRIPT of Proceedings re: CONFERENCE held on 10/16/2020 before Judge
                                    Lorna G. Schofield. Court Reporter/Transcriber: Alena Lynch, (212) 805-0300.
                                    Transcript may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 11/16/2020.
                                    Redacted Transcript Deadline set for 11/27/2020. Release of Transcript Restriction
                                    set for 1/24/202 L. (McGuirk, Kelly) (Entered: 10/26/2020)

             10/26/2020       925   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aCONFERENCE proceeding held on 10/16/2020 has been filed
                                    by the court reporter/transcriber in the above-captioned matter. The parties have
                                    seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                    of this transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 10/26/2020)

             10/26/2020       926   TRANSCRIPT of Proceedings re: CONFERENCE held on 10/19/2020 before Judge
                                    Lorna G. Schofield. Court Reporter/Transcriber: Rebecca Forman, (212) 805-0300.
                                    Transcript may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 11/16/2020.
                                    Redacted Transcript Deadline set for 11/27/2020. Release of Transcript Restriction
                                    set for 1/24/202 L. (McGuirk, Kelly) (Entered: 10/26/2020)

             10/26/2020       927   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aCONFERENCE proceeding held on 10/19/2020 has been filed
                                    by the court reporter/transcriber in the above-captioned matter. The parties have
                                    seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                    of this transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 10/26/2020)

             10/26/2020             Minute Entry for proceedings held before Judge Lorna G. Schofield: Jury Trial held
                                    on 10/26/2020. Syntel's Third Witness: Daniel Moore (continued). Syntel's Fourth
                                    Witness: John Plumpe. Syntel's Fifth Witness: Glenn Sheets. Syntel Rests. TriZetto's
                                    First Rebuttal Witness: Thomas Britven. Jury Charged-in part. TriZetto's summations
                                    held. Syntel's summations held. (Court Reporter Present) Ocs) (Entered: 10/26/2020)



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             10/27/2020       928   MOTION for Judgment as aMatter c    fLaw. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    10/27/2020)

             10/27/2020             Minute Entry for proceedings held before Judge Lorna G. Schofield: Jury Trial
                                    completed on 10/27/2020. Jury charge Completed. Jury deliberations begin. Verdict
                                    reached. (Court Reporter Present) Ocs) (Entered: 10/28/2020)

             10/27/2020       931   JURY VERDICT.Ocs) (Entered: 10/28/2020)

             10/27/2020       935   Court Exhibit List. (Attachments: # 1Court Exhibit No. 1 - Exhibits Admitted on
                                    10.21.2020, # 2Court Exhibit No. 2 - Syntel's Preemptory Challenges, # 3Court
                                    Exhibit No. 3 - TriZetto's Preemptory Challenges, # 4Court Exhibit No. 4 - Joint
                                    Stipulation of Uncontested Facts, # 5Court Exhibit No. 5 - Joint Stipulation re
                                    Rebates, # 6Court Exhibit No. 6 - Listing of TriZetto's Alleged Trade Secrets, # 7
                                    Court Exhibit No. 7 - Jury Note re Digital Exhibits, # 8Court Exhibit No. 8 - Jury
                                    Note re Demonstratives, # 9Court Exhibit No. 9 - Court Note to Jury, # 10 Court
                                    Exhibit No. 10 - Jury Note re Withdrawing Prior Request, # 11 Court Exhibit No. 11 -
                                    Jury Note re Verdict, # 12 Court Exhibit No. 12 - Final Charge (Annotated), # 13
                                    Court Exhibit No. 13 - Final Charge (Non-Annotated), # 14 Court Exhibit No. 14 -
                                    Parties' Admitted Exhibit List).Ocs) (Entered: 11/04/2020)

             10/28/2020       929   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 28, 2020 re: post-trial briefing. Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc ... (Janghorbani, Jaren) (Entered: 10/28/2020)

             10/28/2020       930   ORDER: It is ORDERED that the parties shall file ajoint letter by Friday, October
                                    30, 2020, proposing amutually agreeable procedure and schedule for all matters that
                                    remain to be tried and adjudicated by the Court, both before and after entry of
                                    judgment and, if not all matters are mutually agreed upon, also describing the
                                    separate proposals. ( Signed by Judge Lorna G. Schofield on 10/28/2020) (cf)
                                    (Entered: 10/28/2020)

             10/30/2020       932   JOINT LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani
                                    dated October 30, 2020 re: Court's Oct. 28, 2020 Order, D.I. 930. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Janghorbani, Jaren)
                                    (Entered: 10/30/2020)

             11/02/2020       933   MEMO ENDORSEMENT on re: 932 Letter filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc. ENDORSEMENT: A status conference will be held
                                    today at 5:00 p.m. EST to discuss this submission. Counsel for the parties shall call
                                    into the following conference line: 888-363-4749, Access Code: 558-3333. The
                                    timing of the conference is approximate, but counsel shall be ready to proceed at that
                                    time. ( Telephone Conference set for 11/2/2020 at 05:00 PM before Judge Lorna G.
                                    Schofield.) ( Signed by Judge Lorna G. Schofield on 11/2/2020) (cf) (Entered:
                                    11/02/2020)

             11/04/2020       934   ORDER re: 932 Letter filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc.. For the reasons stated at the conference, it is hereby ORDERED that the
                                    parties shall file ajoint letter by November 6, 2020, proposing arevised cross-motion
                                    briefing schedule -- contemplating four briefs total and reasonable page limits --
                                    along with aplan for any issues that remain to be tried. The letter should also inform
                                    the Court of any agreement on (i) holding the motions for attorneys' fees in abeyance
                                    and (ii) interim measures prior to the adjudication of any motion for permanent



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                                    injunction. ( Signed by Judge Lorna G. Schofield on 11/3/2020) (kv) (Entered:
                                    11/04/2020)

             11/04/2020       936   JOINT LETTER MOTION to Seal Certain Trial Exhibits addressed to Judge Lorna
                                    G. Schofield from Gianni Cutri dated 11/4/2020. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    11/04/2020)

             11/06/2020       937   JOINT LETTER addressed to Judge Lorna G. Schofield from Nicholas Groombridge
                                    dated Novemer 6, 2020 re: Cross-Motion Briefing Schedule. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Groombridge, Nicholas)
                                    (Entered: 11/06/2020)

             11/09/2020       938   TRANSCRIPT of Proceedings re: CONFERENCE held on 11/2/2020 before Judge
                                    Lorna G. Schofield. Court Reporter/Transcriber: Steven Griffing, (212) 805-0300.
                                    Transcript may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 11/30/2020.
                                    Redacted Transcript Deadline set for 12/10/2020. Release of Transcript Restriction
                                    set for 2/8/202 L. (McGuirk, Kelly) (Entered: 11/09/2020)

             11/09/2020       939   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aCONFERENCE proceeding held on 11/2/20 has been filed by
                                    the court reporter/transcriber in the above-captioned matter. The parties have seven
                                    (7) calendar days to file with the court aNotice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 11/09/2020)

             11/09/2020       940   ORDER: ORDERED that the parties shall brief their proposed post-trial motions --
                                    which include Syntel's motion for judgment as amatter of law or, in the alternative, a
                                    new trial or remittitur, Syntel's proposal that the Court make further findings on its
                                    equitable defenses of laches and unclean hands, TriZetto's motions for apermanent
                                    injunction and for pre- and post-judgment interest, and TriZetto's unclean hands
                                    defense -- according to the following schedule: Motions due by 12/4/2020.,
                                    Responses due by 1/29/2021, Replies due by 2/9/2021. No party shall exceed
                                    seventy-five (75) pages of briefing in total. The parties shall email acourtesy copy of
                                    their memoranda of law with hyperlinks to Westlaw for any cited cases and
                                    hyperlinks to any cited exhibits and testimony from the record. The parties shall
                                    otherwise comply with the Court's Individual Rules, and if in effect, the Emergency
                                    Individual Rules andPractices in light of COVID-19. It is further ORDERED that per
                                    the parties' agreement, any motion for attorneys' fees will be filed and briefed
                                    following entry of afinal judgment on appeal. It is further ORDERED that by
                                    November 13, 2020, the parties shall file aletter providing an update regarding
                                    potential agreements for interim measures prior to adjudication of TriZetto's motion
                                    for apermanent injunction. ( Signed by Judge Lorna G. Schofield on 11/09/2020)
                                    (ama) (Entered: 11/09/2020)

             11/10/2020       941   TRANSCRIPT of Proceedings re: CONFERENCE held on 10/7/2020 before Judge
                                    Lorna G. Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300.
                                    Transcript may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 12/1/2020.
                                    Redacted Transcript Deadline set for 12/11/2020. Release of Transcript Restriction


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                                    set for 2/8/202 L. (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       942   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aCONFERENCE proceeding held on 10/7/2020 has been filed
                                    by the court reporter/transcriber in the above-captioned matter. The parties have
                                    seven (7) calendar days to file with the court aNotice of Intent to Request Redaction
                                    of this transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       943   TRANSCRIPT of Proceedings re: TRIAL held on 10/19/2020 before Judge Lorna G.
                                    Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300. Transcript
                                    may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 12/1/2020.
                                    Redacted Transcript Deadline set for 12/11/2020. Release of Transcript Restriction
                                    set for 2/8/202 L. (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       944   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aTRIAL proceeding held on 10/19/2020 has been filed by the
                                    court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                    calendar days to file with the court aNotice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       945   TRANSCRIPT of Proceedings re: TRIAL held on 10/20/2020 before Judge Lorna G.
                                    Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300. Transcript
                                    may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 12/1/2020.
                                    Redacted Transcript Deadline set for 12/11/2020. Release of Transcript Restriction
                                    set for 2/8/202 L. (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       946   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aTRIAL proceeding held on 10/20/2020 has been filed by the
                                    court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                    calendar days to file with the court aNotice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       947   TRANSCRIPT of Proceedings re: TRIAL held on 10/21/2020 before Judge Lorna G.
                                    Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300. Transcript
                                    may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 12/1/2020.
                                    Redacted Transcript Deadline set for 12/11/2020. Release of Transcript Restriction
                                    set for 2/8/202 L. (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       948   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aTRIAL proceeding held on 10/21/20 has been filed by the
                                    court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                    calendar days to file with the court aNotice of Intent to Request Redaction of this



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                                    transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       949   TRANSCRIPT of Proceedings re: TRIAL held on 10/22/2020 before Judge Lorna G.
                                    Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300. Transcript
                                    may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 12/1/2020.
                                    Redacted Transcript Deadline set for 12/11/2020. Release of Transcript Restriction
                                    set for 2/8/202 L. (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       950   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aTRIAL proceeding held on 10/22/20 has been filed by the
                                    court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                    calendar days to file with the court aNotice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       951   TRANSCRIPT of Proceedings re: TRIAL held on 10/23/2020 before Judge Lorna G.
                                    Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300. Transcript
                                    may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 12/1/2020.
                                    Redacted Transcript Deadline set for 12/11/2020. Release of Transcript Restriction
                                    set for 2/8/202 L. (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       952   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aTRIAL proceeding held on 10/23/2020 has been filed by the
                                    court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                    calendar days to file with the court aNotice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       953   TRANSCRIPT of Proceedings re: TRIAL held on 10/26/2020 before Judge Lorna G.
                                    Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300. Transcript
                                    may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 12/1/2020.
                                    Redacted Transcript Deadline set for 12/11/2020. Release of Transcript Restriction
                                    set for 2/8/202 L. (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       954   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aTRIAL proceeding held on 10/26/2020 has been filed by the
                                    court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                    calendar days to file with the court aNotice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 11/10/2020)




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             11/10/2020       955   TRANSCRIPT of Proceedings re: TRIAL held on 10/27/2020 before Judge Lorna G.
                                    Schofield. Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300. Transcript
                                    may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 12/1/2020.
                                    Redacted Transcript Deadline set for 12/11/2020. Release of Transcript Restriction
                                    set for 2/8/202 L. (McGuirk, Kelly) (Entered: 11/10/2020)

             11/10/2020       956   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                    official transcript of aTRIAL proceeding held on 10/27/20 has been filed by the
                                    court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                    calendar days to file with the court aNotice of Intent to Request Redaction of this
                                    transcript. If no such Notice is filed, the transcript may be made remotely
                                    electronically available to the public without redaction after 90 calendar days....
                                    (McGuirk, Kelly) (Entered: 11/10/2020)

             11/13/2020       957   JOINT LETTER addressed to Judge Lorna G. Schofield from Nicholas Groombridge
                                    dated November 13, 2020 re: Potential Agreements for Interim Measures. Document
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Groombridge,
                                    Nicholas) (Entered: 11/13/2020)

             11/16/2020       958   MEMO ENDORSEMENT on re: 957 Letter, filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc. ENDORSEMENT: The parties shall continue to meet
                                    and confer, and shall advise the Court if further assistance is necessary. ( Signed by
                                    Judge Lorna G. Schofield on 11/16/2020) (cf) (Entered: 11/16/2020)

             12/04/2020       959   MOTION for Judgment as aMatter of Law, A New Trial or Remittitur under Rules
                                    50(l) and 59. Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc ... (Groombridge, Nicholas) (Entered: 12/04/2020)

             12/04/2020       960   MEMORANDUM OF LAW in Support re: 959 MOTION for Judgment as aMatter
                                    of Law, A New Trial or Remittitur under Rules 50(b) and 59.. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Groombridge, Nicholas)
                                    (Entered: 12/04/2020)

             12/21/2020       961   NOTICE of Filing of Deposition Testimony Played at Trial. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                    Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4).(Cutri, Gianni) (Entered:
                                    12/21/2020)

             01/05/2021       962   LETTER MOTION to Seal exhibits in support cf TriZetto's Opposition to Syntel's
                                    Motion for Judgment as aMatter (f Law, aNew Trial, or Remittitur and Motion for a
                                    Permanent lrjunction and Pre- and Post-Judgment Interest addressed to Judge Lorna
                                    G. Schofield from Gianni Cutri dated 1/5/2021. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    01/05/2021)

             01/05/2021       963   MEMORANDUM OF LAW in Opposition re: 959 MOTION for Judgment as a
                                    Matter of Law, A New Trial or Remittitur under Rules 50(b) and 59. and Motion for
                                    aPermanent lrjunction and Pre- and Post-Judgment Interest. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni)
                                    (Entered: 01/05/2021)




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             01/05/2021       964   ***SELECTED PARTIES" * DECLARATION of Adam Kaufmann in Opposition
                                    re: 959 MOTION for Judgment as aMatter of Law, A New Trial or Remittitur under
                                    Rules 50(b) and 59.. Document filed by The Trizetto Group, Inc., Cognizant
                                    Technology Solutions Corp., Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5
                                    Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, # 10 Exhibit 10, #
                                    11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13)Motion or Order to File Under Seal:
                                    962 .(Cutri, Gianni) (Entered: 01/05/2021)

             01/05/2021       965   MOTION for Permanent Injunction and Pre- and Post-Judgment Interest. Document
                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Text of Proposed Order).(Cutri, Gianni) (Entered: 01/05/2021)

             01/29/2021       966   MEMORANDUM OF LAW in Opposition re: 965 MOTION for Permanent
                                    Injunction and Pre- and Post-Judgment Interest. and REPLYMEMORANDUM OF
                                    LAW in &_pport re: 959 MOTIONfor Judgment as aMatter (f Law, A New Trial or
                                    Remittitur under Rules 50(b) and 59. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc ... (Groombridge, Nicholas) (Entered: 01/29/2021)

             01/29/2021       967   DECLARATION of Nicholas Groombridge in Support re: 959 MOTION for
                                    Judgment as aMatter of Law, A New Trial or Remittitur under Rules 50(b) and 59..
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    (Attachments: # 1Exhibit 1 - January 8, 2021 Order in Motorola Sols. Inc. v. Hytera
                                    Commc'ns Ltd., # 2Exhibit 2 - Excerpt of the Court's Final Charge for Parties Court
                                    Draft (Damages) for Final Charging Conference, # 3Exhibit 3 - December 17, 2020
                                    Order in Motorola Sols. Inc. v. Hytera Commc'ns Ltd., # 4Exhibit 4 - November 13,
                                    2020 joint letter in Syntel Sterling Best Shores Mauritius Limited, et al. v. The
                                    TriZetto Grp., Inc., et al, # 5Exhibit 5 - SDNY Is Back in the Civil Jury Trial
                                    Business With $ 855 Million Verdict, LAW.COM (Oct. 27, 2020), # 6Exhibit 6 -
                                    Declaration of Glenn C. Sheets). (Groombridge, Nicholas) (Entered: 01/29/2021)

             01/29/2021       968   LETTER MOTION for Oral Argument addressed to Judge Lorna G. Schofield from
                                    Nicholas Groombridge dated January 29, 2021. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc ... (Groombridge, Nicholas) (Entered:
                                    01/29/2021)

             02/02/2021       969   PROPOSED ORDER FOR WITHDRAWAL OF ATTORNEY. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Alpert, Melissa)
                                    (Entered: 02/02/2021)

             02/03/2021       970   NOTICE AND ORDER TO WITHDRAW AS COUNSEL: Melissa R. Alpert hereby
                                    withdraws as counsel for Syntel Sterling Best Shores Mauritius Limited and Syntel,
                                    Inc, and shall be removed from the Case Management/Electronic Case Files
                                    (CM/ECF) notification list in the above-captioned matter. (As further set forth in this
                                    Order.) Attorney Melissa Alpert terminated. ( Signed by Judge Lorna G. Schofield on
                                    2/3/2021) (cf) (Entered: 02/03/2021)

             02/09/2021       971   REPLY MEMORANDUM OF LAW in Support re: 965 MOTION for Permanent
                                    Injunction and Pre- and Post-Judgment Interest.. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    02/09/2021)




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             02/09/2021       972   DECLARATION of Adam Kaufmann in Support re: 965 MOTION for Permanent
                                    Injunction and Pre- and Post-Judgment Interest.. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit 14,
                                    #2Exhibit 15).(Cutri, Gianni) (Entered: 02/09/2021)

             02/09/2021       973   PROPOSED ORDER. Document filed by Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. Related Document Number: 965 ..(Cutri, Gianni) Proposed
                                    Order to be reviewed by Clerk's Office staff. (
                                                                                  Entered: 02/09/2021)

             02/09/2021       974   LETTER MOTION for Oral Argument on Plaintfi' Motion for Judgment as a
                                    Matter (f Law, aNew Trial, or Remittitur Pursuant to Federal Rules cf Civil
                                    procedure 50(b) and 59 (Dkt. 959; Dkt. 966) and on DEfendants' Motion for a
                                    Permanent Injunction and Pre- and Post-Judgment Interest (Dkt. 963; Dkt. 965)
                                    addressed to Judge Lorna G. Schofield from Gianni Cutri dated 2/9/2021. Document
                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri,
                                    Gianni) (Entered: 02/09/2021)

             02/09/2021       975   NOTICE of Supplemental Authority in Support of TriZetto's Opposition to Syntel's
                                    Motion for JMOL re: 963 Memorandum of Law in Opposition to Motion,. Document
                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Exhibit 1).(Cutri, Gianni) (Entered: 02/09/2021)

             02/10/2021             ** *NOTICE TO COURT REGARDING PROPOSED ORDER. Document No.
                                    973 Proposed Order was reviewed and approved as to form. (km) (
                                                                                                  Entered:
                                    02/10/2021)

             04/20/2021       976   ORDER granting in part and denying in part 686 Letter Motion to Seal; granting in
                                    part and denying in part 726 Letter Motion to Seal; granting in part and denying in
                                    part 780 Letter Motion to Seal; granting in part and denying in part 805 Letter
                                    Motion to Seal; granting in part and denying in part 848 Letter Motion to Seal;
                                    granting in part and denying in part 854 Letter Motion to Seal; granting in part and
                                    denying in part 889 Letter Motion to Seal; granting in part and denying in part 917
                                    Letter Motion to Seal; granting in part and denying in part 936 Letter Motion to Seal;
                                    granting in part and denying in part 962 Letter Motion to Seal. WHEREAS, the
                                    parties have filed several motions to seal in connection with their ( 1) pre-trial
                                    motions in limine (" MIL,") (Dkt. Nos. 686, 726, 780, 805, 848, 854, 889), (2) afiling
                                    made during trial (Dkt. No. 917), (3) trial exhibits (Dkt. No. 936) and (4) post-trial
                                    motions (Dkt. No. 962). For the reasons below, the motions to seal are GRANTED in
                                    part and DENIED in part without prejudice to renewal. (As further set forth in this
                                    Order.) ORDERED that the foregoing denials are without prejudice to renewal. The
                                    parties shall consider carefully the principles stated above to determine whether to
                                    renew any requests to seal. The Court anticipates that any renewed requests to seal
                                    will be substantially fewer and narrower. To the extent the parties seek to renew any
                                    request to seal, they shall do so by May 11, 2021. ORDERED that the parties shall
                                    consolidate their renewed requests to seal any pretrial filings in asingle joint filing
                                    and in aformat similar to the parties previous applications (e.g., Dkt. No. 686). All
                                    renewed requests to seal shall comply with Individual Rule LD.3, except that no hard
                                    copies shall be delivered to Chambers per the Emergency Individual Rules. For all
                                    renewed requests, the parties shall provide specific justifications particular to each
                                    document, and to the extent necessary particular redactions, and attach or
                                    "electronically relate" to the application the relevant documents under seal with the
                                    proposed redactions tailored to the information sought to be sealed. The parties shall
                                    bear in mind the above rulings and provide justifications that apply the applicable



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                                    legal standards (e.g., the parties shall state why the document is ajudicial document
                                    and state whether the First Amendment presumption of access applies). The Court
                                    will not entertain any applications to seal entire documents unless such request is
                                    accompanied by ajustification demonstrating why all of the information in the
                                    document warrants sealing. ORDERED that to the extent the parties seek to renew
                                    their applications to seal or redact trial exhibits, they shall also file aproposed joint
                                    sealing order, which articulates as to each exhibit, and to the extent necessary
                                    particular redactions, in anon-conclusory fashion, what the exhibit is, why sealing
                                    the exhibit is necessary to preserve higher values and how the sealing order is
                                    narrowly tailored to achieve that aim. ORDERED that within two weeks of the
                                    Court's ruling on any renewed application, the parties shall file in an orderly fashion
                                    the public versions of the filings currently under seal, consistent with the Courts
                                    rulings. The documents shall reflect the redactions approved above or upon the
                                    renewed application. If the Court has approved sealing an entire document, the public
                                    version of that document shall be asingle page stating that the document is filed
                                    under seal. The Clerk of Court is respectfully directed to close Dkt. Nos. 686, 726,
                                    780, 805, 848, 854, 889, 917, 936 and 962. ( Signed by Judge Lorna G. Schofield on
                                    4/20/2021) (cf) (Entered: 04/20/2021)

             04/20/2021       977    MEMORANDUM AND OPINION re: 928 MOTION for Judgment as aMatter cf
                                    Law. filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc., 974
                                     LETTER MOTION for Oral Argument on Plaintfs' Motion for Judgment as a
                                    Matter (f Law, aNew Trial, or Remittitur Pursuant to Federal Rules cf Civil
                                    procedure 50(b) and 59 (Dkt. 959; Dkt. 966) and on Defendants' Motion for a
                                    Permanent In filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                    Inc., 965 MOTIONfor Permanent I.-Junction and Pre- and Post-Judgment Interest.
                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc., 959
                                    MOTIONfor Judgment as aMatter cfLaw , A New Trial or Remittitur under Rules
                                     50(b) and 59. filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc., 921
                                    MOTIONfor Judgment as aMatter cfLaw .          filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc., 968 LETTER MOTIONfor Oral Argument addressed
                                     to Judge Lorna G. Schofieldfrom Nicholas Groombridge dated January 29, 2021.
                                    filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. Accordingly,
                                     equitable considerations counsel against awarding prejudgment interest in this case.
                                    Post-judgment interest, which is mandatory for any money judgment recovered in a
                                    civil case, see 28 U.S.C. § 1961, is granted. For the foregoing reasons, Syntel's
                                    motions for judgment as amatter cf law, or in the alternative for anew trial or
                                    remittitur, pursuant to Rules 50 and 59 are DENIED, except that Syntel's requestfor
                                    anew trial or remittitur on punitive damages is GRANTED. The punitive damages
                                    award cf $569,710,384 will be reduced to $284,855,192,f TriZetto agrees to
                                    remittitur Otherwise, Syntel's motion for anew trial on the issue cfpunitive damages
                                    is granted. TriZetto shall advise the Court cf its decision no later than May 4, 2021.
                                    TriZetto's applications for permanent injunction and post-judgment interest are
                                    GRANTED and the request for prejudgment interest is DENIED. By May 4, 2021 the
                                    parties shall meet and confer and submit aproposed order for apermanent
                                    injunction consistent with this Opinion and Rule 65(a). TriZetto 'sRule 50(a) motion
                                    and the parties' requests for oral argument on the motions are DENIED as moot. The
                                    Clerk cf Court is respec fully directed to close Dkt. Nos. 921, 928, 959, 965, 968,
                                    974. SO ORDERED. (Signed by Judge Lorna G. Schofield on 4/20/2021) (ks)
                                    (Entered: 04/20/2021)




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             04/30/2021       978   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                    4/30/2021 re: extension of deadline for submission of proposed permanent injunction
                                    order. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 04/30/2021)

             05/03/2021       979   MEMO ENDORSEMENT re: 978 Letter, filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc. ENDORSEMENT: The parties' application is
                                    granted. The parties shall submit aproposed order for apermanent injunction by May
                                    7, 2021. So Ordered. ( Signed by Judge Lorna G. Schofield on 5/3/2021) (nb)
                                    (Entered: 05/03/2021)

             05/04/2021       980   NOTICE of TriZetto's Position re Remittitur. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    05/04/2021)

             05/05/2021       981   MEMO ENDORSEMENT on re: 980 Notice (Other) filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: The parties shall file a
                                    proposed form of judgment by May 7, 2021. If there is any dispute, the parties shall
                                    indicate alternative language. ( Signed by Judge Lorna G. Schofield on 5/5/2021) (cf)
                                    (Entered: 05/05/2021)

             05/05/2021       982   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated
                                    5/5/2021 re: extension of deadlines for submission of proposed permanent injunction
                                    order and proposed form of judgment. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 05/05/2021)

             05/06/2021       983   MEMO ENDORSEMENT on re: 982 Letter, filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: The parties' request for
                                    an extension is GRANTED. The parties shall submit aproposed order for a
                                    permanent injunction and aproposed form of judgment by May 14, 2021. Additional
                                    time is provided to ensure that the parties complete their negotiations. ( Signed by
                                    Judge Lorna G. Schofield on 5/6/2021) (cf) (Entered: 05/06/2021)

             05/10/2021       984   JOINT LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri and
                                    Crystal Parker dated 5/10/2021 re: extension of time to submit renewed sealing
                                    requests. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 05/10/2021)

             05/11/2021       985   MEMO ENDORSEMENT on re: 984 Letter, filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc. ENDORSEMENT: The parties' application
                                    is untimely per Individual Rule LB.2, but nevertheless is GRANTED. The parties
                                    shall submit their sealing requests by May 14, 2021. ( Signed by Judge Lorna G.
                                    Schofield on 5/11/2021) (cf) (Entered: 05/11/2021)

             05/14/2021       986   JOINT LETTER MOTION to Seal Certain Exhibits in SuTport cf the Parties'
                                    Motions in Limine and Post- Trial BriEfing addressed to Judge Lorna G. Schofield
                                    from Nicholas Groombridge dated May 14, 2021. Document filed by Syntel Sterling
                                    Best Shores Mauritius Limited, Syntel, Inc ... (Groombridge, Nicholas) (Entered:
                                    05/14/2021)

             05/14/2021       987   ***SELECTED PARTIES* " DECLARATION of Nicholas Groombridge in Support
                                    re: 986 JOINT LETTER MOTION to Seal Certain Exhibits in SuTport cf the Parties'
                                    Motions in Limine and Post- Trial BriEfing addressed to Judge Lorna G. Schofield
                                    from Nicholas Groombridge dated May 14, 202 L. Document filed by Syntel Sterling




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                                    Best Shores Mauritius Limited, Syntel, Inc., Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. (Attachments: # 1Exhibit 1 - Britven Expert Report, # 2
                                    Exhibit 2 - Plumpe Rebuttal Expert Report, # 3Exhibit 3 - Syntel File, # 4Exhibit 4 -
                                    Britven Post-Trial Relief Declaration, # 5Exhibit 5 - Excerpt from Plumpe Rebuttal
                                    Expert Report)Motion or Order to File Under Seal: 986 .(Groombridge, Nicholas)
                                    (Entered: 05/14/2021)

             05/14/2021       988   JOINT LETTER MOTION to Seal or Redact Certain Trial Exhibits addressed to
                                    Judge Lorna G. Schofield from Gianni Cutri dated 5/14/2021. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                    Appendix A, # 2Appendix B).(Cutri, Gianni) (Entered: 05/14/2021)

             05/14/2021       989   NOTICE of Proposed Order for aPermanent Injunction and Final Judgment.
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Exhibit A, # 2Exhibit B).(Cutri, Gianni) (Entered: 05/14/2021)

             05/14/2021       990   LETTER MOTION to Seal Exhibit in Conjunction with Proposed Injunction Order
                                    addressed to Judge Lorna G. Schofield from Gianni Cutri dated 5/14/2021. Document
                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri,
                                    Gianni) (Entered: 05/14/2021)

             05/14/2021       991   ***SELECTED PARTIES" * DECLARATION of Justin Singh in Support re: 990
                                    LETTER MOTION to Seal Exhibit in Conjunction with Proposed Injunction Order
                                    addressed to Judge Lorna G. Schofield from Gianni Cutri dated 5/14/2021..
                                    Document filed by The Trizetto Group, Inc., Cognizant Technology Solutions Corp.,
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                    Exhibit 1)Motion or Order to File Under Seal: 990 .(Cutri, Gianni) (Entered:
                                    05/14/2021)

             05/14/2021       992   DECLARATION of Justin Singh in Support re: 990 LETTER MOTION to Seal
                                    Exhibit in Conjunction with Proposed Injunction Order addressed to Judge Lorna G.
                                    Schofield from Gianni Cutri dated 5/14/2021.. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit
                                    1).(Cutri, Gianni) (Entered: 05/14/2021)

             05/18/2021       993   PERMANENT INJUNCTION ORDER Based on the jurys finding that Syntel
                                    Sterling Best Shores Mauritius Limited and Syntel, Inc. (collectively " Syntel")
                                    misappropriated The TriZetto Group, Inc. and Cognizant Technology Solutions Corp.
                                    (collectively " TriZetto") trade secrets and infringed TriZetto's copyrights, this Court
                                    finds: TriZetto has succeeded on the merits of its claims against Syntel. Syntel, their
                                    officers, agents, servants, employees, distributors and resellers of any type, and
                                    attorneys, and all those persons in active concert or participation with any of them
                                    who receive actual notice of the order by personal service or otherwise, shall
                                    undertake the following steps to remove from their possession and quarantine any
                                    TriZetto Trade Secret Information or Copyrighted Works, see 18 U.S.C. § 1836(3)
                                    (A)(ii); 17 U.S.C. § 502(a): Syntel will engage an e-discovery vendor to assist with
                                    the identification, collection, and removal of any TriZetto Trade Secret Information
                                    and Copyrighted Works, while also preserving all data in connection with Syntel's
                                    obligations in pending litigations in the U.S. and other countries. TriZetto may audit,
                                    through audits conducted by an independent third party, and in compliance the
                                    Protective Order in this case, the following data sources in Syntel's possession: as
                                    further set forth in this Order. ( Signed by Judge Lorna G. Schofield on 5/18/2021)
                                    (cf) (Entered: 05/18/2021)




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             05/18/2021       994   FINAL JUDGMENT: A jury trial commenced in the above-captioned case on
                                    October 19, 2020, and on October 27, 2020, the jury reached and returned its
                                    unanimous verdict finding: TriZetto should be awarded $284,855,192 for Syntel's
                                    misappropriation of TriZettos trade secrets under the DTSA; $ 142,427,596 for
                                    Syntel's misappropriation of TriZetto's trade secrets under New York law;
                                    $59,100,000 for Syntel's infringement of TriZetto's copyrights; that the total amount
                                    of compensatory damages TriZetto is entitled to receive is $284,855,192; and that
                                    TriZetto was entitled to punitive damages in the amount of $ 569,710,384. (As further
                                    set forth in this Order.) ( Signed by Judge Lorna G. Schofield on 5/18/2021) (cf)
                                    (Entered: 05/18/2021)

             05/26/2021       995   NOTICE OF APPEAL from 993 Permanent Injunction„ 977 Memorandum &
                                    Opinion,,,, 994 Judgment,,. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. Filing fee $ 505.00, receipt number ANYSDC-24594114. Form
                                    C and Form D are due within 14 days to the Court of Appeals, Second Circuit..
                                    (Groombridge, Nicholas) (Entered: 05/26/2021)

             05/26/2021       996   PROPOSED ORDER TO SHOW CAUSE WITH EMERGENCY RELIEF.
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    Related Document Number: [  977, 993, 994]..(Groombridge, Nicholas) Proposed
                                    Order to Show Cause to be reviewed by Clerk's Office staff. (
                                                                                                Entered:
                                    05/26/2021)

             05/26/2021       997   MEMORANDUM OF LAW in Support re: 996 Proposed Order to Show Cause With
                                    Emergency Relief, (
                                                      Memorandum in &_pport (fOrder to Show Cause for Approval (f
                                    Supersedeas Bond and to Stay Execution (fdudgmem). Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Groombridge, Nicholas)
                                    (Entered: 05/26/2021)

             05/26/2021       998   DECLARATION of Nicholas Groombridge in Support re: 996 Proposed Order to
                                    Show Cause With Emergency Relief,. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1 - Bond). (Groombridge,
                                    Nicholas) (Entered: 05/26/2021)

             05/27/2021             ** *NOTICE TO COURT REGARDING PROPOSED ORDER TO SHOW
                                    CAUSE WITH EMERGENCY RELIEF. Document No. 996 Proposed Order to
                                    Show Cause With Emergency Relief, was reviewed and approved as to form.
                                    (dt) (
                                         Entered: 05/27/2021)

             05/27/2021             Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                                    Appeals re: 995 Notice of Appeal. (tp) (Entered: 05/27/2021)

             05/27/2021             Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                    Electronic Files for 995 Notice of Appeal, filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc. were transmitted to the U.S. Court of Appeals. (tp)
                                    (Entered: 05/27/2021)

             05/27/2021       999   ORDER TO SHOW CAUSE FOR APPROVAL OF SUPERSEDEAS BOND
                                    UNDER FEDERAL RULE OF CIVIL PROCEDURE 62(b) AND TO STAY
                                    EXECUTION OF JUDGMENT: It is, ORDERED that Defendants/Counterclaim-
                                    Plaintiffs The TriZetto Group, Inc. and Cognizant Technology Solutions Corp.
                                    (collectively, TriZetto) appear before the Honorable Lorna G. Schofield, United
                                    States District Judge for the Southern District of New York on written submission, to
                                    show cause why an Order should not be issued pursuant to Rule 62(b) of the Federal



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                                    Rules of Civil Procedure, approving the supersedeas bond and granting astay of
                                    execution of the judgment entered on May 18, 2021 in this matter (D.I. 994).
                                    ORDERED that electronic service and filing of acopy of this order, together with the
                                    papers upon which it is granted, upon TriZetto's counsel on or before 4:OOpm, May
                                    28, shall be deemed good and sufficient service thereof. ORDERED that answering
                                    papers, if any, shall be served and electronically filed no later than 11:59pm, on June
                                    2, 2021, and that reply papers, if any, shall be served and electronically filed no later
                                    than 11:59pm on June 4, 2021. ORDERED that atemporary stay of execution of
                                    judgment is in effect pending the Court's ultimate decision on the instant Order to
                                    Show Cause., (Replies due by 6/4/2021.) Show Cause Response due by 6/2/2021.
                                    (Signed by Judge Lorna G. Schofield on 5/27/2021) (nb) (Entered: 05/27/2021)

             05/27/2021      1000   CERTIFICATE OF SERVICE of Order to Show Cause, Memorandum of Law in
                                    Support, and Declaration of Nicholas Groombridge served on The TriZetto Group,
                                    Inc. and Cognizant Technology Solutions Corp. on May 27, 2021. Service was made
                                    by Email. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc ... (Parker, Crystal) (Entered: 05/27/2021)

             06/02/2021      1001   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 6/2/2021
                                    re: supersedeas bond. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 06/02/2021)

             06/03/2021      1002   MOTION for Adam Kaufmann to Withdraw as Attorney. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                    Text of Proposed Order). (Kaufmann, Adam) (Entered: 06/03/2021)

             06/03/2021      1003   ORDER: It is hereby ORDERED that Plaintiffs' request for approval of the
                                    supersedeas bond and stay of execution of judgment pursuant to Rule 62(b) is
                                    GRANTED. The supersedeas bond in the form attached to Plaintiffs declaration at
                                    Docket No. 998 is approved. Execution of the judgment entered on May 18, 2021, is
                                    stayed. (As further set forth in this Order.) ( Signed by Judge Lorna G. Schofield on
                                    6/3/2021) (cf) Transmission to Finance Unit (Cashiers) for processing. (Entered:
                                    06/03/2021)

             06/04/2021      1004   ORDER GRANTING WITHDRAWAL OF APPEARANCE granting 1002 Motion to
                                    Withdraw as Attorney. For good cause shown, the Court finds that the Motion of
                                    Adam Kaufmann for leave to withdraw should be granted. It is therefore Ordered that
                                    Adam Kaufmann is hereby withdrawn as counsel of record for
                                    Defendants/Counterclaim-Plaintiffs The TriZetto Group, Inc., n/k/a Cognizant
                                    TriZetto Software Group, Inc. and Cognizant Technology Solutions Corp. in the
                                    above-referenced matter and that he be removed from electronic notification in this
                                    matter. The Clerk of Court is respectfully directed to terminate Adam Kaufmann as
                                    counsel of record for Defendants/Counterclaim-Plaintiffs. Attorney Adam M.
                                    Kaufmann terminated. ( Signed by Judge Lorna G. Schofield on 6/4/2021) (mml)
                                    (Entered: 06/04/2021)

             06/09/2021      1005   MEMO ENDORSEMENT on re: 990 LETTER MOTION to Seal Exhibit in
                                    Conjunction with Proposed Injunction Order addressed to Judge Lorna G. Schofield
                                    from Gianni Cutri dated 5/14/2021. filed by Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. ENDORSEMENT: Defendants' application is GRANTED.
                                    The excerpts of the Master Software License and Services Agreement between
                                    TriZetto and California Physicians' Service d/b/a Blue Shield of California at Dkt.
                                    No. 991 shall remain under seal with access limited to counsel of record for all
                                    parties. ( Signed by Judge Lorna G. Schofield on 6/9/2021) (kv) (Entered:


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                                    06/09/2021)

             06/11/2021      1006   ORDER: It is hereby ORDERED that the parties shall submit aproposed joint
                                    sealing order related to their request to seal trial exhibits in accordance with the
                                    foregoing findings by June 25, 2021. (As further set forth in this Order.) ( Signed by
                                    Judge Lorna G. Schofield on 6/11/2021) (cf) (Entered: 06/11/2021)

             06/11/2021      1007   ORDER: It is hereby ORDERED that parties' proposed redactions are accepted for
                                    the reasons explained in the chart below. (As further set forth in this Order.) It is
                                    further ORDERED that the parties shall file the documents in redacted form on the
                                    public docket by June 25, 2021. ( Signed by Judge Lorna G. Schofield on 6/11/2021)
                                    (cf) (Entered: 06/11/2021)

             06/23/2021      1008   MEMORANDUM OF LAW in Support re: 727 MOTION in Limine #1 - Syntel's
                                    Motion in Limine to Exclude Expert Testimony Cf Thomas Britven. (Redactea).
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1009   DECLARATION of Todd C. Norbitz in Support re: 727 MOTION in Limine #1 -
                                    Syntel's Motion in Limine to Exclude Expert Testimony Cf Thomas Britven..
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4).(Norbitz,
                                    Todd) (Entered: 06/23/2021)

             06/23/2021      1010   MEMORANDUM OF LAW in Support re: 730 MOTION in Limine #2 - Syntel's
                                    Motion in Limine to Exclude The Testimony CfBryan P. Bergeron. (Redactea).
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1011   DECLARATION of Todd C. Norbitz in Support re: 730 MOTION in Limine #2 -
                                    Syntel's Motion in Limine to Exclude The Testimony CfBryan P. Bergeron..
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3).(Norbitz, Todd) (Entered:
                                    06/23/2021)

             06/23/2021      1012   MEMORANDUM OF LAW in Support re: 733 MOTION in Limine #5 - Syntel's
                                    Motion in Limine to Preclude DEfendants From Introducing As Evidence, Or From
                                    Otherwise Making Any REference To The Forensic Report Cf Samuel S. Rubin And
                                    Related Materialsilrformation. (Redactea). Document filed by Syntel Sterling Best
                                    Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1013   DECLARATION of Todd C. Norbitz in Support re: 733 MOTION in Limine #5 -
                                    Syntel's Motion in Limine to Preclude DEfendants From Introducing As Evidence, Or
                                    From Otherwise Making Any Reference To The Forensic Report CfSamuel S. Rubin
                                    And Related Materialsilrformation.. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3
                                    Exhibit 3, # 4Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9
                                    Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                                    Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16).(Norbitz, Todd) (Entered: 06/23/2021)




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             06/23/2021      1014   MEMORANDUM OF LAW in Support re: 736 MOTION in Limine #6 - Syntel's
                                    Motion in Limine to Preclude Defendants From Introducing At Trial Or From
                                    Otherwise Making Any Reference To The Non-Trizetto Material ldentfied In The
                                    Forensic Report. (Redacted). Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1015   DECLARATION of Todd C. Norbitz in Support re: 736 MOTION in Limine #6 -
                                    Syntel's Motion in Limine to Preclude Defendants From Introducing At Trial Or
                                    From Otherwise Making Any Reference To The Non-Trizetto Material ldentfied In
                                    The Forensic Report.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4
                                    Exhibit 4, # 5Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, #
                                    10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit
                                    14).(Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1016   MEMORANDUM OF LAW in Support re: 739 MOTION in Limine #7 - Syntel's
                                    Motion in Limine to Preclude Samuel S. Rubin From Testfying At Trial. (Redacted).
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1017   DECLARATION of Todd C. Norbitz in Support re: 739 MOTION in Limine #7 -
                                    Syntel's Motion in Limine to Preclude Samuel S. Rubin From Testfying At Trial..
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc..
                                    (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3).(Norbitz, Todd) (Entered:
                                    06/23/2021)

             06/23/2021      1018   MEMORANDUM OF LAW in Support re: 748 MOTION in Limine #13 - Syntel's
                                    Motion in Limine to Preclude Chuck Sanders From 6,jering Testimony Relating To
                                    The Data Dictionary Generally And Whether The Data Dictionary Is Subsumed
                                    Within The Copyright Registration For The Facets 5. (Redacted). Documentfiled by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc... (Norbitz, Toda) (Entered:
                                    06/23/2021)

             06/23/2021      1019   DECLARATION of Todd C. Norbitz in Support re: 748 MOTION in Limine #13 -
                                    Syntel's Motion in Limine to Preclude Chuck Sanders From 6,jering Testimony
                                    Relating To The Data Dictionary Generally And Whether The Data Dictionary Is
                                    Subsumed Within The Copyright Registration For The Facets 5.. Documentfiled by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit
                                    1, # 2Exhibit •). (Norbitz, Toda) (Entered: 06%23%2021)

             06/23/2021      1020   RESPONSE in Opposition to Motion re: 692 MOTION in Limine No. 2 -
                                    Defendants' Motion in Limine to Exclude Untimely Expert Opinions of Syntel Expert
                                    Daniel R(,jman Contravening Court's Preclusion Order. (Redacted). Document filed
                                    by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd)
                                    (Entered: 06/23/2021)

             06/23/2021      1021   RESPONSE in Opposition to Motion re: 697 MOTION in Limine No. 3 -
                                    Defendants' Motion in Limine for an Adverse Inference Instruction to Address
                                    Syntel's Failure to Produce Test Cases and Automation Scripts During Discovery.
                                    (Redacted). Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc ... (Norbitz, Todd) (Entered: 06/23/2021)




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             06/23/2021      1022   RESPONSE in Opposition to Motion re: 703 MOTION in Limine No. 4 -
                                    Defendants' Motion in Limine for an Adverse Inference regarding Syntel's Failure to
                                    Produce Relevant Evidence to the Forensic Examiner. (Redactea). Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered:
                                    06/23/2021)

             06/23/2021      1023   DECLARATION of Todd C. Norbitz in Opposition re: 703 MOTION in Limine No.
                                    4 - Defendants' Motion in Limine for an Adverse Inference regarding Syntel's Failure
                                    to Produce Relevant Evidence to the Forensic Examiner.. Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2
                                    Exhibit 2).(Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1024   RESPONSE in Opposition to Motion re: 707 MOTION in Limine No. 5 -
                                    Defendants' Motion in Limine to Preclude SyntelPorn Presenting Testimony on
                                    Matters Over which Syntel Claimed Privilege During the Deposition cf its Trial
                                    Witness Daniel Moore. (Redactea). Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1025   DECLARATION of Todd C. Norbitz in Opposition re: 707 MOTION in Limine No.
                                    5 - Defendants' Motion in Limine to Preclude SyntelPorn Presenting Testimony on
                                    Matters Over which Syntel Claimed Privilege During the Deposition cf its Trial
                                    Witness Daniel Moore.. Document filed by Syntel Sterling Best Shores Mauritius
                                    Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit
                                    3).(Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1026   RESPONSE in Opposition to Motion re: 710 MOTION in Limine No. 6 -
                                    Defendants' Motion in Limine to Preclude SyntelPorn Introducing its own
                                    Termination Letter as Purported Evidence cf its Claims. (Redactea). Document filed
                                    by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd)
                                    (Entered: 06/23/2021)

             06/23/2021      1027   RESPONSE in Opposition to Motion re: 717 MOTION in Limine No. 7 -
                                    Defendants' Motion in Limine to Exclude Evidence and Argument Regarding the
                                    Non-Solicitation Provision cf the MSA. (Redactea). Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Norbitz, Todd) (Entered:
                                    06/23/2021)

             06/23/2021      1028   RESPONSE in Opposition to Motion re: 720 MOTION in Limine No. 8 -
                                    Defendants' Motion in Limine to Preclude SyntelPorn 6,jering Irrelevant Evidence
                                    Regarding Prcject Koala Because it has Nothing to do with the Claims in this Case.
                                    (Redactea). Document filed by Syntel Sterling Best Shores Mauritius Limited,
                                    Syntel, Inc ... (Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1029   DECLARATION of Todd C. Norbitz in Opposition re: 720 MOTION in Limine No.
                                    8 - Defendants' Motion in Limine to Preclude Syntel from 6,jering Irrelevant
                                    Evidence Regarding Prcject Koala Because it has Nothing to do with the Claims in
                                    this Case.. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel,
                                    Inc.. (Attachments: # 1Exhibit 1, # 2Exhibit 2, # 3Exhibit 3, # 4Exhibit 4, # 5
                                    Exhibit 5, # 6Exhibit 6, # 7Exhibit 7, # 8Exhibit 8, # 9Exhibit 9, # 10 Exhibit
                                    10).(Norbitz, Todd) (Entered: 06/23/2021)

             06/23/2021      1030   DECLARATION of Daniel M. Moore [PUBLIC VERSION] . Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                    Exhibit 1 - Letter, # 2Exhibit 2 - Email, # 3Exhibit 3 - Email). (Baughman, Jon)



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                                    (Entered: 06/23/2021)

             06/23/2021      1031   DECLARATION of Anil Agrawal [PUBLIC VERSION] . Document filed by Syntel
                                    Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1Exhibit 1 -
                                    Letter, # 2Exhibit 2 - Email, # 3Exhibit 3 - Email, # 4Exhibit 4 - Email, # 5Exhibit
                                    5 - Website, # 6Exhibit 6 - Memorandum of Agreement, # 7Exhibit 7 - Letter, # 8
                                    Exhibit 8 - Spreadsheet, # 9Exhibit 9 - Email, # 10 Exhibit 10 - Email). (Baughman,
                                    Jon) (Entered: 06/23/2021)

             06/23/2021      1032   LETTER addressed to Judge Lorna G. Schofield from Jaren Janghorbani dated
                                    October 24, 2020 re: Bergeron Cross Exhibits [PUBLIC VERSION]. Document filed
                                    by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc.. (Attachments: # 1
                                    Exhibit 1 - Part 1 (Declaration of Jesse Stevenson), # 2Exhibit 1 - Part 2 (Exhibit A
                                    to Declaration), # 3Exhibit 1 - Part 3 (Exhibit B to Declaration), # 4Exhibit 1 - Part
                                    4 (Exhibit C to Declaration), # 5Exhibit 2 - Email).(Janghorbani, Jaren) (Entered:
                                    06/23/2021)

             06/24/2021      1033   MEMORANDUM OF LAW in Support re: 687 MOTION in Limine No. 1 -
                                    Dtfendants'Motion in Limine to Realign Parties and Order cfProcf to Promote
                                    Orderly and Ijficient Trial Process.. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1034   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 687
                                    MOTION in Limine No. 1 - DEfendants' Motion in Limine to Realign Parties and
                                    Order cfProcf to Promote Orderly and I•ficient Trial Process.. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                    Exhibit # 1, # 2Exhibit #2, # 3Exhibit #3).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1035   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 692
                                    MOTION in Limine No. 2 - DEfendants' Motion in Limine to Exclude Untimely
                                    Expert Opinions (f Syntel Expert Daniel R(,jman Contravening Court's Preclusion
                                    Order.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc.. (Attachments: # 1Exhibit # 1, # 2Exhibit #2, # 3Exhibit #3, # 4Exhibit
                                    #4, # 5Exhibit #5).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1036   MEMORANDUM OF LAW in Support re: 697 MOTION in Limine No. 3 -
                                    Dtfendants' Motion in Limine for an Adverse Inference Instruction to Address
                                    Syntel's Failure to Produce Test Cases and Automation Scripts During Discovery.
                                    [Redacted Version]. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1037   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 697
                                    MOTION in Limine No. 3 - DEfendants' Motion in Limine for an Adverse Inference
                                    Instruction to Address Syntel's Failure to Produce Test Cases and Automation Scripts
                                    During Discovery.. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1).(Cutri, Gianni) (Entered:
                                    06/24/2021)

             06/24/2021      1038   MEMORANDUM OF LAW in Support re: 703 MOTION in Limine No. 4 -
                                    Dtfendants' Motion in Limine for an Adverse Inference regarding Syntel's Failure to
                                    Produce Relevant Evidence to the Forensic Examiner. [Redacted Version]. Document
                                    filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri,
                                    Gianni) (Entered: 06/24/2021)




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             06/24/2021      1039   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 703
                                    MOTION in Limine No. 4 - DEfendants' Motion in Limine for an Adverse Inference
                                    regarding Syntel's Failure to Produce Relevant Evidence to the Forensic Examiner..
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Exhibit # 1, # 2Exhibit #2, # 3Exhibit #3, # 4Exhibit #4, # 5
                                    Exhibit #5).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1040   MEMORANDUM OF LAW in Support re: 707 MOTION in Limine No. 5 -
                                    Dtfendants' Motion in Limine to Preclude SyntelPorn Presenting Testimony on
                                    Matters Over which Syntel Claimed Privilege During the Deposition cf its Trial
                                    Witness Daniel Moore. [Redacted Version]. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    06/24/2021)

             06/24/2021      1041   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 707
                                    MOTION in Limine No. 5 - DEfendants' Motion in Limine to Preclude SyntelPorn
                                    Presenting Testimony on Matters Over which Syntel Claimed Privilege During the
                                    Deposition cf its Trial Witness Daniel Moore.. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1,
                                    #2Exhibit #2, # 3Exhibit #3, # 4Exhibit #4, # 5Exhibit #5).(Cutri, Gianni)
                                    (Entered: 06/24/2021)

             06/24/2021      1042   MEMORANDUM OF LAW in Support re: 710 MOTION in Limine No. 6 -
                                    Dtfendants' Motion in Limine to Preclude SyntelPorn Introducing its own
                                    Termination Letter as Purported Evidence cf its Claims. [Redacted Version].
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc...
                                    (Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1043   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 710
                                    MOTION in Limine No. 6 - DEfendants' Motion in Limine to Preclude SyntelPorn
                                    Introducing its own Termination Letter as Purported Evidence cf its Claims..
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Exhibit # 1, # 2Exhibit #2, # 3Exhibit #3, # 4Exhibit #4, # 5
                                    Exhibit #5, # 6Exhibit #6, # 7Exhibit #7, # 8Exhibit # 8, # 9Exhibit #9, # 10
                                    Exhibit # 10).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1044   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 717
                                    MOTION in Limine No. 7 - DEfendants' Motion in Limine to Exclude Evidence and
                                    Argument Regarding the Non-Solicitation Provision cf the MSA.. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                    Exhibit # 1, # 2Exhibit #2, # 3Exhibit #3, # 4Exhibit #4).(Cutri, Gianni) (Entered
                                    06/24/2021)

             06/24/2021      1045   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 720
                                    MOTION in Limine No. 8 - DEfendants' Motion in Limine to Preclude SyntelPorn
                                    6,jering Irrelevant Evidence Regarding Prcject Koala Because it has Nothing to do
                                    with the Claims in this Case.. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1, # 2Exhibit #2, # 3
                                    Exhibit #3, # 4Exhibit #4, # 5Exhibit #5, # 6Exhibit #6, # 7Exhibit #7, # 8Exhibit
                                    #8, # 9Exhibit #9, # 10 Exhibit # 10).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1046   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 727
                                    MOTION in Limine #1 - Syntel's Motion in Limine to Exclude Expert Testimony 6f
                                    Thomas Britven.. Document filed by Cognizant Technology Solutions Corp., The



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                                    Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1, # 2Exhibit #2).(Cutri, Gianni)
                                    (Entered: 06/24/2021)

             06/24/2021      1047   DECLARATION of Ryan Kane [Redacted Version] in Opposition re: 689 MOTION
                                    in Limine #3 - Syntel's Motion in Limine to Preclude REferences to Discovery
                                    Proceedings, Disputes, Orders, and Sanctions.. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit
                                    #1).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1048   MEMORANDUM OF LAW in Opposition re: 742 MOTION in Limine #8 - Syntel's
                                    Motion in Limine to Exclude Improper Testimony, Argument And REferences To
                                    DEfendants Purported Repository Cf Test Cases And Automation Scripts Not
                                    Produced In Discovery. [Redacted Version]. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    06/24/2021)

             06/24/2021      1049   DECLARATION of Adam Kaufmann [Redacted Version] in Opposition re: 744
                                    MOTION in Limine #11 - Syntel's Motion in Limine to Preclude The Facets
                                    Documentation DEfendants Relied On In Opposition To Syntel's Summary Judgment
                                    Motion Regarding The Data Dictionary.. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1, # 2Errata
                                    #2).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1050   DECLARATION of Adam Kaufmann [Redacted Version] in Opposition re: 712
                                    MOTION in Limine #12 - Syntel's Motion in Limine to Preclude Defendants From
                                    C.
                                     ;feringAny Evidence Regarding Certficates CfRegistration And Deposit Copies
                                    For Copyrighted Works, Other Than For Facets Version 5. 10, Best Practices In IC.
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc..
                                    (Attachments: # 1Exhibit #1, # 2Exhibit #•). (Cutri, Gianm) (Entered: 06/24/2021)

             06/24/2021      1051   DECLARATION of Adam Kaufmann [Redacted Version] in Opposition re: 748
                                    MOTION in Limine #13 - Syntel's Motion in Limine to Preclude Chuck Sanders
                                    From Cjfering Testimony Relating To The Data Dictionary Generally And Whether
                                    The Data Dictionary Is Subsumed Within The Copyright Registration For The Facets
                                    5.. Document filed by Cognizant Technology Solutions Corp., The Trizetto Group,
                                    Inc.. (Attachments: # 1Exhibit #1, # 2Exhibit #•). (Cutri, Gianm) (Entered:
                                    06%24%2021)

             06/24/2021      1052   MEMORANDUM OF LAW in Opposition re: 751 MOTION in Limine #15 - Syntel's
                                    Motion in Limine to Exclude Trial Testimony CfMike Noonan. [Redacted Version].
                                    Document filed by Cognizant Technology Solutions Corp., The Trizetto Group, Inc...
                                    (Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1053   DECLARATION of Gianni Cutri [Redacted Version] in Opposition re: 751 MOTION
                                    in Limine #15 - Syntel's Motion in Limine to Exclude Trial Testimony CfMike
                                    Noonan.. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc.. (Attachments: # 1Exhibit # 1, # 2Exhibit #2, # 3Exhibit #3, # 4Exhibit
                                    #4, # 5Exhibit #5, # 6Exhibit #6).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1054   MEMORANDUM OF LAW in Opposition re: 754 MOTION in Limine #16 - Syntel's
                                    Motion in Limine to Exclude Evidence That Facets Constitutes A Protectable Trade
                                    Secret. [Redacted Version]. Document filed by Cognizant Technology Solutions
                                    Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 06/24/2021)




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             06/24/2021      1055   MEMORANDUM OF LAW in Opposition re: 694 MOTION in Limine #4 - Syntel's
                                    Motion in Limine to Preclude Defendants From C.;fering Evidence Regarding The
                                    Existence Or Content Cf The Preclusion Order And Related Materials. [Redacted
                                    Version]. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1056   DECLARATION of Adam Kaufmann [Redacted Version] in Opposition re: 694
                                    MOTION in Limine #4 - Syntel's Motion in Limine to Preclude Defendants From
                                    C.;fering Evidence Regarding The Existence Or Content Cf The Preclusion Order
                                    And Related Materials.. Document filed by Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1, # 2Exhibit #2, # 3Exhibit
                                    #3, # 4Exhibit #4, # 5Exhibit #5, # 6Exhibit #6).(Cutri, Gianni) (Entered:
                                    06/24/2021)

             06/24/2021      1057   MEMORANDUM OF LAW in Opposition re: 733 MOTION in Limine #5 - Syntel's
                                    Motion in Limine to Preclude Defendants From Introducing As Evidence, Or From
                                    Otherwise Making Any Reference To The Forensic Report Cf Samuel S. Rubin And
                                    Related Materialsilrformation. [Redacted Version]. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    06/24/2021)

             06/24/2021      1058   DECLARATION of Adam Kaufmann [Redacted Version] in Opposition re: 733
                                    MOTION in Limine #5 - Syntel's Motion in Limine to Preclude Defendants From
                                    Introducing As Evidence, Or From Otherwise Making Any Reference To The Forensic
                                    Report CfSamuel S. Rubin And Related MaterialslKformation.. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                    Exhibit # 1, # 2Exhibit #2, # 3Exhibit #3, # 4Exhibit #4, # 5Exhibit #5).(Cutri,
                                    Gianni) (Entered: 06/24/2021)

             06/24/2021      1059   MEMORANDUM OF LAW in Opposition re: 736 MOTION in Limine #6 - Syntel's
                                    Motion in Limine to Preclude Defendants From Introducing At Trial Or From
                                    Otherwise Making Any Reference To The Non-Trizetto Material ldentfied In The
                                    Forensic Report. [Redacted Version]. Document filed by Cognizant Technology
                                    Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1060   DECLARATION of Adam Kaufmann [Redacted Version] in Opposition re: 736
                                    MOTION in Limine #6 - Syntel's Motion in Limine to Preclude Defendants From
                                    Introducing At Trial Or From Otherwise Making Any Reference To The Non-Trizetto
                                    Material ldentfied In The Forensic Report.. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1,
                                    #2Exhibit #2, # 3Exhibit #3, # 4Exhibit #4).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1061   MEMORANDUM OF LAW in Opposition re: 739 MOTION in Limine #7 - Syntel's
                                    Motion in Limine to Preclude Samuel S. Rubin From Testfying At Trial. [Redacted
                                    Version]. Document filed by Cognizant Technology Solutions Corp., The Trizetto
                                    Group, Inc...(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1062   DECLARATION of Adam Kaufmann [Redacted Version] in Opposition re: 739
                                    MOTION in Limine #7 - Syntel's Motion in Limine to Preclude Samuel S. Rubin
                                    From TestEying At Trial.. Document filed by Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1, # 2Exhibit #2, # 3Exhibit
                                    #3).(Cutri, Gianni) (Entered: 06/24/2021)




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             06/24/2021      1063   REPLY MEMORANDUM OF LAW in Support re: 707 MOTION in Limine No. 5 -
                                    Defendants' Motion in Limine to Preclude SyntelPorn Presenting Testimony on
                                    Matters Over which Syntel Claimed Privilege During the Deposition cf its Trial
                                    Witness Daniel Moore. [Redacted Version]. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc ... (Cutri, Gianni) (Entered:
                                    06/24/2021)

             06/24/2021      1064   LETTER addressed to Judge Lorna G. Schofield from Gianni Cutri dated 10/16/2020
                                    re: Syntel's transition rebates evidence [Redacted Version]. Document filed by
                                    Cognizant Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1
                                    Exhibit # 1).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1065   DECLARATION of Adam Kaufmann [Redacted Version] in Opposition re: 959
                                    MOTION for Judgment as aMatter of Law, A New Trial or Remittitur under Rules
                                    50(l) and 59.. Document filed by Cognizant Technology Solutions Corp., The
                                    Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1, # 2Exhibit #2, # 3Exhibit #3, # 4
                                    Exhibit #4, # 5Exhibit #5, # 6Exhibit #6, # 7Exhibit #7, # 8Exhibit # 8, # 9Exhibit
                                    #9, # 10 Exhibit # 10, # 11 Exhibit # 11, # 12 Exhibit # 12, # 13 Exhibit # 13).(Cutri,
                                    Gianni) (Entered: 06/24/2021)

             06/24/2021      1066   DECLARATION of Adam Kaufmann [Redacted Version] in Opposition re: 742
                                    MOTION in Limine #8 - Syntel's Motion in Limine to Exclude Imprcper Testimony,
                                    Argument And References To Defendants Purported Repository 6f Test Cases And
                                    Automation Scripts Not Produced In Discovery.. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1,
                                    #2Exhibit #2, # 3Exhibit #3, # 4Exhibit #4).(Cutri, Gianni) (Entered: 06/24/2021)

             06/24/2021      1067   DECLARATION of Adam Kaufmann [Redacted Version] in Support re: 707
                                    MOTION in Limine No. 5 - Defendants' Motion in Limine to Preclude SyntelPorn
                                    Presenting Testimony on Matters Over which Syntel Claimed Privilege During the
                                    Deposition cf its Trial Witness Daniel Moore.. Document filed by Cognizant
                                    Technology Solutions Corp., The Trizetto Group, Inc.. (Attachments: # 1Exhibit # 1,
                                    #2Exhibit #2, # 3Exhibit #3, # 4Exhibit #4, # 5Exhibit #5).(Cutri, Gianni)
                                    (Entered: 06/24/2021)

             06/25/2021      1068   PROPOSED ORDER. Document filed by Cognizant Technology Solutions Corp.,
                                    The Trizetto Group, Inc.. Related Document Number: 988 ..(Cutri, Gianni) Proposed
                                    Order to be reviewed by Clerk's Office staff. (
                                                                                  Entered: 06/25/2021)

             06/25/2021             ** *NOTICE TO COURT REGARDING PROPOSED ORDER. Document No.
                                    1068 Proposed Order was reviewed and approved as to form. (km) (
                                                                                                   Entered:
                                    06/25/2021)

             07/13/2021      1069   ORDER: ORDERED that the parties' May 14, 2021, application to seal trial exhibits
                                    (Dkt. No. 988) is GRANTED, as reflected below. (As further set forth in this Order.)
                                    ORDERED that both parties requests are GRANTED. Although "[t]he common law
                                    right of public access to judicial documents is firmly rooted in our nation's history,"
                                    this right is not absolute and courts " must balance competing considerations against"
                                    the presumption of access. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,
                                    11920 (2d Cir. 2006) (internal quotation marks omitted); see also Nixon v. Warner
                                    Commcns., Inc., 435 U.S. 589, 599 ( 1978) ("[T]he decision as to access is one best
                                    left to the sound discretion of the trial court, adiscretion to be exercised in light of
                                    the relevant facts and circumstances of the particular case. "). The proposed redactions
                                    and sealing requests are narrowly tailored to prevent unauthorized dissemination of



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                                    sensitive business information. It is further ORDERED that the Trial Exhibits shall be
                                    treated as sealed in accordance with this Order. It is the parties' responsibility to
                                    maintain the trial exhibits. (Signed by Judge Lorna G. Schofield on 7/13/2021) (cf)
                                    (Entered: 07/13/2021)

             07/28/2021      1070   JOINT LETTER MOTION for Extension of Time addressed to Judge Lorna G.
                                    Schofield from Nicholas Groombridge & Michael De Vries dated July 28, 2021.
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Groombridge, Nicholas) (Entered: 07/28/2021)

             07/29/2021      1071   ORDER granting 1070 Letter Motion for Extension of Time. Application
                                    GRANTED. The deadline for Syntel to comply with the " Removal and Quarantine"
                                    procedure set forth in the May 18, 2021, Order is extended from August 16, 2021, to
                                    August 30, 2021. ( Signed by Judge Lorna G. Schofield on 7/29/2021) (cf) (Entered:
                                    07/29/2021)

             08/12/2021      1072   JOINT LETTER MOTION for Extension of Time addressed to Judge Lorna G.
                                    Schofield from Nicholas Groombridge & Michael De Vries dated August 12, 2021.
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Groombridge, Nicholas) (Entered: 08/12/2021)

             08/12/2021      1073   ORDER granting 1072 Letter Motion for Extension of Time. Application
                                    GRANTED. The deadline for Syntel to comply with the " Removal and Quarantine"
                                    procedure set forth in the May 18, 2021, Order is extended from August 30, 2021, to
                                    September 29, 2021. ( Signed by Judge Lorna G. Schofield on 8/12/2021) (ate)
                                    (Entered: 08/12/2021)

             09/15/2021      1074   JOINT LETTER MOTION for Extension of Time to Comply with the "Removal and
                                    Quarantine" Procedure addressed to Judge Lorna G. Schofield from Nicholas
                                    Groombridge and Michael De Vries dated September 15, 2021. Document filed by
                                    Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc ... (Groombridge, Nicholas)
                                    (Entered: 09/15/2021)

             09/16/2021      1075   ORDER: granting 1074 Letter Motion for Extension of Time. Application
                                    GRANTED. The deadline for Syntel to comply with the " Removal and Quarantine"
                                    procedure set forth in the May 18, 2021, Order is extended from September 29, 2021,
                                    to October 29, 2021. ( Signed by Judge Lorna G. Schofield on 9/16/2021) (ama)
                                    (Entered: 09/16/2021)

             10/25/2021      1076   JOINT LETTER MOTION for Extension of Time addressed to Judge Lorna G.
                                    Schofield from Nicholas Groombridge & Michael De Vries dated October 25, 2021.
                                    Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Groombridge, Nicholas) (Entered: 10/25/2021)

             10/25/2021      1077   ORDER granting 1076 Letter Motion for Extension of Time. Application
                                    GRANTED. The deadline for Syntel to comply with the " Removal and Quarantine"
                                    procedure set forth in the May 18, 2021, Order is extended from October 29, 2021, to
                                    November 29, 202 L. ( Signed by Judge Lorna G. Schofield on 10/25/2021) (kv)
                                    (Entered: 10/25/2021)

             11/17/2021      1078   JOINT LETTER MOTION for Extension of Time to Comply with Injunction
                                    addressed to Judge Lorna G. Schofield from Nicholas Groombridge & Michael De
                                    Vries dated November 17, 2021. Document filed by Syntel Sterling Best Shores
                                    Mauritius Limited, Syntel, Inc ... (Groombridge, Nicholas) (Entered: 11/17/2021)




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             11/17/2021      1079   ORDER granting 1078 Letter Motion for Extension of Time. Application
                                    GRANTED. The deadline for Syntel to comply with the " Removal and Quarantine"
                                    procedure set forth in the May 18, 2021, Order is extended from November 29, 2021,
                                    to December 29, 2021. ( Signed by Judge Lorna G. Schofield on 11/17/2021) (mml)
                                    (Entered: 11/17/2021)

             12/17/2021      1080   JOINT LETTER MOTION for Extension of Time addressed to Judge Lorna G.
                                    Schofield from Nicholas Groombridge & Michael De Vries dated December 17,
                                    2021. Document filed by Syntel Sterling Best Shores Mauritius Limited, Syntel, Inc...
                                    (Groombridge, Nicholas) (Entered: 12/17/2021)




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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


SYNTEL STERLING BEST SHORES MAURITIUS
LIMITED,                                                               CIV

                                          Plaintiff,

                            -against-

THE TRIZETTO GROUP, INC.
and COGNIZANT TECHNOLOGY SOLUTIONS CORP.,

                                          Defendants.




        Plaintiff Syntel Sterling Best Shores Mauritius Limited (Syntel), by its attorneys, for its

complaint against defendants The TriZetto Group, Inc. (TriZetto) and Cognizant Technology

Solutions Corp. (Cognizant), states on personal knowledge as to matters relating to itself and on

information and belief as to all other matters, as follows:


                                  GENERAI, ALLEGATIONS

                 1.    Syntel is a Mauritius corporation with its principal place of business in

Mauritius.

                 2.    TriZetto is aDelaware corporation with its principal place of business in


Colorado.

                 3.    Cognizant is aDelaware corporation with its principal place of business in

New Jersey.

                 4.    The amount in controversy in this matter exceeds $75,000, exclusive of

costs and interest.    Because there is diversity of citizenship and because the amount in




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controversy exceeds minimum statutory requirements, this Court has diversity jurisdiction over

this matter pursuant to 28 U.S.C. § 1332.

                 5.    This Court has personal jurisdiction over TriZetto and Cognizant, and

venue is proper in this District. TriZetto, in particular agreed in its governing Master Services

Agreement (MSA), described more fully herein, that "any legal action, suit or proceeding

brought by it in any way arising out of this Agreement must be brought solely and exclusively in

the United States District Court for the State of New York or in the state courts of the State of

New York, in each case as located in New York County...."

                 6.    Syntel and TriZetto executed aMSA effective June 30, 2010. A copy of

the agreement is in the possession of TriZetto.       Thereafter, Syntel and TriZetto executed

Amendment No. 1to the MSA, with an effective date of August 17, 2012. Pursuant to the MSA

and the amendment thereto, Syntel provided TriZetto with software application development

and support services, product development and support services, infrastructure services,

consulting services, customer support services, business process outsourcing and other services

and deliverables.

                  7.   Syntel and TriZetto negotiated detailed termination provisions.      One of

those provisions (Section 23.02(3)) entitled Syntel to terminate the MSA in the event that

TriZetto was acquired by acompetitor of Syntel.

                  8.   On or about September 15, 2014, TriZetto and Cognizant, a Syntel

 competitor, announced that Cognizant was acquiring TriZetto in a $2.7 billion cash deal.

                  9.    On November 20, 2014, Syntel exercised its right to terminate the MSA

 on 90 days' notice following Cognizant's announcement of its acquisition of TriZetto. Syntel's

 issuance of its notice of termination entitled Syntel to receive approximately $ 3.4 million in

 transition rebates from TriZetto on or before February 18, 2015.


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                 10.   Following Syntel's issuance of its 90-day notice of termination on

November 20, 2014, TriZetto and Cognizant began engaging in aseries of actions which were

designed to deprive Syntel of the benefits of the MSA and to interfere with Syntel's performance

of its obligation hereunder.      These actions were designed intentionally to breach, and

intentionally breached, the MSA. On information and belief, Cognizant instigated the breach,

and did so intentionally in order to deprive its competitor Syntel of the expected benefits of the

bargain arising from the MSA's termination. Among other breaches:

                 a.    Despite due demand, TriZetto has refused to pay the $ 3.4 million

in transition rebates to which the MSA entitles Syntel, and has announced unequivocally

that it will not pay Syntel the $ 3.4 million, or any other sum of money, at any time.


                  b.   TriZetto has    unabashedly and admittedly violated the non-

solicitation and non-hiring provision of Section 25.03 of the MSA.


                  C.   TriZetto has purported to insist, without authority under the MSA,

that it is entitled under the terms of the transition plan which is mandated by the MSA in

the event of atermination to the retention of specific Syntel personnel to perform services

under that transition plan.


                  d.   TriZetto has breached the confidentiality provisions of Section

 19.01 of the MSA by providing the names of the agents used by Syntel to perform

services under the MSA to Cognizant, which in turn used the information to solicit those

personnel.




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                 11.    Syntel has satisfied any and all conditions precedent to entitle it to the

relief requested herein.

                 12.    As a proximate result of TriZetto's and Cognizant's wrongful conduct,

Syntel has suffered damages substantially in excess of $ 75,000, exclusive of costs and interest.

                               COUNT I — BREACH OF CONTRACT



                 13.       Syntel incorporates by reference the allegations of paragraphs 1-12 of its

complaint.

                 14.    TriZetto has breached the MSA (as amended) by engaging in the conduct

described in this complaint.

                 15.       As aproximate result of TriZetto's breach of contract, Syntel has suffered

damages substantially in excess of $75,000, exclusive of costs and interest. In addition, because

of the willful nature of TriZetto's action, Syntel is entitled to punitive damages in an amount of a

multiple of TriZetto's net worth. In addition, Syntel is being irreparably harmed by TriZetto's

repeated and unabashed violation of Section 19.01 and Section 25.03 of the MSA.




 COUNT H — INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
           AND INDUCEMENT TO BREACH (AGAINST TRIZ.ETTO)



                  16.      Syntel incorporates by reference the allegations of paragraphs 1-15 of its

complaint.

                  17.      TriZetto has induced, and continues to induce, Syntel agents to breach

their contractual undertakings with Syntel by recruiting and hiring them to fill positions for

TriZetto and Cognizant and to cease performing services for Syntel.



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                 18.     TriZetto's actions in inducing these breaches of contract were and are

intentional, illegal and fraudulent, and have been engaged in for the specific purpose of inducing

Syntel's service providers to breach their agreements with Syntel.

                 19.     As   a proximate result     of TriZetto's   intentional   interference   with

contractual relations, Syntel has suffered damages substantially in excess of $75,000, exclusive

of costs and interest.   In addition, because of the willful nature of TriZetto's action, Syntel is

entitled to punitive damages in an amount of amultiple of TriZetto's net worth.          In addition,

Syntel is being irreparably harmed by TriZetto's intentional interference in Syntel's contractual

relations with Syntel's service providers.




COUNT III — INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
           AND INDUCEMENT TO 13REACH (AGAINST COGNIZANT)



                 20.     Syntel incorporates by reference the allegations of paragraphs 1-19 of its

complaint.

                 21.     Cognizant has intentionally induced TriZetto to breach the MSA as set

forth in this complaint. It has done so for the ulterior purpose of harming Syntel, because it is a

competitor of Syntel.

                 22.     As a proximate result of Cognizant's intentional interference with

contractual relations, Syntel has suffered damages in excess of $ 75,000, exclusive of costs and

interest. In addition, because of the willful nature of Cognizant's conduct, Syntel is entitled to

punitive damages in an amount of amultiple of Cognizant's net worth, listed as $ 6,135,791,000

in Cognizant's most recent public financial statement.




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      COUNT IV — MISAPPROPRIATION OF CONFIDENTIAL INFORMATION
                   (AGAINST TRIZETTO AND COGNIZANT)



                 23.   Syntel incorporates by reference the allegations of paragraphs 1-21 of its

complaint.

                 24.   TriZetto and Cognizant have misappropriated confidential information of

Syntel in the form of the names of the Syntel agents who have performed services for TriZetto

under the agreement.    TriZetto has provided this information to Cognizant for the purpose of

allowing Cognizant to solicit Syntel agents to cease performing services for Syntel and instead to

perform them for Cognizant. In addition, because of the willful nature of Cognizant's conduct,

Syntel is entitled to punitive damages in an amount of amultiple of Cognizant's net worth, listed

as $6,135,791,000 in Cognizant's most recent public financial statement.

                 WHEREFORE, Syntel requests that this Court:

                 a.    award it such damages in excess of $ 75,000, exclusive of costs and

interest, as are just, against each of TriZetto and Cognizant, including, but not limited to,

an award of $3.4 million against TriZetto for transition rebates to which Syntel is entitled

under the MSA;


                 b.    award Syntel pre-complaint interest;


                 C.    award Syntel post-complaint, prejudgment interest;


                 d.     award Syntel postjudgment interest;


                 e.     award Syntel punitive damages of $ 6,135,791,000, or such other

amount as may be just and proper;


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                 f.        preliminarily and permanently enjoin TriZetto from directly or

indirectly    soliciting   and   hiring   Syntel   personnel     and   disseminating   confidential

information of Syntel;



                 9.        declare that TriZetto is not entitled to insist upon having specific

named persons from Syntel perform transition services; and



                  h.       grant any other appropriate relief.



Dated: January 12, 2012


                                                   CADWALAD)xR, WIC_KER,5,k9M & TAFT LLP


                                                   By:
                                                          Louis M. Solomon (LS- 7906)
                                                   200 Liberty Street
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                                                   Attorneys for Plaintiff
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK




SYNTEL STERLING BEST SHORES MAURITIUS                              Case No. 15 CV 00211
LIMITED, and SYNTEL, INC.,
                                                                   Hon. Lorna G. Schofield
                                      Plaintiffs,


                                                                   AMENDED COMPLAINT
                          -against-

THE TRIZETTO GROUP, INC.
and COGNIZANT TECHNOLOGY SOLUTIONS CORP.,

                                      Defendants.




       Plaintiffs Syntel Sterling Best Shores Mauritius Limited (Syntel Mauritius) and Syntel,

Inc. (Syntel), by their attorneys, for their amended complaint against defendants The TriZetto

Group, Inc. (TriZetto) and Cognizant Technology Solutions Corp. (Cognizant), state on personal

knowledge as to matters relating to themselves and on information and belief as to all other

matters, as follows:



                                 GENERAL ALLEGATIONS

        I.     Syntel Mauritius is aMauritius corporation with its principal place of business in

Mauritius.


       2.      Syntel, Inc. is a Michigan corporation with its principal place of business in

Michigan.


       3.      TriZetto is a Delaware corporation with its principal place of business in

California.
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        d.      TriZetto has breached the confidentiality provisions of Section 19.01 of the MSA

by providing the names of the agents used by Syntel Mauritius to perform services under the

MSA to Cognizant, which in turn used the information to solicit those personnel.


        12.     Each of TriZetto and Cognizant has solicited Syntel employees, who have

contracts with Syntel which preclude them from competing with Syntel for two years following

the termination of their employment, to perform services for them.


        13.     Syntel Mauritius has satisfied any and all conditions precedent under the MSA to

entitle it to the relief requested herein.


        14.     As aproximate result of TriZetto's and Cognizant's wrongful conduct, Syntel and

Syntel Mauritius have suffered damages substantially in excess of $ 75,000, exclusive of costs

and interest.



                           COUNT I—BREACH OF CONTRACT
                        (SYNTEL MAURITIUS AGAINST TRIZETTO)

        15.     Plaintiffs incorporate by reference the allegations of paragraphs 1-14 of its

complaint.


        16.     TriZetto has breached the MSA (as amended) by engaging in the conduct

described in this complaint.


        17.     As a proximate result of TriZetto's breach of contract, Syntel Mauritius has

suffered damages substantially in excess of $ 75,000, exclusive of costs and interest. In addition,

because of the willful nature of TriZetto's action, Syntel Mauritius is entitled to punitive

damages in an amount of amultiple of TriZetto's net worth.        In addition, Syntel Mauritius is

being irreparably harmed by TriZetto's repeated and unabashed violation of Section 19.01 and

Section 25.03 of the MSA.


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 COUNT II —INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
           (SYNTEL MAURITIUS AND SYNTEL AGAINST TRIZETTO)

        18.    Plaintiffs incorporate by reference the allegations of paragraphs 1-17 of its

complaint.


        19.    TriZetto has induced, and continues to induce, Syntel's and Syntel Mauritius's

agents to breach their contractual undertakings with Syntel by recruiting and hiring them to fill

positions for TriZetto and Cognizant and to cease performing services for Syntel and Syntel

Mauritius.


       20.     TriZetto's actions in inducing these breaches of contract were and are intentional,

illegal and fraudulent, and have been engaged in for the specific purpose of inducing Syntel and

Syntel Mauritius's service providers to breach their agreements with Syntel.


       21.     As a proximate result of TriZetto's intentional interference with contractual

relations, Plaintiffs have suffered damages substantially in excess of $75,000, exclusive of costs

and interest. In addition, because of the willful nature of TriZetto's action, Plaintiffs are entitled

to punitive damages in an amount of amultiple of TriZetto's net worth. In addition, Plaintiffs

are being irreparably harmed by TriZetto's intentional interference in Syntel and Syntel

Mauritius's contractual relations with their service providers.



COUNT III —INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
         (SYNTEL MAURITIUS AND SYNTEL AGAINST COGNIZANT)

       22.     Plaintiffs incorporate by reference the allegations of paragraphs 1-21 of its

complaint.




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       23.     Cognizant has intentionally induced TriZetto to breach the MSA as set forth in

this complaint. It has done so for the ulterior purpose of harming Syntel Mauritius, because it is

acompetitor of Syntel Mauritius.


       24.     Cognizant has also induced, and continues to induce, Syntel's and Syntel

Mauritius's agents to breach their contractual undertakings with Syntel by recruiting and hiring

them to fill positions for TriZetto and Cognizant and to cease performing services for Syntel and

Syntel Mauritius.


       25.     Cognizant's actions in inducing these breaches of contract were and are

intentional, illegal and fraudulent, and have been engaged in for the specific purpose of inducing

Syntel's and Syntel Mauritius's service providers to breach their agreements with Syntel.


       26.     As a proximate result of Cognizant's intentional interference with contractual

relations, Plaintiffs have suffered damages in excess of $75,000, exclusive of costs and interest.

In addition, because of the willful nature of Cognizant's conduct, Plaintiffs are entitled to

punitive damages in an amount of amultiple of Cognizant's net worth, listed as $ 6,135,791,000

in Cognizant's most recent public financial statement.         In addition, Plaintiffs are being

irreparably harmed by TriZetto's intentional interference in Plaintiffs' contractual relations with

their service providers.



       COUNT IV — MISAPPROPRIATION OF CONFIDENTIAL INFORMATION
          (SYNTEL MAURITIUS AGAINST TRIZETTO AND COGNIZANT)

       27.     Plaintiffs incorporate by reference the allegations of paragraphs 1-26 of its

complaint.


       28.     TriZetto and Cognizant have misappropriated confidential information of Syntel

Mauritius in the form of the names of the Syntel Mauritius agents who have performed services



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for TriZetto under the agreement. TriZetto has provided this information to Cognizant for the

purpose of allowing Cognizant to solicit Plaintiffs' agents to cease performing services for

Plaintiffs and instead to perform them for Cognizant. In addition, because of the willful nature

of Cognizant's conduct, Syntel Mauritius is entitled to punitive damages in an amount of a

multiple of Cognizant's net worth, listed as $ 6,135,791,000 in Cognizant's most recent public

financial statement.


       WHEREFORE, Plaintiffs request that this Court:


       a.      award them such damages in excess of $ 75,000, exclusive of costs and interest, as

are just, against each of TriZetto and Cognizant, including, but not limited to, an award of $ 3.4

million against TriZetto for transition rebates to which Syntel Mauritius is entitled under the

MSA;


       b.      award Plaintiffs pre-complaint interest;


       C.      award Plaintiffs post-complaint, prejudgment interest;


       d.      award Plaintiffs postjudgment interest;


       e.      award Plaintiffs punitive damages of $ 6,135,791,000, or such other amount as

may be just and proper;


       £       preliminarily and permanently enjoin TriZetto        from directly or indirectly

soliciting and hiring Syntel or Syntel Mauritius personnel and disseminating confidential

information of Plaintiffs;


       g.      declare that TriZetto is not entitled to insist upon having specific named persons

from Syntel perform transition services; and


       h.      grant any other appropriate relief.


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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



SYNTEL STERLING BEST SHORES
MAURITIUS LIMITED, and SYNTEL, INC.,             1:15-cv-00211(LGS) (RLE)

       Plaintiffs and Counterdefendants,

                      V.



THE TRIZETTO GROUP, INC.
and COGNIZANT TECHNOLOGY
SOLUTIONS CORP.,

       Defendants and Counterclaimants.



    TRIZETTO CORPORATION & COGNIZANT TECHNOLOGY SOLUTIONS
 CORPORATION'S ANSWER TO AMENDED COMPLAINT AND FIRST AMENDED
                        COUNTERCLAIMS

       Defendants TriZetto Corporation ("TriZetto")' and Cognizant Technology Solutions

Corporation ("Cognizant"    and,   together   with   TriZetto, "Defendants"   or "Counterclaim

Plaintiffs"), by and through their undersigned counsel, file this Answer to the Amended

Complaint of Plaintiffs Syntel Sterling Best Shores Mauritius Limited, now known as Syntel

Holding Mauritius Limited (" Syntel Mauritius") and Syntel, Inc. (" Syntel, Inc." and, together

with Syntel Mauritius, " Syntel," "Plaintiffs" or "Counterclaim Defendants")        and assert

Counterclaims against Syntel.




' Syntel named The TriZetto Group, Inc. as a defendant. The TriZetto Group, Inc. is now
known as TriZetto Corporation. For purposes of its Answer, TriZetto will assume that all
references to "TriZetto" in the Complaint refer to TriZetto Corporation.
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         43.      As an independent basis for jurisdiction over state law claims, this Court has

subject matter jurisdiction under 28 U.S.C. § 1332 (diversity of citizenship). Complete diversity

of citizenship exists between the parties, and the amount in controversy exceeds $ 75,000.

         44.      Venue is proper in this District under pursuant to 28 U.S.C. § 1391.

         45.      The Court has personal jurisdiction, and venue is proper, because, inter alia,

Syntel Mauritius agreed in the MSA that any legal action arising out of the MSA must be

brought in either New York state court or the United States District Court for the State of New

York.

                                    GENERAL ALLEGATIONS

         46.      TriZetto offers numerous software products that it develops for and licenses to

clients both within the United States and abroad. TriZetto's technology products, in combination

with its consulting, IT and business process services, simplify the deployment and adoption of

technology and improve healthcare operations.

         47.      Of particular importance, FacetsTM is TriZetto's core software product geared

specifically to health plan administration.

         48.      TriZetto also has a Consulting unit that services its products, providing the

implementation necessary to allow clients to use the products seamlessly and interface with other

software.      Clients can hire TriZetto to customize its products for their individual systems and

needs, acomplex process that can take many months.

         49.      TriZetto also develops and uses TriZetto's Intellectual Property, which include

essential, extremely valuable, confidential, and proprietary materials that aid in client- specific

use and customization of TriZetto's FacetsTM software. Such materials include manuals, guides,

and software tools, including, but not limited to the following:




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          • Data Dictionary: An essential software program that provides auser interface and a
            comprehensive text description for each of myriad tables and fields in FacetsTM

          • Custom Code Impact Tool: Analytic software that can be run on custom code before
            upgrading aclient's FacetsTM software to identify specific portions of custom code
            that will be affected by the upgrade.

          • Custom Code: TriZetto has over the course of many years created avast repository
            of custom code that it developed in connection with client projects, which supplement
            the native FacetsTM software and aid customers in performing particular tasks and
            interfacing with other software.

          • TriZetto's manuals, documentation, user guides, automation scripts, test cases, and
            other material related to operating, customizing and testing the TriZetto software.

          50.    TriZetto's Intellectual Property includes materials that embody a series of

original, creative choices, which feature unique or independently created expression, which is the

product of discretion, skills, resources, and creative energies, which were developed over a

number of years and at significant cost in terms of manpower, time, and expenditures.

Therefore, these materials constitute copyrightable subject matter under the laws of the United

States.

          51.    TriZetto owns valid and subsisting copyrights in certain of these materials,

including the Data Dictionary software, Customer Code Impact Tool software, and "Best

Practices in ICD-10 Configuration" and "Facets Roadmap Review" presentations, certain of the

TriZetto manuals and user guides, and other materials, which TriZetto has applied to register

with the Copyright Office, and the applications for which have been granted, refused, or are in

process (the "Registration Works").

          52.    In addition to the work done by its full-time employees, TriZetto contracts out for

personnel from multiple third-party vendors to meet its client needs.       Pursuant to TriZetto's

agreements with third-party vendors, TriZetto owns all work product that athird-party vendor

develops in connection with performing the contracted services.




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       78.      Syntel's website contains alisting of "Platform Management Tools." These tools

have descriptions that are essentially the same as TriZetto's Intellectual Property listed in

paragraph 49, above:

       • "D2 Data generator - Dictionary for FACETS database, batches and common
         interfaces"; and

       • " Step-up probe - Multi- format FACETS custom code Impact Analyzer"

       • "F - Connect - Inventory of common custom code interfaces for F"

       • "Factory - Repository with 3,000+ FACETS test cases and 500+ automation scripts" 4

       79.      Upon information and belief,      Syntel created these by copying TriZetto's

Intellectual Property, and has used, and is using, such copies in connection with its own business.

Syntel could not have developed such materials without access to TriZetto Materials and great

expense.     Further, Syntel could not have developed such materials in time to pitch them to

UnitedHealth Group ("UHG"), a major client of both TriZetto and Cognizant, unless Syntel

engaged in massive verbatim, or nearly verbatim copying from TriZetto and TriZetto's

Intellectual Property, including the Registration Works.    Syntel could not have developed its

product offerings without decompiling, disassembling, or reverse engineering TriZetto Materials

in violation of the MSA.

       80.      Internal Syntel emails confirm that Syntel has downloaded, used, copied,

misappropriated and distributed Tn'Zetto's Intellectual Property.     Syntel employees —




               The content of these emails evince clear knowledge that it was improper for them



4  These definitions are excerpted from apresentation on Syntel's publicly available website.
http://www.syntelinc.com/sites/default/files/synt—hcls_product management_ for—Payers.pdf



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        112.    As adirect and proximate result of Syntel's wrongful conduct, TriZetto has been

substantially and irreparably harmed in an amount not readily capable of determination. Unless

restrained by this Court, Syntel will cause further irreparable injury to TriZetto.

        113.    TriZetto is entitled to injunctive relief enjoining Syntel, its agents and employees,

and all persons acting in concert or participation with it, from engaging in any further use of

TriZetto's Confidential Information, as that term is defined in the MSA, as confirmed by, inter

alia, section 22.06 of the MSA.

                    COUNT II —BREACH OF IMPLIED COVENANT OF
                         GOOD FAITH AND FAIR DEALING
               (ON BEHALF OF TRIZETTO AGAINST SYNTEL MAURITIUS)

        114.    TriZetto repeats and re- alleges the allegations of the preceding Paragraphs 1-113

of these counterclaims as if fully set forth herein.

        115.    The actions of Syntel Mauritius, as set forth herein, constitute abreach of the

implied covenant of good faith and fair dealing.

        116.    Syntel Mauritius improperly deprived TriZetto of its right to receive the benefits

under the MSA.

        117.    As a result of Syntel Mauritius's breach, TriZetto has suffered direct and

consequential damages, and is entitled to recover compensatory damages, including opportunity

costs and punitive damages in an amount to be proven at trial.

                     COUNT III —NEW YORK MISAPPROPRIATION
                             (ON BEHALF OF TRIZETTO
                   AGAINST SYNTEL MAURITIUS AND SYNTEL, INC.)

        118.    TriZetto repeats and re- alleges the allegations of the preceding Paragraphs 1-117

of these counterclaims as if fully set forth herein.

        119.    The actions of Syntel, as set forth herein, constitute misappropriation under New

York law.


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        120.     TriZetto possessed confidential information, which constitute trade secrets and

proprietary confidential information continuously used in the operation of TriZetto's business

under New York law.

        121.     Such information was developed through great effort and expense in terms of

manpower, time, and costs.

        122.     Such information is extremely valuable to TriZetto, crucial to the operation of

TriZetto's business, and, if available to others, would enable them to compete with TriZetto to

TriZetto's detriment.

        123.     TriZetto took reasonable measures to maintain the secrecy and confidentiality of

such information, including by limiting access to repositories of confidential and proprietary

TriZetto Materials, including Customer Exchange and PVCS, and by requiring contracts that

prohibited, among other things, unauthorized access, uses, disclosure, and reverse engineering.

Such information cannot be properly acquired or duplicated because of the limited number of

individuals who can access the information, and the contractual limitations imposed on such

individuals.

        124.     Syntel was subject to such agreements and had aduty to maintain confidentiality

and not to use for its own purposes the materials that it had access to pursuant to its relationship

with TriZetto.

        125.     On information and belief, Syntel was aware that it acquired information from

third parties who also had a duty to maintain confidentiality and not to use for their own

purposes the materials that they had access to pursuant to their relationships with TriZetto.




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        126.    Syntel knowingly and improperly obtained, used, and disclosed such trade secrets

and confidential information in violation of its duties, including but not limited to those provided

in the MSA, and the duties of third parties.

        127.   As aresult of Syntel's actions, TriZetto has suffered direct and consequential

damages, and is entitled to recover compensatory damages, including opportunity costs and

punitive damages in an amount to be proven at trial.

        128.   As adirect and proximate result of Syntel's wrongful conduct, TriZetto has been

substantially and irreparably harmed in an amount not readily capable of determination. Unless

restrained by this Court, Syntel will cause further irreparable injury to TriZetto.

        129.   TriZetto is entitled to injunctive relief enjoining Syntel, its agents and employees,

and all persons acting in concert or participation with it, from engaging in any further use of

TriZetto's proprietary and confidential information.

         COUNT IV — FEDERAL MISAPPROPRIATION OF TRADE SECRETS
                         (ON BEHALF OF TRIZETTO
              AGAINST SYNTEL MAURITIUS AND SYNTEL, INC.)

        130.   TriZetto repeats and re- alleges the allegations of the preceding Paragraphs 1-129

of these counterclaims as if fully set forth herein.

        131.   The actions of Syntel, as set forth herein, constitute misappropriation under the

Defend Trade Secrets Act, 18 U.S.C. § 1839.

        132.   TriZetto possessed confidential information, including financial, business, and

technical information such as compilations, program devices, methods, techniques, processes,

procedures, programs, and codes, which constitute trade secrets.

        133.    Such information is used in connection with TriZetto's products and services,

which are offered across the country and throughout the world.




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        134.     TriZetto took reasonable measures to maintain the secrecy and confidentiality of

such information, including by limiting access to Customer Exchange, PVCS, and by requiring

contracts that prohibited, among other things, unauthorized access, uses, disclosure, and reverse

engineering. Such information cannot be properly acquired or duplicated because of the limited

number of individuals who can access the information, and the contractual limitations imposed

on such individuals.

        135.     Syntel was subject to such agreements and had aduty to maintain confidentiality

and not to use for its own purposes the materials that it had access to pursuant to its relationship

with TriZetto.

        136.     Such information derives independent economic value from not being generally

known to, and not being readily ascertainable through proper means by others because such

information is extremely valuable to TriZetto, crucial to the operation of TriZetto's business,

and, if available to others, would enable them to compete with TriZetto to TriZetto's detriment.

        137.     Syntel knowingly and improperly obtained, used, and disclosed such trade secrets

and confidential information in violation of its own duties, including but not limited to those

provided in the MSA, and the duties of third parties.     Syntel continues to do so by converting

TriZetto Materials into business assets for Syntel, and by creating and using Platform

Management Tools that directly compete with TriZetto's.

        138.     Syntel was aware that it acquired TriZetto Materials from third parties who also

had aduty to maintain confidentiality and not to use for their own purposes the materials that

they had access to pursuant to their relationships with TriZetto.

        139.     As such, Syntel used improper means to acquire knowledge of the TriZetto

materials, and, at the time of its disclosure and use knew or had reason to know that the trade




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secret was derived from someone who acquired it by improper means, acquired subject to aduty

to maintain secrecy or limit use, or derived from aperson who owed such aduty.

        140.   Syntel's conduct constitutes knowing, willful, and malicious misappropriation.

        141.   As adirect and proximate result of Syntel's wrongful conduct, TriZetto has been

substantially and irreparably harmed in an amount not readily capable of determination. Unless

restrained by this Court, Syntel will cause further irreparable injury to TriZetto.

        142.   TriZetto is entitled to injunctive relief enjoining Syntel, its agents and employees,

and all persons acting in concert or participation with it, from engaging in any further use of

TriZetto's proprietary and confidential information.

        143.   As aresult of Syntel's actions, TriZetto has suffered direct and consequential

damages, and is entitled to recover compensatory damages, including opportunity costs and

enhanced damages in an amount to be proven at trial.

                         COUNT V— UNFAIR COMPETITION
                    (ON BEHALF OF TRIZETTO AND COGNIZANT
                  AGAINST SYNTEL MAURITIUS AND SYNTEL, INC.)

        144.   TriZetto and Cognizant repeat and re- allege the allegations of the preceding

Paragraphs 1-143 of these counterclaims as if fully set forth herein.

        145.   The actions of Syntel, as set forth herein, constitute unfair competition.

        146.   Syntel copied or misappropriated TriZetto           and Cognizant's products     and

operations by obtaining access to them through fraud or deception, and/or an abuse of a

confidential relationship.

        147.   Syntel's use of copied or misappropriated TriZetto and Cognizant material

confused the public, including members of the healthcare and technology industries, as to

whether Syntel, TriZetto, or Cognizant was the source of that material.




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         156.    Syntel's malicious interference with TriZetto and Cognizant's client relationships

prevented TriZetto      and   Cognizant   from obtaining    economic    advantages through those

relationships.

         157.    As aresult of Syntel's actions, TriZetto and Cognizant have suffered direct and

consequential damages, and are entitled to recover compensatory damages, including opportunity

costs and punitive damages in an amount to be proven at trial.

                        COUNT VII —COPYRIGHT INFRINGEMENT
                          (ON BEHALF OF TRIZETTO AGAINST
                         SYNTEL MAURITIUS AND SYNTEL, INC.)

         158.    TriZetto and Cognizant repeat and re- allege the allegations of the preceding

Paragraphs 1-157 of these counterclaims as if fully set forth herein.

         159.    The actions of Syntel, as set forth herein, constitute copyright infringement under

17 U.S.C. § 101 et. seq.

         160.    The Registration Works are original, creative works and copyrightable subject

matter under the laws of the United States.

         161.    TriZetto is the owner of valid and subsisting copyrights in the Registration

Works.

         162.    TriZetto has complied in all respects with 17 U.S.C. §§ 101, et seq., and has

secured the exclusive rights and privileges in and to the Registration Works.

         163.    By its actions alleged herein, Syntel has infringed and will continue to infringe

TriZetto's copyrights in and relating to the Registration Works by, inter alia, reproducing them,

distributing them, creating derivative works based on them, and reproducing and distributing

copies of those derivative works, without any authorization or other permission from TriZetto.




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           164.   On information and belief, Syntel has infringed numerous other copyrightable

works that belong to TriZetto and reserves the right to amend these counterclaims upon

identification of such works and infringing uses.

           165.   Syntel's infringement of TriZetto's copyrights has been deliberate, willful and in

utter disregard of TriZetto's rights for which TriZetto has no adequate remedy at law.

           166.   Upon information and belief, as a direct and proximate result of its wrongful

conduct, Syntel has obtained benefits to which Syntel is not entitled.

           167.   As adirect and proximate result of Syntel's wrongful conduct, TriZetto has been

substantially and irreparably harmed in an amount not readily capable of determination. Unless

restrained by this Court, Syntel will cause further irreparable injury to TriZetto.

           168.   TriZetto is entitled to injunctive relief enjoining Syntel, its agents and employees,

and all persons acting in concert or participation with it, from engaging in any further

infringement of TriZetto's Registration Works.

           169.   TriZetto is further entitled to recover from Syntel the damages it has sustained

and will sustain, and any gains, profits and advantages obtained by Syntel as aresult of its acts of

infringement as alleged above.       At present, the amount of such damages, gains, profits and

advantages cannot be fully ascertained by TriZetto, but will be established according to proof at

trial.

                                       PRAYER FOR RELIEF

           WHEREFORE, TriZetto and Cognizant respectfully request this Court to enter judgment

for TriZetto and Cognizant and against Syntel as follows:

           a.     That the Complaint and all of Syntel's claims are dismissed with prejudice and

that Syntel be denied any recovery by reason thereof,




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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK

SYNTEL STERLING BEST SHORES
MAURITIUS LTD. and SYNTEL, INC.,

 Plaintiffs,
V.                           ) C.A. NO. 15-00211 (LGS) (RLE)

THE TRIZETTO GROUP, INC. and
COGNIZANT TECHNOLOGY SOLUTIONS
CORP.,

     Defendants.

            WHE}POS 77I ORDER .FOR FORENSIC EXAMINATION
        OF PLAINTIFFS' DIGITAL ELECTRONIC DEVICES AND FILES
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        Having considered the parties' joint discovery letters dated November 22, 2016, and

 December 9, 2016, the evidence and arguments annexed thereto, and the arguments presented by

 both parties' counsel on November 29, 2016 and December 16, 2016, the Court hereby grants

Defendants' request for aforensic examination of Plaintiffs' digital electronic devices and files

and orders as follows:

        Examiner Selection.      The Court hereby appoints Samuel Rubin, of the firm Stroz

Friedberg, as forensic examiner ("Examiner").

        1.     Cooperation. Upon the Court's actual or constructive approval of the Examiner,

the Examiner shall be permitted to conduct an examination as described in Paragraph 3of this

Order (the "Examination"), which will require the full cooperation of such personnel to support

the identification, preservation, and forensic collection information potentially relevant to the

Examination.   Plaintiffs shall, to the fullest extent possible, ensure the cooperation of relevant

personnel at Plaintiffs' business, as well as Plaintiffs' parent, subsidiary, affiliated, and related

companies, and relevant third-party vendors (collectively, " Syntel") so that the Examination may

be completed within sixty (60) days of the date of this Order.

       2.      Scope of Examination.        The Examination shall include ( 1) Syntel's digital

electronic devices, files, data, images, and computer systems, in Syntel's possession, custody, or

control and belonging to the custodians specifically identified in section 2(a) and 2(b) below

together with non- custodial sources where documents sought in sections 2(a) and 2(b) below

may reside; (2) the creation of duplicate forensic copies of the same (the collected ESI and

forensic images are collectively referred to herein as the "Forensic Images"); and (3) forensic

analysis of the Forensic Images for the purposes of determining:
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            a.   The likelihood of the existence, deletion, or destruction of documents, data,

        emails, or information by Vipul Dekhtawala, Vijaya Yellamraju, Krishna Subramanian,

        and Ankur Chadha, relating to the email produced at Bates no. SYNT00147963.

            b.   For each of the custodians listed on the attached Exhibit A, for each of the

        documents identified in TZCG-00000095-173, the downloading of such document from

        TriZetto's Customer Exchange server, the dissemination of such document within Syntel

        and to third-parties, and the likelihood of deletion, or destruction of such document by

        Syntel

            c.   To the extent the Examiner identifies the existence, deletion, or destruction of

        documents, data, emails, or information, the volume and nature thereof and any such

        deletion or destruction and the extent to which some or all of these materials may be

        recovered.

The Examination may include interviews with relevant personnel needed for the Examiner to

carry out the Examination required by this Order.       The interviews shall not be recorded or

transcribed. The interviews may be conducted telephonically.       Counsel for either party, at their

option, can attend the interviews, including by telephone.

       3.        Independent Examination. The Examiner shall be permitted to search, review,

and analyze data or information on the Forensic Images in their entirety, including active files,

data fragments, log files, application data, and unallocated or deleted space, and other artifacts

that can lead to an understanding of content and historical use.   Neither party shall have control

over the analysis performed. The parties and their counsel shall not have the right to be present

during such analysis.    Except as provided in section 2, above, there shall be no ex parte

communications with the Examiner by any party or its counsel and all email communications




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with the Examiner shall cc each party's outside counsel. Each party may, at its option, provide

the Examiner with appropriate background or information relevant to the forensic analysis so

long as such background or information is provided in writing and contemporaneously to the

opposing party.

            4.       Maintenance of Forensic Images.      The Examiner shall maintain the Forensic

Images in asecure facility operated by the Examiner and, except as directed otherwise by joint

stipulation of the parties or order of the Court, the Examiner shall retain custody of the Forensic

Images until the litigation has come to an end (i.e., the case(s) have been dismissed and after all

appeals have been exhausted, assuming there are any appeals). The Examiner shall not disclose

or permit any such disclosure of the contents of the Forensic Images to anyone, including the

parties, their attorneys or agents, directly or indirectly, to this litigation, except as provided for

herein.         Prior to beginning any work, the Examiner shall execute a letter of confidentiality

consistent with the provisions of this paragraph and shall provide a copy to counsel for the

parties.

           5.        Safeguards.   Any information or materials derived by the Examiner from its

analysis of the Forensic Images that the Examiner identifies as potentially relevant to the subject

matters at issue in this litigation shall be subject to the following procedures:

           a.        Any report or other document produced or created by the Examiner shall be

   marked confidential and for counsel's eyes only.         Should either party seek to re-designate

   part or all of any such report or document, that party may seek by stipulation between the

   parties or move the Court for such relief.

           b.       As used herein, "Findings" shall mean any information or materials derived by

   Examiner from its analysis of the Forensic Images that Examiner wishes to produce to




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                           A-199



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 counsel for purposes of review. Findings shall be further defined as " Content Findings" or

 "Non- Content Findings."

    i.   Content Findings shall consist of documents or files derived from the Forensic

         Images, including but not limited to electronic documents and emails, whether in

         active or deleted recoverable form. All Content Findings shall be produced first to

         Syntel for review and appropriate designation pursuant to the parties' Protective

         Order and attorney-client or work product protections as provided for in sections 5(b)

         and 5(c) below.

    ii. Non-Content Findings shall consist of non-content information from the Forensic

         Images, including but not limited to technical or system usage information,

         configuration settings, metadata, directory listings of files, programs contained on the

         Forensic Images, and associated metadata.         Non- Content Findings are derived from

         files and information created and maintained programmatically by the computer's

         operating system. Non- Content Findings can contain information about user-created

         files, but will not contain the content of user- created files.

   C.        The Examiner's actions described herein shall not effect awaiver of any claim of

attorney-client privilege or work product protection with respect to the contents of the

Forensic Images or the Findings.        The Parties further agree that inadvertent production of

documents or information subject to any applicable privilege, does not waive such applicable

privilege or protection, provided arequest for return of such documents or information is

made promptly upon learning of such inadvertent production.

   d.       So that Plaintiffs may identify privileged documents, if any, and prepare a

privilege log and/or appropriately designate documents pursuant to the Protective Order in




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 this case, Content Findings derived from Examiner's analysis of the Forensic Images shall be

 produced to counsel for Plaintiffs for review. Within five (5) business days of receiving any

 Content Findings from the Examiner, counsel for Plaintiffs shall produce to Examiner and

 counsel for Defendants, a privilege log which complies fully with the requirements of

Federal Rule of Civil Procedure 26 (b)(5)(A), identifying those Content Findings that

Plaintiffs maintain are subject to the attorney-client privilege or work product doctrine,

including the claimed privilege and acomplete description of the basis for the privileged

claim, the date and subject matter of the documents in question and where applicable, the

senders and recipients of such documents.

    C.     Examiner shall produce to counsel for Defendants all Content Findings which are

not designated as privileged by Plaintiffs. In the event that Plaintiffs fail to designate any

Content Findings documents as producible, or privileged, within five (5) business days of

receiving Examiner's Content Findings, Examiner shall be permitted to disclose those

Content Findings to counsel for Defendants. Otherwise, after receiving the privilege log, the

Defendants shall promptly notify Plaintiffs of any challenges to their privilege assertions,

after which the parties shall jointly and immediately request an appropriate hearing with the

Court to resolve the privilege disputes. Plaintiffs shall make available to the Court, on an in

camera basis, any documents subject to adisputed privileged claim. In connection with the

hearing, each party shall have the right to submit aposition paper of no more than five (5)

pages to the Court with Plaintiff having the opening position paper and Defendants providing

their response within five (5) business days of their receipt of Plaintiffs' opening position

paper.




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        f.      Non- Content Findings derived from the Examiner's analysis of the Forensic

    Images may be produced directly to counsel for Defendants without prior review by

    Plaintiffs or their counsel.

        6.      Forensic Report. The Examiner shall provide the parties and the Court with a

forensic report as to the actions taken by the Examiner, including a detailed description

personnel interviewed, each piece of digital media inspected, copied or imaged, as well as

documentation of the chain of custody of the media collected (the "Forensic Report").         The

Forensic Report shall provide a summary of the Examiner's findings regarding the topics

identified in Paragraph 3of this Order.

        7.      Fees & Costs.      Plaintiffs and Defendants shall each pay one-half ( 1/2) of the

Examiner's costs and fees in carrying out this Order and shall remit payment in accordance with

the Examiner's standard billing practices. This paragraph is without prejudice to either party's

right to seek an alternative fee arrangement in the event that the Examiner's duties are changed

by the Court, or for the parties to request afee- shifting order at alater time.




IT IS SO ORDERED this36 day of January, 2017




                                                        Magistrate Judge Ronald L. Ellis




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                                 Exhibit A

Ghazala Ameen            Vishal Myana              Prajakta Jagtap
Divya Anne               Priyank Nagar             Heenakausar Jakati
Manjushree Ashtaputre    PurushothamNagineni       Juned Kadri
Ramu Baru                Santhanu Nair             Amol Kalgave
Hiren Babariya           Sudha Natarajan           Varun Karnati
Bhupendra Balpande       Pankaj Pagar              Priyank Nagar
Nishith Bani             Sachin Parmaj             Rohit Pawar
Bhushan Bhalerao         Vishal Pathak             Narender Perugula
Mohan Bharathula         Uday PatiI                Arumuga Perumal
Devashri Bhawasar        Rohit Pawar               Ranjit Silla
Chelan Chaudhary         Amit Payasi               Gaurav Singh
Chetan Chaudhary         Narender Peruguia         Jagdish Solanki
Satyendra Dalvi          Arumuga Perumal           Kaushal Tomar
Ash ish Dani             Sandeep Rakhonde          Deepika Vispute
Viral Dave               Vimalkumar Ravindranath   Ravindra Wadhal
Anand Debadwar           Srikanth Reddy            Vishal Wadhwani
Vishal Deotale           Swapnil Renuse
Niranjan Deswandikar     Soumik Roy
Ambika Rani Devarapu     Madhurani Salvi
Samir Dharmadhikari      Gulab Shaikh
Dhiraj Dhawale           Prateek Shihoorkar
Geeta Dighe              GauravSingh
Piyush Ghelani           Jagdish Soianki
Sudeep Gorhe             Anjuiika Srivastava
Pavan Gupta              Sumeet Tandon
Apeksha Hampi            Balaji Thangaswamy
Van ita Jagdale          Neethu Thomas
Prajakta Jagtap          Rahul Thorat
Heenakausar Jakati       Shailja Tiwari
Vinay Jha                Kaushal Tomar
Shekhar Kadam            Dee pika Vispute
Juned Kadri              Vishal Wadhwani
Amol Kalgave             Sandeep Yewale
Himaja Kandregula        Swapnil Adhav
Dilip Kannure            Ganesh Awadhane
Varun Karnati            Srinivas Bandi
Parimal Khose            Nivedita Chanekar
Shripad Kulkarni         Anand Debadwar
Anurag Kumar             Vishal Deotale
Ajay Kumar               Geeta Dighe
Balasaheb Kuragotgi      Piyush Ghelani
Shailesh Mahamuni        Apeksha Hampi




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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK




 SYNTEL STERLING BEST SHORES MAURITIUS                        1:15-CV-00211 (LGS) (RLE)
 LIMITED, et al.,
                                                             Hon. Lorna G. Schofield
                Plaintiffs and Counterclaim-Defendants,      Mag. Ronald L. Ellis



                          -against-                                USDC SDNY
                                                                   DOCUMENT
 THE TRIZETTO GROUP, INC. and COGNIZANT                            ELECTRONICALLY Fl
 TECHNOLOGY SOLUTIONS CORP.,                                       DOC #:
                                                                   DATE FILED: '
                                                                               bi ZS IM
                Defendants and Counterclaim-Plaintiffs.



                               '! !      i PRECLUSION ORDER

       The Court having heard and considered the parties' submissions and arguments concerning

a proposed sanction against Plaintiffs Syntel, Inc. and Syntel Sterling Best Shores Mauritius

Limited now known as Syntel Mauritius Holding Limited (collectively, "Syntel") in the above-

captioned matter, the Court hereby orders that:

       1.      Syntel is precluded from offering or presenting any evidence that it did not

misappropriate and unlawfully copy Defendants' FACETS test cases and automation scripts.

       2.      Syntel is precluded from offering or presenting any evidence that it independently

developed any of the Platform Management Tools at issue in this case.




IT IS SO ORDERED thi:
                             9
                             day of
                             .                     ,2017




                                                   Magistrate Judge Ronald L. Ellis
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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK



SYNTEL STERLING BEST SHORES
MAURITIUS LIMITED,                      IS Civ. 00211 (LGS) (JLC)

     Plaintiff,

                   V.


THE TRIZETTO GROUP, INC.
and COGNIZANT TECHNOLOGY
SOLUTIONS CORP.,

     Defendants.



        DECLARATION OF BRYAN P. BERGERON M.D., IN SUPPORT OF
                        MOTION FOR SUMMARY JUDGMENT
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       I, Bryan P. Bergeron M.D., FACMI, hereby declare as follows:

        1.       Ipresently serve as President of Archetype Technologies, Inc. in Brookline,

Massachusetts. For approximately 25 years, Ihave taught as part of the Harvard-MIT Program

in Health Sciences and Technology (HST) in Cambridge, Massachusetts.

       2.        Ihave been retained by counsel for The TriZetto Group, Inc. n/k/a Cognizant

TriZetto     Software Group, Inc. ("TriZetto") and Cognizant Technology Solutions Corp.

("Cognizant") (collectively, "Counterclaim Plaintiffs") to provide my independent expert

analysis, opinions, and conclusions as stated in my October 19, 2018 and November 26, 2018

expert reports and January 31, 2019 deposition.

       3.        Attached hereto as Exhibit A is atrue and correct copy of my October 19, 2018

Opening Expert Report of Dr. Bryan P. Bergeron ("Opening Report"). Iadopt all of the opinions

expressed in that report in this declaration. Ihave personal knowledge of the matters stated in

my Expert Report and would testify truthfully to them if called upon to do so.

       4.        Facets is a payer- focused enterprise solution that "consists of a rich set of

modules that allow payer organizations to meet their business requirements while positioning

them for growth and change." "Facets Overview," (last visited October 19, 2018) at

https://www.cognizant.com/trizetto/core-administration/facets.   The Facets platform is highly

customizable and has "scalability to meet the transaction needs" of different clients.    Id.   "In

addition to its core modules, Facets includes an entire ecosystem" of TriZetto products and

applications "that extend its features and functions." Id. Ideclare on penalty of perjury that the

foregoing is true and correct.

       5.        TriZetto's flagship software program is Facets. See, e.g., Dkt. No. 216 at ¶ 47.

Facets "is an extremely complex application[] that basically runs ahealth plan" for health plan




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providers and payers.      3/22/18 Sanders Dep. Tr. at 128:7-18.              Facets is the foundation of the

platform that enables more than 70 health plans to deliver value to well over 100 million insured

members.     Interview with Anne Kennison and Mike Noonan.                   Facets enables the efficient and

accurate processing of millions of claims across the United States every day for medical, dental,

vision, and behavioral health. Id.

        6.      Facets has been in continuous development since at least as early as 1992. See,

e.g., 3/22/18 Sanders Dep. Tr. at 251:22-23. It required individuals with deep knowledge and

skillsets including government regulations for health care, unique business models and payment

arrangements for providers, database management systems, coding, and quality assurance.

Interview with Anne Kennison and Mike Noonan. The Facets program is "in the neighborhood"

of                          . 3/22/18 Sanders Dep. Tr. at 128:19-22.

        7.      Because Facets is asoftware program, it must be installed on acomputer before it

can be used. The Facets software program is installed using aFacets executable file or . exe file,

such    as `                                  See,    e.g.,    TZCG- 00000095;           Customer       Exchange,

http://cx.trizetto.com. An executable file is acomputer file that contains an encoded sequence of

instructions that acomputer system can execute directly when auser initiates execution. Facets

installation executable files are only made available to TriZetto's licensees pursuant to license

agreements that place extensive limitations on access and use of TriZetto's materials.                    See, e.g.,

TZCG- 00193556 at 683 (
                      UHG Master License and Services Agreement).                             Facets installation




   Inote that TriZetto also has executable files for its QNXT, CareAdvance, and NetworX programs, as well as
   executable files for "fixes" and other functions for Facets, QNXT, CareAdvance, and NetworX. See TZCG-
   00000095. This report focuses on Facets executable files, but Ireserve the right to supplement as to the
   remaining executable files for the remaining software programs, as well as fixes and other functions for all four
   programs.



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FOLEY
                                                                                 ATTORNEYS AT LAW


                                                                                 500 Woodward Avenue, Suite 2700
                                                                                 Detroit, MI 48226-3489
FOLEY & LARDNER LLP                                                              313.234-7175 TEL
                                                                                 313.234.2800 FAX
                                                                                 www.folev.com
                                                                                 nankers@foley.com




 Via ECF                                                        September 24, 2020
 Honorable Lorna G. Schofield                     Application DENIED for substantially the same reasons as
 U.S.D.C., Southern District of New York
                                                  provided by Defendants in this letter.
 500 Pearl Street
 New York, New York 10007
                                                  Dated: September 25, 2020                          LOR'A G.SCROFIELI
                                                                                                 UNITED STATES DISTRICT JUDGE
                                                           New York, New York
                Re:       Syntel, Inc. et al v. The TriZetto Group, Inc. et al, No. 1S-cv-00211 (LGS)(SDA)
                          Requestfor AGjournment

Dear Judge Schofield:

         The parties write pursuant to this Court's September 17, 2020 Order (ECF No. 682) directing
 the parties to meet and confer regarding Syntel's letter application for adjournment (ECF No. 68 1)
 filed September 17, 2020, and to file ajoint letter apprising the Court of whether the parties have
 agreed on any joint proposal. See ECF No. 682. The parties conferred on September 23, 2020, but
 were not able to reach agreement on any joint proposal. Each party has set forth its respective
 position below.

                Syntel's Position:

                  The parties have been unable to reach an accommodation here because Syntel's
 position is that the trial should be adjourned because of the prejudice it will suffer if required to
 proceed without key witnesses and client representatives able to participate in person, while
 defendants-counterclaim plaintiffs' position is that this case should proceed to live trial, with
 witnesses who are unable to participate live participating via Zoom. Syntel respectfully requests to
 be heard at the Court's earliest convenience, and if possible by next week, on these issues in order to
 avoid unnecessary travel for those subject to mandatory quarantine requirements in the event the trial
 is adjourned.

                  As Syntel explained in its September 17, 2020 application, this case and its resolution
 are of critical importance to Syntel, and Syntel is entitled to summon the best and most focused
 resources at its disposal to try this matter fully, completely and fairly before apanel of Southern
 District of New York jurors. Meeting in-person with witnesses and corporate representatives as
 well as simply knowing if they will be able to travel and do so safely is critical to effective trial
 preparation. However, if the trial proceeds in October as scheduled, Syntel will be prejudiced
 because key witnesses and company representatives will be unable to participate in person and fully
 perform these critical trial activities. This Court has previously determined neither party will suffer
 irreparable harm while litigating aresolution to their claims, ECF No. 68 at 4-5, 11, and far from an
 indefinite postponement of trial, Syntel seeks an adjournment only until what it expects, and we all
 hope, will be an the near-term resolution of the current pandemic conditions that would cause Syntel
 prejudice if trial were to proceed now.



  AUSTIN                DETROIT             MEXICO CITY         SACRAMENTO             TAMPA
  BOSTON                HOUSTON             MIAMI               SAN DIEGO              WASHINGTON, D.C.
  CHICAGO               JACKSONVILLE        MILWAUKEE           SAN FRANCISCO          BRUSSELS
  DALLAS                LOS ANGELES         NEW YORK            SILICON VALLEY         TOKYO
  DENVER                MADISON             ORLANDO             TALLAHASSEE
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                                                                         October 6, 2020




                   TRIAL PROCEDURES DURING COVID 19 PANDEMIC

                                  Lorna G. Schofield
                              United States District Judge



Mailing Address: United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

Courtroom:
Courtroom 1106
40 Centre Street
Mr. James Street, Courtroom Deputy
(212) 805-4553



For any case that settles after the final pretrial conference, costs will be assessed for
obtaining ajury panel and seating ajury.
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         before the jury arrives in the morning, after the jury leaves or briefly during
         breaks, to consider and resolve any objections and other issues.

         Counsel shall anticipate evidentiary and legal issues and raise them well in
         advance of the relevant testimony, outside the presence of the jury.

    3.   Conferring with opposing party. A party shall first raise any issue with the
         opposing party before raising the issue with the Court, including anticipated
         evidentiary and legal issues that require argument.

    4.   Witness availability. The parties are expected to present witnesses
         throughout the entire trial day. Unless good cause is shown, if aparty does
         not have another witness available on agiven day, that party will be deemed
         to have rested. Counsel shall notify the Court and other counsel in writing, at
         the earliest possible time, of any particular scheduling problems involving
         witnesses so that other arrangements can be made to fill the trial day.

    5.   Exhibits. Court time may not be used for marking exhibits. Exhibits shall be
         pre-marked, and if possible, pre- admitted in advance of the court session.

         No later than three business days before trial, the parties shall email the Court
         the current witness list and exhibit list. The exhibit list shall be in Excel
         Format and shall include acolumn indicating when an exhibit was admitted —
         or for the first day of trial, that an exhibit is to be admitted at the opening of
         trial (based on absence of objection or in limine rulings), and another column
         to indicate exhibits that are excluded from evidence or withdrawn. The
         exhibit list may, but need not, include documents to be used only for cross-
         examination or impeachment.

         On the first day of trial and every trial day thereafter, by 8:30 a.m., the
         parties shall email the court an updated exhibit list, and if applicable, an
         updated witness list. The updated lists shall indicate any changes from the
         prior list.

         At the end of each trial day, counsel shall advise the Court and opposing
         counsel of the exhibits to be presented for admission into evidence the
         following day. The Court will then admit into evidence any additional
         exhibits as to which there are no objections, and to the extent possible will
         rule on the admissibility of any exhibits as to which there are objections.

         All documentary exhibits must be published to the jury digitally. If it
         becomes necessary to show awitness aphysical exhibit, the person
         presenting the object (and any other person handling it) must wear aglove
         and the witness must wear aglove to receive it. Counsel must supply the
         gloves.




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                     -X

 SYNTEL STERLING BEST SHORES
 MAURITIUS LIMITED, et al.,
                                                                 15 Civ. 211 (LGS)
               Plaintiffs/Counterclaim-Defendants,
                                                                       ORDER
                         -against-

 THE TRIZETTO GROUP, et al.,

               Defendants/Counterclaim-Plaintiffs.
                                                     X

LORNA G. SCHOFIELD, District Judge:

       WHEREAS, per the Order dated October 9, 2020, Defendants/Counterclaim-Plaintiffs

The TriZetto Group, Inc. and Cognizant Technology Solutions Corp. (together, "TriZetto") and

Plaintiffs/Counterclaim-Defendants Syntel Sterling Best Shores Mauritius Limited and Syntel,

Inc. (together, " Syntel") filed submissions on their respective positions as to whether damages

for avoided costs are available in equity for the New York trade secret misappropriation claim,

and if not, what if any impact such aruling would have on the evidence to be presented at trial.

It is hereby

        ORDERED that the Order dated September 30, 2020, granting in part and denying in

part Syntel's motion in limine seeking to preclude Mr. Britven's expert testimony is

supplemented and modified as follows. The Court has determined that avoided cost damages are

not available for the New York trade secret misappropriation claim under E.J. Brooks Co. v.

Cambridge Sec. Seals, 31 N.Y.3d 441 (2018). Although the E.J. Brooks dissent questioned

whether the majority's holding was limited to whether avoided cost damages are available as

legal damages, regardless of their availability in equity, the opinion did not include any limiting
